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           GOVERNMENT CODE - GOV
              TITLE 5. LOCAL AGENCIES [50001 - 57607] ( Title 5 added by Stats. 1949, Ch. 81. )
                   DIVISION 2. CITIES, COUNTIES, AND OTHER AGENCIES [53000 - 55821] ( Division 2 added by Stats. 1949, Ch. 81. )
                      PART 1. POWERS AND DUTIES COMMON TO CITIES, COUNTIES, AND OTHER AGENCIES [53000 - 54999.7] (
           Part 1 added by Stats. 1949, Ch. 81. )

                          CHAPTER 1. General [53000 - 53170] ( Chapter 1 added by Stats. 1949, Ch. 81. )

           ARTICLE 4. Miscellaneous [53060 - 53087.8] ( Article 4 added by Stats. 1951, Ch. 522. )

           53069.4. (a) (1) The legislative body of a local agency, as the term “local agency” is defined in Section 54951, may
           by ordinance make any violation of any ordinance enacted by the local agency subject to an administrative fine or
           penalty. The local agency shall set forth by ordinance the administrative procedures that shall govern the
           imposition, enforcement, collection, and administrative review by the local agency of those administrative fines or
           penalties. Where the violation would otherwise be an infraction, the administrative fine or penalty shall not exceed
           the maximum fine or penalty amounts for infractions set forth in Section 25132 and subdivision (b) of Section
           36900.
           (2) (A) The administrative procedures set forth by ordinance adopted by the local agency pursuant to this
           subdivision shall provide for a reasonable period of time, as specified in the ordinance, for a person responsible for
           a continuing violation to correct or otherwise remedy the violation prior to the imposition of administrative fines or
           penalties, when the violation pertains to building, plumbing, electrical, or other similar structural or zoning issues,
           that do not create an immediate danger to health or safety.
           (B) Notwithstanding subparagraph (A), the ordinance adopted by the local agency pursuant to this subdivision may
           provide for the immediate imposition of administrative fines or penalties for the violation of building, plumbing,
           electrical, or other similar structural, health and safety, or zoning requirements if the violation exists as a result of,
           or to facilitate, the illegal cultivation of cannabis. This subparagraph shall not be construed to apply to cannabis
           cultivation that is lawfully undertaken pursuant to Section 11362.1 of the Health and Safety Code.

           (C) If a local agency adopts an ordinance that provides for the immediate imposition of administrative fines or
           penalties as allowed in subparagraph (B), that ordinance shall provide for a reasonable period of time for the
           correction or remedy of the violation prior to the imposition of administrative fines or penalties as required in
           subparagraph (A) if all of the following are true:
           (i) A tenant is in possession of the property that is the subject of the administrative action.
           (ii) The rental property owner or agent can provide evidence that the rental or lease agreement prohibits the
           cultivation of cannabis.

           (iii) The rental property owner or agent did not know the tenant was illegally cultivating cannabis and no complaint,
           property inspection, or other information caused the rental property owner or agent to have actual notice of the
           illegal cannabis cultivation.
           (b) (1) Notwithstanding Section 1094.5 or 1094.6 of the Code of Civil Procedure, within 20 days after service of the
           final administrative order or decision of the local agency is made pursuant to an ordinance enacted in accordance
           with this section regarding the imposition, enforcement, or collection of the administrative fines or penalties, a
           person contesting that final administrative order or decision may seek review by filing an appeal to be heard by the
           superior court, where the same shall be heard de novo, except that the contents of the local agency’s file in the
           case shall be received in evidence. A proceeding under this subdivision is a limited civil case. A copy of the
           document or instrument of the local agency providing notice of the violation and imposition of the administrative
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           fine or penalty shall be admitted into evidence as prima facie evidence of the facts stated therein. A copy of the
           notice of appeal shall be served in person or by first-class mail upon the local agency by the contestant.
           (2) The fee for filing the notice of appeal shall be as specified in Section 70615. The court shall request that the
           local agency’s file on the case be forwarded to the court, to be received within 15 days of the request. The court
           shall retain the fee specified in Section 70615 regardless of the outcome of the appeal. If the court finds in favor of
           the contestant, the amount of the fee shall be reimbursed to the contestant by the local agency. Any deposit of the
           fine or penalty shall be refunded by the local agency in accordance with the judgment of the court.

           (3) The conduct of the appeal under this section is a subordinate judicial duty that may be performed by traffic trial
           commissioners and other subordinate judicial officials at the direction of the presiding judge of the court.
           (c) If no notice of appeal of the local agency’s final administrative order or decision is filed within the period set
           forth in this section, the order or decision shall be deemed confirmed.
           (d) If the fine or penalty has not been deposited and the decision of the court is against the contestant, the local
           agency may proceed to collect the penalty pursuant to the procedures set forth in its ordinance.

           (Amended by Stats. 2018, Ch. 316, Sec. 1. (AB 2164) Effective January 1, 2019.)




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                             Superior Court of California, County of Riverside
                             Court Commissioner


    CLASS CODE                CTCOMMB                                      SALARY           $207,348.96 Annually

    ESTABLISHED DATE          May 11, 2011                                 REVISION DATE    August 26, 2019




    Definition and Class Characteristics
    This at-will position under the authority of the Judges of the Court, and at the direction of the Presiding Judge,
    Court Commissioners perform various judicial functions as prescribed by law or conferred by the court.


    The power and authority of Court Commissioners is specified in Article VI, Section 22, of the California Constitution,
    Code of Civil Procedure Section 259 and Government Code Section 71622. Court Commissioners have the same
    jurisdiction and exercise the same powers and duties as the judges of the courts with respect to infractions and
    small claims actions, and in other matters pursuant to stipulation of the parties. Court Commissioners perform
    judicial and quasi-judicial functions to assist the court in performing its constitutional and statutory duties for the
    administration of justice, with primary responsibility for presiding over a daily court calendar as assigned, including
    acting as a temporary judge in appropriate cases, and performing other related duties as assigned.

    Essential Duties
    Duties may include, but are not limited to, the following:


    Acts as Temporary Judge pursuant to stipulation of counsel or parties; conducts a daily court calendar; presides
    over hearings and trials; makes rulings, findings, judgments and orders.

    Arraigns defendants; hears reviews and rules on or determines a variety of petitions, motions and other actions;
    takes evidence from witnesses; makes or recommends appropriate court orders; accepts pleas and imposes
    sentences; sets cases for hearings and trials; and conducts court and jury trials.


    Performs the functions of a referee of the Juvenile Court as prescribed by Welfare and Institutions Code Section
    147.


    Conducts judicial hearings in family support cases involving Title IV of the Social Security Act, and cases filed by
    the District Attorney to establish paternity and other child support-related matters; may act as a judge pro-tem in
    such matters, or as a commissioner making findings and recommendations subject to review by a judge of the
    court.


    Performs one or more of the functions of a probate commissioner, including review of pleadings and accountings in
    probate, guardianship, conservatorship and related matters; approves creditors' claims, ex parte requests and other
    probate actions; and presides over probate proceedings as assigned.

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    Presides over proceedings involving such matters as criminal and traffic arraignments, hearings and trials of
    infractions, misdemeanors and felonies, including day and evening court sessions as assigned.


    Presides over proceedings in civil and small claims actions.


    Reviews court files, documents and related materials to assess cases prior to and following hearings; prepares
    court documents, records, reports correspondence and other written materials pertaining to case findings.


    Performs other related duties as assigned by the Presiding Judge.

    Minimum Qualifications
    License or Certifications:
    Must be an active member in good standing of the California Bar for a period of at least ten (10) years prior to
    appointment, unless inactive membership due to previously holding the position of judge, referee or commissioner.
    Applicants with less than ten (10) years membership in the California Bar may request an exemption pursuant to
    Section 10.701(b) of the California Rules of Court. Persons seeking appointment, as a Court Commissioner must
    demonstrate relevant legal experience as deemed sufficient by the Judges of the Court.


    Special Requirement: The employee must have the ability to transport himself/herself between or among different
    work locations when needed to carry out job-related essential functions. If traveling in own vehicle or court vehicle
    you must possess a valid California driver's license.

    Other Information
    Physical Characteristics: Strength, dexterity, coordination and vision to use a keyboard and video display terminal
    on a daily basis. Hearing to communicate with the public and court staff. Dexterity and coordination to handle files
    and single pieces of paper; occasional lifting of objects weighing up to 25 lbs. such as files, stacks of papers,
    reference and other materials. Moving from place to place within an office; some reaching for items above and
    below desk level.


    Working Environment: Work is performed in the courtroom and related court facilities and includes but is not limited
    to contact with judges, staff attorneys, and the public.


    Clarifying Statement: This job description will be reviewed periodically and responsibilities change with business
    necessity. Principal and marginal job functions are subject to modification. This job description is not intended and
    should not be construed as an exhaustive list of all responsibilities, skills, or working conditions associated with this
    job.


    Unit: Judicial
    FLSA Status: Exempt
    Reports to: Supervising Judge
    Amount of Travel Required: less than 15%
    Positions Supervised: None




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 1    JOSEPH MINER (pro per)
      PO Box 11650
 2    Costa Mesa, CA 92627
      (949) 903-5051 (cell)
 3    josephminer@gmail.com
 4
 5
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6                             RIVERSIDE COUNTY - PALM SPRINGS
 7
       CITY OF DESERT HOT SPRINGS,                  Case No.: CVPS2106001
 8     a municipal entity,
                                                    Related Cases No: CVPS2106016
 9                    Plaintiff and Respondent,     NOTICE OF MOTION AND MOTION TO
10                                                  VACATE VOID ORDER AND JUDGMENT;
                    vs.                             DECLARATIONS OF JOSEPH MINER,
11                                                  JOSEPH ROSENBLIT ESQ. IN SUPPORT
       JOSEPH MINER,
12                                                  LIMITED CIVIL JURISDICTION
       an individual,
13                                                  Filed:        Reserved
                      Defendant and Appellant.      Judge:        TBD
                                                    Hearing:      1/26/24
14                                                  Res:          348817813014
15
16
17    TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
18           PLEASE TAKE NOTICE that on 1/26/24 at 8:30 a.m., or soon thereafter as
19    the matter may be heard, in Department PS4 or a referred courtroom, of the above-entitled Court,
20    located at 3255 E. Tahquitz Canyon Way Palm Springs, California 92262, Defendant and
21    Appellant JOSEPH MINER (“Defendant” or “Miner”) will, and hereby does, move for an order
22    to vacate the void Order and Judgment based on law and fact subordinate judicial officer Arthur
23    Hester lacked fundamental jurisdiction, as a commissioner: (1) to adjudicate any issue that was
24    not a subordinate judicial duty, (2) to adjudicate the separate “special proceeding” ~ the

25    vexatious litigant motion, (3) to make the vexatious litigant decree, (4) to adjudge and sign the

26    pre-filing Order as a judge when he was not, (5) to mandate Defendant post security to defend

27    himself, (6) to impose a permanent injunction against Defendant in limited civil jurisdiction, (7)

28    to issue a judgment of dismissal based on errors of the court.

                                      MOTION TO VACATE VOID JUDGMENT
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 1           This Motion is being made pursuant to Code of Civil Procedure sections 473(d) AND

 2    common law on the ground that the proper procedure of a direct attack on the void order and

 3    judgment by motion under section 473, subdivision (d) which states: "The court may, ... on

 4    motion of either party after notice to the other party, set aside any void judgment or order."

 5           This motion is based on the notice of motion, the memorandum of points and authorities,

 6    Declaration of Joseph Miner, exhibits and proposed order concurrently filed herewith, all

 7    pleadings, papers and case law on file with the court herein, and such further material as may be
      submitted prior to or at the hearing on this motion.
 8
      PLEASE TAKE FURTHER NOTICE that pursuant to Riverside Superior Court, local
 9
      court rules, the Court will make a tentative ruling on the merits of this matter by 3:00 p.m. on the
10
      court day prior to the hearing. Tentative rulings will be available on the Internet or by calling
11
      1-760-904-5722.
12
             To view go to: http://www.riverside.courts.ca.gov and click on the tentative ruling link.
13
      The tentative ruling shall become the ruling of the Court unless, by 4:30 p.m. on the court day
14
      before the scheduled hearing, a party gives notice of intent to appear to all parties and the court.
15
      The notice of intent to appear must be given either in person or by telephone. Where notice of
16
      intent to appear has been properly given, or upon direction of the Court, oral argument will be
17
      permitted.
18
             This is a motion by Joseph Miner (“Defendant” or “Miner”) to vacate the void order[s]
19
      and related void judgment by the court following a vexatious litigant proceeding held September
20
      22, 2022 in front of Hon. Arthur Hester, a commissioner, a subordinate judicial officer.
21
22                                                   ______________________________
23                                                   /s/ Joseph Miner (pro per) 1/4/2024
24
25
26
27
28

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12    Conservatorship of O'Connor (1996) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
      48 Cal.App.4th 1076, 1087, 56 Cal.Rptr.2d 386.)
13
      Cowan v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
14    14 Cal. 4th 367, 58 Cal. Rptr. 2d 458, 926 P.2d 438 (1996).)
15    Davidson v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17, 19
16    82 Cal. Rptr. 2d 739, 70 Cal. App. 4th 514, 70 Cal. 4th 514 (Ct. App. 1999).

17    Dedication & Everlasting Love to Animals, Inc. v. City of El Monte, . . . . . . . . . . . . . . . . . 18, 26
      85 Cal. App. 5th 113, 301 Cal. Rptr. 3d 141 (Ct. App. 2022).
18
      Estate of Buckley, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
19
      132 Cal.App.3d 434, 183 Cal. Rptr. 281 (Cal. Ct. App. 1982)
20
      Foosadas v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
21    30 Cal. Rptr. 3d 358, 130 Cal. App. 4th 649 (Ct. App. 2005).
22    Grannis v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
23    146 Cal. 245, 79 P. 891 (Cal. 1905)

24    Hamblin v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
      195 Cal. 364, 233 P. 337 (Cal. 1925)
25
      Harutyunyan v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
26    169 Cal. App. 4th 454 (Ct. App. 2008).
27
      Hunter v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
28    36 Cal.App.2d 100, 97 P.2d 492 (Cal. Ct. App. 1939)

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 1    In re Buckley, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
      10 Cal.3d 237, 110 Cal. Rptr. 121, 514 P.2d 1201 (Cal. 1973)
 2
      In re Edgar M., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15, 23, 29
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      537 P.2d 406, 14 Cal. 3d 727, 122 Cal. Rptr. 574 (1975)
 4
      In re Eduardo G., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
 5    108 Cal.App.3d 745, 166 Cal. Rptr. 873 (Cal. Ct. App. 1980) .p 753
 6    In re Estate of Shaw, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
 7    B188153 (Cal. Ct. App. Dec. 3, 2007).

 8    In re Frye, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19, 22
      150 Cal.App.3d 407, 197 Cal. Rptr. 755 (Cal. Ct. App. 1983)
 9
      In re Horton, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
10    813 P.2d 1335, 54 Cal. 3d 82, 284 Cal. Rptr. 305 (1991)
11
      In re Jasmine G., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
12    26 Cal. Rptr. 3d 394, 127 Cal. App. 4th 1109 (Ct. App. 2005)

13    In re Mark L., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
      34 Cal.3d 171, 193 Cal. Rptr. 165, 666 P.2d 22 (Cal. 1983)
14
15    In re Marriage of Galis, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 15, 19, 23, 29
      149 Cal.App.3d 147, 196 Cal. Rptr. 659 (Cal. Ct. App. 1983)
16
      In re Marriage of Olson, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
17    14 Cal.App.4th 1, 9, 17 Cal. Rptr.2d 480 (1993)
18
      In re Steven A., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 17, 22
19    15 Cal.App.4th 754, 19 Cal. Rptr. 2d 576 (Cal. Ct. App. 1993)

20    Jovine v. FHP, Inc., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
      64 Cal.App.4th 1506, 76 Cal. Rptr. 2d 322 (Cal. Ct. App. 1998)
21
22    Kabran v. Sharp Mem'l Hosp., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
      2 Cal.5th 330, 212 Cal. Rptr. 3d 361, 386 P.3d 1159 (Cal. 2017)
23
      Kim v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
24    64 Cal.App.4th 256, 75 Cal. Rptr. 2d 468 (Cal. Ct. App. 1998)
25
      Luckett v. Panos, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17, 29
26    161 Cal.App.4th 77, 73 Cal. Rptr. 3d 745 (Cal. Ct. App. 2008)

27    Michaels v. Turk, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
      239 Cal.App.4th 1411, 191 Cal. Rptr. 3d 669 (Cal. Ct. App. 2015)
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 1    Nierenberg v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14, 15, 23
      59 Cal.App.3d 611, 130 Cal. Rptr. 847 (Cal. Ct. App. 1976)
 2
      Olivera v. Grace, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
 3
      19 Cal.2d 570, 122 P.2d 564 (Cal. 1942)
 4
      People v. Saunders, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
 5    5 Cal.4th 580, 20 Cal. Rptr. 2d 638, 853 P.2d 1093 (Cal. 1993)
 6    People v. Tijerina, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 15, 22, 23, 29
 7    1 Cal.3d 41, 81 Cal. Rptr. 264, 459 P.2d 680 (Cal. 1969)

 8    Pittman v. Beck Park Apartments Ltd., (ancillary issue) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14, 23
      20 Cal.App.5th 1009, 230 Cal. Rptr. 3d 113 (Cal. Ct. App. 2018)
 9
      Poulson v. Bank of America, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
10    No. E056220 (Cal. Ct. App. Apr. 23, 2014).)
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      Reisman v. Shahverdian, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14, 23
12    153 Cal.App.3d 1074, 201 Cal. Rptr. 194 (Cal. Ct. App. 1984)

13    Rescue Army v. Municipal Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
      28 Cal. 2d 460, 171 P.2d 8 (1946).
14
15    Rochin v. Pat Johnson Manufacturing, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14, 17
      67 Cal.App.4th 1228, 1239, 79 Cal.Rptr.2d 719 (1998)
16
      Ruisi v. Thieriot, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
17    53 Cal.App.4th at p. 1209, 62 Cal.Rptr.2d 766.)
18
      Settlemire v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
19    129 Cal. Rptr. 2d 560, 105 Cal. App. 4th 666 (Ct. App. 2003).)

20    Smith v. Dorn, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
      96 Cal. 73, 30 P. 1024 (Cal. 1892)
21
22    Taliaferro v. Hoogs, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
      236 Cal. App. 2d 521, 46 Cal. Rptr. 147 (Ct. App. 1965).
23
      Ytuarte v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18, 23
24    28 Cal. Rptr. 3d 474, 129 Cal. App. 4th 266 (Ct. App. 2005).
25
      FEDERAL
26    Arizona v. Fulminante, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
      499 U.S. 279, 111 S.Ct. 1246, 113 L.Ed.2d 302) (1991)
27
      Brewer v. Williams, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
28    430 U.S. 387, 97 S. Ct. 1232, 51 L. Ed. 2d 424 (1977)

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 1    Johnson v. Zerbst, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
      304 U.S. 458, 58 S. Ct. 1019, 82 L. Ed. 1461 (1938)
 2
      Louisville Nashville R.R. v. Mottley, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
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      211 U.S. 149, 29 S. Ct. 42 (1908)
 4
      Mullane v. Central Hanover Bank & Trust Co. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
 5    339 U.S. 306, 314, 70 S.Ct. 652, 94 L.Ed. 865.) (1950)
 6    United States v. Cotton, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
 7    535 U.S. 625, 122 S. Ct. 1781, 152 L. Ed. 2d 860 (2002).

 8    United States v. Olano, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
      507 U.S. 725, 733 (123 L.Ed.2d 508, 519, 113 S.Ct. 1770)] (1993)
 9
      CALIFORNIA CONSTITUTION
10    Article VI, Section §21, 22 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16, 20, 23, 26
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12    Code of Civil Procedure § 85-100 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
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13    Code of Civil Procedure § 92(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
      Code of Civil Procedure § 259 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
14
      Code of Civil Procedure § 391-391.8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9, 30
15    Code of Civil Procedure § 473 (d) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8, 9
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16    Government Code § 53069.4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
17    RULES OF COURT
18    2.816 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2                                            I. INTRODUCTION
              This matter is brought pursuant to CCP. §473 D and any applicable law to challenge the
 3
      void order and void judgment described herein. The subordinate judicial officer lacked
 4    jurisdiction and authority to declare Defendant / Appellant a vexatious litigant, order security
 5    against defendant, and issue a Judgment of dismissal based on Defendant’s refusal to post
      security; an Order the commissioner has no authority to grant in limited civil, a jurisdiction that
 6
      does not permit this relief. A legal nullity. (Olivera v. Grace Cal: Supreme Court, 1942)
 7            For the first time in this 60 year law CCP. §391 et sec., a civil trial Defendant was
 8    declared a vexatious litigant, and mandated to post security to defend himself, by a subordinate
      judicial officer, in limited civil jurisdiction, in a de novo trial / appeal of an administrative
 9
      citation. The only time a “defendant” has been declared vexatious for “defending” a citation.
10            The Court of Appeal (4th Dist. Div 2) has captioned the case pursuant to its own analysis
11    and procedure. It clarified that Joseph Miner is the Defendant and Appellant. (ex 3)
12            Defendant Appellant directly challenges the order, security and judgment based on the
      court’s and commissioner’s lack of fundamental, and subject matter jurisdiction and judicial
13
      authority to decide the issues and grant relief he was not entitled to grant. The judgment is void.
14                      II. RELEVANT FACTS AND PROCEDURAL HISTORY
15    HISTORICAL CASE FACTS
              Because this motion will not be heard by the trial commissioner, additional history will be
16
      offered. This overview is scant. The commissioner ignored Defendant’s multiple legal defenses.
17    A. Defendant’s Ranch
18            In 2003 Joseph Miner purchased a fenced and walled 5 acre, four parcel ranch, on the
      fringe of open desert. The ranch was situated between Palm Springs to the south, and Desert Hot
19
      Springs to the north in Riverside county jurisdiction. In 2010 the City of Desert Hot Springs
20
      annexed 4,000 acres of desert. The ranch was annexed into the jurisdiction of the City.
21            The ranch is on the edge of the city. The adjacent neighbors are a pet cemetery, mini-
22    storage, auto wrecking yard, and a decrepit trailer park. City approved marijuana grow facilities
      are a mile to the west of the ranch where they grow 2,000,000 sf of marijuana. Although legal in
23
      California, Defendant Miner has no connection to the marijuana industry.
24    B. Defendant Miner
25            Defendant Miner is a 68 year old senior, a 30-plus year California Real Estate broker,
      owner of All Cities Realty, and a certified general real estate appraiser. His home base in Orange
26
      County California. He is significantly and professionally familiar with the instant issues such as
27    codes and zoning.
28            Prior to the instant case Miner has never had an issue with the City. No citizen

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 1    complaints, no code complaints, no litigation. Miner has owned the ranch location for 20 years.

 2    C. Ranch Rental
             As Miner has done since the purchase of the ranch and guest house twenty years ago, he
 3
      has occasionally rented parts of the property. In late 2019 at the beginning of COVID Miner
 4    rented part of the property to men who stated they planned to open a nursery. COVID became
 5    intense, Miner did not travel often. Travel restrictions were in place.
      D. Code Enforcement
 6
             Apparently, during COVID, the men grew some marijuana in a greenhouse. The County
 7    Sheriffs department stopped the operation. The Sheriff is a separate agency from the City.
 8           After a mysterious notification, by someone unknown, sent to code enforcement – in a
      separate and distinct act, City code enforcement decided to travel to, enter and search the ranch,
 9
      on 4/28/21, without warrant. Four land parcels and six buildings were searched. Two code cases
10    were secretly opened. Miner was not notified by the City.
11           Miner visited the area. He discovered the ranch wide open on 5/1/21 (as the city left it).
12    He took control of the property. He called a crew to perform property maintenance and began to
      investigate. He found out about the Sheriff operation from a neighbor.
13
             About forty days later, out of the blue, a code officer telephoned Miner, wanting to “re-
14    inspect” the ranch. Miner was confused. The officer “pre-texted” he just wanted to take some
15    photographs inside the gate. He would not produce the warrant. Eventually Miner declined.
             The very next day the code officer began sending Miner a flurry of documents stating
16
      there were code issues with the ranch. His documents were rooted in the warrantless unlawful
17    search. Miner believed he was being harassed by an angry code officer who was refused entry.
18           Because of Miner’s professional background, and since it is a 5 acre ranch in the desert,
      not a home in a subdivision, and it was conforming to surrounding neighborhood properties,
19
      Miner did not agree with the officer’s allegations. The citation was scant, in violation of the
20
      city’s code, and was confusing. The simple issues did not rise to “public nuisances” per law.
21    E. Fine and Administrative Hearing
22           Miner paid the fine in advance. He requested an administrative hearing. While waiting the
      appeal the officer repetitively cited Miner for the exact same issues expanding fines to $4,000.
23
             Miner filed a thorough brief with the City. The City failed to notify Miner of the hearing
24    date per the law. The hearing was held without Miner present in violation of due process. The
25    hearing officer opined on the facts, he ignored the law offered in Defendant’s brief. Miner’s only
      recourse was to again follow the law and reclassify pursuant to GC. §53069.4(b)(1).
26
      F. Transition from Administrative to Civil
27           Miner educated himself in the law. He discovered the case specifically becomes a
28    “limited civil case” He believed he could obtain discovery, interrogatories, admissions, witnesses

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 1    and a deposition for his defense pursuant to CCP. §85-100. As the proceeding progressed Miner

 2    educated himself more and more about all issues relevant to the citation and procedures.
             On 12/6/21 Miner filed a simple caption to reclassify the case to limited civil jurisdiction.
 3
      On 12/7/21 Miner received a case assignment from the court stating that Hon. Arthur Hester was
 4    assigned to the case. The document did not indicate what role Hon. Arthur Hester was in. (ex 4)
 5    The first hearing was scheduled for 1/6/22.
             1/6/22. Miner appeared in court. Michael Knighten was the judicial officer, not Arthur
 6
      Hester. After a short colloquy Miner was in shock as it appeared Michael Knighten, judge pro
 7    tem wanted to put on a trial that day. Miner was able to have the case continued. (ex 5)
 8           1/18/22. Miner filed a ex parte motion requesting more time. This time Hon. Arthur
      Hester commissioner was presiding. Miner was given a two week continuance - which shocked
 9
      Miner. It became clear Hon. Arthur Hester was a court commissioner; not a judge. (ex 6)
10           Miner continued his education. He discovered the “administrative citation” de novo
11    procedure is a “subordinate judicial duty.” A commissioner is by default a subordinate judicial
12    officer. The commissioner, as a subordinate judicial officer, could legally preside over a
      “properly created and issued” administrative citation “appeal” de novo without stipulation. This
13
      seems to create a legal paradox when statutory limitations on a commissioner are considered as
14    will be discussed below. Every adjudicator to date continues to ignore this legal paradox.
15           Miner learned that a subordinate judicial officer could preside over minor “subordinate
      judicial duty” issues and relate his findings or made recommendations to a judge for approval.
16
      Case law makes clear commissioners’ judicial limitations. (See Decl. Miner)
17    G. Commissioner verses Judge
18           Never, not one time, in any way, did the court notice the parties that the Commissioner
      would act as a temporary judge or judge pro tem. The level of the hearing called for a subordinate
19
      judicial officer. Arthur Hester was a commissioner (subordinate judicial officer).
20
             A court commissioner, acting as a subordinate judicial officer, is effectively a finder of
21    fact. It seems they are to confirm a hearing officer’s fact findings; not make conclusions of law or
22    decide serious legal issues. This is where the proceeding began to fall off of the rails.
      H. Jurisdiction Altering Non-Stipulations and Court Minutes
23
             After two short continuances, at the third appearance on 2/4/22, Miner decided to choose
24    a superior court judge pursuant to the court’s offer through the clerk. (See Decl Miner . ¶-¶)
25           Miner attended the hearing. Again, Hon. Arthur Hester was not present. James Hodgkins,
      judge pro tem was the judicial officer. The court clerk stated in open court to all parties “you
26
      have a choice of a commissioner or a judge to hear your case.”
27           Miner knew the issues were complex. He stated to the clerk he wanted a judge. He was
28    instructed to request a judge when his case was called. Miner accepted the court’s offer of

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 1    adjudication by a judge.

 2           The case was called. Miner stated from the counsel table he wanted his case heard by a
      judge. An immediate colloquy began between Mr. Vu, Mr. Hodgkins and Mr. Miner.
 3
             Mr. Hodgkins stated he would recuse himself. Miner’s request was tantamount to a
 4    rejection and continuing refusal to stipulate to a subordinate judicial officer, commissioner,
 5    temporary judge - at the same time agreeing to and confirming adjudication before a judge. The
      hearing ended. Miner expected notice of a judge being assigned. (See Decl. Miner).
 6
             Miner orally, expressly and precisely, chose a judge. There were then lulls between
 7    hearings. No rule or law states Miner must non-stipulate more than once, but he did. (In re
 8    Marriage of Galis, p. 150; In re Marriage of Olson, p. 8; Settlemire v. Superior Court, p. 563)
             • Miner requested a judge orally in open court 2/4/22. ROC 2.816(b)(3). (ex 7)
 9
             • Miner non stipulated in NOTICE OF NON STIPULATION filing 6/7/22. (ex 8)
10           • Miner non stipulated by filing a non-stipulation motion 6/8/22. (ex 9)
11           • Miner non stipulated orally in the am hearing to the commissioner. 6/23/22
12           • Miner non stipulated on record to commissioner and it was acknowledged on the record
             three times (RT (1) Ex 24A:14-17, (2) B:3-6, (3) 247:3-7) (ex 24)
13
             Defendant had non-stipulated to the commissioner so many times he finally gave up. The
14    law does not require futile acts. The commissioner was aware of the non-stips. (See Decl. Miner)
15           There is no NOTICE, no text, no statement, no discussion, or colloquy in this entire
      record that Miner stipulated to the commissioner to be anything more than a subordinate.
16
             Miner expressly orally non-stipulated, then filed documents IN ADVANCE stating he
17    was non stipulating to the commissioner to act as a judge or temporary. The commissioner
18    proceeded. (Harutyunyan v. Superior Court, (2008).
             Miner was never noticed by the court it intended to act more than a commissioner, which
19
      is a subordinate judicial officer, not a temporary judge. There was NO NOTICE, no due process,
20
      and no authority agreement to act as a “temporary judge.” (See Decl. Miner)
21    I. Stipulation is Mandate To Act As a Judge
22            Stipulation is mandate for a subordinate judicial officer to act as a judge. The stipulation
      is not merely a regulation of procedure, but is what allows the temporary judge authority over the
23
      parties. Without it, the court has no jurisdiction in the fundamental sense. (People v. Tijerina
24    (1969); In re Steven A. (1993))
25    J. General hearing proceedings
             In Miner’s opinion and observation the commissioner was treating this “de novo” trial,
26
      where discovery is permitted, as a small claims matter, not a limited civil case pursuant to CCP.
27    §85-100. There was no case management. No trial setting conference. No discovery. It was not
28    being adjudicated as a limited civil case. Defendant became very concerned. (See Decl. Miner)

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 1            Miner is generally familiar with litigation. He is familiar with waiver and forfeiture. To

 2    protect himself he subpoenaed witnesses, he crafted motions, and a demurrer. The commissioner
      violated rules of the court, failed to clarify case management, and was attempting to stifle Miner
 3
      case at every juncture. He gutted Miner’s case. He did not seem to grasp the case was “de novo.”
 4            When the hearing came the commissioner overruled every document Miner filed. Most
 5    without even a read (RT: ex 10). This is verifiable by his own statement s in the reporter’s
      transcript and Defendant’s personal observations in court. (See Decl. Miner) It was confusing the
 6
      commissioner was not involving a judge. It was also confusing the case was not being transferred
 7    to a judge. (See Decl. Miner)
 8            The commissioner appeared frustrated, perhaps angry. At a calculated moment the City
      filed a vexatious litigant motion, converted itself to Defendant, and Miner to Plaintiff.
 9
              Miner spoke to his attorney who, pro bono, agreed to “assist” and argue for Miner in a
10    hybrid defense. Miner also argued for himself. The multiple non-stipulations and §170 filings of
11    no confidence were clear. The commissioner ruled that a Defendant, defending himself, was a
12    vexatious litigant and dismissed the case when Miner refused to pay security for his own defense.
              The Order was appealed. Non stipulations by Miner were addressed in the AOB and
13
      ARB. The Appellant Department simply ignored the non stipulations and legal issues in much of
14    the brief.
15            The Appellate Department grossly mis-stated and mis-characterized the appeal. Miner
      requested transfer to the Court of Appeal, this was denied because of special rules. The Court of
16
      Appeal clarified the case caption indicating Miner was the Defendant and Appellant, not the
17    Plaintiff as the commissioner had ruled. (ex 3)
18            ONLY a defendant can make a motion to declare a Plaintiff a vexatious litigant. This fact
      makes the City’s motion and the commissioner’s Order and dismissal moot. But here we are.
19
      K. Relevant Proceedings And Events Before And After Judgment
20
       Date             Event                                                                     Exhibit
21
       12/07/21         Case assignment                                                           #4
22     01/06/22         First hearing (Knighten)                                                  #5
       02/04/22         Third hearing (Hodgkins) Miner requests judge                             #7
23     09/22/22         Pre-filing Order (Commissioner Signed as Judge)                           #2
       11/09/23         Order on appeal / Opinion                                                 #14
24     11/27/23         Miner files petition for rehearing                                        #15
       12/11/23         Petition to to Court of Appeal                                            #16
25     12/19/23         Denial to Transfer. Court of Appeal re-captions case                      #3
       12/29/23         Remittur (Appellate Division)                                             NA
26
27
28

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 1                                       III. LEGAL ARGUMENT
                         “Lack of jurisdiction in its most fundamental or strict sense
 2                     means an entire absence of power to hear or determine the case,
                        an absence of authority over the subject matter or the parties.”
 3
                                   ~ Supreme Court of California. In Bank.
 4
             When subordinate jurisdiction ends, judicial jurisdiction begins. Adjudication of a “de
 5
      novo” administrative citation appeal proceeding is, by statute, GC. §53069.4 (b)(3), a
 6    “subordinate judicial duty.” Therefore, A = B; the citation itself, its allegations, the underlying
 7    issues, and all relevant proceedings or special proceedings must also be cabined within
      “subordinate judicial duty” or the issues cannot be legally adjudicated by a commissioner.
 8
             A void judgment is subject to attack at any time. This court retains jurisdiction to
 9
      entertain a motion to vacate void judgment (Rochin v. Pat Johnson Mfg. Co., (1998) #III.).
10           Here, there were two separate proceedings, the commissioner acted without jurisdiction in
11    both. It is the ancillary (Pittman v. Beck Park Apartments Ltd.) separate special vexatious litigant
      proceeding (Taliaferro v. Hoogs [8]) that is the subject of this specific motion.
12
             It has not been controverted that Defendant requested a judge 2/4/22, non-stipulating, and
13    on 6/7/22 he noticed the court again, and stated he would not stipulate to “any further
14    proceedings” before the commissioner.

15
             “PLEASE TAKE NOTICE that Defendant JOSEPH MINER pursuant to local rules,
16           rule of court, and case law does not stipulate to further proceedings to be heard by a
17           Commissioner. Defendant files this notice of non-stipulation for all further proceedings

18           in cases CVPS2106001 and CVPS2106016. These cases are not to be heard by a
             Subordinate Judicial Officer, Commissioner, or Temporary Judge.” (ex 6)
19
20           Additionally, Miner non stipulated on the record 6/23/22. The trial court noted the non-
21    stipulation. No additional non-stipulation was required. (ex 24A/B ). Lastly, the Court included
      in its “vexatious findings” that Miner had non-stipulated. (ex 24C )
22
             The separate vexatious litigant special proceeding did not occur until 9/22/22. However,
23    if in fact the commissioner attempted to act as a temporary judge he was mandated to obtain a
24    new stipulation. The commissioner did not have the authority to act. The order then made is null
      and void. (Nierenberg v. Superior Court; Reisman v. Shahverdian). There is no evidence of
25
      notice or stipulation, and no evidence of a second or further notice or stipulation. Jurisdiction
26    cannot be conferred by acts or omissions of the parties. “When a court lacks fundamental
27    jurisdiction, its ruling is void.” (Kabran v. Sharp Memorial Hospital (2017) p. 339).
28           A subordinate judicial officer does not automatically become a superior court judge “as


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 1    needed” ~ the transformation requires NOTICE and STIPULATION. Stipulation cannot be

 2    waived unless there is NOTICE. Here, no notice was given, occurred, inferred, or discussed.
              This is a well documented proceeding including a complete reporter’s transcript. Relevant
 3
      history is included. This case began with, and continued with, complete confusion which has led
 4    to this motion to vacate the Order and Judgment pursuant to lack of fundamental jurisdiction.
 5            There has been significant confusion during this process and proceeding beginning with
      the citation, continuing through the entire limited civil jurisdiction court proceeding.
 6
              Statute GC. §53069.4(b)(1) establishes the “de novo” hearing is a “limited civil case” and
 7    (b)(3) as “subordinate judicial duty.” Pursuant to CCP. §85-100 and case law parties are entitled
 8    to demurrers, motions, case questionnaires, interrogatories, document requests, request for
      admissions and a deposition. Defendant’s confusion began when the case was set for trial 30 days
 9
      after filing ~ then three different judicial officers were on bench for the first three hearings.
10            This case then began with Defendant non-stipulating to the commissioner. Then at least
11    five express continuing non-stipulations occurred. The commissioner continued ~ swatting
12    Defendant down at every turn. If notice and stipulation was not a requirement we would not need
      judges. Commissioners could perform as a superior court judge, never requesting stipulation ~
13
      simply ambushing Defendants.
14            Here the commissioner lacked legal fundamental jurisdiction over the vexatious litigant
15    proceeding ~ he had no authority to act as a judge. He then granted legal relief he could not grant.
              The adjudication of the vexatious litigant proceeding, the sole question before this court,
16
      is one of jurisdiction of the trial court to render the order and judgment under review.
17    (Nierenberg v. Superior Court; citing In re Buckley)
18    A. Waiver Requires Notice
              “A waiver is ordinarily an intentional relinquishment or abandonment of a known right or
19
      privilege.” Palm Springs Superior Court gave no notice the commissioner may or would act as a
20
      judge. Nor did the commissioner give notice he would act as a judge. Nor did he request
21    stipulation to act as a judge at any hearing or any proceeding. (See Decl. Miner)
22    B. The Procedure is a Subordinate Judicial Duty
              Pursuant to the plain language of Government Code section 53069.4(b)(3) the procedure
23
      is a subordinate judicial duty. The commissioner was assigned and entitled to act as a
24    subordinate. He was “assigned” as a subordinate judicial officer per the plain text of the statute
25    53069.4(b)(3). There is no evidence in the 5,500 page record to the contrary.
      C. Commissioners Possess No Judicial Power
26
              A court commissioner is a subordinate judicial officer. Their power is limited by the
27    California constitution and section 259 of Civ. Code of Procedure. (Rooney, Horton, Edgar,
28    Foosadas, Tijerina, Settlemire, Aetna, Galis et al.) Under the California Constitution, court

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 1    commissioners may perform "subordinate judicial duties" including the trying of cases, subject to

 2    the stipulation of the parties. (Cal. Const., art. VI, §§ 21, 22; In re Horton (1991). On many
      levels; the court had no power to grant the relief. (Becker v. SPV Construction Co., (1980).)
 3
      D. Defendant Refused to Stipulate
 4           Given the “choice” of a commissioner or a judge by the court’s own clerk, Miner chose a
 5    judge 2/4/21. This was a rejection of a commissioner. Multiple adverse no-confidence filings
      were made. No non-stipulation was “untimely” as the first was made 2/4/21. Miner requested a
 6
      judge. This request for a judge bounced everyone else. The court cannot fill a defendant’s mouth
 7    with its own words. (See Decl. of Miner)
 8
             1. Commissioners Require Stipulation To Act As Judge
 9
             “In Riverside County, all commissioners are appointed as temporary judges. (Super. Ct.
10           Riverside County, Local Rules, rule 1060.) However, the appointment to act as
11           temporary judge is not sufficient to preside over a matter, a commissioner must also
12           obtain a stipulation from the parties to preside over a specific proceeding. (See
             Poulson v. Bank of America, No. E056220 (2014).) (ROC Rule 8.1115. (b)(1)
13
14           2. Law Does Not Authorize a Commissioner to Decide All Legal Issues
15           “Unless both parties consent, the court may not, under the guise of a reference, cause the
             lion's share of a case to be heard by a referee. (6 Witkin, Cal. Procedure (4th ed. 1997)
16
             Proceedings Without Trial, § 61, pp. 460-461.) Neither section 259 nor section 639
17           authorizes a commissioner to preside over a case in its entirety and decide all legal
18           and factual issues. (Ruisi v. Thieriot; Settlemire v. Superior Court).”

19
             3. Miner Was Entitled To A Judge Pursuant To The Court’s Rules
20
             “Laumboy is correct that she was entitled to notice—either by "[a] conspicuous sign
21           posted inside or just outside the courtroom, accompanied by oral notification or
22           notification by videotape or audiotape by a court officer on the day of the hearing" or by a
             written notice provided to her (Cal. Rules of Court, rule 2.816(c))—that the case was
23
             going to be heard by a judge pro tem, and that she had the right, absent a stipulation, to
24           have the case heard by a sitting judge* rather than a judge pro tem.” (Roldan v.
25           Laumboy, No. B286155 (Cal. Ct. App. June 26, 2019)). (ROC Rule 8.1115. (b)(1)
             * (No party has stated Miner did not request a judge. See Decl. Miner)
26
27    E. Notice was Required By The Court
28           Notice is an integral part of due process. By law the commissioner was entitled to sit on

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 1    the bench as a subordinate. He was not permitted to switch robes [to a judge] without notice,

 2    acknowledgment and stipulation. The Horton court gave multiple notices / solicited stipulations.

 3
             1. Horton Is Distinguishable ~ No Comparison
 4           “Respondent also submits the declaration of Commissioner Cowell that he habitually
 5           solicited stipulations to his presiding, that he reminded petitioner's counsel to get a
             stipulation, that both defense counsel had appeared before him on many occasions and
 6
             knew that he was a commissioner and that neither had ever declined to stipulate to his
 7           presiding in the past. He had no reason to doubt that counsel would obtain and file the
 8           necessary stipulation.” (In re Horton,(1991).)

 9
      F. Subject Matter Jurisdiction
10           Subject matter jurisdiction, as distinct from jurisdiction of the parties, cannot
11    be conferred by consent, waiver, or estoppel. (See Estate of Buckley (1982) The principle of
12    `subject matter jurisdiction' relates to the inherent authority of the court involved to deal with the
      case or matter before it." (Conservatorship of O'Connor (1996) Thus, in the absence of subject
13
      matter jurisdiction, a trial court has no power "to hear or determine [the] case." (Abelleira v.
14    District Court of Appeal (1941) And any judgment or order rendered by a court lacking subject
15    matter jurisdiction is "void on its face...." (Rochin v. Pat Johnson Manufacturing (1998)
      G. Fundamental Jurisdiction
16
             Courts generally refer to jurisdiction over the parties and subject matter in any action as
17    "fundamental jurisdiction," and where this is lacking there is an entire absence of power to hear
18    or determine the case. The vexatious litigant motion is a special proceeding. It was not a
      subordinate judicial duty by statute, constitution or CCP §259. A commissioner would need to
19
      notice the parties. Express stipulation would need to be granted. Even then the Order could not
20
      be issued in limited civil jurisdiction. Void Orders (4)(Davidson v. Superior Court, (1999).)
21    H. Vexatious Litigant Declaration and Orders Are Permanent Injunctions
22           A vexatious litigant decree is a permanent injunction. It never goes away without
      removal. (Luckett v. Panos, (Ct. App. 2008)). A permanent injunction cannot be granted by a
23
      subordinate commissioner who Defendant never stipulated to. (Settlemire v. Superior Court)
24    (Bernie v. Stevens (2009). Exceeded his subordinate authority. (In re Eduardo G, p.753)
25    I. Permanent Injunctions May Not Issue By Law In Limited Jurisdiction
             It is well established that the court has jurisdiction to determine its own jurisdiction.
26
      (Rescue Army v. Municipal Court of City of L.A. (1946)
27           It is also well settled that the jurisdiction of a court depends alone on the amount in
28    controversy. (Bradley v. Kent (1863) 22 17 Cal. 169, 170.) Accordingly, in a limited matter the

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 1    court has no authority to award a judgment exceeding $25,000.00 nor can a permanent injunction

 2    be granted in limited civil jurisdiction. (Dedication & Everlasting Love to Animals, Inc. v. City of
      El Monte, (2022). (Ytuarte v. Superior Court, (2005).
 3
      J. Improper Citations Do Not Confer Jurisdiction
 4            Improperly authored citations, and improper motions to enact special proceedings that
 5    cannot be adjudicated in limited civil, do not “expand” jurisdiction and cannot convey or assign
      fundamental jurisdiction required of a judge ~ to a subordinate judicial officer i.e. commissioner.
 6
      Due process. (Jovine v. FHP, Inc., (1998).) Injunction. (Settlemire v. Superior Court, (2003).
 7    Aetna Life Ins. Co. v. Superior Court (1986).
 8            Since Defendant began to argue these jurisdictional issues (1) the trial court has altered its
      case assignment NOTICE to include information and a new rules about non-stipulation to a
 9
      commissioner (2) this, tacitly admitting the trial court failed to issue NOTICE regarding
10    stipulation, is pursuant to notice and due process, (3) the NOTICE (sign) also has changed on the
11    front door of the courtroom PS4. (See Decl. Miner) “A waiver is ordinarily an intentional
12    relinquishment or abandonment of a known right or privilege.” (Johnson v. Zerbst (1938);
      Brewer v. Williams (1977).
13
              Defendant submits the phrase “all parties stipulate to commissioner” is fundamentally
14    different than “all parties stipulate to commissioner who will act as a temporary judge.” The
15    notice the court gave was “all parties stipulate to commissioner” which is inadequate because
      Defendant’s case calls for a commissioner (acting as subordinate officer) by statute.
16
      K. Due Process Requires Notice
17            Taking away a persons right to the court system is a very serious issue. Due process
18    requires "notice reasonably calculated, under all the circumstances, to apprise interested parties
      of the pendency of the action and afford them an opportunity to present their objections."
19
      (Mullane v. Central Hanover Bank & Trust Co. (1950)
20
      L. Waiver and Forfeiture
21            Before directly confronting the question, we must carefully consider what we mean by the
22    word "waiver." Over the years, cases have used the word loosely to describe two related, but
      distinct, concepts: (1) losing a right by failing to assert it, more precisely called forfeiture; and (2)
23
      intentionally relinquishing a known right. "[T]he terms `waiver' and `forfeiture' have long been
24    used interchangeably. (3) The United States Supreme Court recently observed, however: `Waiver
25    is different from forfeiture. Whereas forfeiture is the failure to make the timely assertion of a
      right, waiver is the "intentional relinquishment or abandonment of a known right." [Citations.]'
26
      (United States v. Olano (1993); (People v. Saunders (1993) (Cowan v. Superior Court (1996)
27    M. No local rule to stipulate. No plaque. No Notice. No due process
28            No local rule existed regarding stipulation. No local rule regarding administrative

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 1    citations. As the City states in its own brief, a commissioner was sufficient, no judge was

 2    required. Forcing stipulation on a party who wants to be tried by a judge is against public policy.

 3
              LOCAL RULE 1060 states nothing about stipulation
 4            LOCAL RULE 5145 A. 1. Applies to domestic violence restraining orders
 5
              No case law or local rule exists leading to a stipulation. Every document the court has
 6
      filed states parties stipulate to a commissioner. No words state as a temporary judge and a
 7    temporary judge was not required for the proceeding per statute.
 8            In In re Marriage of Galis (1983) 149 Cal.App.3d 147 [196 Cal.Rptr. 659] (Galis) and
      In re Frye (1983) 150 Cal.App.3d 407 [197 Cal.Rptr. 755] (Frye), both decided in the same
 9
      year, the Court of Appeal voided a commissioner's judgment in a contested marital dissolution
10    proceeding and a commissioner's order of contempt for failure to make child support payments,
11    respectively. (Galis, at pp. 150, 155; Frye, at p. 409.) In so ruling, the court in Galis explained
12    that while it was mindful that commissioners are an "important tool in the economical and
      expeditious administration of justice" and are so widely used that stipulation is usually a "mere
13
      formality," it would nevertheless be unlawful to "force an unwilling litigant to try his or her case
14    before someone other than a judge." (Galis, at p. 154.) (Michaels v. Turk (2015).) (Settlemire v.
15    Superior Court (2003)
      N. The Law Does Not Require Futile Acts
16
              The hotly contested vexatious litigant motion was made against Miner, in the last 5
17    minutes of trial, within the four corners of a single defense, of a single city citation, in limited
18    civil jurisdiction, and was heard by a commissioner who Miner had non stipulated to five
      separate times. Even if Miner had known the commissioner would acts as a judge, which he did
19
      not. The law does not require the doing of a futile act. (Smith v. Dorn, 96 Cal. 73 [30 P. 1024];
20
      O. Manifestly Unjust Decisions
21            "Since at least 1930, the `modern view' has been that the doctrine of the law of the case
22    should not be adhered to when its application results in a manifestly unjust decision.” (Davidson
      v. Superior Court, (1999)
23
      P. Relevant Cases - Foosadas and Horton
24            Here, the clerk’s oral information gave no notice. The documents sent by the court gave
25    no such notice. There was no notice. Nevertheless, in response to the court clerks memorized
      statement that Miner had a choice, Miner requested a superior court judge at the 2/4/22 hearing.
26
      In this case there was no similar sign1 (notice). (Foosadas v. Superior Court, (2005).
27    1
       It is my understanding that the sign on the door of the courtroom has changed because a letter was sent to the
28    presiding judge. Additionally the court has now changed it case assignment notice which gives notice of
      nonstipulaiton. Coincidental? Defendant Miner had no notice of these important judicial and due process issues.

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 1           This was the trigger that prompted James Hodgkins to recuse himself. (See Decl. Miner)

 2    Foosadas further states:

 3
             “. . . The Legislature has specified the powers of a commissioner and the
 4           circumstances in which a commissioner may act as a temporary judge, but none
 5           permit a commissioner to act as a temporary judge without the stipulation of the
             parties.”
 6
 7           “The State Constitution also provides for the appointment of a temporary judge. "On
 8           stipulation of the parties litigant the court may order a cause to be tried by a temporary
             judge who is a member of the State Bar, sworn and empowered to act until final
 9
             determination of the cause." (Cal. Const., art. VI, § 21.)”
10
11           “The real party concedes defendant has not participated in a hearing before Commissioner
12           Kronlund acting as a temporary judge. Since neither party to a proceeding involving a
             subordinate judicial duty need stipulate that a commissioner may preside over it, no
13
             stipulation can be implied from the party's participation in it... (In re Mark L. (1983)”
14
15           It is uncontroverted, and is indisputable, in the case at bar, there was never a notice the
      commissioner would act as a judge. The issue here is that the commissioner had every right to be
16
      at the hearing as a subordinate judicial officer per statute. It was not until he began acting as a
17    judge that Miner was again forced to file additional documents.
18           There are clear difference between Horton this case. There were many NOTICES and
      colloquies between counsel and the court regarding stipulation to a temporary judge. Consuming
19
      the Horton case line by line ~ there is nothing really similar with Horton and this case before the
20
      court. (In re Horton, (1991)).
21
22           “The issue in this case is whether a court commissioner may conduct a trial in a capital
             case when no oral or written stipulation of the parties authorized him to sit as a temporary
23
             judge, but when defense counsel proceeded to trial without objection, knowing that the
24           judge was a court commissioner.”
25
             “It is uncontroverted that Commissioner Cowell's standard practice was to inquire of
26
             all counsel whether a stipulation had been filed appointing him as a temporary
27           judge,...”
28

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 1              “The clerk's and reporter's transcripts prepared in the course of petitioner's trial establish

 2              these further facts. At the first hearing in the capital trial before Commissioner Cowell, on
                April 6, 1984, petitioner was not present. The clerk of the court reminded the court that a
 3
                stipulation to the commissioner serving as a temporary judge was needed from petitioner.
 4
 5              Reading the case comprehensively. The Horton court offered many notices. Stating what
      should be obvious is that there were many procedures and motions before the Horton trial. The
 6
      fact pattern here is quite different and distinguishable. Here, the clerk never stated a stipulation
 7    needed to be signed. There has been no mention by the court of “stipulating.”
 8              Defendant Miner began his non stipulation and request for a judge on 2/4/22. The
      commissioner was “entitled” to adjudicate the “citation” pursuant to 53069.4. It was not clear the
 9
      commissioner would exceed his judicial boundaries until 5/12/22. This is where the
10    commissioner’s acts become foggy. Again, Miner filed a written notice of non stipulation 6/7/22,
11    and then a separate motion for non stipulation on 6/23/22. All requests for a judge and non
12    stipulations to: a subordinate judicial officer, a commissioner, or a temporary judge were timely
      and months before trial or the separate proceeding 9/22/22 that required, by law, a separate act of
13
      notice and express stipulation before the vexatious litigant hearing. This was a structural error.
14              See (In re Jasmine G. (2005) regarding notice and stipulation “Under such
15    circumstances, SSA can hardly be heard to assert there was a knowing waiver of the notice
      issue.”
16
17              “Trial errors—those which occur during presentation of the case to the trier of fact—may
18              be evaluated to see if the error was harmless beyond a reasonable doubt. . . . Structural
                defects are those "affecting the framework within which the trial proceeds, rather than
19
                simply an error in the trial process itself. `... may be regarded as fundamentally fair.'
20
                [Citation.]" (Id. at p. 310, 111 S.Ct. 1246.)
21
22              Failure to comply with the statute in this case resulted in a mistake of constitutional
                dimension. (Arizona v. Fulminante (1991))
23
      Q. The Court Granted Relief It Had No Authority to Grant
24              The granting of relief, which a court under no circumstances has any authority to grant,
25    has been considered an aspect of fundamental jurisdiction for the purposes of declaring a
      judgment or order void. (Grannis v. Superior Court (1905); Hunter v. Superior Court, (1939)).
26
      //
27    //
28    //

                                         MOTION TO VACATE VOID JUDGMENT                              FAC PG 98
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 1    R. The Right To A Judge Is a Constitutional Dimension

 2            The person by whom the judicial function is exercised, the judge, is of course an essential
      component of the exercise of judicial power. (Hamblin v. Superior Court (1925). The right to
 3
      have a judge preside is a right of constitutional dimension.
 4                                                 IV. SUMMATION
 5            Defendant Miner, as a pro se, cannot articulate this issue better than the Court of Appeal.
      While not citing this case below per se, because it is unpublished, Miner pirates the text of the
 6
      Court of Appeal and cites the published cases itself cites. (Estate of Shaw, No. B188153 (Cal. Ct.
 7    App. Dec. 3, 2007)) California Court of Appeals, Second District, Eighth Division. The
 8    proceeding has many similarities to the instant case. The Haupman text is as follows:

 9
      “The Commissioner’s Order and Judgment Is Void”
10    “In the absence of an express or implied stipulation to a commissioner, the order or judgment
11    issued by that commissioner is void. (In re Horton (1991) 54 Cal.3d 82. 90: Kim v. Superior
12    Court (1988) 64 Cal.App.4th 256. 260.) "The jurisdiction of a court commissioner, or any other
      temporary judge to try a cause derives from the parties' stipulation." (Ibid.) A party may
13
      impliedly stipulate to a commissioner where the parties' conduct is tantamount to a stipulation
14    such as where a party proceeds through an entire trial with a commissioner with knowledge
15    that the person conducting the trial is a commissioner and the commissioner is treated as
      competent to rule on matters which rest solely in the discretion of a judge.2 (Id. at p. 98.)
16
      “First, appellant refused to stipulate to Commissioner Haupman at the April hearing and
17    that refusal meant that Commissioner Haupman did not have authority to decide any issue
18    in the case. Although the file apparently was missing, as appellant argued, it was not her
      responsibility to reiterate her previously made refusal to stipulate to Commissioner
19
      Haupman....”
20
21    “as discussed above, our high court has made clear that conduct by a commissioner absent
22    stipulation is void. The power of a commissioner to act as a temporary judge requires a
      stipulation. (In re Frye (1983) 150 Cal.App.3d 407, 410.) The stipulation is not merely a
23
      regulation of procedure, but is what allows the temporary judge authority over the parties.
24    Without it, the court has no jurisdiction in the fundamental sense. (Cf. People v. Tijerina
25    (1969); In re Steven A. (1993)”

26
      2
27     Defendant Miner not only non-stipulated five separate times, long before trial or the vexatious litigant motion.
      Miner filed two statements of disqualification stating he believed the commissioner showed an appearance of bias.
28    These were constitutionally permitted and not an endorsement of the commissioner being “competent to rule on the
      matters” at all.

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 1                                                     V. CONCLUSION

 2             This declaration and injunction at issue involved ONE single administrative citation
      defense involving a Defendant ~ defending himself, making a record, after a subordinate judicial
 3
      officer would not permit discovery, witnesses or statutory procedure of CCP. §85-100.
 4             No law, or established case supports a commissioner, a subordinate judicial officer, may
 5    grant this relief to the Plaintiff City against Defendant in limited civil jurisdiction.3
               Voluminous law supports that he cannot. Cal. Const., art. VI, § 21, 22, CCP §259.
 6
      (Settlemire, Rooney, Horton, Edgar, Foosadas, Tijerina,, Aetna, Galis, Pittman; Nierenberg;
 7    Reisman et al.) The court must check it’s jurisdiction. (Louisville Nashville R.R. v. Mottley).
 8             Just as a party cannot file an unlawful detainer in small claims because the court has no
      jurisdiction (unlawful detainer proceedings. See CCP §116.220), a party cannot obtain a
 9
      vexatious litigant order (declaratory or injunctive relief)4 from a subordinate judicial officer, in
10    limited civil jurisdiction, in the form of a permanent injunction against a Defendant or party.
11             The commissioner could not establish fundamental jurisdiction. The non-stipulations
12    stated and filed by Defendant were a continuing refusal for all future hearings and proceedings
      far in advance of the ancillary (separate) special proceeding.
13
               No intent to act as a judge was noticed by the court. No stipulation was requested or
14    discussed by the court, or granted by parties litigant. A commissioner does a wear the magic robe
15    of a judge without consent. The subordinate judicial officer granted relief he had no authority to
      grant. United States v. Cotton p. 630 ~ Jurisdiction is NEVER waived or forfeited.
16
               Even if Miner was the plaintiff (he was not), and even if the commissioner had
17    fundamental jurisdiction over the parties and the subject matter in the vexatious litigant special
18    proceeding (which he didn’t), a permanent injunction order cannot be issued in limited civil
      jurisdiction (which it can’t).
19
               The commissioner lacked fundamental and subject matter jurisdiction to adjudicate the
20
      vexatious litigant proceeding. The Court granted relief it had no authority and no jurisdiction to
21    grant under any scenario. Under the facts and law provided herein that the judgment is void ab
22    inito. Defendant respectfully requests this court vacate the void judgment; it is
      constitutionally invalid.
23
                                                              ______________________________
24                                                            /s/ Joseph Miner (pro per) 1/4/2024
25    3
         In short, the Appellate Division concluded that because the action had begun as a " 'limited civil' case," the trial
26    court did not have authority to issue a permanent injunction - the only injunctive relief available in " 'limited civil'
      cases" was of a temporary nature to preserve property or rights of a party.
27    Gort v. Kort, G047914 (Cal. App. Apr 25, 2014) (unpublished)
      4
        "Moreover, a plaintiff in a limited civil action may not obtain a permanent injunction and has fewer rights for
28    declaratory relief than a litigant in an unlimited case. (See § 86, subds. (a)(7) & (a)(8).)..." Ytuarte v. Superior Court,
      28 Cal.Rptr.3d 474, 129 Cal.App.4th 266 (Cal. App. 2005)

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 1                                 DECLARATION OF JOSEPH MINER

 2                                      (motion to vacate void judgment)
      I, Joseph Miner, state and declare.
 3
      1. My name is Joseph Miner. I am the Defendant and Appellant in the above-captioned
 4       proceeding (ex 3). I am over the age of eighteen (18). This Declaration is submitted in
 5       support of Defendant’s Motion to vacate a void judgment.
      2. Except where stated, upon information and belief, the facts set forth in this Declaration are
 6
         known to me personally, and as to those facts, if called and placed under oath as a witness, I
 7       could and would competently testify thereto in a court of law. As to those facts stated upon
 8       information and belief, in good faith I believe them to be true.
      3. I personally write this statement and declaration. I have researched and believe I have
 9
         complied with rule of court and local rules. I would note that I have found the bench guide on
10       self represented litigants to be instructional regarding many of the instant issues before this
11       court. I read law with clarity. I am topically educated in law and civil procedure.
12    4. I offer this information as if I was asked the proper questions by my trial counsel while I was
         on a witness stand. I have not previously testified to most issues articulated below.
13
      5. This declaration is somewhat verbose. This testimony must be part of the record. I write this
14       declaration so that there are no assumptions made by the court.
15    6. When I walked into PS4 and the judicial officer (Knighten) seemed to anticipate a trial that
         very day. I had no administrative hearing, no ability to confront my accuser, no discovery, no
16
         city witnesses, no documents. The entire procedure, in my view was a kangaroo court worthy
17       of a Franz Kafka story. It only got worse.
18    7. Do I have an opinion. Yes. It appeared to me, because I was a witness in the courtroom for
         every proceeding, that Arthur Hester believed he was a judge. He signed the vexatious
19
         litigant Order as JUDGE. He is not a Judge of the Superior Court. (ex 2. ex pg 5). To act as a
20
         judge, notice was required and the stipulation of parties litigant was mandate.
21    8. There is not one stipulation to Arthur Hester on the record or any reporters transcript.
22    9. The clerk’s boilerplate minutes in this courtroom are routinely in error. They state “all parties
         stipulate to commissioner” (ex 11 pg 40) when in fact there had been five non stipulations
23
         and Miner non stipulated to the commissioner that same day twice and in the same
24       proceeding. (ex 24A:14-25)
25    The Ranch
      10. I have owned my ranch for about 20 years.
26
      11. The ranch land was annexed into the City jurisdiction in 2010.
27    12. Prior to this citation I had no issues with the City. Ever.
28    13. There was no litigation, no issues, no code complaints involving this City.

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 1    This Proceeding and Citation Defense

 2    14. This dispute began 4/28/21.
      15. A citation was issued 8/18/21. I disagreed with the citation.
 3
      16. I filed documents and paid $500 in advance to defend myself and have the case heard before
 4       an administrative hearing officer.
 5    17. I was then denied an administrative hearing in this case. It was held in secret without me.
      18. I was never in front of a hearing officer for this case.
 6
      19. My only option remaining to defend myself was to reclassify the case to superior court per
 7       statute (GC. §53069.4) for a trial de novo or appeal de novo.
 8    20. When I filed to reclassify the administrative case to a civil de novo case 12/6/21 I understood
         it was a limited civil proceeding pursuant to GC. §53069.4.(b)(1)
 9
      21. I was defending against a City issued document titled an “administrative citation.”
10    22. Shortly thereafter (12/7/21) I was mailed notice the case was assigned to Hon. Arthur Hester.
11       a. The notice does not state whether Hon. Arthur Hester is an attorney, a traffic referee, a
12           commissioner, a temporary judge, or an appointed judge. Nor does it state you must
             stipulate or non stipulate to a commissioner acting as a temporary judge. (ex 4)
13
      23. The first hearing was 1/6/22.
14       a. The date was just 30 days from filing.
15       b. It appeared the case was set for “trial.” It seemed that this conflicted with statute and civil
             procedure.
16
         c. At the hearing the court clerk stated all parties have the right to have their matter heard
17           before a commissioner or a judge.
18       d. Michael Knighten, judge pro tem was on the bench. My turn came. A colloquy ensued.
             (ex 5)
19
         e. During the discussion it became clear the judicial officer wanted to complete the case that
20
             day, during that hearing. Effectively put on the trial do novo that very day.
21       f. I sensed the proceeding was not going to be administrated pursuant to the civil code of
22           procedure with the legal tools of defense and due process ~ deposition, discovery,
             witnesses.
23
         g. There was no discussion about stipulating to a commissioner as a temporary judge.
24       h. The matter was continued to 1/20/22.
25    24. I completed significant research finding the following issues that affected this case. I believe
         the following statements are true facts:
26
         a. Statute §53069.4 (b)(1) states that the proceeding is a “limited civil case.”
27       b. The law does not state this proceeding is a single hearing.
28       c. The law does not prevent discovery: GC.§53069.4(b)(1).

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 1        d. The law permits discovery: CCP. §85-100.

 2        e. Judges have ruled the law permits discovery: (ex 17, 19)
          f. Case law states administrative appeals in superior court are a “trial de novo.” 5
 3
          g. CCP. §85-100 clarifies the procedure in a limited civil case.
 4        h. CCP. §92(a) states general demurrers are permitted.
 5        i. CCP. §92(c) states motions are permitted.
          j. CCP. §94(a-c) states interrogatories, document production, requests for admission, a
 6
               deposition and a subpoena duces tecum are permitted.
 7        k. Pursuant to GC. §53069.4 the procedure is labeled a de novo appeal.
 8        l. It is labeled an appeal for constitutional reasons. It is effectively a new trial, and there is
               no deference to the hearing officer’s findings (Collier & Wallis, Ltd., v. Astor,)
 9
          m. The administrative case becomes a limited civil case §53069.4, §85(c) #14.
10        n. Adjudication is a subordinate judicial duty (GC. §53069.4)6.
11        o. A commissioner is a subordinate judicial officer (Cal. Const., art. VI, § 21, 22, CCP 259)
12        p. Discovery is a matter of right in a limited civil case (Chavez v. City of Los Angeles.
               Dedication & Everlasting Love to Animals, Inc. v. City of El Monte).
13
      25. On 1/18/22 I requested an ex parte continuance. Hon. Arthur Hester was presiding.
14        a. The continuance was granted. The court indicated this was the last continuance.
15        b. Statute §53069.4(b)(3) makes clear the matter may adjudicated by subordinate judicial
               officers.
16
          c. The minute order states Hon. Arthur Hester is a commissioner. (ex 4)
17        d. The minute order states “All parties stipulate to Commissioner.”
18        e. A commissioner is a subordinate judicial officer. CCP §259.
          f. The minute order does not state “All parties stipulate to Commissioner to act as a
19
               temporary judge. The concepts are fundamentally and vastly different.
20
          g. No text appears that Arthur Hester is any level higher than a subordinate judicial officer.
21        h. The text “temporary judge” does not appear in one single minute order associated with
22             Arthur Hester. Nor does it appear in (ex 4)
          i. There was no discussion about stipulating to the commissioner as a temporary judge.
23
          j. Granting ex parte continuances is a subordinate judicial duty. CCP §259.
24    26. At this point I become concerned that the court is not going to permit my statutory limited
25        civil case, including all process, discovery and interrogatories I entitled to as a matter of law.
      5
26      (See Collier & Wallis, Ltd., v. Astor, 9 Cal. 2d 202, 70 P.2d 171 (1937). There is no deference to a hearing officer,
      “It is in no sense a review of the hearing previously held, but is a complete trial of the controversy, the same as if no
27    previous hearing had ever been held.”
      6
        It is only a subordinate judicial duty of the citation is properly prepared. Analog. The code officer cannot cite
28    individuals for issues NOT applicable to subordinate judicial duty ~ this would automatically interfere with the
      adjudication by a subordinate judicial officer per se.

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 1    27. From my past experiences in court I believed a duly appointed judge would follow the statute

 2       and procedure.
      28. On 2/4/22 the court clerk pursuant to ROC 2.816 stated to everyone in the courtroom you are
 3
         entitled to have your case be heard by a commissioner or a judge.
 4       a. ROC 2.816(b)(3) states “(3) The party has a right to have the matter heard before a judge,
 5           commissioner, or referee of the court.”
         b. At the hearing I told the clerk I wanted a judge to hear my case. She stated that when my
 6
             case is called to request a judge.
 7       c. When my case was called I approached the counsel table. I stated in open court I wanted a
 8           judge.
         d. It is my understanding proceedings in PS4 are livestreamed via webex, or zoom, and that
 9
             there are video and audio recordings achieved of all court sessions. Therefore my express
10           request for a judge is memorized for the court’s review.
11    29. On 2/4/22 James Hodgkins, a commissioner, was acting as a judge pro tem on the bench that
12       day.
         a. When I informed James Hodgkins, who was on the bench, I requested a judge ~ a
13
             discussion ensued. Important facts of the discussion are not accurately reflected in the
14           clerks’s minutes.
15       b. James Hodgkins accepted my request for a judge. He stated that he had a conflict of
             interest as he had been an attorney for the City of Desert Hot Springs. City attorney Tuan
16
             Vu had some interaction with him about Desert hot Springs. There was no discussion of a
17           commissioner or Arthur Hester at all.
18       c. I have referenced this colloquy in the body of this motion at pg. 9:2-8.
         d. The court’s own video will confirm my choice of a judge and my testimony here.
19
         e. The hearing and request for a judge covered both cases at issue CVPS2106001 and
20
             CVPS2106016.
21       f. The court’s record and minute order (ex 5, 7) I was advised offered the choice of a
22           commissioner or a judge.
         g. There is nothing in the record that contradict my testimony that I requested a judge.
23
         h. In almost two years the other party has not contradicted my statement or testimony.
24    30. My request for a judge was early, timely, in open court, on the record.
25    31. In my opinion this is where the issues began that have led to this motion.
         a. The court clerk did not accurately reflect what occurred in the minutes.
26
         b. I have no idea, because there were so many judicial officers, if the clerk properly notified
27           Arthur Hester, that I chose a judge on 2/4/22.
28       c. This case is complex. It began with a constitutional search and seizure, due process, land

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 1           annexation, and a host of failures by the City to follow its own law.

 2       d. I immersed myself in this intersection of municipal/administrative/civil law. I found it is
             obscure. I could not locate an attorney that knew much about it.
 3
         e. A subordinate judicial officer, such as a commissioner, has authority to administer
 4           hearings and subordinate judicial tasks.
 5       f. Pursuant to GC. §53069.4 a properly issued citation is a “subordinate judicial duty.”
         g. The significant but ancillary issues are not subordinate judicial duty.
 6
         h. This is why I agreed to the court’s offer to have the case heard by a judge.
 7    32. When Arthur Hester returned to the bench he was entitled to do so as a subordinate duty
 8       pursuant to GC. §53069.4 (b)(3) and CCP. 259.
         a. While it was confusing for him to do so, it was the law as a subordinate. This is how I
 9
             interpreted the law.
10       b. To be clear. There was NEVER a discussion of Arthur Hester acting as a judge.
11       c. There has been NO NOTICE that Arthur Hester wold act as a judge.
12       d. There had been no mention of Arthur Hester making a request for a “stipulation” to act as
             a judge.
13
         e. There has been no discussion, and no agreement in any hearing to permit Arthur Hester to
14           act as a judge.
15       f. The entire court record of 329 pages there is no mention of Arthur Hester acting as a
             judge or temporary judge.
16
         g. Arthur Hester’s plaque on the bench states “commissioner” not judge or temporary judge.
17       h. It is my understanding that it is unlawful to "force an unwilling litigant” to try his or her
18           case before someone other than a judge.
         i. The words “all parties stipulate to a commissioner” meant nothing to me because a
19
             commissioner was entitled to hear a properly issued citation.
20
         j. No minutes in the entire case make statement about Miner stipulating to the
21           commissioner to act as a temporary judge.
22       k. No statement in the entire reporter’s transcript make statement about Miner stipulating to
             the commissioner to act as a temporary judge.
23
         l. Defendant’s hybrid co-council Joseph Rosenblit did not stipulate to the commissioner to
24           act as a temporary judge. (See Decl. Joseph Rosenblit)
25       m. I never agreed or stipulated to Arthur Hester acting as a temporary judge in the citation
             proceeding, or the separate vexatious litigant special proceeding.
26
         n. There is no evidence in the 5,500 page record that confirms otherwise.
27    33. My request for a judge on 2/4/22 was a choice for a judge, and a rejection of a commissioner.
28       Effectively and tantamount to a continuing non-stipulation to ever act as a judge.

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 1    34. I did everything in my power to have my case adjudicated by a superior court judge with all

 2       the procedure I was entitled to as a limited civil case pursuant to CCP. 85-100.
      35. Beginning 3/17/22 I hired a court reporter. The evidence shows no stipulation exists on the
 3
         record to permit the court commissioner to act as a judge in any hearing. Full stop.
 4    36. On 5/12/22 I determined the commissioner grossly exceed his authority as a subordinate
 5       judicial officer.
      37. On 6/7/22, I filed an additional document. A notice of written non-stipulation. The notice
 6
         was in advance of trial, in advance of the vexatious litigant proceeding and states:
 7
 8           “Defendant files this notice of non-stipulation for all further proceedings in cases
             CVPS2106001 and CVPS2106016. These cases are not to be heard by a Subordinate
 9           Judicial Officer, Commissioner, or Temporary Judge
10
             “No trial, sentencing, or preliminary hearing has occurred. Defendant has appeared
11           before three different subordinate judicial officers. Defendant, to his recollection, has
12           never knowingly or expressly stipulated to the Commissioner. Defendant has not
             consented or stipulated and will not stipulate or consent for Trial of the instant matter
13           be heard by a Subordinate Judicial Officer, Commissioner, or Temporary Judge.”
14
      38. This NOTICE OF NON STIPULATION was well in advance of any future trial, or the
15
         separate vexatious litigant proceeding.
16    39. Because it was in advance of the trials and in advance of the separate special proceeding. I
17       contend it was legal, proper notice, and timely (in advance).
      40. There are many errors in the court minutes. As an example on 6/7/22 I filed a written notice
18
         of non stipulation.
19    41. A good example of this is that On 6/23/22 a motion was heard where I non stipulated. And on
20       6/23/22 I non-stipulated orally on the record.
      42. The clerk continued to place “All parties stipulate to the Commissioner” in the minutes
21
         AFTER I expressly non-stipulated on the record.
22
         a. Based on my personal inspection, the clerk’s minutes are minimal boilerplate and not
23           reflective of the true and correct facts.
24    The Law
      43. The hearing officer ignored the law. This was confusing.
25
      44. The commissioner then ignored the law. For example he would not address the unlawful
26       warrantless search by the city and cabined the citation to the date of the citation itself when
27       the code cases were opened on 4/28/21.
      45. After my research it appears that the hearing officer is a fact finder and had no legal authority
28

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 1       to adjudicate law.

 2    46. When the city violates the law, its own hearing officer has no authority to adjudicate the
         violations.
 3
      47. It appears a subordinate judicial officer (commissioner) is also fact finder and has no
 4       authority to render conclusions of law unless acting as a judge. (Rooney, Horton, Edgar,
 5       Foosadas, Tijerina, Settlemire, Aetna, Galis et al.)
      48. Lastly, it appears the appellate department, in review of administrative citation cases, simply
 6
         looks at the facts, and also skips the conclusions of law ruling on “substantial evidence” ~
 7       skipping over the legal arguments.
 8    49. In this case, according to my attorney, there are many violations of law ~ by the City.
      Vexatious Litigant Issues
 9
      50. My research supports the following:
10    51. Only a Defendant can bring a “first instance” vexatious litigant motion.
11    52. A pre-filing order is a permanent injunction (luckette
12    53. A subordinate judicial officer lacks authority and jurisdiction to issue an injunction
      54. A permanent injunction cannot be issued in limited civil jurisdiction
13
      Conformation Miner is Defendant
14    55. I have defended myself from the day I was issued the citation.
15    56. I believe the court of appeal has now clarified this issue even though they have denied
         transfer of the appellate case in the appellate division.
16
      57. The Court of Appeal re-captioned the two appellate division cases on its own volition to
17       the following: City of Desert Hot Springs, plaintiff and respondent vs Joseph Miner,
18       defendant and appellant (ex 3). This dispels the Appellate Division’s reasoning.
      58. Only the defendant can bring the vexatious litigant motion to declare a litigious plaintiff
19
         vexatious. Joseph Miner is and was the Defendant. It seems the commissioner was in error.
20
      59. It also seems the Court of Appeal’s party designation (ex 3) are now in conflict with the
21       Appellate Department’s conclusions. CCP. 391.1(a). (ex 14)
22    60. I was active. I did not sit around and do nothing about these issues. I never acquiesced. Five
         non stimulations were made. After denial of each it was futile to and angered the court to
23
         mention them. I was admonished for non stipulating at the vexatious litigant hearing.
24    61. The case was complex and became more complex as it progressed. I did everything in my
25       power to place this case under the proper jurisdiction so that these issues would not arise.
      62. I have personally spoken with and emailed Monty Agarwal. This is a case, Wang, the
26
         Appellate Division used determining I was Plaintiff. Mr. Agarwal knew his client was
27       Defendant. The law was so new that he filed as Plaintiff because it prevented dismissal and it
28       had no bearing on his client. Mr. Agarwal supplied me with several documents that are

                                      MOTION TO VACATE VOID JUDGMENT                               FAC PG 107
      FILE: M87HM48WH1P88005873OL                                                                    Page 30
     Case  8:24-cv-02793-CAS-E
      FAC PG 108
                                          Document 6-1 Filed 01/29/25          Page 47 of 261 Page ID
                                                    #:369


 1       relevant to this case. (ex 20)

 2    63. Defendant has NEVER stipulated to Arthur Hester acting as a judge. Not in the entire
         proceeding will this court find a single stipulation on the record.
 3
      64. Exhibit #21 uncontrovertedly supports the Superior Court has changed its NOTICE
 4       advising commissioners are acting as temporary judges. Prior to this case the
 5       assignment did not give this important NOTICE see ex #4. This document is evidence
         from this courthouse that supports this entire motion.
 6
      65. Before this citation case I had no previous issues with the City. No lawsuits, no harassment,
 7       not even a visit to City hall since my ranch was annexed by the City in 2010.
 8    66. Lastly, I do not believe I was given a proper chance to be heard. No notice, and no chance to
         be heard. When I attempted to explain why I filed the motions the court cut me off from
 9
         testimony. The commissioner continually was putting words into my mouth, cutting me off
10       mid sentence, and not permitting me to voice my own testimony.
11    67. These documents are provided for the court’s convenience. Many are duplicative. Each
12       exhibit is numbered and the entire file is numbered by pages to make documents easy to
         reference
13
      68. I do not believe I had a fair trial. I was denied discovery, witnesses, case management, and all
14       statutory procedure common in these cases as can be verified by decisions of Superior Court
15       Judges. (ex 17, 19, 20)

16
         All exhibits included herein are true and correct and if not file stamped are original copies of
17    the documents filed with the court and held within the record and or clerks appellate transcript.
18
         I declare under penalty of perjury under the laws of the State of California that the foregoing
19
      is true and correct. Executed on January 4, 2024, at Orange County, California.
20
21                                                  __________________________________
22                                                  /s/ Joseph Miner (pro per) 1/4/2024

23
24
25
26
27
28

                                      MOTION TO VACATE VOID JUDGMENT                           FAC PG 108
      FILE: M87HM48WH1P88005873OL                                                                 Page 31
     Case  8:24-cv-02793-CAS-E
      FAC PG 109
                                         Document 6-1      Filed 01/29/25     Page 48 of 261 Page ID
       Exhibits not included
                         #:370 with this filing.

 1                                             EXHIBIT LIST

 2    JUDICIAL NOTICE
           Defendant Joseph Miner requests this court take judicial notice of all Riverside County
 3
      Superior Court files in the instant limited civil case CVPS2106001 and limited civil appeal
 4    APRI22098.
 5    EXHIBITS

 6     Ex #    Date           Court officer        Issue                     Transcript    Minutes
       1       01/20/22       Hester               Judgment of Dismissal     Reporter
 7
       2       01/22/22       Hester               VL Order                  Reporter
 8
       3       12/19/23       Raphael              Party Role. COA           Record
 9
       4       12/07/22       Hester               Assignment                Record
10     5       01/06/22       Knighten             Hearing 1                 Video         X
11     6       01/18/22       Hester               Hearing 2                 Video         X
12     7       02/04/22       Hodgkins             (hearing 3, non stip)     Video         X
       8       06/07/22       Hester               (notice non stip)         Filing
13
       9       06/08/22       Hester               (motion non stip)         Filing
14
       10      6/23/22        Hester               (non stip hearing)        Reporter      X
15
       11      6/23/22        Hester               (forced stipulation)      Reporter      X
16     12      5/18/23                             AOB                       Record
17     13      7/20/23                             ARB                       Record

18     14      11/09/23       Jackson              Opinion                   Record
       15      11/27/23                            Petition for Rehearing    Record
19
       16      12/11/23                            Petition for Transfer     Record        212
20
       17      08/29/19       Blizzard             (discovery)
21     18      08/30/21       Renner               Wang Decision
22     19      04/12/22       Cadei                Wang discovery
23     20      03/25/22       Agarwal              Agarwal Dec.

24     21      09/06/23       Hodgkins (NEW)       Notice - Assignment
       22      09/22/22       Hester               (no stipulation) 321      Reporter      Transcript
25
       23      10/20/22       Hester               (no stipulation)          Reporter      Transcript
26
       24      Misc                                Court statements          Reporter      Transcript
27     25      01/03/24       Rosenblit            Declaration of Attorney
28

                                        MOTION TO VACATE VOID JUDGMENT                         FAC PG 109
      FILE: M87HM48WH1P88005873OL                                                                Page 32
Case  8:24-cv-02793-CAS-E
 FAC PG 110
                            Document 6-1 Filed 01/29/25   Page 49 of 261 Page ID
                                      #:371




                                                         5
                                                 Exhibit ___

                                                                      FAC PG 110
         Case  8:24-cv-02793-CAS-E
          FAC PG 111
                                                                                   Document 6-1 Filed 01/29/25                             Page 50 of 261 Page ID
                                                                                             #:372
                                                                                                                                                                                          VL- 115
 ATTORNEY            OR PARTY WITHOUT                ATTORNEY                               STATE BAR NUMBER:
                                                                                                                                                            FOR COURT USE ONLY
 NAME:

 FIRM NAME:

 STREET ADDRESS:

 CITY:                                                                                     STATE:            ZIP CODE:

 TELEPHONE             NO.:                                                                FAX NO.:

 E- MAIL ADDRESS:

 ATTORNEY            FOR(     name).
                                                                                                                                                         FOLIED                                           1'A'
                                                                                                                                           SO
              COURT OF APPEAL,                                                APPELLATE         DISTRICT,    DIVISION
                                                                                                                                                     COUNTY OFRIVERSIDEORNIA
   x
           I SUPERIOR                 COURT          OF CALIFORNIA,          COUNTY      OF     Riverside
  STREET ADDRESS:                    4100 Main St.                                                                                                        FEB
                                                                                                                                                           EB 2 9 2024
  MAILING ADDRESS:                                                                                                                                                                                            C
 CITY AND ZIP CODE:                   Riverside,        CA 92501                                                                                              T. Chavira
                                                                                                                                                                                                              rV
         BRANCH         NAME          Hall of Justice

           PLAINTIFF/                PETITIONER:          Joseph   Miner

 DEFENDANT/                   RESPONDENT:                 City of Desert     Hot Springs

                                              OTHER:
                                                                                                                                                                                                              i53
                                                                   ORDER TO FILE
                                            NEW LITIGATION                 BY VEXATIOUS                LITIGANT
                                                                                                                                    CASE   NUMBER
 Type of case:                   I    x           Limited Civil               Unlimited       Civil    I    I Small Claims
                                                                                                                                    CVPS2106001
                                                  Family Law       I         I Probate                 I    I Other




                                                                                                            ORDER



Approval             to file the attached                 document     is:


         a.    I          I Granted


         b. I x I Denied

         c.               I Other:




              Attachment to order.                        Number of pages:




Date:         02/ 29/ 2024                                                                                                                                    L




                                                                                                                                                E   I.   INtI),

                                                                                                                                CHADP                             fta AOE


                                                                                                                                                                                          Page   1   of   1


Form Approved for Optional                  Use                                                                                                                      Code of Civil Procedure,§   391. 7
                                                                                                      ORDER TO FILE
Judicial                of                                                                                                                                                         www. couns. ca. gov
VL 115( Rev        Sl eptember1California   018)                             NEW LITIGATION                BY VEXATIOUS      LITIGANT




                                                                                                                                                                        FAC PG 111
OQUW3440EO218GTN54D7K
               Case  8:24-cv-02793-CAS-E
                FAC PG 112
                                                                               Document 6-1 Filed 01/29/25                         Page 51 of 261 Page ID
                                                                                         #:373
                                                       Notice of Appeal/ Cross- Appeal                                              Clerk stamps date here when form is filed.
              APP- 102                                 (
                                                        Limited Civil Case)

    Instructions

          This form is only for appealing in a limited civil case. You can get other
          forms for appealing in unlimited civil cases at any courthouse or county law
          library or online at www. courts. ca. gov/ forms.
          Before you fill out this form, read Information on Appeal Procedures for
          Limited Civil Cases ( form APP- 101- INFO) to know your rights and
          responsibilities. You can get form APP- 101- INFO at any courthouse or
          county law library or online at www. courts. ca. gov/forms.                                                          You fill in the name and street address of the court

          You must              serve       and file this form       no    later than 30 days    after   the trial court
                                                                                                                               that issued the judgment or order you are
                                                                                                                               appealing:
          or a       party     serves a document                called   a Notice   of Entry of the trial court
                                                                                                                                Superior Court of California, County of
          judgment or a file- stamped copy of the judgment or 90 days after entry of                                            Riverside- Palm Springs Div.
         judgment,              whichever            is earlier( see rule 8. 823 of the California        Rules of
                                                                                                                                3255 E. Tahquitz Canyon
          Court for very limited                      exceptions).       If your notice of appeal is late, your
                                                                                                                                Palm Springs, CA 92262
          appeal will be dismissed.

          Fill out this form and make a copy of the completed form for your records
          and for each of the other parties.                                                                                   You fill in the number and name of the trial court
                                                                                                                               case in which you are appealing the judgment or
          Serve             copy of the completed form
                                                                                                                               order:
                        a                                                 on   each of the other parties and    keep
          proof of this service. You can get information about how to serve court                                               Trial Court Case Number:
          papers and proof of service from What Is Proof of Service? ( form APP- 109-                                           CVPS2106001
          INFO) and on the California Courts Online Self-Help Center at                                                         Trial Court Case Name:
          wwryv. courts. ca. gov/selfhelp-
                                                               serving. htm.
                                                                                                                                Miner v. City of Desert Hot Springs
          Take or mail the original completed form and proof of service on the other
          parties to the clerk' s office for the same court that issued the judgment or
                                                                                                                               The clerk will fill in the number below
          order you are appealing.     It is a good idea to take or mail an extra copy to the
          clerk and ask the clerk to stamp it to show that the original has been filed.                                         Appellate Division Case Number:



   0 Your Information
                a.      Name of appellant( the party who is filing this appeal):
                        Joseph Miner

                               Check here if more than one appellant and attach a separate page or pages listing the other appellants and
                               their contact information. At the top of each page, write " APP- 102, item Ia."
                b.      Appellant' s contact information ( skip this if the appellant has a lawyer for this appeal):
                        Street address: 2576 Newport Blvd. # A                                                         Costa Mesa                    CA         92627
                                                     Street                                                            City                          State      Zip
                        Mailing address( if different): PO box 11650                                                   Costa Mesa                    CA         92627
                                                                         Street                                        City                          State      Zip
                        Phone:          949- 903- 5051                               E- mail: josephminer( cdgmail. com
                c.      Appellant' s lawyer( skip this if the appellant does not have a lawyer for this appeal):
                        Name:                                                                                                 State Bar number:

                        Street address:

                                                     Street                                                            City                          State      Zip
                        Mailing address ( if different):
                                                                         Street                                        City                          State      Zip
                        Phone:                                                      E- mail:
                        Fax:

   Judicial   Council   of Califomia,   www. courts. ca. gov
                                                                           Notice of Appeal/ Cross- Appeal                                                   APP- 102, Page 1 of 3
   Revised    January 1, 2019, Optional       Form
   Cal. Rules of Court.     rule   8, 823
                                                                                        Limited Civil Case)
                                                                                                                                                             FAC PG 112
           Case  8:24-cv-02793-CAS-E
            FAC PG 113
                                                                    Document 6-1 Filed 01/29/25                       Page 52 of 261 Page ID
                                                                              #:374
                                                                                                                    Trial Court Case Number:
 Trial    Court           Case         Name:




0 This is ( check a or b):
            a.                  The first appeal in this case.

            b.                  A cross- appeal ( an appeal filed after the first appeal in this case ( complete ( 1), (     2), and( 3)).

                         1)
                                 The notice of appeal in the first appeal was filed on( fill in the date that the other party filed its notice of
                                 appeal in this case):


                    2)
                                 The trial court clerk served notice of the first appeal on ( fill in the date that the clerk served the notice of the
                                 other party' s appeal in this case):

                    3)
                                 The appellate division case number for the first appeal is (fill in the appellate division case number ofthe
                                 other party' s    appeal, ifvou know it):   APRI2200098




0 Judgment or Order You Are Appealing
            I am/ My client is appealing ( check a or b):

            a.
                    x The final judgment in the trial court case identified in the box on page 1 of this form.
                      The date the trial court entered this judgment was ( fill in the date): October 20, 2022


           b.                   Other:


                     I)              x An order made after final judgment in the case.
                                       The date the trial court entered this order was ( fill in the date): February 9, 2024



                    2)                  An order changing or refusing to change the place of trial ( venue).
                                        The date the trial court entered this order was ( fill in the date):

                    3)                  An order granting a motion to quash service of summons.
                                        The date the trial court entered this order was ( fill in the date):

                    4)                  An order granting a motion to stay or dismiss the action on the ground of inconvenient forum.
                                        The date the trial court entered this order was ( fill in the date):

                    5)                  An order granting a new trial.
                                        The date the trial court entered this order was (fill in the date):

                    6)                  An order denying a motion for judgment notwithstanding the verdict.
                                        The date the trial court entered this order was ( fill in the date):


                    7)           El An order granting or dissolving an injunction or refusing to grant or dissolve an injunction.
                                        The date the trial court entered this   order was (   fill in the date):   February 9, 2024




Revised   January   1.        2019
                                                                  Notice of Appeal/ Cross- Appeal                                        APP- 102, Page 2 of 3

                                                                             Limited Civil Case)
                                                                                                                                        FAC PG 113
           Case  8:24-cv-02793-CAS-E
            FAC PG 114
                                                            Document 6-1 Filed 01/29/25                 Page 53 of 261 Page ID
                                                                      #:375
                                                                                                      Trial Court Case Number:
 Trial Court Case Name:               Miner   v.   City of Desert Hot Springs                         CVPS2106001




03 (         continued)


                    8)          An order appointing a receiver.
                                The date the trial court entered this order was (fill in the date):

                    9) 0 Other action ( please describe and indicate the date the trial court took the action you are appealing):
                                Appealing from the Order of denial of Motion to vacate the void Order and Judgment dated 2/ 9/ 24.
                                1. Consolidated Appeal. The Appellate Division' s Opinion addressed the Order and not the Judgment.
                                2. The trial court ruling addressed the Judgment and not the Order.
                                3. Court of Appeal' s document offer new evidence Miner is Defendant not the Plaintiff.
                                4. Denial of motion to vacate void Order/ Judgment is an appeal- able Order.
                                5. Appellate Division has jurisdiction and authority to correct errors.


04          Record Preparation Election

            Complete this section only ifyou are filing the first appeal in this case. Ifyou are filing a cross-appeal, skip this
           section and go to the signature line.

           Ifyou are filing the first appeal in this case, you must serve and file a notice in the trial court designating the record
           on appeal. You may use Appellant' s Notice Designating Record on Appeal( Limited Civil Case) ( form APP-103).
            Check a or b:

           a.
                         I will serve and file a notice designating the record on appeal together with this notice of appeal.


           b. > r        I will serve and file a notice designating the record on appeal later. I understand that I must file this notice in
                         the trial court within 10 days of the date I file this notice of appeal, and that if I do not file the notice
                         designating the record on time, the court may dismiss my appeal.


REMINDER: Except in the very limited circumstances listed in rule 8. 823, you must serve and file this
form no later than ( 1) 30 days after the trial court clerk or a party serves either a document called a
Notice of Entry of the trial court judgment or a file-stamped copy of the judgment, or (2) within 90 days
after entry of judgment, whichever is earlier. If your notice of appeal is late, your appeal will be
dismissed.



Date: February 20, 2024

Joseph Miner
                              Type or print your name
                                                                                                                  il
                                                                                      Signatur o appell nt/cross- appellant or attorney

Date:




                              Type or print your name                                 Signature of appellant/ cross- appellant or attorney

Date:




                              Type or print your   name
                                                                                      Signature of appellant/ cross- appellant or attorney
Revised   January   1. 2019
                                                          Notice of Appeal/ Cross- Appeal                                 APP- 102, Page 3 of 3

                                                                     Limited Civil Case)
                                                                                                                         FAC PG 114
                Case  8:24-cv-02793-CAS-E
                 FAC PG 115
                                                                          Document 6-1 Filed 01/29/25                Page 54 of 261 Page ID
                                                                                    #:376
                                                                                                                                                      APP- 009E

                                 PROOF OF ELECTRONIC                SERVICE ( Court of Appeal)



  Notice: This form may be used to provide proof that a document has been
  served in a proceeding in the Court of Appeal. Please read Information
  Sheet for Proof of Service( Court of Appeal) ( form APP- 009- INFO) before
  completing this form.

      Case Name: Miner v. City of Desert Hot Springs
      Court of Appeal Case Number:

   Superior Court Case Number:                          CVPS2106001


 1.        At the time of service I was at least 18 years of age.
 2.        a.        My                    residence    *      business         address is( specify):
                     2576 Newport Blvd.# A, Costa Mesa, CA 92627


           b.        My electronic service address is( specify): emailrels@gmail. com

 3.        I electronically served the following documents ( exact titles):
           Notice of Appeal of Denial of Motion to Vacate Void Order/ Void Judgment. Continuing appeal of issues of trial case
           CVPS2016001.




4.         I electronically served the documents listed in 3. as follows:

           a.       Name of person served: Tuan Vu
                    On behalf of( name or names of parties represented, if person served is an attorney):
                    City of Desert Hot Springs



           b.       Electronic service address of person served: tuan. vu@streamkim. com
           c.       On ( date):           2/ 20/ 2024

                x
                          The documents listed in 3. were served electronically on the persons and in the manner described in an attachment( write
                          APP- 009E, Item 4" at the top of the page).




I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:               2/ 20/ 2024



Lily Dunlop                                                                                                                  f
  TYPE          OR PRINT NAME OF PERSON COMPLETING          THIS FORM)                                                 j'`   r               P,y
                                                                                                              SIGN   l RE OF PERSON COMPLETING/   US FORM)




                                                                                                                                                             Page 1 of 1

Form Approved             for Optional    Use
                                                                          PROOF OF ELECTRONIC       SERVICE                                         www. courts. ca. gov
Judicial    Council       of California
APP- 009E[          New   January 1, 2017]                                       Court of Appeal)
                                                                                                                                         FAC PG 115
Case  8:24-cv-02793-CAS-E
 FAC PG 116
                            Document 6-1 Filed 01/29/25   Page 55 of 261 Page ID
                                      #:377




                                                         6
                                                 Exhibit ___

                                                                      FAC PG 116
          Case   8:24-cv-02793-CAS-E Document 6-1 Filed 01/29/25 Page 56 of 261 Page ID
            FAC PG 117
     CASE TITLE:   Wang vs. City of Sacramento Police#:378  CASE NO: 34-2019-00259673-CU-JR-GDS
 1   Department, a subdivision of the City of Sacramento, a
 2

 3
     The Court did not find it necessary to consider the voluminous evidence filed with the Opposition papers.
 4   However, the Court takes sua sponte judicial notice of the 2019 ruling of the Honorable Thadd Blizzard
 5
     in a similar action (Exh. B to the Declaration of Monty Agarwal.) In taking judicial notice of that ruling,
     however, the Court takes notice of the document's existence, not the truth of its contents. (See
 6   Professional Engineers v. Dep't of Transp. (1997) 15 Cal.4th 543, 590 [judicial notice of findings of fact
     does not mean that those findings of fact are true]; Steed v. Department of Consumer Affairs (2012) 204
 7   Cal.App.4th 112, 120-121.)
 8
     Legal Standards
 9
     A motion for protective order asks the Court to modify, prohibit, or limit discovery procedures to protect a
10   party from an excessive or unnecessary burden, expense, or intrusion. (Code Civ. Proc. § 2025.420.)
11
     "The court, for good cause shown, may make any order that justice requires to protect any party or other
     natural person or organization from unwarranted annoyance, embarrassment, or oppression, or undue
12   burden and expense." (Code Civ. Proc. § 2030.090(b).)
13   Relevant in this particular case is Government Code section 53069.4, which as described above,
14   Appellants herein use as their procedural vehicle to contest the underlying administrative decision. That
     Section provides, in pertinent part:
15
     Notwithstanding Section 1094.5 or 1094.6 of the Code of Civil Procedure, within 20 days after service of
16
     the final administrative order or decision of the local agency is made pursuant to an ordinance enacted
17   in accordance with this section regarding the imposition, enforcement, or collection of the administrative
     fines or penalties, a person contesting that final administrative order or decision may seek review
18   by filing an appeal to be heard by the superior court, where the same shall be heard de novo,
     except that the contents of the local agency's file in the case shall be received in evidence.
19

20   (Gov't Code § 53069.4(b)(1) (emphasis added).)
21   It further provides:
22
     A copy of the document or instrument of the local agency providing notice of the violation and imposition
23   of the administrative fine or penalty shall be admitted into evidence as prima facie evidence of the
     facts stated therein.
24

25
     (Id. (emphasis added).)

26   Additionally, that subdivision states: "The conduct of the appeal under this section is a subordinate
     judicial duty that may be performed by traffic trial commissioners and other subordinate judicial officers
27   at the direction of the presiding judge of the court." (Gov't Code § 53069.4(b)(3).)
28
     Discussion
29
     As a threshold matter, the Court notes that it will not summarize the appellate history of this action and
30
     will not address the classification of this matter as limited or unlimited based on the amount in
31   controversy. The parties are familiar with these. The Court proceeds directly to the issue presented in
     the moving papers: whether discovery should be permitted to proceed in this action, which is an "appeal"
32   that will be heard "de novo."
33
     The City argues, "based upon the plain language of the statute, the current case is specified as an
34   appeal to review the administrative decision and, by implication, the record that is the basis for such
     decision." (P&As at 4-5.) The City argues that the statute provides for the "contents of the local
35

36

37
     DATE: 04/12/2022                                MINUTE ORDER                                        Page 2
     DEPT: 53                                                                                 FAC PGCalendar
                                                                                                    117      No.
          Case   8:24-cv-02793-CAS-E Document 6-1 Filed 01/29/25 Page 57 of 261 Page ID
            FAC PG 118
     CASE TITLE:   Wang vs. City of Sacramento Police#:379  CASE NO: 34-2019-00259673-CU-JR-GDS
 1   Department, a subdivision of the City of Sacramento, a
 2

 3
     agency's file" to be "received in evidence" along with "a copy of the document or instrument of the local
 4   agency providing notice of the violation and imposition of the administrative fine or penalty," which "shall
 5
     be admitted into evidence as prima facie evidence of the facts stated therein." (Id.) The City argues that
     the Statute provides for the "exact evidence and documents to be reviewed de novo" such that no
 6   additional evidence beyond these listed items should be permitted, because "[t]he terms of the more
     specific statute take precedence over those of the more general statute." (Id. (citing People v. Barrett
 7   (2003) 109 Cal.App.4th 437, 450).)
 8
     The Court is not persuaded.
 9
     First, here the Court is not reconciling the text of a specific statute with a more general statute.
10   Regardless, Section 53069.4(b)(1) nowhere suggests that only the document "providing notice of the
11
     violation and imposition of the administrative fine or penalty," and the "local agency's file," constitute the
     entirety of materials that can be received into evidence in these particular actions.
12
     For the first time on Reply, the City focuses on the Section's use of this phrase: the appeal "shall be
13   heard de novo, except that the contents of the local agency's file in the case shall be received in
14   evidence . . . ." (Reply at 2 (quoting Section 53069.4(b)(1) (emphasis in Reply).) The City argues that
     this "except that" phrasing limits the evidence to be used in the "de novo" appeal, i.e., such that only the
15   local agency's file and the citation document can be admitted into evidence in the appeal. The Court is
     not persuaded. For instance, Section 53069.4 does not expressly mention transcripts or "the record"
16
     from the underlying administrative hearing, and yet those would presumably also be evidence properly
17   considered in an "appeal." The Court is not persuaded that Section 53069.4 includes an exhaustive list
     of the evidence that may properly be considered in the de novo appeal.
18
     Second, the text of Section 53069.4(b)(1) envisions the introduction of new evidence that might rebut the
19
     "prima facie evidence of the facts stated" in "the document or instrument . . . providing notice of the
20   violation and imposition of the administrative fine or penalty." (emphasis added). As Appellants argue,
     the text of Section 53069.4 describes the City's notice of violation and imposition of penalty as merely
21   "prima facie" evidence that can potentially be rebutted -- i.e., presumably upon introduction of new,
22
     competing evidence. If "shall be heard de novo" meant a review of the administrative record only, there
     would be no need for this presumption, or the allowance that it can be rebutted.
23
     The City does not meaningfully address the term "prima facie" as used in Section 53069.4(b)(1).
24

25
     The City argues that the case of Martin v. Riverside Co. Dept. of Code Enforcement (2008) 166
     Cal.App.4th 1406, 1411-12 indicates that review under Section 53069.4 is a "limited de novo appeal."
26   Rather than supporting the City's position here, however, Martin actually suggests that a "de novo"
     appeal under Section 53069.4 can properly include new evidence that had not been admitted at the
27   administrative level. In Martin, the superior court judge had "consider[ed] all evidence submitted, even if
28
     it had not been presented at the administrative hearing." (Id. at 1410 (emphasis added).) The Court of
     Appeal described the Superior Court's process as "conduct[ing] the hearing both on the writ petition and
29   as a de novo appeal." (Id. (emphasis added).)
30
     This suggests that a "de novo appeal" under Section 53069.4 can properly include evidence that "had
31   not been admitted at the administrative level." At least, the Court of Appeal in Martin did not take issue
     with the trial court for having considered new evidence in the "appeal" in that case.
32
     Further, as Appellants argue (Opp'n at 9-11), when Section 53069.4 was enacted, the Legislature
33
     modeled its "de novo appeal" process after a similar one authorized under section 40230 of the Vehicle
34   Code for parking violations. The object of the legislation was to provide a 'faster, easier, fairer approach'
     for addressing municipal code violations by 'getting the issues out of the courts' while 'saving public and
35

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37
     DATE: 04/12/2022                                 MINUTE ORDER                                         Page 3
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                                                                                                      118      No.
          Case   8:24-cv-02793-CAS-E Document 6-1 Filed 01/29/25 Page 58 of 261 Page ID
            FAC PG 119
     CASE TITLE:   Wang vs. City of Sacramento Police#:380  CASE NO: 34-2019-00259673-CU-JR-GDS
 1   Department, a subdivision of the City of Sacramento, a
 2

 3
     private funds.' (County of Humboldt v. Appellate Division of Superior Court (2020) 46 Cal.App.5th 298,
 4   313.) Here, Appellants argue that the origin is readily seen by a side-by-side comparison in texts:
 5
     [A] person contesting ... may seek review by filing an appeal to be heard by the superior court, where the
 6   same shall be heard de novo, except that the contents of the local agency's file in the case shall be
     received in evidence . . .
 7

 8
     (Gov't Code § 53069.4.)

 9   [T]he contestant may seek review by filing an appeal to be heard by the superior court where the same
     shall be heard de novo, except that the contents of the processing agency's file in the case shall be
10   received in evidence ...
11
     (Vehicle Code § 40320(a).)
12
     Appellants argue that because § 53069.4 "borrows the de novo judicial appeal process from its parking
13   citation counterpart," County of Humboldt, 46 Cal.App.5th 298, 313, the terms "appeal" and "shall be
14   heard de novo" should be interpreted similarly. (Opp'n at 9; see Glaviano v. Sacramento City Unified
     School Dist. (2018) 22 Cal.App.5th 744, 753 (for "substantially similar language, the usual presumption
15   is that the Legislature intended the same construction, unless a contrary intent clearly appears.")
     (citations omitted).) Under Vehicle Code § 40230(a), the term "shall be heard de novo" means a trial de
16
     novo. In Lagos v. City of Oakland (1995) 41 Cal.App.4th Supp. 10, 11-12, the court, discussing Vehicle
17   Code § 40320(a), explained, "this de novo appeal is similar to a small claims appeal." Code of Civil
     Procedure § 116.770(a), which governs small claims appeals, provides that an "appeal to the superior
18   court shall consist of a new hearing." In ERA-Trotter Girouard Assoc. v. Superior Court (1996) 50
     Cal.App.4th 1851, 1855, the court explained that a small claims "appeal" "is one in name only." "A small
19
     claims appeal is, in fact, a trial de novo in superior court." (Id. (emphasis added); see also Martin v.
20   Riverside County Dept. of Code Enforcement (2008) 166 Cal.App.4th 1406, 1411 ("Although
     Government Code section 53069.4 uses the word "appeal" to describe the limited civil proceeding, what
21   seems to be meant is a de novo hearing by a single judge ..."); People v. Kennedy (2008) 168
22
     Cal.App.4th 1233, 1240 ("In certain respects, the requirement for a trial de novo under [Vehicle Code]
     section 40902 is similar to the statutory requirement of a trial de novo applicable in cases arising from
23   decisions by local agencies pursuant to an ordinance. (Gov. Code, § 53069.4, subd. (b)(1).)" (emphasis
     added).) The Court agrees with Appellants that the analogous nature of the Government Code and the
24   Vehicle Code in this regard supports allowing new evidence on appeal here.
25
     Finally, the Court agrees with Appellants that the plain text of Section 53069.4 does not state that the
26   administrating hearing transcript and record shall be admitted into evidence or that it shall be the sole
     evidentiary basis for the de novo appeal here. The Section provides for admission into evidence of the
27   "the contents of the local agency's file in the case," which refers to the City's investigation file: if the
28
     Legislature meant to say the "administrative hearing record," it would have done so. (Opp'n at 11-12.)
     Moreover, as Appellants argue, discovery is available because Section 53069.4(b)(1) does not expressly
29   bar discovery. (See e.g., City of Los Angeles v. Sup. Ct. (2017) 9 Cal.App.5th 272, 284-86 (court
     considered if discovery was allowed in an action arising under the California Public Records Act, and
30
     held that because "the Legislature has not included any exemption precluding discovery in such
31   proceedings, we conclude that the discovery act applies.").)
32   The City relies in part on County of Sonoma v. Gustely (2019) 36 Cal.App.5th 704, which notes that a
     reviewing court cannot simply "substitute its discretion" for the administrative agency's. (P&As at 5-6.)
33
     However, in that case Gustely was found to have committed various county code violations on his
34   property, and was fined civil penalties totaling $2,880. (Id. at 707.) He did not seek judicial review of the
     hearing officer's decision prior to appealing to the Court of Appeal, and the Court of Appeal noted: "He
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 1   Department, a subdivision of the City of Sacramento, a
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     had two potential means of doing so: A petition for writ of mandate pursuant to Code of Civil Procedure
 4   section 1094.5 or an appeal to the superior court pursuant to Government Code section 53069.4." (Id.
 5
     at 711 (emphasis added).) The issue of whether new evidence could be admitted in an appeal "de
     novo" under Section 53069.4 was therefore not presented in that case.
 6
     The City also relies on County of Humboldt (2020) 46 Cal.App.5th 298, 312-13, and argues that in that
 7   case the "court concluded the de novo appeal mirrors mandamus and is meant to review the
 8
     administrative record." (P&As at 6.) As Appellants argue, however, the court made no such
     determination in that case, because that question was not at issue. The question was whether a party
 9   could appeal further after a trial de novo under Section 53069.4(b)(1). After sorting out confusion about
     how cases are classified under Section 53069.4(b)(1), the court held that there is a right to a further
10   appeal. The court reasoned that since "judgment in an administrative mandamus action is generally
11
     appealable" it would be "anomalous" not to allow a further appeal of a judgment under Section
     53069.4(b)(1). (Id. at 312-13.)
12
     Ultimately, the City has not persuaded the Court that a protective order is warranted here, and has not
13   shown that proceedings pursuant to Section 53069.4 cannot properly include any new evidence.
14   Indeed, Appellants' Opposition papers challenge the nature and extent of the underlying administrative
     review process, wherein the examiner imposed a significant financial penalty on Appellants after a
15   hearing that was not subject to the rules of evidence and that may have involved consideration of
     hearsay evidence. In the interests of due process, the Court at this time declines to issue a protective
16
     order preventing any and all discovery, and declines to find that absolutely no new evidence may be
17   presented as part of a full new "de novo" evidentiary hearing pursuant to Section 53069.4.
18   The Court clarifies that this ruling is limited to the question of whether discovery should be permitted to
     occur, not whether the judge assigned to preside over the de novo appeal should or should not admit
19
     any new evidence. Questions of admissibility are preserved for the judicial officer handling the de novo
20   appeal. This Court herein holds only that discovery may proceed in this action.
21   The City's Motion for Protective Order is DENIED.
22
     The minute order is effective immediately. No formal order pursuant to CRC Rule 3.1312 or further
23   notice is required.
24

25
     COURT RULING

26   There being no request for oral argument, the Court affirmed the tentative ruling.
27

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37
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                                                         7
                                                 Exhibit ___

                                                                      FAC PG 121
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                                       City Attorneys Department Spring Meeting
                                                       League of California Cities
                                                                   May 1-3, 1996




                      CIVILIZING
                  CODE ENFORCEMENT




                                                        JOAN R. GALLO
                                                        City Attorney

                                                        RENÉE A. GURZA
                                                        Deputy City Attorney




                                  OUTLINE


                                                                         FAC PG 122
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  II.   ADMINISTRATIVE CITATIONS and SB 814

        1.   The Administrative Citations Ordinance

        2.   SB 814

        3.   Administrative Citation Fines

        4.   Administrative Issues

 III.   ADMINISTRATIVE REMEDIES and SB 814

        1.   The Administrative Remedies Ordinance

        2.   Penalties and Costs

        3.   SB 814

        4.   Administrative Issues

  IV.   NUISANCE ABATEMENT ACTIONS

   V.   CIVIL COMPROMISES

  VI.   CONCLUSION


 ATTACHMENT A - ADMINISTRATIVE CITATIONS ORDINANCE

 ATTACHMENT B - SB 814

 ATTACHMENT C - ADMINISTRATIVE REMEDIES ORDINANCE




                                CIVILIZING
                            CODE ENFORCEMENT


                                                                      FAC PG 123
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                                           I
                                     INTRODUCTION

 Over the last couple of years, San José has been moving away from the use of criminal
 prosecution as the preferred approach to code enforcement and nuisance abatement.

 The criminal process does not seem to work as an adequate deterrent in many
 situations. It is a slow, labor intensive process for both the City Attorney’s Office and
 the Code Enforcement staff. When, after months of stalling and delay, pretrial
 compliance is actually achieved, most judges are not sympathetic to our insisting on a
 trial in order to impose penalties. Most of the court imposed fines do not go to the city,
 and there is an increasing pressure to make code enforcement more cost recovery.
 Furthermore, with the advent of Three Strikes and its impact on the courts, there is a
 real question as to whether most municipal code prosecutions should be on the court’s
 overburdened calendar.

 Instead, San José took a comprehensive look at the code enforcement process and
 adopted a number of administrative procedures which have been coupled with more
 frequent use of the civil courts.


                                         II
                              ADMINISTRATIVE CITATIONS
                                        and
                                       SB 814

 1.     The Administrative Citations Ordinance

 The Administrative Citation is intended to be used for violations of the municipal code
 that are transient and not continuing in nature. Examples of regulations appropriate
 for this approach are: early yard waste set out, false burglar alarms, noisy animals,
 parking automobiles on front lawns, failure of vendors to carry a required permit, and
 violations of local smoking prohibitions.

 The structure of the Administrative Citation process is intended to mirror, as much as
 possible, the new administrative approach to parking tickets. An enforcement officer
 issues an Administrative Citation that lists the code violation and the administrative fine
 amount and describes how to pay the fine or request a hearing to contest the citation.
 The Administrative Citation is contested through an administrative hearing process.
 The amount of the fine must be deposited in advance of the administrative hearing, but
 there is a procedure for a waiver of that deposit, if making the deposit causes a
 hardship.

 The San José Administrative Citations Ordinance is provided in Attachment A.




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 2.     SB 814

 The major impediment to this approach was the fact that the administrative hearing
 officer’s decision would be subject to review under administrative mandamus (CCP
 §1094.5), and we did not want to burden code enforcement staff with having to prepare
 detailed reports and appear at administrative hearings in order to create a sufficient
 administrative record.

 Parking citations constitute prima facie evidence of the facts of a violation listed on the
 citation and are subject to de novo review by the Municipal Court (Cal. Veh. Code
 §40230). We similarly stated in our ordinance that an Administrative Citation
 constitutes prima facie evidence of the facts contained in the citation. Therefore, San
 José sponsored this legislation in order to provide similar de novo review of
 Administrative Citations by the Municipal Court.

 There are few cases that even indirectly discuss the ability of cities to use
 administrative fines and penalties. As a charter city, we felt comfortable imposing civil
 fines pursuant to our police powers. Under City of Stockton v. Frisbie & Latta, (1928)
 93 Cal. App. 277, cities and towns are not limited to the adoption of any particular mode
 of enforcing their regulations and civil remedies may be appropriate. There is also
 statutory authority in Government Code §36901 for the legislative body of a city to
 impose fines, penalties, and forfeitures, up to $1,000. While the provision seems to be
 somewhat penal in nature, it does not specify such a limitation. An 1892 case, Ex Parte
 M. Green, 94 Cal. 387, concluded that where the power to impose fines has been
 conferred and no mode has been specified for their collection, it is within the power of a
 municipal corporation to adopt any reasonable mode for the collection of the fine.

 Given the dearth of case law, one of the side benefits of Senate Bill 814 is that it
 provides clear statutory authority, in Government Code §53069.4, for an administrative
 enforcement approach by cities:

                  The legislative body of a local agency, as the term
                  "local agency" is defined in Section 54951, may by
                  ordinance make any violation of any ordinance
                  enacted by the local agency subject to an
                  administrative fine or penalty.

 Of course, few bills emerge through the legislative process as originally proposed.
 There are two important elements in this bill which were added along the way:

 a.     The California Attorneys for Criminal Justice added the provision that
        administrative fines for infractions cannot be higher than applicable statutory
        maximums. Since cities determine which municipal code violations are
        infractions, this change should not pose a problem.

 b.     The California Apartment Association wanted to ensure that landlords are given



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       an opportunity to correct certain violations, such as illegal fences, prior to the
       imposition of fines. Therefore, a provision was added to the bill requiring that the
       enabling ordinance include a provision setting forth a “reasonable period of time”
       to correct continuing violations prior to the imposition of a fine for building,
       plumbing, electrical code and other structural or zoning violations.

       Since, the Administrative Citations approach will work best for violations of the
       municipal code which are transient and not continuing in nature, rather than set
       forth a period time to correct these “continuing” types of violations, we explicitly
       stated in our ordinance that the Administrative Citation ordinance shall not apply
       to “continuing” violations of building, plumbing, electrical codes and other
       structural or zoning issues.

 A copy of SB 814 is provided in Attachment B. The provisions relevant to
 Administrative Citations are found in SECTION 2 of the bill.

 3.    Administrative Citation Fines

 The amount of the fine is set by resolution. In San José, the standard fine is $25 for a
 typical municipal code violation. However, higher fines are established for more serious
 violations, after consideration of factors such as: what constitutes a reasonable fine
 amount for the violation, the staff time involved to identify and address the code
 violation, and what fine amount would act as a reasonable deterrent to the behavior or
 act at issue. We also have provided for penalties and interest on late payments of
 administrative fines.

 As an example: while responsible parties are provided with warnings for the first and
 second false burglar alarms, our administrative fine is $100 for a third false burglar
 alarm in sixty-days; $250 for the fourth in this period; and $500 for any subsequent
 false alarms during this same sixty-day period. Between July 1, 1995 and March 15,
 1996, the City of San José issued approximately 1,500 Administrative Citations for false
 burglar alarms. Of those, approximately 60, or 4%, were appealed. Administrative
 Citation fines (including penalties and interest for late payments of fines) for false
 burglar alarms during this period totaled $174,000 and approximately $126,200 was
 received without necessity for a collection action, for a collection rate of approximately
 73%. Unpaid fines presently are being collected by our Finance Department, but
 eventually may be turned over to a collection agency if the volume becomes too great.

 4.    Administrative Issues

 This administrative approach allows staff of various departments, in addition to police
 officers and code enforcement officers, to enforce their own ordinances. The hearing
 officer can be in the administrative department that issues the citation or can be
 centrally designated to handle all challenges. It may be reasonable to use the existing
 parking ticket hearing officer.




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 In San José, this ordinance currently is being implemented on a pilot project basis to
 work out the procedures and to allow training for staff in its use. It is just beginning to
 have an effect. Staff has embraced this approach enthusiastically because it is so
 streamlined, convenient and “user” friendly.


                                          III
                               ADMINISTRATIVE REMEDIES
                                         and
                                        SB 814

 1.     The Administrative Remedies Ordinance

 This approach has been used successfully in dealing with continuing and ongoing
 violations of the zoning code and the building, plumbing, and electrical codes. It affords
 Code Enforcement staff with greater control over their cases and an ability to respond
 to code violations more quickly than is possible through the criminal process.

 Under this approach, an enforcement officer issues a Compliance Order to a
 responsible party that sets forth a description of the municipal code violation(s)
 identified at the property, a description of what the responsible party is required to do to
 bring the property into compliance, and the date by which compliance must be
 achieved. The Compliance Order also provides notice that administrative penalties of
 up to $2,500 per day begin to accrue if compliance with the Compliance Order is not
 achieved by the compliance date listed on the Order and describes the appeals
 process.

 If Code Enforcement staff determines upon reinspection of the property that compliance
 with the Compliance Order was not achieved by the compliance date, a public hearing
 is scheduled before an administrative hearing body and notice of the hearing is
 provided to the responsible party. Both Code Enforcement staff and the responsible
 party attend the hearing and present their case, after which the administrative hearing
 body issues its decision. In San José, the hearings are conducted by a commission of
 citizens called the Appeals Hearing Board. The decision may contain an order to
 correct any violations determined to exist, together with an order to pay administrative
 penalties and costs to the city, in amounts determined by the administrative hearing
 body.

 This ordinance has proved very effective in gaining rapid compliance. A copy of the
 San Jose Administrative Remedies Ordinance is provided in Attachment C.

 2.     Penalties and Costs

 Under the Administrative Remedies Ordinance, the administrative hearing body is
 authorized to impose administrative penalties of up to $2,500 per day for each ongoing
 code violation, up to a total penalty of $100,000. General law cities may want to



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 consider whether, under Government Code §36901, the fine should have a $1,000 per
 day limitation. The Ordinance lists factors that the administrative hearing body may
 consider in establishing the penalty amount, such as: the duration and seriousness of
 the violation, any good faith efforts of the responsible party to achieve timely
 compliance, the frequency of violations by the responsible party, the impacts of the
 violation on the community, and the economic impact of a penalty on the responsible
 party.

 The Ordinance also authorizes the administrative hearing body to order a responsible
 party to reimburse the city for its administrative costs incurred in pursuing the
 enforcement action, such as the costs to investigate the matter, perform inspections,
 and prepare the case for administrative hearing. The Ordinance allows the city to
 collect these costs and penalties owed as a personal obligation of the responsible party
 or by placing a lien on the responsible party’s real property when the violation pertains
 to that real property.

 Compliance is overwhelmingly achieved before the compliance date. Code
 Enforcement estimates that they actually issue a little over 1,000 Compliance Orders in
 a calendar quarter. Only about 7 cases a quarter reach the Appeals Hearing Board
 because compliance was not achieved by the compliance date. Additionally, from the
 time this approach was implemented near the beginning of 1994, Code Enforcement
 has requested the City Attorney’s Office to present their case on only 2 occasions when
 they knew in advance that the responsible party would be represented at the Board
 hearing by an attorney.

 Since this Ordinance was implemented at the end of 1993, the City has imposed
 approximately $340,000 in administrative penalties and costs. To date, the largest
 administrative penalty paid to the City in any one case is $38,900. The largest lien
 which has placed against a single property is $50,800.

 3.    SB 814

 This Administrative Remedies Ordinance is subject to administrative mandamus (CCP
 Section 1094.5). When we enacted this ordinance, we were concerned about the
 applicable statute of limitations. CCP §1094.6(e) sets a 90-day statute of limitations for
 employment actions, as well as decisions revoking or denying an application for a
 permit, license or other entitlement or decisions denying an application for any
 retirement benefit or allowance. Therefore, once we decided to sponsor SB 814 to
 address our Administrative Citation concern, we also sought to amend this section to
 include decisions “imposing a civil or administrative penalty, fine, charge, or cost.”
 (See SECTION 1 of the bill in Attachment B.) Thus, cities now, by resolution or
 ordinance, can make challenges to the administrative process subject to the 90-day
 statute of limitations.

 4.    Administrative Issues




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 The major difficulty in implementing this ordinance was training staff to fully complete a
 Compliance Order and prepare the necessary, detailed report for the administrative
 hearing body. Code Enforcement staff prepares a report for the administrative hearing
 body that summarizes the relevant observations, inspections and other pertinent facts
 of a case, as well as the administrative costs incurred by the city in pursuing the
 enforcement action. The report also contains a staff recommendation of an
 administrative penalty amount, together with the reasons supporting that amount.

 Additionally, this report sets forth a detailed recommendation to the administrative
 hearing body of the relevant findings and conclusions that flow from the facts presented
 and a recommended decision based upon those findings and conclusions designed to
 meet the standards for administrative findings set forth in Topanga Assn. for a Scenic
 Community v. County of Los Angeles, (1974) 11 Cal.3d 506.

 It is important to create a sufficient administrative record under this process because
 the decision may be challenged by a writ of administrative mandamus. We try to
 ensure that the administrative record clearly reflects that the administrative findings and
 decision are supported by substantial evidence.

 A Writ of Mandate has been filed in only two cases so far. The trial court upheld the
 decision of the Appeals Hearing Board in both. One decision was appealed and the
 decision of the Board was upheld in an unpublished decision.

 Once staff has learned how to complete the Compliance Orders and draft their reports
 to the Appeals Hearing Board, this enforcement technique certainly can be more
 efficient and requires less attorney involvement than traditional code enforcement.


                                       IV
                           NUISANCE ABATEMENT ACTIONS

 Civil suits are an effective alternative: where a business creates a nuisance, but it is not
 technically violating any municipal code provision, for example, a liquor store that has
 patrons hanging around outside and disturbing the peace; where the code violations are
 so extreme that immediate closure of the business is warranted; or where drug dealing
 or gang activity are involved. The new element for us is that in recent cases, as part of
 the community policing effort, active neighborhood support is elicited. The community
 support in documenting problems and the willingness to sign declarations has made the
 motions for preliminary injunction more compelling.

 We recently succeeded in closing down a liquor store that was creating a serious
 neighborhood problem. In addition to alleging a public nuisance pursuant to California
 Code of Civil Procedure §731 and the applicable municipal code sections, we alleged a
 cause of action for unfair competition pursuant to California Business and Professions
 Code §17200, et. seq. (this cause of action is not available to smaller cities).




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 After closure of the liquor store, the number of alcohol-related violations and narcotics-
 related violations in the vicinity of the liquor store have decreased dramatically. The
 total number of liquor-related offenses decreased by 77%. The total number of
 narcotics-related offenses decreased by 67%. The total number of incidents reported in
 the vicinity decreased by 54%.

 The Police Department credits the closing of this liquor store with far-reaching beneficial
 effects. Not only has it turned around the immediate problems, but since the case
 garnered so much publicity, the beat officers find that they get a lot of attention when
 they suggest to a business or property owner that they might be the next “Charlie’s.”


                                            V
                                   CIVIL COMPROMISES

 We continue to use criminal citations in most situations where the Police Department
 enforces the Code, especially where the Police Department wants to actually remove
 someone from the scene. We will also continue to use the criminal process for
 violations involving hazardous materials or sewer disposal regulations. The Municipal
 Court has been willing to impose jail sentences under these circumstances. However,
 where jail time is not our goal, we have found that a civil compromise can serve the
 same function in preventing recurrence as does probation and it is more readily agreed
 to than a guilty plea.

 In a recent case, the civil compromise resulted in civil penalties and restitution to the
 City for past violations in the total amount of $150,000. Additionally, the civil
 compromise included an injunction which specifies very stiff civil penalties for any future
 violations.

 This injunction will be overseen by the Superior Court, and requires obedience with all
 laws and mandates of the San Jose Fire Department during its three (3) year duration.
 If any violations occur during this time, the duration of the injunction will be extended for
 a one-year period of time per violation. The injunction required compliance with very
 specific conditions for the operation of the business, including making their business
 premises and their hazardous materials monitoring records available for inspection by
 the Fire Department upon request.


                                           VI
                                       CONCLUSION

 SB 814 was enacted in order to facilitate use of the Administrative Citations and
 Administrative Remedies processes. As part of a comprehensive civil approach, we are
 also utilizing Nuisance Abatement lawsuits and civil compromises of criminal actions.

 While we continue to use the traditional summary and proposed nuisance abatement



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 procedures in extreme cases, it is not favored because this type of abatement requires
 an expenditure of City funds to perform the abatement work. Cities performing
 abatement work on substandard housing also should be aware that the State
 Department of Housing and Community Development contends, we believe incorrectly,
 that the substandard housing abatement process set forth under State Housing Law is
 the exclusive method that may be used to abate substandard housing conditions. For
 further discussion of this issue, see, Libow and Phillips, “The Abatement of
 Substandard Housing Conditions, The State Housing Law and Regulations: A Trap for
 the Unwary,” League of California Cities Annual Conference (October 1994).

 Other ordinances that are a part of this administrative approach include:

 •      Neglected Vacant House Ordinance: This ordinance defines neglected, vacant
        houses as public nuisances. It sets standards for maintenance of residential
        buildings remaining vacant for more than 30 days, and includes structural and
        building standards, fire safety standards, security standards, debris removal and
        appearance standards. Owners of houses determined to be neglected vacant
        houses must register their residences in a monitoring program; inspect or cause
        their residences to be inspected once every 2 weeks; and pay the applicable fee
        for registration in the monitoring program. Appeals regarding placement in the
        monitoring program or payment of fees are heard by our Appeals Hearing Board.

 •      Owner Relocation Obligations Ordinance: This ordinance mandates that owners
        of rental units provide tenants with relocation assistance in the event it becomes
        necessary for the City to take enforcement action to bring the unit into
        compliance with housing or fire codes. Emergency, temporary, and long term
        relocation assistance are all required. Relocation assistance includes alternative
        safe and legal housing at no additional rental cost to the tenant, transportation
        costs arising from the displacement, provision of furnishings, and reasonable
        security for tenants' property remaining in the unit. The ordinance also gives
        tenants the right to reoccupy the unit when the violations have been corrected,
        the right to no increases in rent for 12 months after reoccupying the unit, and a
        private right of action against the owner for any damages.

 We also want to call your attention to AB 1837 (Figueroa), which became effective
 January 1, 1996 and amended Penal Code Section 594.5 to provide that nothing in the
 Penal Code shall invalidate a city ordinance setting forth “administrative regulations,
 procedures, or penalties governing the placement of graffiti or other inscribed material
 on public or private, real or personal property.” Thus, under this new law, cities can
 address graffiti administratively. We currently are assessing the possibility of an
 ordinance pursuant to this bill.

 It is too early to fully assess the success of these administrative approaches, but, at this
 point, all indications are that it takes less time to achieve compliance and stop the
 nuisance.




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                                     ATTACHMENT A
                           ADMINISTRATIVE CITATION ORDINANCE

                                             Chapter 1.15
                                      ADMINISTRATIVE CITATIONS

 1.15.010 Applicability

 A.    This Chapter provides for administrative citations which are in addition to all other legal remedies,
       criminal or civil, which may be pursued by the City to address any violation of this Code.

 B.    The administrative citations process set forth in this Chapter does not apply to continuing violations
       of this Code that pertain to building, plumbing, electrical, or other similar structural or zoning
       issues.

 C.     Use of this Chapter shall be at the sole discretion of the City, subject to Section 1.15.010.B.

 1.15.020 Enforcement Officer -- Defined




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 For purposes of this Chapter, "enforcement officer'' shall mean any City employee or agent of the City with
 the authority to enforce any provision of this code.

 1.15.030 Administrative Citation

 A.      Whenever an enforcement officer charged with the enforcement of any provision of this Code
         determines that a violation of that provision has occurred, the enforcement officer shall have the
         authority to issue an administrative citation to any person responsible for the violation.

 B.      Each administrative citation shall contain the following information:

         1.      The date of the violation;

         2.      The address or a definite description of the location where the violation occurred;

         3.      The section of this Code violated and a description of the violation;

         4.      The amount of the fine for the code violation;

         5.      A description of the fine payment process, including a description of the time within which
                 and the place to which the fine shall be paid;

         6.      An order prohibiting the continuation or repeated occurrence of the code violation
                 described in the administrative citation;

         7.      A description of the administrative citation review process, including the time within which
                 the administrative citation may be contested and the place from which a request for
                 hearing form to contest the administrative citation may be obtained; and

         8.      The name and signature of the citing enforcement officer.

 1.15.040 Amount of Fines

 A.      The amounts of the fines for code violations imposed pursuant to this Chapter shall be set forth in
         the schedule of fines established by resolution of the City Council.

 B.      The schedule of fines shall specify any increased fines for repeat violations of the same code
         provision by the same person within thirty-six months from the date of an administrative citation.

 C.      The schedule of fines shall specify the amount of any late payment charges imposed for the
         payment of a fine after its due date.

 1.15.050 Payment of the Fine

 A.      The fine shall be paid to the City within thirty days from the date of the administrative citation.

 B.      Any administrative citation fine paid pursuant to subsection A. shall be refunded in accordance
         with Section 1.15.100 if it is determined, after a hearing, that the person charged in the
         administrative citation was not responsible for the violation or that there was no violation as
         charged in the administrative citation.

 C.      Payment of a fine under this Chapter shall not excuse or discharge any continuation or repeated
         occurrence of the code violation that is the subject of the administrative citation.

 1.15.060 Hearing Request




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 A.      Any recipient of an administrative citation may contest that there was a violation of the Code or
         that he or she is the responsible party by completing a request for hearing form and returning it to
         the City within thirty days from the date of the administrative citation, together with an advance
         deposit of the fine or notice that a request for an advance deposit hardship waiver has been filed
         pursuant to Section 1.15.070.

 B.      A request for hearing form may be obtained from the department specified on the administrative
         citation.

 C.      The person requesting the hearing shall be notified of the time and place set for the hearing at
         least ten days prior to the date of the hearing.

 D.      If the enforcement officer submits an additional written report concerning the administrative
         citation to the hearing officer for consideration at the hearing, then a copy of this report also shall
         be served on the person requesting the hearing at least five days prior to the date of the hearing.

 1.15.070 Advance Deposit Hardship Waiver

 A.      Any person who intends to request a hearing to contest that there was a violation of the Code or
         that he or she is the responsible party and who is financially unable to make the advance deposit
         of the fine as required in Section 1.15.060.A. may file a request for an advance deposit hardship
         waiver.

 B.      The request shall be filed with the Department of Finance on an advance deposit hardship waiver
         application form, available from the Department of Finance, within ten days of the date of the
         administrative citation.

 C.      The requirement of depositing the full amount of the fine as described in Section 1.15.06.A. shall
         be stayed unless or until the Director of Finance makes a determination not to issue the advance
         deposit hardship waiver.

 D.      The Director may waive the requirement of an advance deposit set forth in Section 1.15.060.A.
         and issue the advance deposit hardship waiver only if the cited party submits to the Director a
         sworn affidavit, together with any supporting documents or materials, demonstrating to the
         satisfaction of the Director the person's actual financial inability to deposit with the City the full
         amount of the fine in advance of the hearing.

 E.      If the Director determines not to issue an advance deposit hardship waiver, the person shall remit
         the deposit to the City within ten days of the date of that decision or thirty days from the date of the
         administrative citation, whichever is later.

 F.      The Director shall issue a written determination listing the reasons for his or her determination to
         issue or not issue the advance deposit hardship waiver. The written determination of the Director
         shall be final.

 G.      The written determination of the Director shall be served upon the person who applied for the
         advance deposit hardship waiver.

 1.15.080 Hearing Officer

 The City Manager shall designate the hearing officer for the administrative citation hearing.

 1.15.090 Hearing Procedure

 A.      No hearing to contest an administrative citation before a hearing officer shall be held unless the
         fine has been deposited in advance in accordance with Section 1.15.060 or an advance deposit




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         hardship waiver has been issued in accordance with Section 1.15.070.

 B.      A hearing before the hearing officer shall be set for a date that is not less than fifteen days and not
         more than sixty days from the date that the request for hearing is filed in accordance with the
         provisions of this Chapter.

 C.      At the hearing, the party contesting the administrative citation shall be given the opportunity to
         testify and to present evidence concerning the administrative citation.

 D.      The failure of any recipient of an administrative citation to appear at the administrative citation
         hearing shall constitute a forfeiture of the fine and a failure to exhaust their administrative
         remedies.

 E.      The administrative citation and any additional report submitted by the enforcement officer shall
         constitute prima facie evidence of the respective facts contained in those documents.

 F.      The hearing officer may continue the hearing and request additional information from the
         enforcement officer or the recipient of the administrative citation prior to issuing a written decision.


 1.15.100 Hearing Officer's Decision

 A.      After considering all of the testimony and evidence submitted at the hearing, the hearing officer
         shall issue a written decision to uphold or cancel the administrative citation and shall list in the
         decision the reasons for that decision. The decision of the hearing officer shall be final.

 B.      If the hearing officer determines that the administrative citation should be upheld, then the fine
         amount on deposit with the City shall be retained by the City.

 C.      If the hearing officer determines that the administrative citation should be upheld and the fine has
         not been deposited pursuant to an advance deposit hardship waiver, the hearing officer shall set
         forth in the decision a payment schedule for the fine.

 D.      If the hearing officer determines that the administrative citation should be canceled and the fine
         was deposited with the City, then the City shall promptly refund the amount of the deposited fine,
         together with interest at the average rate earned on the City's portfolio for the period of time that
         the fine amount was held by the City.

 E.      The recipient of the administrative citation shall be served with a copy of the hearing officer's
         written decision.

 F.      The employment, performance evaluation, compensation and benefits of the hearing officer shall
         not be directly or indirectly conditioned upon the amount of administrative citation fines upheld by
         the hearing officer.

 1.15.110 Late Payment Charges

 Any person who fails to pay to the City any fine imposed pursuant to the provisions of this Chapter on or
 before the date that fine is due also shall be liable for the payment of any applicable late payment charges
 set forth in the schedule of fines.

 1.15.120 Recovery of Administrative Citation Fines and Costs

 The City may collect any past due administrative citation fine or late payment charge by use of all available
 legal means. The City also may recover its collection costs pursuant to Section 1.17.060.




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 1.15.125 Right to Judicial Review

 Any person aggrieved by an administrative decision of a Hearing Officer on an administrative citation may
 obtain review of the administrative decision by filing a petition for review with the Municipal Court in Santa
 Clara County in accordance with the timelines and provisions set forth in California Government Code
 Section 53069.4.

 1.15.130 Notices

 A.      The administrative citation and all notices required to be given by this Chapter shall be served on
         the responsible party in accordance with the provisions of Section 1.04.140 of this Title.

 B.      Failure to receive any notice specified in this Chapter does not affect the validity of proceedings
         conducted hereunder.




                                             ATTACHMENT B

                                                   SB 814

 Introduced by Senators Alquist and Kopp
 Chaptered 10-16-95 95-0898 February 23, 1995

 The People of the State of California do enact as follows:

 SECTION 1. Section 1094.6 of the Code of Civil Procedure is amended to read:

 1094.6. (a) Judicial review of any decision of a local agency, other than school district,
 as the term local agency is defined in Section 54951 of the Government Code, or of any
 commission, board, officer or agent thereof, may be had pursuant to Section 1094.5 of
 this code only if the petition for writ of mandate pursuant to such section is filed within
 the time limits specified in this section.

 (b) Any such petition shall be filed not later than the 90th day following the date on



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 which the decision becomes final. If there is no provision for reconsideration of the
 decision, or for a written decision or written findings supporting the decision, in any
 applicable provision of any statute, charter, or rule, for the purposes of this section, the
 decision is final on the date it is announced. If the decision is not announced at the
 close of the hearing, the date, time, and place of the announcement of the decision
 shall be announced at the hearing. If there is a provision for reconsideration, the
 decision is final for purposes of this section upon the expiration of the period during
 which such reconsideration can be sought; provided, that if reconsideration is sought
 pursuant to any such provision the decision is final for the purposes of this section on
 the date that reconsideration is rejected. If there is a provision for a written decision or
 written findings, the decision is final for purposes of this section upon the date it is
 mailed by first-class mail, postage prepaid, including a copy of the affidavit or certificate
 of mailing, to the party seeking the writ. Subdivision (a) of Section 1013 does not apply
 to extend the time, following deposit in the mail of the decision or findings, within which
 a petition shall be filed.

 (c) The complete record of the proceedings shall be prepared by the local agency or its
 commission, board, officer, or agent which made the decision and shall be delivered to
 the petitioner within 190 days after he has filed a written request therefor. The local
 agency may recover from the petitioner its actual costs for transcribing or otherwise
 preparing the record. Such record shall include the transcript of the proceedings, all
 pleadings, all notices and orders, any proposed decision by a hearing officer, the final
 decision, all admitted exhibits, all rejected exhibits in the possession of the local agency
 or its commission, board, officer, or agent, all written evidence, and any other papers in
 the case.


 (d) If the petitioner files a request for the record as specified in subdivision (c) within 10
 days after the date the decision becomes final as provided in subdivision (b), the time
 within which a petition pursuant to Section 1094.5 may be filed shall be extended to not
 later than the 30th day following the date on which the record is either personally
 delivered or mailed to the petitioner or his attorney of record, if he has one.

 (e) As used in this section, decision means a decision subject to review pursuant to
 Section 1094.5, suspending, demoting, or dismissing an officer or employee, revoking,
 denying an application for a permit, license, or other entitlement, imposing a civil or
 administrative penalty, fine, charge, or cost, or denying an application for any
 retirement benefit or allowance.

 (f) In making a final decision as defined in subdivision (e), the local agency shall provide
 notice to the party that the time within which judicial review must be sought is governed
 by this section. As used in this subdivision, "party" means an officer or employee who
 has been suspended, demoted or dismissed; a person whose permit, license, or other
 entitlement has been revoked or suspended, or whose application for a permit, license,
 or other entitlement has been denied; or a person whose application for a retirement
 benefit or allowance has been denied.



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 (g) This section shall prevail over any conflicting provision in any otherwise applicable
 law relating to the subject matter, unless the conflicting provision is a state or federal
 law which provides a shorter statute of limitations, in which case the shorter statute of
 limitations shall apply.

 SECTION. 2. Section 53069.4 is added to the Government Code, to read:

 53069.4. (a) (1) The legislative body of a local agency, as the term "local agency" is
 defined in Section 54951, may by ordinance make any violation of any ordinance
 enacted by the local agency subject to an administrative fine or penalty. The local
 agency shall set forth by ordinance the administrative procedures that shall govern the
 imposition, enforcement, collection, and administrative review by the local agency of
 those administrative fines or penalties. where the violation would otherwise be an
 infraction, the administrative fine or penalty shall not exceed the maximum fine or
 penalty amounts for infractions set forth in subdivision (b) of Section 25132 and
 subdivision (b) of Section 36900.

 (2) The administrative procedures set forth by ordinance adopted by the local agency
 pursuant to paragraph (1), shall provide for a reasonable period of time, as specified in
 the ordinance, for a person responsible for a continuing violation to correct or otherwise
 remedy the violation prior to the imposition of administrative fines or penalties, when the
 violation pertains to building, plumbing, electrical, or other similar structural or zoning
 issues, that do not create an immediate danger to health or safety.


 (b) (1) Notwithstanding the provisions of Section 1094.5 or 1094.6 of the Code of Civil
 Procedure, within 20 days after service of the final administrative order or decision of
 the local agency is made pursuant to an ordinance enacted in accordance with this
 section regarding the imposition, enforcement or collection of the administrative fines or
 penalties, a person contesting that final administrative order or decision may seek
 review by filing an appeal to be heard by the Municipal Court, where the same shall be
 heard de novo, except that the contents of the local agency's file in the case shall be
 received in evidence. A copy of the document or instrument of the local agency
 providing notice of the violation and imposition of the administrative fine or penalty shall
 be admitted into evidence as prima facie evidence of the facts stated therein. A copy of
 the notice of appeal shall be served in person or by first-class mail upon the local
 agency by the contestant.

 (2) The fee for filing the notice of appeal shall be twenty-five dollars ($25). The court
 shall request that the local agency's file on the case be forwarded to the court, to be
 received within 15 days of the request. The court shall retain the twenty-five dollar
 ($25) fee regardless of the outcome of the appeal. If the court finds in favor of the
 contestant, the amount of the fee shall be reimbursed to the contestant by the local
 agency. Any deposit of the fine or penalty shall be refunded by the local agency in
 accordance with the judgment of the court.



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 (3) The conduct of the appeal under this section is a subordinate judicial duty that may
 be performed by traffic trial commissioners and other subordinate judicial officials at the
 direction of the presiding judge of the court.

 (c) If no notice of appeal of the local agency's final administrative order or decision is
 filed within the period set forth in this section, the order or decision shall be deemed
 confirmed.

 (d) If the fine or penalty has not been deposited and the decision of the court is against
 the contestant, the local agency may proceed to collect the penalty pursuant to the
 procedures set forth in its ordinance.




                                     ATTACHMENT C
                           ADMINISTRATIVE REMEDIES ORDINANCE

                                              Chapter 1.14
                                       ADMINISTRATIVE REMEDIES

 1.14.010 Applicability

 A.      This Chapter provides for administrative remedies, which are in addition to all other legal
         remedies, criminal or civil, which may be pursued by the City to address any violation of this Code.

 B.      Use of this Chapter shall be at the sole discretion of the City.

 1.14.020 Director -- Defined

 For purposes of this Chapter, "Director'' means the head of any City department which is charged with
 responsibility for enforcement of any provision of this Code.

 1.14.030 Compliance Order

 A.      Whenever the Director determines that a violation of any provision of this Code within the
         Director's responsibility is occurring or exists, the Director may issue a written compliance order to
         any person responsible for the violation.

 B.      A compliance order issued pursuant to this Chapter shall contain the following information:




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        1.      The date and location of the violation;

        2.      The section of this Code violated and a description of the violation;

        3.      The actions required to correct the violation;

        4.      The time period after which administrative penalties will begin to accrue if compliance with
                the order has not been achieved;

        5.      Either a copy of this Chapter or an explanation of the consequences of noncompliance
                with this Chapter and a description of the hearing procedure and appeal process.

 1.14.040 Method of Service

 A.     All notices required by this Chapter shall be served as provided in Section 1.04.140 of this Title.
 B.     Where real property is involved, written notice shall be mailed to the property owner at the
        address as shown on the last equalized County assessment roll.

 C.     Where personal service or service by mail upon the property owner is unsuccessful, a copy of the
        order shall be conspicuously posted at the property which is the subject of the order.

 D.     The failure of any person to receive any notice required under this Chapter shall not affect the
        validity of any proceedings taken under this Chapter.

 1.14.050 Hearing

 A.     If the Director determines that all violations have been corrected within the time specified in the
        compliance order, no further action shall be taken.

 B.     If full compliance is not achieved within the time specified in the compliance order, the Director
        shall advise the secretary to the Appeals Board to set a hearing before the Board.

 C.     The secretary to the Appeals Hearing Board shall cause a written notice of hearing to be served
        on the violator and, where real property is involved, a notice of hearing shall be served on the
        property owner at the address as it appears on the last equalized County assessment roll
        available on the date the notice is prepared.

 1.14.060 Notice of Hearing

 A.     Every notice of hearing on a compliance order shall contain the date, time and place at which the
        hearing shall be conducted by the Appeals Hearing Board.

 B.     Each hearing shall be set for a date not less than fifteen days nor more than sixty days from the
        date of the notice of hearing unless the Director determines that the matter is urgent or that good
        cause exists for an extension of time.

 C.     This hearing serves to provide the full opportunity of a person subject to a compliance order to
        object to the determination that a violation has occurred and/or that the violation has continued to
        exist. The failure of any person subject to a compliance order, pursuant to this Chapter, to appear
        at the hearing shall constitute a failure to exhaust administrative remedies.

 1.14.070 Hearing -- Findings and order.

 A.     At the place and time set forth in the notice of hearing, the Appeals Hearing Board shall conduct a
        hearing on the compliance order issued pursuant to Section 1.14.030.




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 B.      The Board shall consider any written or oral evidence consistent with its rules and procedures
         regarding the violation and compliance by the violator or by the real property owner.

 C.      Within a reasonable time following the conclusion of the hearing, the Board shall make findings
         and issue its determination regarding:

         1.     The existence of the violation;

         2.     The failure of the violator or owner to take required corrective action within the required
                 time period.

 D.      The Board shall issue written findings on each violation. The findings shall be supported by
         evidence received at the hearing.

 E.      If the Board finds by a preponderance of the evidence that a violation has occurred and that the
         violation was not corrected within the time period specified in the compliance order, the Board
         shall issue an administrative order.

 F.      If the Board finds that no violation has occurred or that the violation was corrected within the time
         period specified in the compliance order, the Board shall issue a finding of those facts.

 1.14.080 Administrative Order

 If the Appeals Hearing Board determines that a violation occurred which was not corrected within the time
 period specified in the compliance order, the Board shall issue an administrative order described in
 Section 1.14.070 which imposes any or all of the following:


 A.      An order to correct, including a schedule for correction where appropriate;

 B.      Administrative penalties as provided in Section 1.14.090;

 C.      Administrative costs as provided in Section 1.14.100.

 1.14.090 Administrative penalties

 A.      The Appeals Hearing Board may impose administrative penalties for the violation of any provision
         of this Code in an amount not to exceed a maximum of Two Thousand Five Hundred Dollars per
         day for each ongoing violation, except that the total administrative penalty shall not exceed One
         Hundred Thousand Dollars exclusive of administrative costs, interest and restitution for
         compliance reinspections, for any related series of violations.

 B.      In determining the amount of the administrative penalty, the Board may take any or all of the
         following factors into consideration:

         1.      The duration of the violation;

         2.      The frequency, recurrence and number of violations, related or unrelated, by the same
                 violator;

         3.      The seriousness of the violation;

         4.      The good faith efforts of the violator to come into compliance;

         5.      The economic impact of the penalty on the violator;




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         6.      The impact of the violation on the community;

         7.      Such other factors as justice may require.

 C.      Administrative penalties imposed by the Board shall accrue from the date specified in the
         compliance order and shall cease to accrue on the date the violation is corrected as determined
         by the Director or the Board.

 D.      The Board, in its discretion, may suspend the imposition of applicable penalties for any period of
         time during which:

         1.      The violator has filed for necessary permits; and

         2.      Such permits are required to achieve compliance; and

         3.      Such permit applications are actively pending before the City, State or other appropriate
                 governmental agency.

 E.      Administrative penalties assessed by the Board shall be due by the date specified in the
         administrative order.

 F.      Administrative penalties assessed by the Board are a debt owed to the City and, in addition to all
         other means of enforcement, if the violation is located on real property, may be enforced by
         means of a lien against the real property on which the violation occurred.

 G.      If the violation is not corrected as specified in the Board's order to correct, administrative penalties
         shall continue to accrue on a daily basis until the violation is corrected, subject to the maximum
         amount set forth in Section 1.14.090.A. above.

 H.      If the violator gives written notice to the Director that the violation has been corrected and if the
         Director finds that compliance has been achieved, the Director shall deem the date the written
         notice was postmarked or personally delivered to the Director or the date of the final inspection,
         whichever first occurred, to be the date the violation was corrected. If no written notice is provided
         to the Director, the violation will be deemed corrected on the date of the final inspection.

 1.14.100 Administrative Costs

 A.      The Appeals Hearing Board shall assess administrative costs against the violator when it finds
         that a violation has occurred and that compliance has not been achieved within the time specified
         in the compliance order.

 B.      The administrative costs may include any and all costs incurred by the City in connection with the
         matter before the Appeals Hearing Board including, but not limited to, costs of investigation,
         staffing costs incurred in preparation for the hearing and for the hearing itself, and costs for all
         reinspections necessary to enforce the compliance order.

 1.14.110 Failure To Comply With Administrative Compliance Order

 Failure to pay the assessed administrative penalties and administrative costs specified in the
 administrative order of the Appeals Hearing Board may be enforced as:

         1.      A personal obligation of the violator; and/or

         2.      If the violation is in connection with real property, a lien upon the real property. The lien
                 shall remain in effect until all of the administrative penalties, interest and administrative




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                  costs are paid in full.

 1.14.120 Right of Judicial Review

 Any person aggrieved by an administrative order of the Appeals Hearing Board may obtain review of the
 administrative order in the Superior Court by filing with the court a petition for writ of mandate pursuant to
 Section 1.16.010 of this Code.

 1.14.130 Recovery of Administrative Civil Penalties

 The City may collect the assessed administrative penalties and administrative costs by use of all available
 legal means, including recordation of a lien pursuant to Section 1.14.160.


 1.14.140 Report of Compliance after Administrative Order

 If the Director determines that compliance has been achieved after a compliance order has been
 sustained by the Appeals Hearing Board, the Director shall file a report indicating that compliance has
 been achieved.

 1.14.150 Compliance Dispute

 A.      If the Director does not file a report pursuant to Section 1.14.140 above, a violator who believes
         that compliance has been achieved may request a compliance hearing before the Appeals
         Hearing Board by filing a request for a hearing with the secretary to the Board.

 B.      The hearing shall be noticed and conducted in the same manner as a hearing on a compliance
         order provided in Sections 1.14.060 through 1.14.070 of this Chapter.

 C.      The Board shall determine if compliance has been achieved and, if so, when it was achieved.

 1.14.160 Lien Procedure

 A.      Whenever the amount of any administrative penalty and/or administrative cost imposed by the
         Appeals Hearing Board pursuant to this Chapter in connection with real property has not been
         satisfied in full within ninety days and/or has not been successfully challenged by a timely writ of
         mandate, this obligation may constitute a lien against the real property on which the violation
         occurred.

 B.      The lien provided herein shall have no force and effect until recorded with the County Recorder.
         Once recorded, the administrative order shall have the force and effect and priority of a judgment
         lien governed by the provisions of Sections 697.340 of the Code of Civil Procedure and may be
         extended as provided in Sections 683.110 to 683.220, inclusive, of the Code of Civil Procedure.

 C.      Interest shall accrue on the principal amount of the judgment remaining unsatisfied pursuant to
         law.

 D.      Prior to recording any such lien, the Director of Finance shall prepare and file with the City Clerk a
         report stating the amounts due and owing.

 E.      The City Clerk shall fix a time, date and place for hearing such report and any protests or
         objections thereto by City Council.



 F.      The Director of Finance shall cause written notice to be served on the property owner not less




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         than ten days prior to the time set for the hearing. Such notice shall be served as provided in
         Section 1.04.140 of this Title.

 1.14.170 Public Hearing and Protests

 A.      Any person whose real property is subject to a lien pursuant to Section 1.14.160 may file a written
         protest with the City Clerk and/or may protest orally at the City Council meeting.

 B.      Each written protest or objection must contain a description of the property in which the protesting
         party is interested and the grounds of such protest or objection.

 C.      The City Council, after the hearing, shall adopt a resolution confirming, discharging or modifying
         the amount of the lien.

 1.14.180 Recording of Lien

 Thirty days following the adoption of a resolution by the City Council imposing a lien the City Clerk shall file
 the same as a judgment lien in the Office of the County Recorder of Santa Clara County, California. The
 lien may carry such additional administrative charges as set forth by resolution of the City Council.

 1.14.190 Satisfaction of Lien

 Once payment in full is received by the City for outstanding penalties and costs, the Director of Finance
 shall either record a notice of satisfaction or provide the property owner or financial institution with a notice
 of satisfaction so they may record this notice with the Office of the County Recorder. Such notice of
 satisfaction shall cancel the City's lien.




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                                                                                       Document 6-1 Filed 01/29/25                                                           Page 87 of 261 Page ID
                                                                                                 #:409



                                                                                 cow of California ciw- FIRE DEPARTMENT                                                                                                      No 65852
    l
                                                                    NOTICE OF VIOLATION ADMINISTRATIVE CITATION
                                                                                                    n                                                                                                                                    """|:    .

        Date of violation:                                                               Time:                                                   Case No.
        10/4/22                                                                          11:00                                                   ce22-409
        Name (First, Middle, Last):

                                                            I                                                   l


        Address'                                                                        Gm                                       State:                                                          Ep Code:
                                                                                        Chino                                            CA                                                      91710
        Driver's License No:                         DOB*

                                                                      I   See:
                                                                          Male
                                                                                         Hair:
                                                                                         Black
                                                                                                        Eyes:
                                                                                                        Brown       I   Height:                                             Weight:
                                                                                                                                                                                                       Q                   Race:
                                                                                                                                                                                                                           Unk
                                                                                                 VIOlATION(S)
        Location of V"rolatlon(s):                                                                                                                                                                 R.-eponing DLs\rkt:
                                                       . California City, CA 93505                                                   l                              _                                              _ CAC
        Correciién                           Code and Section:                                                                                   CUT:
                                                                                                                                                                                   .¢.   *
                                                                                                                                                                                             FIne.$:
                                                                                                                                                                                                                                   »   .-_»,~»~
                                                                                                                                                                                                                                                  Fine Total$='
        Required:                                                                                                                                                                                                      l




        1. 1:1                                                  -
                                             CFC 105.1.1 Permits Required- Structure                                                               2                             1,500.00                                              s 3,000.00
                                                                -                                                                                                                                                                      s 1,000.00
                                                                                                                                                                        l




        2. D                                 CFC 10S.1.1 Permits Required~ AC Split Units                                                          1                             1,500.00                          |




        3. [:]                                                  -
                                             CFC 10S.1.1 Permits Required- Awning covers                                                           2                             1,500.00                                              s 3,000.00
                                                                                                                                                                                                                                       s 1,500.00
                                         I




                                                                -
                                                                                                                                                                    l




        4. D                                 CFC 10S.1.1 Permits Required~ Water Heater                                                            1                             1,500.00
                                                                                                                                                                                                                                       s 1,500.00
                                                                                                                                         l




        5. 0                                                    -
                                             CFC 105.1.1 Cooking Area Permit Required                                                              1                             1,500.00
                                                                                                                                                                                                                                       s 3,000.00
                                                                                                                                                                l




        6. U                                 CFC 105.6.1.17- Fuel Storage Permit Required                                                          2                             1,500.00
                                                                                                                                                                                                                                       s 1,500.00
                                                                                                                                                                l                                              l




        7. 0                                 CFC 110.1.1- No Occupancy Certificate                                                                 1                             1,500.00
         8. 0                                CFC 110.1.1- No Occupancy Certificate for R-3 Conversion                                              2                             1,500.00                                              s 1,500.00
         9. in                               CFC 3041- Waste accumulation prohibited                                                 l
                                                                                                                                                   3                         s 1,500.00                                                s 4,500.00
        10. D                                CFC 30a.2- Storage prohibited                                                                         2                         s 1,500.00                                                s 3,000.00
        111. El                              CFC 308.1.6.2- Portable fueled open-flame devices prohibited                                          3                         s 1,500.00                                            S 4,500.00
                                                                                                                                                                                                                                   s 1,500.00
                                     l




        12. E]                               CFC 312.1- General Vehicle impact protection required-hydrant                                         1                         $1,500.00
                                                                                                                                                                                                                                   s 3,000.00
                                                                                                                                                                                                           l




        13. U                                CFC 313.2- Group R occupancies- Storage in sleeping areas                                             2        l
                                                                                                                                                                             s 1,500.00
        14. D                                CFC 31S.3.2- Means of egress obstructed                                                               1                         S 1,500.00                    I
                                                                                                                                                                                                                                   s 1,500.00
                                                                                                                                                                                                                                   s 1,500.00
l




        15. 0                                CFC 404.2.1- Fire evacuation plan not present                                                         1                         $ 1,500.00
        16. El                               CFC 404.2.2- Fire safety plans not present                                                            1                         $ 1,500.00                                            s 1,500.00
        17. E1                               CFC 406.1- General. ~Lack of employee tire safety training                                            1                         s 1,500.00                                            s 1,500.00
                                                                                                                                                                             s                                                     s 1,500.00
                                 I
                                                                                                                                                                                                           I




        18. LJ                               CFC 407.2- Material Safety Data Sheets missing                                                        1                           1,500.00
                                                                                                                                                                             s
                                                                                                                                                                                                           l




        19. 1:]                              CFC S03.4- Obstruction of fire apparatus access roads                                                 3                           1,500.00                                            $ 4,500.00
                                                                                                                                                                             s
                             l




        20. U                                CFC 504.2- Maintenance of exterior doors and openings                                                 7    l
                                                                                                                                                                               1,500.00                                            $ 10,500.00
                                                                                                                                                                                                                                   s 10,500.00
                             l




        21. E1                               CFC 505.1- Address identification missing                                           l
                                                                                                                                                   7                         $1,500.00
        22. EJ           l
                                             CFC S05.2- Street or road signs missing- 24 hour contact info                   l
                                                                                                                                                   1                         s 1,500.00                                            s 1,500.00
        23. U                                CFC 507.5.4- Hydrant Obstructed                                                                       1                         $ 1,500.00                                            s 1,500.00
        24. D                                CFC 603.4.2.3.4» Indoor storage prohibited .                                                         20                         s 1,500.00                                            $30,000.00
                                                                                                                                                                             s 1,500.00
                                                                                                                             l                          |
                     |




        25. 0                                CFC 506.1.1- Gate Access Lock Unusable                                                                1                                                                               s  1,500.00
        26. o                                CFC 605.1- Abatement of electrical hazards                                      l               .
                                                                                                                                                  16                         s   1,500.00                                          s 24,000.00
        27. E1                               CFC 60S.4- Multiplug adapters misuse                                            l
                                                                                                                                                   6                         S 1,500.00                                            s 9,000.00
        28. CJ                               CFC 60S.5- Unapproved conditions                                                                     35                         s 1,500.00                                            s 52,500.00
        29. cl                               CFC 605.9.1- Attachment to structures gas utilities                                                   1                         $ 1,500.00                                            $ 1,500.00

                                                                                    CCFD Administrative Citation Page 1 of 2


                                                                                                                                                                                                                                       FAC PG 148
        Case  8:24-cv-02793-CAS-E
         FAC PG 149
                                                                Document 6-1 Filed 01/29/25                                        Page 88 of 261 Page ID
                                                                          #:410
                                    City of California City- F|RE DEPARTMENT                       No o i l ¥'*e -Page 2 o f 2
                                                                                                          5; " iv -'* "H
                                                                                                                               t




                                               NOTICE OF VlOlATION ADMINISTRATIVE CITATION
                                                                             .n



30. U      l
                               CFC 605.11- Solar photovoltaic power systems- Unpermitted
                                                                                                              l
                                                                                                                          1         s 1,500.00            s 1,500.00
31. 0                          CFC 906.2- General requirements Fire ext. missing or main.
           l
                                                                                                                           9        S 1,500.00            $13,500.00
32. 0
33. 0
           l
                               CFC 903.3.2- Sprinklers required                                                            2          $1500.00            s 3,000.00
                               CFC 609.3.3.2- Dangerous grease accumulation                                                1         $1,500.00            $15,000.00
34. U                          CFC 907.2.11.2- Sleeping area missing smoke alarms.                                l
                                                                                                                           7        s 1,500.00            $10,500.00
35. U                          CFC 915.3- Lack of CO detection- sleeping areas                                             2        s 1,500.00            s 3,000.00
36. 0
               l
                               CFC 1003.3- Protruding objects. Emergency Egress                                            7        s 1,500.00 .          $10,500.00
37. 0
               l
                               CFC 1010.1.9- Door operations- Fmergency Fgress                                             6        s 1,500.00            s 9,000.00
38. D                          CFC 1013.1- Where required- Emergency Egress Exit Signs                                     2        s 1,500.00            s 3,000.00
39. 0                          CFC 1018.1- General- Emergency Egress Isle obstructions.                                   11        s 1,500.00            $16,500.00
               |




40. U                          CFC 1024.2- Width- Egress isles                                                            11        $ 1,500.00            $16,500.00
                   l




41. U                          CFC 1031.2- Reliability- Exit obstructed.                                  »


                                                                                                                           5        S 1,500.00            s 7,500.00
42. U                          CFC 50033- Combustible Flammable Fluid Spills                                      l
                                                                                                                           2        s 1,500.00            s 3,000.00
43. E]
                       \
                               CFC 2307.6.4- Vehicle impact protection- LPG tank locations                                 1        S 1,500.00            s 1,500.00
44. Cl                                            --
                               CFC 3104.3 Label. Greenhouse membrane                                                       1   s 1,500.00                 $ 1,500.00
45. E]                 l
                               CFC 3104.12 (b)- Portable fire extinguishers. generators                           l
                                                                                                                           3   s 1,500.00                 s 1,500.00
46. U                          CFC 3104.16.2- Location of containers- LPG tanks                                   l
                                                                                                                          11   s 1,500.00                 $16,500.00
47. U                          CFC 3104.17.2- Flammable and combustible liquid storage- Fuel                               8 . s 1,500.00                 $12,000.00
48. U                          CFC 3104.19- Separation of generators-membrane structures                              l
                                                                                                                           3        S 1,500.00            s 4,500.00
49. EI                         CFC 3104.19- Separation of fuel equip-membrane structures                                   s        s 1,500.00            $ 7,500.00
                                                                                                                                    s                     s
                                                                                                                      l




50. U                          CFC 3104.21- Combustible waste -membrane structures                                         3          1,s00.00              4,500.00
                                                                                                                  l




S1. U
                           I
                               CFC 3309- Emergency Contact information                                                |
                                                                                                                           1        s 1,500.00   |        s 1,500.00
sz. D                          CFC 5001.3.3.4- Fuel Containment                                                            1        s 1,500.00            s 1,500.00
53. CJ                         CFC 6103.3- Installation of LPG gas lines                                                   1         $1,500.00            s 1,500.00
                                                                                       Total Violations  230
                                                                                       Total Fine Amount: 1p=a one after 21do)                        $353,500.00
                                                                                                                                        m
                                                                                  'l




U Personal Service                                                                                                                          To be notified ay Mail
                                                                                                                                                              I




                                I acknowledge receipt of this citation:



                                                                                                                                                              l




Appeal: Failure to contest this citation within twenty-one (21) days of issuance will constitute a
forfeiture of all rights off appeal: Appeal instructions are described on the reverse of this notice.
 Issuing Officer (name):                                                                                                                     (Badge/Employee No.)

         J. Kosick                                                                                                                                   S3-193




                                                              CCFD Administrative Citation Page 2 of 2
                                                                                                                                                      FAC PG 149
Case  8:24-cv-02793-CAS-E
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                                                         10
                                                 Exhibit ___

                                                                      FAC PG 150
             Case  8:24-cv-02793-CAS-E
              FAC PG 151
                                                      Document 6-1 Filed 01/29/25               Page 90 of 261 Page ID
                                                                #:412                                        005REC PG 005


. ,
      CITY OF.
      .COD‘ECOMPLIANCE DIVISION
       Code Compliance Division
                                                 k DESERT HOT aPRINGS
                                                      65950 Pierson Blvd. • Desert Hot Springs • CA • 92240
                                                      (760) 329-6411• www.citvofdhs.org




                                            Administrative Citation #279480

                                                      Date Issued: August 18,
                                                                          18, 2021
                                                           APN:  657-220-005
                                                           APN: 657-220-005
                                                 Case
                                                 Cose Number:
                                                      Number: CODE-21-985
                                                               CODE-21-985
                                               66781 DILLON RD.,
                                     Properly: 66781
                             Subject Property:                              SPRINGS, CA 92240
                                                            RD., DESERT HOT SPRINGS,

         Parcel Owner:     MINER JOSEPH
                Owner: MINER     JOSEPH
                 Address: 2576 NEWPORT BLVD
         Mailing Address:
                          COSTA MESA,
                                 MESA, CA 92627
                                       CA 92627

         An inspection
         An            of your property
            inspection of                              the following vialaﬁon(s)
                                         tias revealed ttie
                               property has                          violation(s) of     Desert Hot
                                                                                     the Desert
                                                                                  of the        Hot
                 Municipai Code
         Springs Municipal Code section   (§_):
                                  section (§):

         Violations: '
         Violations:         Description:
                             Description:              Corrective Action:
                                                       Corrective Action:                                Fine-s:
                                                                                                         Fines:


         4.:16.‘010.A.5
         4.16.010.A.5         Public Nuisance- Fire
                                     Nuisance-Fire     Remove and
                                                       Remove                      of all dry or .
                                                                  properly dispose ot
                                                              and properly                                $100.00
         '                    Hazard                   dead plom‘     matter, combustible refuse and
                                                                plant mc’r’rer,
                                                       waste or or any
                                                                   any other moﬁer
                                                                                matter which by
                                                                                             by reason
                                                       of its size, manner of
                                                       of                     of growth and location,
                                                       constitutes a
                                                       constitutes     fire hazard
                                                                     a tire
         4.1-6.’O]0.A.19.e
         4.16.010.A.19.e      Public Nuisance-         Remove and properly dispose of        The large
                                                                                          ot the          $100.00
                      '       Visual Blight-
                                      Bliglnt- .       accumulation of    ofjunk,       and
                                                                            junk, trash and                         _
                              Junk/refuse/garbqge
                              Junk/refuse/garbage      miscellaneous household
                                                       miscellaneous           items from
                                                                     household items      The
                                                                                     from the
              .               visible
                              visible                  premises.
         4.16.010.A.  ,0
         4.16.010A,}1 .a      Public Nuisance
                              Public Nuisance          Remove all construction
                                                       Remove                  materials, auto
                                                                  construction materials,                 $]00.00
                                                                                                          $100.00
                              Abandoned
                              Abandoned                parts, equipment and household items
                                                       ports,
                              equipment
                              equipment,                                          do not
                                                                              and do
                                                       from exterior premises and    not store
                              machinery. or house
                              machinery, or            ou’rside.
                                                       outside.
                              items
                              items

         4.16.010.A.17
         4.16.010.A.17        Public Nuisance-
                              Public Nuisance-         Obtain a fencing permit for all wood               $100.30
                                                                                                          $100.00
                              Illegal,
                              Illegal,                 fencing        property. Or remove all
                                                                  The proper-1y.
                                                       fencing on the
                              Nonconforming            wOOd          on the
                                                       wood fencing on   The property.
                                                                             property.
                                          S’rrqure
                                       or Structure
                              Building or

         5.04.040.A
         5.04.040.A           General Business
                              General Business         Obtain a business license for your rental
                                                       Obtainla                                           $10000
                                                                                                          $100.00
                  ‘   ‘      License — License
                             License -                 property               Contact Ko’rtn
                                                                 immediately. Contact
                                                       property immediately.             Kathlyn
                             Required                  Palmer In
                                                       Palmer     the Finance
                                                               in the Finance Division.
                              '                        (Kpolmer@ci’ryofdhs.org or (760)329-6411
                                                      (Kpalmer@cityofdhs.org        (760)329-641 1
                                                      Ext   24])
                                                       Ext. 241)




                                                                                   TOTAL FINES:
                                                                                         FINES;$500...
                                                                                                $500.00

      ' Tiyl_erMesser,:-C@d'e
        Tiyler Messer, Code Compliance Ofﬁcer
                                       Officer           tmesse’ciWofdMg
                                                         tmesser@cityofdhs.orc                                     cpl-[30002
                                                                                                                   CDHS0002
                                                                                                                        FAC PG 151
Case  8:24-cv-02793-CAS-E
 FAC PG 152
                            Document 6-1 Filed 01/29/25   Page 91 of 261 Page ID
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                                                         11
                                                 Exhibit ___

                                                                      FAC PG 152
       Case  8:24-cv-02793-CAS-E
        FAC PG 153
                                           Document 6-1 Filed 01/29/25               Page 92 of 261 Page ID
                                                     #:414




CVPS2106001                        MINER vs CITY OF DESERT HOT SPRINGS,
Filed Date: 12/06/2021 Limited Civil Appeal of Administrative Fine or Penalty                               $225.00
Case Status: Closed               Palm Springs - Department PS4
                                                   Print Case Report

 Case Summary
   
       COMPLAINTS/PETITIONS


                                                                       Represented
          Filings                                                      By             Status       Dispositions

             MINER vs CITY OF DESERT HOT SPRINGS,                                     Closed       Other Court
          Limited Civil Appeal of Administrative Fine or Penalty                                   Ordered
                                                                                                   Dismissal

                 Notice of Appeal of Administrative Fine or                           Filed:       Other Court
          Penalty of JOSEPH MINER                                                     12/06/2021   Ordered
                                                                                                   Dismissal
                                                                                                   10/20/2022

                       Defendant/Appellant: JOSEPH MINER               In Pro Per     Demurred     Dispo:
                                                                                      as of        Dismissal -
                                                                                      01/03/2022   Other Court
                                                                                                   Ordered
                                                                                                   Dismissal on
                                                                                                   10/20/2022

                       Plaintiff/Respondent: CITY OF DESERT HOT        TUAN-ANH       Waiting
          SPRINGS,                                                     VU             Service as
                                                                       JOSEPH C       of
                                                                       ROSENBLIT      12/06/2021


   
       HEARINGS


                                                                   Judicial
         Date Time    Type                                         Officer    Location/Courtroom    Disposition

         01/06/2022   Hearing on Appeal of Administrative          Arthur     Department PS4        Continued -
         08:30 AM     Fine or Penalty                              Hester                           Other pre-
                                                                                                    disposition
                                                                                                    hearing

         01/14/2022   Ex Parte Hearing re: To Continue Trial       Arthur     Department PS4        Taken off
         08:30 AM                                                  Hester                           calendar


                                                                                                   FAC PG 153
Case  8:24-cv-02793-CAS-E
 FAC PG 154
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                                                         12
                                                 Exhibit ___

                                                                      FAC PG 154
        Case  8:24-cv-02793-CAS-E
         FAC PG 155
                                                        Document 6-1 Filed 01/29/25                            Page 94 of 261 Page ID
                                                                  #:416

                                    Superior Court of California County of San Luis Obispo

                                NOTICE TO PARTIES CONSIDERING AN APPEAL FROM
                                   DECISIONS OF ADMINISTRATIVE CITATIONS

Parties may file an Appeal on the administrative order pursuant to Government Code § 50369.4 by filing a notice of appeal with the
clerk of the civil division of the Superior Court along with the required filing fee and a copy of the administrative order. The appealing
party shall also serve a copy of the notice of appeal on the agency who issued the decision by delivering the same in person or mailing
the same by first class mail, postage pre-paid.
Appeal from a local agency ordinance must be filed within twenty (20) calendar days after service of the administrative order.
Appeal from a Vehicle Code or Public Utilities Code violation must be filed within thirty (30) calendar days after service of the
administrative order.
 Parties may also file a petition for a writ of mandate pursuant to Code of Civil Procedure, § 1094.5, within ninety (90) calendar days
after service of the administrative order.

                                                           NATURE OF AN APPEAL

An appeal is not a re-trial. New evidence such as testimony and exhibits are not given to the Superior Court. There are two main
grounds of appeal: (1) the evidence in the administrative hearing was insufficient to justify the verdict or judgment, and (2) errors of
law were committed during or before the hearing which harmed the appealing party. As to the first ground, insufficiency of the
evidence, the Superior Court does not decide where the greater weight of evidence was or who was telling the truth; it only decides if
there was any substantial evidence which supports the judgment. Many times, parties ask the Superior Court to change the judgment
because they should have been believed and their opponent disbelieved. This request seldom, if ever, works as it is beyond the power
of the Superior Court to re-try, or re-decide the case by re-weighing the evidence. As to the second ground, errors of law, the Superior
Court will listen and decide whether there has been any irregularity and whether any errors prejudiced or substantially harmed the
appealing party. Most appeals are won or lost on these issues of error of law and procedure.

                                                         APPEAL PROCEDURE

NOTICE OF APPEAL: The most important act in an appeal is the timely filing of the written notice of appeal. Generally, the notice
     must be filed within 20 days of entry of the decision. The Superior Court will not consider the appeal unless it grants a
     motion of the appellant (the party who is appealing) to set aside the untimeliness of the filing of the notice of appeal.
     Permission to file late is rarely given. You must attach a copy of your citation and the decision of the hearing officer. You
     must serve the Notice of Appeal on the opposing party prior to the hearing.

STATEMENT ON APPEAL: Your written Proposed Statement on Appeal must be filed and served on opposing party prior to the .
     hearing.

PROOF of SERVICE: You must file with the clerk’s office a Proof of Service of the Notice of Appeal and Statement on Appeal
     prior to the hearing.

TESTIMONY: You will have an opportunity to present oral testimony at the hearing.

HEARING: The case will be set for hearing and the clerk will notify you of the date, time, and place. At the hearing, you should
     stress the most important parts of your case while realizing that the judge has reviewed the file and read your Statement on
     Appeal. After the hearing, the judge’s decision will be mailed to you.

FORMS/FEES: Filing fee for the appeal of a parking citation or administrative fine/penalty is $25.00 (2020 fee schedule)
            Filing fee for the appeal of a dangerous or vicious dog is $45.00 (2020 fee schedule)

                     When you have completed the forms make two photocopies. The original will be kept by the court; you will need a
                     copy to be served and a copy for your records.

HEARING DATE: The court will mail you a notice of your hearing date and time. If you do not want to appear at the hearing in
      person you may file a document that states, you want to submit your appeal on the paperwork only.


https://slocourts-my.sharepoint.com/personal/jaudean_reavey_slo_courts_ca_gov/Documents/Desktop/Civil Appeal of Administrative Citations.doc
                                                                                                                                     FAC PG 155
Case  8:24-cv-02793-CAS-E
 FAC PG 156
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                                            #:417


                                                                    ELECTRONICALLY FILED
1    JASON M. HEATH, State Bar No. 180501                           Superior Court of California
     County Counsel                                                 County of Santa Cruz
2    JOHN B. NGUYEN, State Bar No. 247457                           8/15/2022 9:32 AM
     Assistant County Counsel                                       Alex Calvo, Clerk
3    Office of the Santa Cruz County Counsel                        By: Karen Broughton, Deputy
     701 Ocean Street, Room 505
4    Santa Cruz, California 95060
     Telephone: (831) 454-2040
5    Fax: (831) 454-2115
6    Attorneys for Respondent
     Santa Cruz County Cannabis Licensing Unit
7
8                                  SUPERIOR COURT OF CALIFORNIA
9                                       COUNTY OF SANTA CRUZ
10                                         LIMITED CIVIL CASE
11
12    AMIT VACHHER-GNANATHURAI,                            CASE NO. 21CV03065
13              Appellant,                                 NOTICE OF ENTRY OF ORDER ON
                                                           CLARIFYING CONDUCT AND SCOPE
14    vs.                                                  OF APPEAL HEARING PURSUANT TO
                                                           GOVERNMENT CODE SECTION
15    SANTA CRUZ COUNTY CANNABIS                           53069.4(b)(1)
      LICENSING UNIT,
16
17              Respondent.

18
19   TO AMIT VACHHER-GNANATHURAI AND HIS ATTORNEY OF RECORD:

20            NOTICE IS HEREBY GIVEN that on August 11, 2022, the above-entitled Court entered an

21   ORDER on Clarifying Conduct and Scope of Appeal Hearing pursuant to Government Code section

22   53069.4(b)(1), a true and correct copy of which is attached hereto as Exhibit A.
     Dated: August 15, 2022                       JASON M. HEATH, COUNTY COUNSEL
23
24
25                                                By ________________________________
                                                        JOHN B. NGUYEN
26                                                      Assistant County Counsel
                                                        Attorneys for Respondent
27
28


                                                                                         FAC PG 156
     Notice of Entry of Order                    1                                 Case No. 21CV03065
Case  8:24-cv-02793-CAS-E
 FAC PG 157
                                    Document 6-1 Filed 01/29/25            Page 96 of 261 Page ID
                                              #:418



1                                            PROOF OF SERVICE
2             I, the undersigned, state that I am a citizen of the United States and employed in the County
3    of Santa Cruz, State of California. I am over the age of 18 years and not a party to the within action.
4    My business address is 701 Ocean Street, Room 505, Santa Cruz, California 95060. On the date set
5    out below, I served a true copy of the following on the person(s)/entity(ies) listed below:
6     NOTICE OF ENTRY OF ORDER ON CLARIFYING CONDUCT AND SCOPE OF
     APPEAL HEARING PURSUANT TO GOVERNMENT CODE SECTION 53069.4(b)(1)
7
      by service by mail by placing said copy enclosed in a sealed envelope and depositing the sealed
8    envelope with the United States Postal Service with the postage fully prepaid.
9    X by service by mail by placing said copy enclosed in a sealed envelope and placing the envelope
     ◇
     for collection and mailing on the date and at the place shown below following our ordinary business
10   practices. I am readily familiar with this business's practice for collecting and processing
     correspondence for mailing. On the same day that correspondence is placed for collection and
11   mailing, it is deposited in the ordinary course of business with the United States Postal Service with
     postage fully prepaid.
12
      by e-mail - I caused the document to be sent to the person(s) at the e-mail address(es) listed
13   below, each of whom previously authorized electronic service of documents in this action. I did not
     receive, within a reasonable time after the transmission, any electronic message or other indication
14
     that the transmission was unsuccessful.
15
      by express or overnight mail by arranging for pick-up by an employee of an express/overnight
16   mail company on:

17    by facsimile service at the number listed below and have confirmation that it was received by:

18    David Knutsen
      Knutsen Law Offices
19    6362 Clark Ave.
20    Dublin, CA 94568-3036
      (Attorney for Petitioner Amit Vachher-Gnanathurai)
21
22
              I declare under penalty of perjury under the laws of the State of California that the foregoing
23
     is true and correct. Executed on August 15, 2022, at Santa Cruz, California.
24
25
                                                            Maria G. Vargas
26
                                                            MARIA G. VARGAS
27
28


                                                                                            FAC PG 157
     Notice of Entry of Order                      2                                  Case No. 21CV03065
    Case  8:24-cv-02793-CAS-E Document 6-1 Filed 01/29/25
     FAC PG 158
                                                                          Page 97 of 261 Page ID
ELECTRONICALLY RECEIVED DS              #:419                                   Exhibit A - Page 1
8/4/2022 10:49 AM


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     7
         Attorneys for Respondent
     8   Santa Cruz County Cannabis Licensing Unit

     9                                      SUPERIOR COURT OF CALIFORNIA

    10                                         COUNTY OF SANTA CRUZ

    11
          AMIT VACHHER-GNANATHURAI,                         CASE NO. 21CV03065
    12
                    Appellant/Petitioner,                    [PROPOSED] ORDER CLARIFYING
    13                                                       CONDUCT AND SCOPE OF APPEAL
          vs.                                                HEARING PURSUANT TO
    14                                                       GOVERNMENT CODE SECTION
          SANTA CRUZ COUNTY CANNABIS                         53069.4(b)(1)
    15    LICENSING UNIT,
    16
                                                             Date:      July 26, 2022
                    Respondent.                              Time:      8:30 a.m.
    17
                                                             Dept.:     5
    18
                                                             Appeal Hearing Date: March 16, 2023
    19                                                       Time:     8:30 a.m.
                                                             Dept.:    5
    20
    21          Respondent SANTA CRUZ COUNTY CANNABIS LICENSING UNIT’s (hereinafter
    22   “COUNTY”) Motion Seeking Clarification on Conduct and Scope of De Novo Hearing pursuant to
    23   Government Code section 53069.4(b)(1) (hereinafter “Section 53069.4) came before the Court on
    24   July 26, 2022 at 8:30 a.m. in Department 5 of the Santa Cruz County Superior Court. Assistant
    25   County Counsel Jordan Sheinbaum appeared on behalf of the COUNTY and Mr. David Knutsen
    26   appeared on behalf of Appellant/Petitioner AMIT VACHHER-GNANATHURAI (hereinafter
    27   “Appellant”).
    28


                                                                                          FAC PG 158
         [PROPOSED] ORDER                             1                             Case No. 21CV03065
Case  8:24-cv-02793-CAS-E
 FAC PG 159
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                                            #:420                              Exhibit A - Page 2



1           After full consideration of the evidence, pleadings filed in this matter, the arguments of
2    counsel and good cause otherwise appearing:
3           IT IS HEREBY ORDERED:
4           1. Government Code section 53069.4(b)(1) entitles Appellant to a de novo review and a
5              hearing but does not allow the presentation of new evidence or allow for witness
6              testimony. The appeal should proceed by way of a de novo hearing by a single judge.
7           2. Section 53069.4(b)(1) mandates that the COUNTY’s local agency file shall be admitted
8              into evidence and that the copy of the COUNTY’s administrative citation providing
9              notice of the violation and imposition of the administrative fine or penalty shall be
10             admitted into evidence as prima facie evidence of the facts stated therein. The Court is
11             to consider and review only the COUNTY’s local agency file on a de novo standard of
12             review.
13          3. Since Section 53069.4(b)(1) appeals are limited to evidence already in the record, the
14             parties are not entitled to introduce new evidence or conduct any formal discovery
15             including without limitation interrogatories, depositions, requests for production of
16             documents and/or things, record subpoenas, requests for admissions, and any other
17             formal discovery tools. In addition, the parties are not entitled to issue witness
18             subpoenas to appear at the hearing or present or cross-examine live or remote witness
19             testimony at the hearing.
20          4. The Court now sets the following briefing schedule as it relates to this appeal de novo:
21                 a. Appellant shall file and serve his Opening Brief on or before January 20, 2023.
22                 b. COUNTY shall file and serve its Response Brief on or before February 10, 2023.
23                 c. Appellant shall file and serve its Reply Brief on or before February 24, 2023.
24                 d. Opening and Response Briefs shall not exceed 25 pages. The Reply Brief shall
25                       not exceed 15 pages.
26          5. The September 8, 2022 hearing date is hereby VACATED.
27          6. The de novo appeal hearing is set for Thursday March 16, 2022 at 8:30 a.m. in
28             Department 5. The parties may agree to waive their right to a de novo appeal hearing


                                                                                          FAC PG 159
     [PROPOSED] ORDER                             2                                 Case No. 21CV03065
Case  8:24-cv-02793-CAS-E
 FAC PG 160
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1              and presentation of oral arguments. If agreed by the parties, the parties will file a
2              stipulation informing the Court that the Court will decide this matter on the briefs filed

3              by the parties.

4
5    Approved as to form:

6    Dated: August 4, 2022                        JASON M. HEATH, COUNTY COUNSEL

7
8                                                 _________________________________________
                                                  John B. Nguyen
9                                                 Assistant County Counsel
                                                  Attorneys for Respondent
10
11   Approved as to form:
     Dated: July __, 2022
12
                                                  _________________________________________
13
                                                  David R. Knutsen
14                                                Attorney for Appellant/Petitioner

15
            IT IS SO ORDERED.
16
17
     Dated: _________________, 2022
18
                                                  _________________________________________
19                                                Hon. Timothy Volkmann
20                                                JUDGE OF THE SUPERIOR COURT

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22
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                                                                                          FAC PG 160
     [PROPOSED] ORDER                            3                                  Case No. 21CV03065
Case  8:24-cv-02793-CAS-E
 FAC PG 161
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                                   ID #:422




           EXHIBIT 1




                                                                     FAC PG 161
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 FAC PG 162
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                                               ID #:423


TENTATIVE RULINGS FOR March 2, 2023
Department S24 - Judge Gilbert G. Ochoa

This court follows California Rules of Court, rule 3.1308(a) (1) for tentative rulings. (See San Bernardino
Superior Court Local Emergency Rule 8.) Tentative rulings for each law & motion will be posted on the
internet (https://www.sb-court.org) by 3:00 p.m. on the court day immediately before the hearing.

If you do not have internet access or if you experience difficulty with the posted tentative ruling, you may
obtain the tentative ruling by calling the Administrative Assistant. You may appear in person at the
hearing but personal appearance is not required and remote appearance by Court Call is preferred during
the Pandemic. (See www.sbcourt.org/general-information/remote-access)

If you wish to submit on the ruling, call the Court and your appearance is not necessary. If both
sides do not appear, the tentative will simply become the ruling. If any party submits on the
tentative, the Court will not alter the tentative and it will become the ruling. If one party wants to
argue, Court will hear argument but will not change the tentative. If the Court does decide to
modify tentative after argument, then a further hearing for oral argument will be reset for both
parties to be heard at the same time by the Court.

UNLESS OTHERWISE NOTED, THE PREVAILING PARTY IS TO GIVE NOTICE OF
THE RULING.
            CIVSB2213147
         MODERN VACAY, et al.

                             v.

             CITY OF BIG BEAR LAKE

Motion:           Compel Further re (1) Special Interrogatories and (2) Request for Admissions

Movant:           Appellants Modern Vacay, Eric Reynolds, and Philip McGill

Respondent:       Respondent City of Big Bear Lake

Discussion –

Government Code section 53069.4, subdivision (b)(1), provides a party may 20 days after the service of a

final administrative order imposing an administrative fine or penalty contest the order by filing an appeal.

The appeal is deemed a limited civil case. (Gov. Code, §53069.4.) In limited cases, discovery is

permissible but limited on the total number of interrogatories, document demands, and admission requests

that can be propounded. (Code Civ. Proc., §94.)

          As a limited civil case authorizes discovery, and the appeal is treated like a limited civil case, it

cannot be said that Appellants are denied the right of limited discovery.




                                                                                                     FAC PG 162
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 FAC PG 163
                                      Document 6-1 Filed 01/29/25                Page 102 of 261 Page
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        Arguably vague, Interrogatory #21, the essence of the information sought can be ascertained, i.e.,

how much did the City pay to the citation processing vendor. (Deyo v. Kilbourne (1978) 84 Cal.App.3d

771, 783 [“Indeed, where the question is somewhat ambiguous, but the nature of the information sought is

apparent, the proper solution is to provide an appropriate response.”].) Therefore, the Court compels a

further response to Special Interrogatory #21. Motion granted.

        Sanctions. Under both Motions, Appellants sought sanctions. Considering, in response to the

Compel Motions, Respondent provided not once but twice further responses, it supports Appellants are

the prevailing parties who are entitled to sanctions. However, this Court has a standing DCO on every

case. Failure to follow this lawful Court Order results in contempt sanctions. In the instant case, a

transfer order occurred on Feb. 2. As a result, the Court will forgo a contempt hearing but will not award

sanctions. Future Discovery motions must comply with the DCO or sanctions/contempt will be levied on

the offending party. The DCO reads as follows:


        Prior to any party filing any discovery motion in this action, the moving party must schedule a

telephonic or preferably a video discovery conference (herein after IDC) with all parties and the Court.

The purpose of the IDC is to try and resolve the discovery issues without the necessity of a motion and or

sanctions. At the IDC, the issues of the discovery dispute will be discussed as well as possible referral of

the case out to Judicial Reference (hereinafter JR), pursuant to CCP 639. Timely objections to JR,

including but not limited to, economic hardship, will be heard at this time only. (Be prepared with

appropriate financial documentation/declarations at this time of the IDC or request an extension at the

time of the IDC). Referral to JR is relatively rare but nonetheless, is a possibility after this conference

depending on circumstances.

        The time for bringing any discovery motion if necessary, will be tolled by any delay caused by the

discovery conference. Notice must be given to all parties. Propounding and responding parties to the

discovery dispute must be at the conference electronically (preferably Zoom) and there is no cost to the

parties. All other parties not involved in the dispute can attend or not attend the conference. No




                                                                                                   FAC PG 163
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 FAC PG 164
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substantive documents on the discovery issues (propounding and/or responsive documents, briefs, etc.)

need to be filed for the conference by either side but you should have them available for reference at the

conference electronically. Failure to obey this Order will result in Sanctions for the offending party

pursuant to CCP 177.5.

Ruling

         (1)   Hold as MOOT Appellants Modern Vacay, Reynolds, and McGill’s Motion to Compel

Further re Special Interrogatories #2, 5, 7-8, 11-13, and 17-20 but ORDER Respondent City (if not done

so already) to serve the Verification to the Further Responses to Special Interrogatories served on

February 17, 2023, within 10 days of this ruling;

         (2)   Hold as MOOT Appellants Modern Vacay, Reynolds, and McGill’s Motion to Compel

Further re RFAs #2, 5, and 7-9, but ORDER Respondent City (if not done so already) to serve the

Verification to the Further Responses to RFAs served on February 17, 2023, within 10 days of this ruling;


 GRANT Appellants Modern Vacay, Reynolds, and McGill’s Motion to Compel Further re Special

Interrogatory #21 and ORDER Respondent City to serve its further response within 10 days of this ruling.

No sanctions awarded.


Movants to give Notice and prepare Order.

Dated-




___________________________
Judge




                                                                                                FAC PG 164
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 FAC PG 165
                            Document 6-1 Filed 01/29/25   Page 104 of 261 Page
                                   ID #:426




           EXHIBIT 2



                                                                     FAC PG 165
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 FAC PG 166
                            Document 6-1 Filed 01/29/25   Page 105 of 261 Page
                                   ID #:427




                                                                     FAC PG 166
Case  8:24-cv-02793-CAS-E
 FAC PG 167
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                                                                     FAC PG 167
Case  8:24-cv-02793-CAS-E
 FAC PG 168
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                                   ID #:429




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                                   ID #:430




                                                                     FAC PG 169
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                                   ID #:431




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 FAC PG 171
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                                   ID #:432




                                                                     FAC PG 171
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                                   ID #:433




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                                   ID #:434




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                                   ID #:435




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                                   ID #:436




           EXHIBIT 3



                                                                     FAC PG 175
            Case  8:24-cv-02793-CAS-E Document 6-1 Filed 01/29/25 Page 115 of 261 Page
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ïì   ß°°»´´¿²¬- ¸»®»·² «-» ¿- ¬¸»·® °®±½»¼«®¿´ ª»¸·½´» ¬± ½±²¬»-¬ ¬¸» «²¼»®´§·²¹ ¿¼³·²·-¬®¿¬·ª» ¼»½·-·±²ò Ì¸¿¬
     Í»½¬·±² °®±ª·¼»-ô ·² °»®¬·²»²¬ °¿®¬æ
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     Ò±¬©·¬¸-¬¿²¼·²¹ Í»½¬·±² ïðçìòë ±® ïðçìòê ±º ¬¸» Ý±¼» ±º Ý·ª·´ Ð®±½»¼«®»ô ©·¬¸·² îð ¼¿§- ¿º¬»® -»®ª·½» ±º
ïê
     ¬¸» º·²¿´ ¿¼³·²·-¬®¿¬·ª» ±®¼»® ±® ¼»½·-·±² ±º ¬¸» ´±½¿´ ¿¹»²½§ ·- ³¿¼» °«®-«¿²¬ ¬± ¿² ±®¼·²¿²½» »²¿½¬»¼
ïé   ·² ¿½½±®¼¿²½» ©·¬¸ ¬¸·- -»½¬·±² ®»¹¿®¼·²¹ ¬¸» ·³°±-·¬·±²ô »²º±®½»³»²¬ô ±® ½±´´»½¬·±² ±º ¬¸» ¿¼³·²·-¬®¿¬·ª»
     º·²»- ±® °»²¿´¬·»-ô ¿ °»®-±² ½±²¬»-¬·²¹ ¬¸¿¬ º·²¿´ ¿¼³·²·-¬®¿¬·ª» ±®¼»® ±® ¼»½·-·±² ³¿§ -»»µ ®»ª·»©
ïè   ¾§ º·´·²¹ ¿² ¿°°»¿´ ¬± ¾» ¸»¿®¼ ¾§ ¬¸» -«°»®·±® ½±«®¬ô ©¸»®» ¬¸» -¿³» -¸¿´´ ¾» ¸»¿®¼ ¼» ²±ª±ô
     »¨½»°¬ ¬¸¿¬ ¬¸» ½±²¬»²¬- ±º ¬¸» ´±½¿´ ¿¹»²½§ù- º·´» ·² ¬¸» ½¿-» -¸¿´´ ¾» ®»½»·ª»¼ ·² »ª·¼»²½»ò
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     ß ½±°§ ±º ¬¸» ¼±½«³»²¬ ±® ·²-¬®«³»²¬ ±º ¬¸» ´±½¿´ ¿¹»²½§ °®±ª·¼·²¹ ²±¬·½» ±º ¬¸» ª·±´¿¬·±² ¿²¼ ·³°±-·¬·±²
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     ¶«¼·½·¿´ ¼«¬§ ¬¸¿¬ ³¿§ ¾» °»®º±®³»¼ ¾§ ¬®¿ºº·½ ¬®·¿´ ½±³³·--·±²»®- ¿²¼ ±¬¸»® -«¾±®¼·²¿¬» ¶«¼·½·¿´ ±ºº·½»®-
îé   ¿¬ ¬¸» ¼·®»½¬·±² ±º ¬¸» °®»-·¼·²¹ ¶«¼¹» ±º ¬¸» ½±«®¬òþ øÙ±ªù¬ Ý±¼» y ëíðêçòìø¾÷øí÷ò÷
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     ß- ¿ ¬¸®»-¸±´¼ ³¿¬¬»®ô ¬¸» Ý±«®¬ ²±¬»- ¬¸¿¬ ·¬ ©·´´ ²±¬ -«³³¿®·¦» ¬¸» ¿°°»´´¿¬» ¸·-¬±®§ ±º ¬¸·- ¿½¬·±² ¿²¼
íð
     ©·´´ ²±¬ ¿¼¼®»-- ¬¸» ½´¿--·º·½¿¬·±² ±º ¬¸·- ³¿¬¬»® ¿- ´·³·¬»¼ ±® «²´·³·¬»¼ ¾¿-»¼ ±² ¬¸» ¿³±«²¬ ·²
íï   ½±²¬®±ª»®-§ò Ì¸» °¿®¬·»- ¿®» º¿³·´·¿® ©·¬¸ ¬¸»-»ò Ì¸» Ý±«®¬ °®±½»»¼- ¼·®»½¬´§ ¬± ¬¸» ·--«» °®»-»²¬»¼ ·²
     ¬¸» ³±ª·²¹ °¿°»®-æ ©¸»¬¸»® ¼·-½±ª»®§ -¸±«´¼ ¾» °»®³·¬¬»¼ ¬± °®±½»»¼ ·² ¬¸·- ¿½¬·±²ô ©¸·½¸ ·- ¿² þ¿°°»¿´þ
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     ÜÛÐÌæ ëí                                                                                 FAC PGÝ¿´»²¼¿®
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            FAC PG 178
     ÝßÍÛ Ì×ÌÔÛæ   É¿²¹ ª-ò Ý·¬§ ±º Í¿½®¿³»²¬± Ð±´·½»
                                                    ID #:439 ÝßÍÛ ÒÑæ íìóîðïçóððîëçêéíóÝËóÖÎóÙÜÍ
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     ¬¸» Í¬¿¬«¬» °®±ª·¼»- º±® ¬¸» þ»¨¿½¬ »ª·¼»²½» ¿²¼ ¼±½«³»²¬- ¬± ¾» ®»ª·»©»¼ ¼» ²±ª±þ -«½¸ ¬¸¿¬ ²±
 ê   ¿¼¼·¬·±²¿´ »ª·¼»²½» ¾»§±²¼ ¬¸»-» ´·-¬»¼ ·¬»³- -¸±«´¼ ¾» °»®³·¬¬»¼ô ¾»½¿«-» þÅ¬Ã¸» ¬»®³- ±º ¬¸» ³±®»
     -°»½·º·½ -¬¿¬«¬» ¬¿µ» °®»½»¼»²½» ±ª»® ¬¸±-» ±º ¬¸» ³±®» ¹»²»®¿´ -¬¿¬«¬»òþ ø×¼ò ø½·¬·²¹ Ð»±°´» ªò Þ¿®®»¬¬
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     Ú·®-¬ô ¸»®» ¬¸» Ý±«®¬ ·- ²±¬ ®»½±²½·´·²¹ ¬¸» ¬»¨¬ ±º ¿ -°»½·º·½ -¬¿¬«¬» ©·¬¸ ¿ ³±®» ¹»²»®¿´ -¬¿¬«¬»ò
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     »²¬·®»¬§ ±º ³¿¬»®·¿´- ¬¸¿¬ ½¿² ¾» ®»½»·ª»¼ ·²¬± »ª·¼»²½» ·² ¬¸»-» °¿®¬·½«´¿® ¿½¬·±²-ò
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     Ú±® ¬¸» º·®-¬ ¬·³» ±² Î»°´§ô ¬¸» Ý·¬§ º±½«-»- ±² ¬¸» Í»½¬·±²ù- «-» ±º ¬¸·- °¸®¿-»æ ¬¸» ¿°°»¿´ þ-¸¿´´ ¾»
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     ¬¸·- þ»¨½»°¬ ¬¸¿¬þ °¸®¿-·²¹ ´·³·¬- ¬¸» »ª·¼»²½» ¬± ¾» «-»¼ ·² ¬¸» þ¼» ²±ª±þ ¿°°»¿´ô ·ò»òô -«½¸ ¬¸¿¬ ±²´§ ¬¸»
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     ²±¬ °»®-«¿¼»¼ò Ú±® ·²-¬¿²½»ô Í»½¬·±² ëíðêçòì ¼±»- ²±¬ »¨°®»--´§ ³»²¬·±² ¬®¿²-½®·°¬- ±® þ¬¸» ®»½±®¼þ
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ïé   ½±²-·¼»®»¼ ·² ¿² þ¿°°»¿´òþ Ì¸» Ý±«®¬ ·- ²±¬ °»®-«¿¼»¼ ¬¸¿¬ Í»½¬·±² ëíðêçòì ·²½´«¼»- ¿² »¨¸¿«-¬·ª» ´·-¬
     ±º ¬¸» »ª·¼»²½» ¬¸¿¬ ³¿§ °®±°»®´§ ¾» ½±²-·¼»®»¼ ·² ¬¸» ¼» ²±ª± ¿°°»¿´ò
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     Í»½±²¼ô ¬¸» ¬»¨¬ ±º Í»½¬·±² ëíðêçòìø¾÷øï÷ »²ª·-·±²- ¬¸» ·²¬®±¼«½¬·±² ±º ²»© »ª·¼»²½» ¬¸¿¬ ³·¹¸¬ ®»¾«¬ ¬¸»
ïç
     þ°®·³¿ º¿½·» »ª·¼»²½» ±º ¬¸» º¿½¬- -¬¿¬»¼þ ·² þ¬¸» ¼±½«³»²¬ ±® ·²-¬®«³»²¬ ò ò ò °®±ª·¼·²¹ ²±¬·½» ±º ¬¸»
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     ß°°»¿´ ¼»-½®·¾»¼ ¬¸» Í«°»®·±® Ý±«®¬ù- °®±½»-- ¿- þ½±²¼«½¬Å·²¹Ã ¬¸» ¸»¿®·²¹ ¾±¬¸ ±² ¬¸» ©®·¬ °»¬·¬·±² ¿²¼
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íï   ²±¬ ¾»»² ¿¼³·¬¬»¼ ¿¬ ¬¸» ¿¼³·²·-¬®¿¬·ª» ´»ª»´òþ ß¬ ´»¿-¬ô ¬¸» Ý±«®¬ ±º ß°°»¿´ ·² Ó¿®¬·² ¼·¼ ²±¬ ¬¿µ» ·--«»
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íì   Ý±¼» º±® °¿®µ·²¹ ª·±´¿¬·±²-ò Ì¸» ±¾¶»½¬ ±º ¬¸» ´»¹·-´¿¬·±² ©¿- ¬± °®±ª·¼» ¿ ùº¿-¬»®ô »¿-·»®ô º¿·®»® ¿°°®±¿½¸ù
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     ÝßÍÛ Ì×ÌÔÛæ   É¿²¹ ª-ò Ý·¬§ ±º Í¿½®¿³»²¬± Ð±´·½»
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     ß°°»´´¿²¬- ¿®¹«» ¬¸¿¬ ¾»½¿«-» y ëíðêçòì þ¾±®®±©- ¬¸» ¼» ²±ª± ¶«¼·½·¿´ ¿°°»¿´ °®±½»-- º®±³ ·¬- °¿®µ·²¹
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ïì   ¸»¿®¼ ¼» ²±ª±þ -¸±«´¼ ¾» ·²¬»®°®»¬»¼ -·³·´¿®´§ò øÑ°°ù² ¿¬ çå -»» Ù´¿ª·¿²± ªò Í¿½®¿³»²¬± Ý·¬§ Ë²·º·»¼
     Í½¸±±´ Ü·-¬ò øîðïè÷ îî Ý¿´òß°°òë¬¸ éììô éëí øº±® þ-«¾-¬¿²¬·¿´´§ -·³·´¿® ´¿²¹«¿¹»ô ¬¸» «-«¿´ °®»-«³°¬·±²
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            FAC PG 180
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           EXHIBIT 4



                                                                     FAC PG 181
     Case   8:24-cv-02793-CAS-E
      FAC PG 182
          \                                   Document 6-1 Filed 01/29/25                         Page 121 of 261 Page
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7                                            COUNTY OF SACRAMENTO
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              TIEN LAM
10
10                   Appellant.                                             No. 34,2018,247201
                                                                       Case No. 34'2018'247201
11            vs.
              vs.                                                                             TO
                                                                                      REQUEST TO
                                                                           RULING ON REQUEST
12                 OF SACRAMENTO
              CITY OF SACRAMENTO
                       Respondent.
                       Respondent.                                       RECLASSIFY PROCEEDING AS A
13                                                                                    MANDATE
                                                                             WRIT OF MANDATE

14
15               6-7-19, this
              On 6»7-'19, this matter                  the Presiding
                                           assigned by the
                                      v^as assigned
                               matter was                            Judge ofof the
                                                           Presiding judge           SacramentoSuperior
                                                                                 theSacramento          Court
                                                                                                SuperiorCourt
16            to the undersigned
              to                                    Attomey Samuel
                                     determination. Attorney
                     undersigned for determination.                    Bems appeared
                                                             Samuel D. Bems          for appellant Tien
                                                                            appeared forappellant

17            Lam ("Appellant"),
                  ("Appellant"); attorneys                                                   respondent
                                                                                appeared for respondent
                                 attorneys Melissa D. Bickel and Emilio Camacho appeared
              City of Sacramento (the "City").
18
18

19                  an initial
              After an         discussion with
                       initial discussion      counsel, the
                                          with counsel,  thecourt requestedbriefing
                                                            courtrequested               theparties
                                                                                    fromthe
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20                   statutory procedure for, and scope
              proper statutory                          of, the
                                                  scope of,                  TheCity's
                                                                proceedings. The
                                                             theproceedings.            "Memorandumofof
                                                                                 City's"Memorandum
              Points and
              Points and Authorities    Support of Reclassification
                         Authorities in Support    Reclassification to            Mandate(CCP
                                                                         Writofof Mandate
                                                                    to aaWrit                        &
                                                                                               1094.5&t
                                                                                          (CCP1094.5
21
              1094.6)" was  filed on
                       was filed     6-20-19;
                                  on 6-20     Appellant's"Requested
                                          I9, Appellants                         Briefing"was
                                                                     SupplementalBriefing"
                                                          "RequestedSupplemental                     on6-'6-
                                                                                               filedon
                                                                                           wasfiled
22
              21-19. On 72449
              21-'19,           the court received
                        7-24-19 the                oral argument
                                          received oral          from both
                                                        argument from      sides,as
                                                                      both sides,    stated on
                                                                                  as stated        court
                                                                                               the court
                                                                                            on the
23
              reporter's record.^ The court took
              reporter's record.I                                               that time,
                                                                  submission at that
                                            took the matter under submission                   now rules as
                                                                                     time, and now
24
24            follows.                                                               -                  s




25
25
                                                                 The Issue:
                                                                     Issue:
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27
     i' The transcript of proceedings on                                 "TR," followed by
                                      on 7-24-19 is referenced herein as "TR,"                  and
                                                                                           page and
                                                                                        by page
28
28   line numbers.

                                                                                                                               FAC PG 182 11
     Case   8:24-cv-02793-CAS-E
      FAC PG 183
         4                                     Document 6-1 Filed 01/29/25              Page 122 of 261 Page
                                                      ID #:444


             Should this matter proceed as an appeal of an administrative penalty under Government
                                                           administrative penalty       Govenunent Code
11
             section 53079.43
                     53079.4,^ or
                               or should
                                  should itit proceed under
                                                      under the
                                                            the writ
                                                                writ process
                                                                     process provided
                                                                             providedin
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2
             Procedure sections
             Procedure sections 1094.5
                                1094.5 and
                                       and1094.62
                                           1094.6?
3
                                                     and Procedural
                                               Facts and Procedural History
                                                                    History::
4

5            Appellant owns
             Appellant owns real
                            real property
                                 property at
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                                             7812SIst
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                                                                             ("theProperty").
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6            novo review,
             novo review,pursuant
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                                                             an"Administrative
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             Decision" issued on12»10-18
                                 12-10-18by
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                                             anIndependent
                                                IndependentHearing
                                                           HearingExaminer
                                                                   Examinerthrough
                                                                            throughRespondents
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7
             Office of
             Office of Cannabis
                       CannabisPolicy
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                                        & Enforcement,
                                           Enforcement,which
                                                       whichupheld
                                                             upheldan
                                                                    anadministrative
                                                                       administrativepenalty
                                                                                      penaltyissued
                                                                                              issued
8
             pursuant
             pursuant to Sacramento City
                      to Sacramento City Code
                                         Code section
                                              section 8132,
                                                      8.132, et
                                                             etseq.
                                                                seq.by
                                                                    by the
                                                                        the Sacramento
                                                                            Sacramento Police
                                                                                       PoliceDepartment
                                                                                              Department
9
                7-13-18 against
             on 7»13»l8  against Appellant
                                 Appellantin
                                           in the
                                               theamount
                                                   amountof
                                                         of$201,000,
                                                            $201,000,relating
                                                                      relatingtotothe
                                                                                   theProperty.
                                                                                       Property.
10
10
             Sacramento
             Sacramento City
                        City Qode
                             Code Provisions
                                  Provisionsand
                                             and The
                                                 The Adlni11isl;.i'ative
                                                     AdministrativePqigalty:
                                                                         Penalty:
11
11
12
12           Sacramento City Code section
             Sacramento           section 8.132 under which the administrative penalty at issue was
                                                                administrative penalty          was
^3
13            imposed provides,
             imposed  provides,in
                                in part:
                                   part:                                     .


14
14           "No person shall own, lease, occupy, or have charge or possession of any property upon which
15           "No person shall own, lease, occupy, or have charge or possession of any property upon which
             cannabis is knowingly or unknowingly being cultivated, except in accordance with the
15           carmabis is knowingly or unknowingly being cultivated, except in accordance v^th the
16           following:
16           following:
11
17           "A. Chapter
                 Chapter 5.150 (cannabis
                               (carmabis businesses).
                                         businesses).
18
18               Section 8.132.040 (residential
             "B. Section           (residential cultivation
                                                cultivation of cannabis)."
                                                               caimabis)."
19                                                                                                           1.q




19
20
20           Section
             Section 8.132.040
                        8.132.040 allows
                                  allows residential
                                         residential cultivation
                                                     cultivation of
                                                                 of cannabis under prescribed
                                                                    carmabis under prescribed conditions,
                                                                                              conditions, wider
                                                                                                          with
21
21           aa limit
                 limit of
                       of no
                          nomore
                             morethan   sixliving
                                   thansix  Hvingcannabis
                                                  carmabisplants.
                                                            plants. 8.132.040
                                                                     8.132.040B.
                                                                              B.

22           Section
             Section $.132.050 states, that
                     8.132.050 states  that "the amount of
                                            "the amount of an
                                                           an administrative
                                                              administrative penalty to be
                                                                             penalty to be imposed
                                                                                           imposed for
                                                                                                   for aa
23                        section .. . .. 8.132.040 is an aggregate amount
             violation of section                                   amount calculated at $500
                                                                           calculated at $500 per
                                                                                              per plant
                                                                                                  plant that is in
                                                                                                        that is  in
24
24           excess of
                    of the
                       the number
                           number of
                                  of plants
                                     plants allowed."
                                            allowed.'

25
26
27
28
     2
                    otherwise noted, statutory references
             Unless othewsrise                            are to
                                               references are  to the
                                                                   the Government
                                                                       Govemment Code.
                                                                                  Code.
                                                                                                        FAC PG 183 2
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        The Administrative
        The Administrative Penalty issued by the Sacramento
                                                 Sacramento Police
                                                            Police Department
                                                                   Department in
                                                                              in d'lis
                                                                                 this case
                                                                                       case
 11
        described the "Nature
                      "Nature of the Violation" as "Total Plants: 408," with a penalty
                                                                  408," with   penalty of "$500 xx 402
                                                                                                   402 =




                                                                                                                        II
 2
        $201.000.00."
        $201,000.00."
                                                                                                                         "'\
 3
        The City
        The City Code also states:
                           states:"In
                                   "Inaddition
                                       additiontotoany
                                                    anyother
                                                        otherremedy
                                                              remedyallowed
                                                                     allowedby
                                                                             bylaw.,
                                                                                law,any
                                                                                     anyperson
                                                                                         personwho
                                                                                               who
 4
                   provision of dis
        violates a provision    this chapter
                                     chapter is subject to
                                                        to criminal
                                                           criminal sanction, civil actions, and
 5
        administrative penalties pursuant to
        administrative                    to chapter
                                             chapter 1.28."
                                                     1.28." 8.132.050
                                                            8.132.050 A.
                                                                      A.
 6
        City
        City Code Chapter 1.28 states
                               states that
                                      that "[a]ll
                                           "[a]ll final administrative
                                                        administrative orders made pursuant  to die
                                                                                   pursuant to  the
 7
        procedures
        procedures set forth in
                             in this subsection
                                     subsection shall be subject to review
                                                         subject to review only
                                                                           only as providedin
                                                                                   provided in
 8
        California
        Cahfomia Code
                   Code of
                        of Civil
                           Civil Procedure
                                 Procedure Sections
                                           Sections 1094.5
                                                    1094.5 and
                                                           and l094.6."
                                                                1094.6." 1.28.010
                                                                         1.28.010C.l.d.
                                                                                  C.l.d. That
                                                                                         That
 9
 g
        subdivision also
        subdivision also states,
                         states, however:
                                 however: Should
                                          Shouldany
                                                 anycourt          of
                                                      courtcompetentjurisdiction
                                                           of competent jurisdiction  determine
                                                                                 determine that thethat  the tcity must
                                                                                                    city mas
10
        providean
               an appeal
                  appealofanyfinal
                         of any finaladministrative
                                      administrativeorder
                                                     orderinina manner
                                                                a manner other
                                                                       other   than
                                                                             than setset forth
                                                                                      forth     in Sections
                                                                                            in Sections     J094.5
                                                                                                        1094.5 and and
11      1094.6, then it is the intent of the city council that the administrative penalty process remain as provided herein
'
12      1094.6, then it is the intent ofthe city council that the administrative penalty process remain as provided herein
        and to provide that any appeal which is timely requested follow the procedures set forth in Government Code
"12
13      and to provide that any appeal which is timely reciuested follow the procedures set forth in Govemment Code
        Section 530694." Id., emphasis added.
13      Section 53069.4." Id., emphasis added.
14
        The Administrative     Penaltv Appeal Hearing Record of Decision:
             Administrative Penalty                             Decision:
14
15
15      The "Sacramento Police Department Administrative Penalty Appeal Hearing Record of
16
^g      The "Sacramento
        Decision" ("RecordPoUce Department
                           of Decision") was Administrative  Penalty
                                             issued on 12»10-»18. TheAppeal
                                                                     RecordHearing  Record
                                                                            of Decision     of that a
                                                                                        states
17
        Decision"
        noticed   ("Record
                public      of Decision")
                       hearing was held onwas  issuedand
                                            1l-15~»l8, on 12-10-18.  The Record
                                                           that "witnesses         of Decision
                                                                            submitted          states that a
                                                                                        a written
18      noticed public hearing and/or
                               was held  on 11-15-18,
        explanation, appeared         testified at the and  that on
                                                       hearing   '^vitnesses
                                                                    behalf of submitted  a written
                                                                              eidler the City or the
19      explanation,
        Appellant . . .appeared  and/oroftestified
                       ." The Record      Decisionatalso
                                                     the states
                                                         hearing  on "behalf
                                                                that         of eithermaterials
                                                                      [a]ny written    the City submitted
                                                                                                or the
 ®
20      Appellant
        with the protest" The
                          or atRecord  of Decision
                                the hearing         also states
                                              were reviewed   bythat  "[a]ny written
                                                                 the Hearing          materials
                                                                               Examiner         submitted
                                                                                          and are on file in
20      with the protest
        the offices of the or at of
                           City  theSacramento."
                                      hearing were reviewed by the Hearing Examiner and are on file in
21
21      the offices of the City of Sacramento.'
22                                  contains a "Testimony
        The Record of Decision contains        "Testimony Summary"
                                                          Summary" that
                                                                    that consists
                                                                         consists of
                                                                                  of the
                                                                                     the following
                                                                                         following:^
23
        "City Staff:
        "City Staff:
24

25      "Sacramento Police
                    PoUce Department (SPD) Officer
                                           OfficerMahoney
                                                   Mahoneytestified
                                                           testifieddiet
                                                                    thaton
                                                                         onJuly
                                                                            July13, 2018, the
                                                                                 13,2018,  the
25
26      SPD
        SPD responded to a burglary in progress at
                                    m progress  at 7812 51st
                                                        51st Ave, Sacramento.
                                                                  Sacramento. While
                                                                              While officers
                                                                                    officerswere
                                                                                             wereon
                                                                                                  on
        scene, they
                they received consentfrom
                     receivedconsent  from resident
                                           resident Zhong
                                                    ZhongCheng
                                                          ChengLiu toconduct
                                                               Liuto  conductaasafety
                                                                                safetysweep
                                                                                       sweepofofthe
                                                                                                 the
21
28
28    3^ This recital
              recital of
                      of the
                         the "Testimony
                             "Testimony Surrunary"
                                        Summary" inin the
                                                      the Record
                                                          Record of
                                                                 of Decision
                                                                    Decision is
                                                                             is set
                                                                                set forth
                                                                                    forth here
                                                                                          here verbatim,
                                                                                               verbatim,
      in full.
                                                                                                               FAC PG 184 3
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      FAC PG 185
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      residence. 9~l~1
                 9-1-1dispatchers
                       dispatchershad
                                  hadreceived
                                      receivedinformation
                                               mformationfrom
                                                          frommultiple
                                                              multiplecallers
                                                                       caUersthat
                                                                              thatthe
                                                                                   theresidence
                                                                                       residence
1
      had been broken into with
               broken into with aasuspect
                                   suspectcanoing
                                           carryingaagun
                                                      gunand
                                                          andthat
                                                              thatthere
                                                                   therehad
                                                                         hadbeen
                                                                             beengunshots
                                                                                  gunshotsduring
                                                                                           during
22
      the event. Upon conducting a protective sweep of the residence, officers observed
3     the event. Upon conducting a protective sweep of the residence, officers observed
      approximately four rooms that had been converted into indoor cannabis growing rooms.
      approximately four rooms that had been converted into indoor cannabis growing rooms.
4     Based on the sine of night, ofEicers did not feel that there was enough endgency to obtain a
4     Based on the time of night, officers did not feel that there was enough exigency to obtain a
5     night service search warrant. The patrol oilicers left the scene and the Marijuana Compliance
5     night service search warrant. The patrol officers left the scene and the Marijuana Comphance
      Team was advised of the situation.
6
g     Team was advised of the situation.
7
7     "Officer
      "Officer Mahoney
               Mahoney testified
                        testifiedthat
                                  thataafew
                                         fewhours
                                             hourslater
                                                    laterononJuly
                                                              July13,13,2018,
                                                                      2018, the
                                                                              theCity
                                                                                  Cityexecuted
                                                                                       executeda awarrant
                                                                                                   warrant
8     on
      on die
         the property
             property and
                      and observed
                          observed 205 cannabis
                                       caimabis plants.
                                                plants. Officers
                                                        Officersadditionally
                                                                 additionaUyobserved
                                                                             observed 203
                                                                                       203freshly
                                                                                            freshly
 g
 g    cut
      cut marijuana stems
                    stems in buckets. On
                                      On scene,
                                         scene, there
                                                 therewere
                                                      were approximately
                                                            approximatelyfour
                                                                          fourCity
                                                                              City personnel
                                                                                   personnel and
                                                                                             and
      two City vehicles. Personnel
      two                Persormel were on scene for
                                                  forapproximately
                                                     approximately four
                                                                    fourhours,
                                                                        hours, from
                                                                               fromthe  tunethe
                                                                                    thetime  the
10
      property was entered, to the time
                                   time the          was secured,
                                            property was
                                        the property     secured,boarded,
                                                                  boarded, and
                                                                            anddeclared
                                                                               declared as
                                                                                         asaa
11
11
      dangerous building. Photos
                          Photos were
                                 were taken
                                      taken on
                                            on scene.
                                                scene.
12
^2    "OfficerMahoney
      "Officer Mahoneytestified
                       testifiedthat
                                 thatthe
                                      theplants
                                          plantsthat
                                                 thathad
                                                      hadthe
                                                          thestems
                                                              stemscut
                                                                    cutwere
                                                                       werestill
                                                                            stUlconsidered
                                                                                 consideredas
                                                                                            as
13
      plants under
             under the ordinance because they
                                         they can
                                              can continue to grow
                                                  continue to grow and
                                                                   and that
                                                                       that aanew
                                                                              new plant
                                                                                  plantcan
                                                                                        canbe
                                                                                           be
14
      spUced to
      spliced to the
                 the stem.
                     stem.
15
^g    "Pursuant   to SCC
       "Pursuant to  SCC 8.l32.050(E)(l),
                         8.132.050(E)(1), an
                                          an administrative
                                             administrative penalty
                                                            penalty in
                                                                     inthe  amount of
                                                                        the amount of$201,000
                                                                                      $201,000 (i.e.,
                                                                                               (i.e.,
16
      $500
      $500 per
           per plant
               plant over
                     over six
                          six plants) was issued
                              plants) was        to die
                                          issued to the owner
                                                        owner of
                                                              of the
                                                                 the property
                                                                     property for
                                                                              for aa violation
                                                                                     violation of
                                                                                               of SCC
                                                                                                  SCC
17
      8.l32.040(B).
      8.132.040(B). The
                    The citation
                        citation was
                                 was posted at the
                                     posted at the residence.
                                                   residence. The
                                                              The City Attorney also
                                                                  City Attomey  also mailed
                                                                                     mailed aacopy
                                                                                               copy
18
      of
      of the
         the administrative
             administrative penalty to the
                            penalty to the property
                                           property owner.
                                                    owner. The
                                                           The administrative
                                                               administrative penalty
                                                                              penalty in
                                                                                      in this
                                                                                         this ease
                                                                                              case isis
19    appropriate
 ^    appropriate due to the
                  due to the potential
                             potential high
                                       high proceeds to be
                                            proceeds to be gained
                                                           gained from
                                                                  from the
                                                                       the cultivation
                                                                           cultivation of
                                                                                       of illegal
                                                                                          iUegal
20
20    cannabis."
      carmabis."
21
       "Deputy City
       "Deputy City Attorney:
                    Attorney:
22
22     "Deputy City Attorney Emilio
                             EnuUo Camacho
                                    Camachoasked
                                            askedTier
                                                 TienLam
                                                      Lamififhe
                                                              hewas
                                                                 wasaware
                                                                     awareofofthe
                                                                               theburglary
                                                                                   burglaryand
                                                                                            and
23
       the gunshots
           gunshots that happened
                         happened at his property. He also asked
                                                           asked Tier
                                                                 Tien Lam
                                                                      Lamifif he
                                                                              he did
                                                                                 did any
                                                                                     any
24
       improvements to fortify the property, such
                               the property, such as
                                                  as the  iron gate
                                                     the iron       in the
                                                               gatein   thefront,
                                                                           front,the
                                                                                  thesecured
                                                                                      securedfront
                                                                                               front
25     door, the wdndow
                 window bars, and the sign that states
                                                states 'No Trespassing, Violators
                                                                        Violators will
                                                                                  wUl be
                                                                                       be Shot,
                                                                                          Shot,
26     Survivors will
                 wiU be Shot
                        Shot Again'
                             Again.' He
                                     He also
                                        also asked
                                             asked Tier
                                                   Tien Lam
                                                        Lam how
                                                            how he
                                                                he found
                                                                   foundhis
                                                                         his tenant."
                                                                              tenant."
27
       "AppeUant:
       "'Appe].lant:
28

                                                                                              FAC PG 185 4
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        "Samuel Berns,
                Bems, the
                       the Attorney
                           Attorney for Tier
                                        Tien Lam, asked Bruce
                                                        Bruce Lam
                                                              Lam to
                                                                   to translate
                                                                       translate on
                                                                                 on behalf
                                                                                    behalfof
                                                                                           of his
                                                                                              hisfather
                                                                                                  father
 1
        Tier
        Tien Lam. Bruce Lam stated that his father Tien Lam
                                            father Tier Lam has owned
                                                                owned his
                                                                      his property since 2010,
                                                                          property since 2010,and
                                                                                               and
 2
        hasn't been
        hasn't been living
                    Uvinginin the
                               the property
                                   propertysince
                                            since 2015.
                                                  2015. Tien
                                                        Tien Lam
                                                             Lamstated
                                                                 stated drat
                                                                        that he
                                                                             he had
                                                                                hadfixed
                                                                                    fixedthe
                                                                                          the property,
                                                                                              property,
 3      removed the back patio, put in new
                         patio, put    newfloors  and remodeled
                                           floors and remodeled the
                                                                the ldtchen.
                                                                    kitchen. He lived in this
                                                                                         this .
 4      property for aa few
        property         fewyears
                             yearsbefore
                                   beforerenting
                                          rentinga ahouse
                                                     houseininMarysville,
                                                               Marysville,where
                                                                           wherehehe
                                                                                   was
                                                                                     wasworking.
                                                                                         working.HeHe
                                                                                                    lived
                                                                                                       Uved
 55     in
        in Marysville for aa year
                             year then
                                   thenmoved
                                       movedback  toSacramento.
                                             backto  Sacramento.

 6      "Tier
        "Tien Lam stated that he placed an ad
                              he placed       at the
                                           ad at the supermarket to
                                                                 to find
                                                                    find aa tenant.
                                                                            tenant. Upon
                                                                                    Upon questioning,
                                                                                         questioning,
 7      he stated drat
                  that the
                       the property is
                                    is not
                                       not registered
                                           registered with the City
                                                               City of
                                                                    of Sacrament's
                                                                       Sacramento's Rental
                                                                                    Rental Housing
                                                                                           Housing
 8      Program.
        Program,
 g
        "Tier Lam stated that met [sic] the tenant at the property london and he did not do a
        "Tien Lam stated that met [sic] the tenant at the property location and he did not do a
10      background or credit check. He also stated that he conducted a visual inspection with the
^®      background or credit check. He also stated that he conducted a visual inspection with the
11      tenant before the tenant moved in on May 1, 2018. He state [sic] that the lease period was
11      tenant before the tenant moved in on May 1,2018. He state [sic] that the lease period was
12      May I to July 31, 2018. He provided a copy of the lease with Tier Lam, which showed a lease
>| 2     May 1 to July 31,2018. He provided a copy of the lease with Tien Lam, which showed a lease
        period of 12 months at the rate of $1,200 a month.
13
^2      period of 12 months at the rate of $1,200 a month
14      "Tier
        "Tien Lam stated that
                         that he did not
                                     not receive any information
                                                     information from the
                                                                      the City
                                                                          City of Sacramento, SPD
                                                                                              SPD or
                                                                                                  or
15      SMUD that there were
                        were any illegal activities
                                         activities going on at his property
                                                                    property and
                                                                             and had no knowledge
                                                                                        knowledge of
^g      cannabis
        cannabis being
                 being grown
                       grown at
                             at his
                                his property.
                                    property. He
                                              He also
                                                 also statedhe
                                                      stated he was not aware
                                                                was not aware of
                                                                              of aaburglary
                                                                                   burglaryor
                                                                                            or
16
        gunshots.
        gunshots.
17
18      "Tien Lam stated
        "Tier     stated that
                         that he hired someone in
                                 hired someone in 2011
                                                  2011totoinstall
                                                           instaUdie
                                                                  theiron
                                                                      irongate.,
                                                                           gate,the
                                                                                 thewhite
                                                                                    whitefront
                                                                                          frontmetal
                                                                                               metal
19
19      door was installed
                 instaUed by his
                             his list
                                 first tenant, and
                                               and the
                                                   the bars
                                                       barson
                                                            on both
                                                               both the
                                                                     the windows
                                                                         windows were
                                                                                 wereinstalled
                                                                                      installed by
                                                                                                by his
                                                                                                   his
2Q      second tenant. Both tenants had his permission. He also stated
                                                                stated he did not
                                                                              not give permission
                                                                                       permission to
                                                                                                  to
20
        his tenant to install the sign
                   to install     sign on
                                       on the
                                           thefront
                                               front of
                                                     of the
                                                         the house.
                                                             house.
21
21
22      "Upon questioning, Tier Lam stated diet all his mail goes to 7812 51st Street [sic] and he
22      "Upon questioning, Tien Lam stated that all his maU goes to 7812 51^*^ Street [sic] and he
        usually picks it up or his tenant will drop it off to him.
23
22      usually picks it up or his tenant will drop it off to him.
24      "Attorney Bems submitted an Addendum
        "Attorney                   Addendum to the appeal
                                             to the appeal form, which
                                                                 which stated
                                                                       stated that
                                                                              that the
                                                                                   the Appellant
                                                                                       AppeUant
25       did not 'cause, allow
             not 'cause, aUowororpermit
                                 pemiit the
                                         thealleged
                                             aUegedconduct)
                                                    conduct,'and
                                                              andclaimed
                                                                  claimedflat
                                                                          that the
                                                                                theproperty
                                                                                   propertyowner
                                                                                            ownerisis
2g
26       not liable for
         not Uable  for the nuisance created
                        the nuisance created by
                                             by his tenant. At
                                                his tenant. At the
                                                               the hearing
                                                                   hearing Mr.
                                                                           Mr. Beens
                                                                               Bems stated
                                                                                     stated that
                                                                                            that the
                                                                                                 the
2^       plants that
         plants that had
                     had been cut cannot
                         been cut carmot be considered'
                                            considered as plants
                                                          plants to impose
                                                                    impose the
                                                                           the fine, so
                                                                                     so ititshould
                                                                                            shouldonly
                                                                                                   only
27
                                                                          L

28

                                                                                              FAC PG 186 5
       Case
       41
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        FAC PG 187
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            be based on
                     on 205 plants
                            plants for
                                   for aa total
                                           totalof
                                                 of$99,500.
                                                    $99,500. He
                                                             Healso
                                                                alsoclaimed
                                                                     claimedthat
                                                                             thatGovernment
                                                                                  GovemmentCode
                                                                                            CodeSection
                                                                                                 Section
 11
            $3069.4(a) (2) requires notice be provided to the property owner before a fine. is imposed."
 2          53069.4(a)(2) requires notice be provided to the property owner before a fine is imposed."
 2
 3          The Record of Decision, after providing the above summary Of testimony, sets forth the
 3          The Record of Decision, after providing the above summary df testimony, sets forth the
            following "Findings of Fact":
 4
 ^          foUowing "Findings of Fact":
 5          'After
            "After examining
                   examining the
                              the evidence
                                  evidence submitted
                                            submitted and argumentsoffered
                                                      and arguments offeredby
                                                                            byCity
                                                                               Citystaff,
                                                                                    staff,the
                                                                                           theappellant
                                                                                               appeUant
 6
 6                          any; the
            and witness, if any,  the owner's
                                      owner's efforts,
                                               efforts,ororlack
                                                            lackthereof,
                                                                 thereof,totocomply
                                                                              complywith
                                                                                    withthe
                                                                                         theCity
                                                                                             CityCode,
                                                                                                  Code;the
                                                                                                        thestaff
                                                                                                            staff
 y          time
            time and
                 and costs
                     costs incurred
                           incurred in investigating
                                       investigating the violation,
                                                         violation; the extent, if any, to which
                                                                                   any, to which the
                                                                                                 the fine
                                                                                                     fineor
                                                                                                          or
 7
            penalty
            penalty would
                    would impose a substantial
                                   substantial economic hardship;
                                                        hardship, the seriousness
                                                                      seriousness of the violation;
                                                                                         violation, the
 88
            Hearing Examiner hereby makes the following findings:
 9          Heartng Examiner hereby makes the foUowdng findings:
  9
1Q
10          "A.
            "A. The
                 TheAdministrative
                    AdministrativePenalty
                                   Penaltywas
                                          wasproperly
                                              properlyissued
                                                       issuedand
                                                              andserved.
                                                                  served.

11
"^^         "B. The Appellant's
                    AppeUant's tenant altered
                                      altered the home to
                                                       to become an
                                                                 an indoor
                                                                    indoor cannabis
                                                                           cannabis growing
                                                                                    grov^ng
12          operation.
            operation. Under
                       Under Sacramento
                             Sacramento City
                                        City Code
                                             Codesection
                                                  section 8.100.100
                                                           8.100.100property
                                                                     propertyowners
                                                                              ownersare
                                                                                     areresponsible
                                                                                         responsible
13
13          for alteration to aa dwelling
                alteration to    dweUingunit
                                          unitthat
                                               thatwere
                                                   were[sic]
                                                        [sic]made
                                                             madeby
                                                                  bytheir
                                                                     theirtenants.
                                                                           tenants.

14          "C. The Appellant
                    AppeUant stated that he goes
                                            goes to
                                                  to the
                                                      the property  to pick
                                                          property to  pick up
                                                                            up his
                                                                               his mail
                                                                                   maUfrom
                                                                                        fromhis tenant,so
                                                                                            his tenant, so
15
15          he should
               should have known
                           known of
                                 of the tenant's alteration
                                    the tenant's alteration of
                                                            of the
                                                               the property
                                                                   property and
                                                                            and the
                                                                                the illegal
                                                                                     iUegaluse.
                                                                                            use.
16
16
            "D Government Code section 53069.4(a)(2) requires notice to the property owner only for a
17
17          "D. Govemment Code section 53069.4(a)(2) requires notice to the property owner only for a
            'continuing violations not the first violation, of an ordinance imposing an administrative
            'continuing violation,' not the first violation, of an ordinance imposing an administrative
18
18          penalty.
            penalty.
19
19
            "E. The facts
                    facts support a finding
                                    finding that the number of plants
                                                               plants being
                                                                      being grown
                                                                            grovra at the property
                                                                                          property
20
            includes the plants
                         plants where the stems had
                                                had been cut (so
                                                    beencut  (so the
                                                                 the cannabis
                                                                     cannabis could
                                                                              could be
                                                                                    be taken
                                                                                       taken from
                                                                                             from the
                                                                                                  the
21
2*^         property
            property before the search
                                search warrant
                                       warrant could
                                               could be executed).
                                                        executed). Those
                                                                   Those plants
                                                                         plants were
                                                                                were still
                                                                                      stiU alive
                                                                                           aUveininthat
                                                                                                    that
22          the stem could continue to grow as aa plant."
                                                  plant."
23
            The Record of Decision then concluded
                                        concluded with the following
                                                           foUowing "Decision":
                                                                     "Decision":
24
            "The Administrative Penalty issued on July
                                                  july 13, 2018 in
                                                       13,2018  ui the amount of
                                                                              of $201,000 shall
                                                                                          shaU be
                                                                                                be
25 .
            upheld."
26
27
27          The
            The Appeal:
                Appeal:
28
28

                                                                                                     FAC PG 187 6
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              On 12-27-18 counsel for AppeUant
                                      Appellant filed
                                                fUed aa"Notice
                                                        "Noticeof
                                                               of Appeal
                                                                  Appealof
                                                                         of Administrative
                                                                            Administrative Hearing
                                                                                           Hearmg
     1
              Decision (Cal.Govt:.
                       (Cal.Govt. Code
                                   Code §53069.4)."
                                        §53069.4)."
     2
     3        Section 53069.4:
              Section

     4        Section 53069.4 has five
                                  Eve subdivisions. SubdWsion
                                                    Subdivision (a) relates to enactment
                                                                               enactment of administrative
     5        lines
              finesand
                    andpenalties.
                       penalties. ItItprovides,
                                      provides,in part, that
                                                inpart,  that aalocal
                                                                 localagency
                                                                       agency"may
                                                                              "mayby
                                                                                   byordinance
                                                                                      ordinance make
                                                                                                makeany
                                                                                                     any
     6        violation of
              violation of any ordinance
                               ordinance by
                                         by the
                                            the local
                                                local agency
                                                      agency subject
                                                             subject to
                                                                      to an
                                                                         an administrative
                                                                            administrative fine
                                                                                            fineor
                                                                                                 orpenalty."
                                                                                                   penalty.'

     7y       53069.4(a)(1).
              53069.4(a)(1).

     8
     ®        Subdivision (b)
              Subdivision (b) provides
                              provides a method
                                         method of
                                                of contesting
                                                   contesting an
                                                              an administrative
                                                                 administrative decision:
                                                                                decision: "Notwithstanding
                                                                                          "Notwithstanding
     9        Section1094.5
              Section            J094.6ofofthe
                      1094.5oror1094.6   the Code of Civil
                                               Code  of Civil Procedure,
                                                           Procedure,    within
                                                                      within 20 20 days
                                                                                days    after
                                                                                     after    service
                                                                                           service     of the
                                                                                                   of the     final
                                                                                                           final
 10           administrative order or decision
              administrative          decision of the local agency is
                                                                    is made
                                                                       madepursuant
                                                                            pursuanttotoan
                                                                                        anordinance
                                                                                           ordinance enacted
                                                                                                     enacted

 11           in accordance with
              in            with this
                                 this section
                                      section regarding
                                               regarding the
                                                         the imposition,
                                                              imposition, enforcement,
                                                                          enforcement, or
                                                                                       or collection
                                                                                          coUection of
                                                                                                     of the
                                                                                                         the
              administrative fines
              administrative fines or
                                   orpenalties,
                                      penalties, aaperson
                                                   person contesting
                                                          contesting that
                                                                      that final
                                                                            final administrative
                                                                                  administrative order
                                                                                                 order or
                                                                                                       or
 12
                           seekreview
              decision may seek reviewby
                                       byfiling
                                           filingananappeal
                                                      appealtoto
                                                               behe heard
                                                                  heard by by
                                                                           thethe superior
                                                                               superior    court,
                                                                                        court,    where
                                                                                               where     the same
                                                                                                     the same  shallshall be heard
                                                                                                                     be heard
 13
              denovo,
              de novo,except
                       exceptthat
                              thatthe
                                   thecontents of
                                       contents ofthe  local
                                                 the local   agency's file
                                                           agencysfile     in the
                                                                       in the casecase
                                                                                   shallshall be received
                                                                                         be received       in evidence."
                                                                                                     in evidence."       53069.4
                                                                                                                   53069.-4
 14
              (b)(1), emphasis added.
                               added.
 15
              That subdivision continues: "A proceedingunder this subdivision is a limited civil case." Id., emphasis
     16
     ^g       That subdivision continues: "A proceeding under this subdivision is a limited civil case." Id., emphasis
              added.
 17
 17
 18           It further provides: "A copy of the document or instrument of the local agency providing
 18           It further provides: "A copy of the document or instrument of the local agency providing
 19           notice of the violation and imposition of die administrative [ine or penalty shall be admitted
 -J g          notice of the violation and imposition of the administrative fine or penalty shaU be admitted
              into evidence as prima facie evidence of the facts stated therein." Id.
     20
     2Q       into evidence as prima facie evidence of the facts stated therein." Id
     21
     21       Additionally,
              AdditionaUy, that subdivision states:
                                            states: "The
                                                    '"The conduct of the appeal under
                                                                                under this
                                                                                      this section
                                                                                           section is aa
     22
     22       subordinate judicial duty that may be performed by traffic
                                                                 traffictrial
                                                                         trialconunissioners
                                                                               conunissioners and
                                                                                               andother
                                                                                                   other
     23
     23       subordinate judicial officers at the
                                   officers at  the direction
                                                    directionofofthe
                                                                  thepresiding
                                                                      presidingjudge
                                                                                judgeofofthe
                                                                                          thecourt."
                                                                                              court."
              53069.4(b)(3).
              53069.4(b)(3).                                                                       \

     24
     25                                                 The Parties'
                                                            Parties' Arguments

     26
              AppeUant's Arguments
              Appellant's Arguments Regarding the Review
                                                  Review Process to
                                                                  tobe
                                                                    be Used:
                                                                       Used:
     27
     28

                                                                                                                  FAC PG 188 7
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              Appellant
              AppeUant argues
                        argues that
                               that the
                                    the reference
                                        reference in
                                                  in Section
                                                     Section 53069.4 to an
                                                             53069.4 to an appeal
                                                                           appeal under
                                                                                  under that
                                                                                        that section
                                                                                             section being
                                                                                                     being aa
    '   1
                       civU case"
              "limited civil' case" does
                                    doesnot
                                         notprevent
                                             preventthis
                                                     thismatter
                                                         matterfrom
                                                                fromproceeding
                                                                     proceedingthereunder
                                                                                thereunderdespite
                                                                                           despitethe
                                                                                                   thefact
                                                                                                       fact
        2
              that the penalty exceeds
                               exceeds $25,000. He points out that
                                                   points out that Code
                                                                   Code of
                                                                        of Civil
                                                                           CivU Procedure  section 85
                                                                                 Procedure section
        3
        ^     provides: "".... . notwidmstanding
                             ..  notwithstanding any
                                                 anystatute
                                                     statute that
                                                              that classifies
                                                                   classifiesan
                                                                              anaction
                                                                                actionor
                                                                                       orspecial
                                                                                          special proceeding
                                                                                                  proceedingas
                                                                                                             as aa
        4
        4     limited aM
              Umited civUcase,
                          case,ananaction
                                    actionororspecial
                                               specialproceeding
                                                       proceedingshall
                                                                  shall    be treated
                                                                       notnot         as a limited
                                                                              be treated           civil case
                                                                                           as a limited       unless
                                                                                                          civil caseallunless all
        5     of
              of thefollowing
                 the followingconditions
                               conditionsare  satisfied:191[S](a)(a)The
                                          aresatisfied:              Theamount       controversydoes
                                                                         amountinincontroversy           exceed
                                                                                                 doesnotnot exceedtwenty
                                                                                                                    twenty-
        6      five thousand dollars
            five             doUars ($25,000)
                                     ($25,000) . . . ."" Emphasis added.
                                                                  added.

        7     Appellant
              AppeUant also references
                            referencesCode
                                       CodeofofCivil
                                               CivUProcedure   section88,
                                                     Proceduresection  88,which  states"[a]
                                                                           whichstates  "[a]civil actionoror
                                                                                             civUaction
        8     proceeding other
              proceeding       than aa limited
                         other than     limited civil
                                                civUcase
                                                      casemay
                                                          maybe
                                                              bereferred
                                                                 referredtotoasasananunlimited
                                                                                      unlimitedcivil case,"and
                                                                                                civUcase,"  and
        9     section 89, subdivision
              section     subdivision (a),
                                       (a), which statesthat
                                            which states that"[t] he existence
                                                              "[t]he  existence ofofaastatute
                                                                                       statuterelating
                                                                                               relatingtotothe
                                                                                                            the
    ^Q
    10        authority
              authority of
                        of the court in
                           the court in aalimited
                                           limitedcivil
                                                   civUcase
                                                        casedoes  not,bybyitself,
                                                             doesnot,       itseU,imply
                                                                                   unplydiet
                                                                                         thatthe
                                                                                              thesame
                                                                                                  sameauthority
                                                                                                       authority
              does
              does or
                   ordoes
                      doesnot  existin
                           notexist  inan
                                        anunlimited
                                          unlimitedcivil
                                                    civUcase."
                                                         case.'
    11
    11
    12
    12        Since the amount in controversy here clearly
                                  controversy here clearly exceeds
                                                           exceeds $25,000,
                                                                   $25,000, Appellant
                                                                            AppeUantcontends
                                                                                      contendsthat
                                                                                               that itit
    13        should be treated as an
                                   an unlimited civil
                                                civU case,
                                                      case, but
                                                            but that
                                                                 that the
                                                                       the court
                                                                           courtstill
                                                                                 stiU has
                                                                                      has jurisdiction
                                                                                          jurisdiction to
                                                                                                        to hear
                                                                                                           hearitit
    ^^        under  section 53069.4.
              under section  53069.4. He
                                      Heargues
                                         arguesthat
                                                that"the
                                                     "theproper
                                                         properremedy
                                                                remedyfor
                                                                       forlack
                                                                           lackofof jurisdiction
                                                                                     jurisdictionbased
                                                                                                 basedon
                                                                                                       on
    14
              amount in controversy
                        controversy [is] simply to transfer
                                                   transfer jurisdiction to the
                                                            jurisdiction to the proper
                                                                                proper court."
                                                                                       court." He citesStern
                                                                                               He cites Stemv.v.
    15
    15
              Superior Court
                       Court (2003)
                             (2003)105
                                    105Cal.App.4th   223,regarding
                                       Cal.App.4'''' 223, regardingreclassification
                                                                    reclassificationofofjurisdiction:
                                                                                         jurisdiction: "The
                                                                                                        "The
    16
    16
              superior
              superior court has original jurisdiction
                                          jurisdiction in aa limited
                                                              Umitedcivil
                                                                     civUcase
                                                                          case. . . . the
                                                                                       the statutory
                                                                                            statutory scheme
                                                                                                       schemenow
                                                                                                              now
    17
    17        authorizes 'reclassificatioN
                         'reclassification' of
                                            of aacase
                                                  casethat
                                                       thatisiserroneously
                                                                erroneouslyclassified."
                                                                            classified."Id.Id.atat230.
                                                                                                   230.
    18
    18
              Appellant also
              AppeUant  also argues
                             argues that
                                    that the
                                         the legislative
                                             legislative history
                                                         history of
                                                                 of section
                                                                    section 53069.4
                                                                            53069.4 "reveals
                                                                                    "reveals that
                                                                                             that the
                                                                                                  the
    19
    19
              classification of
              classification of cases
                                cases heard
                                      heardas
                                            as'limited'
                                               'Umited'was
                                                        wasmerely
                                                           merelyininline
                                                                      Unewith
                                                                          withclarifying
                                                                               clarifyingwho
                                                                                          whomight
                                                                                              mighthear
                                                                                                    hear
    20
    20        cases brought
              eases broughtunder
                            under it."
                                   it." He
                                        Hepoints
                                           points out:
                                                  out:
    21
              "When
              "When the statute was first passed in
                                    first passed in 1995
                                                    1995as
                                                         aspart
                                                            partofofSenate
                                                                     SenateBill 814,subdivision
                                                                            BiU814,  subdivision(b) (1)
                                                                                                 (b)(1)
    22
    22
              allowed
              aUowed appeals
                      appeals under
                              under that
                                     that section   to be
                                           section to  be heard
                                                          heard by
                                                                by municipal courts, but
                                                                   municipalcourts,  but was
                                                                                         was silent
                                                                                              sUenton
                                                                                                    ondie
                                                                                                      the
    23
    23
              distinction
              distmction of 'limited'
                            'limited' versus
                                      versus Unlimited' because at
                                             'unUmited' because at that
                                                                   that time
                                                                        time local
                                                                             local code
                                                                                   codeviolation  issueswere
                                                                                        violationissues were
    24
    24        submitted to
              submitted to the municipal
                               municipal courts.
                                         courts. In 1998,
                                                    1998, shordy
                                                          shortly after
                                                                  afterthe
                                                                        thepassage
                                                                           passageofofProposition
                                                                                       Proposition220
                                                                                                   220
    25
    25        unifying the
                       the municipal
                           municipal and
                                     and superior courts, the
                                         superior courts,     statute was
                                                          the statute was amended to allow
                                                                          amended to aUowsuperior
                                                                                           superior courts
                                                                                                    courts
    26        to hear cases
              to      cases brought
                            brought under
                                    under Section
                                          Section530694.
                                                  53069.4. After
                                                           Afterall
                                                                 aUmunicipal  courtshad
                                                                    municipalcourts  hadbeen
                                                                                         beenunified
                                                                                              unifiedinto
                                                                                                      into
    2j
    27                 courts in 2001, the statute
              superior courts              statute was again amended,
                                                             amended, in
                                                                       m 2002,
                                                                         2002, to
                                                                               to eliminate
                                                                                  eliminate any
                                                                                            any mention
                                                                                                mention of
              municipal courts."
              municipal courts."
    28

                                                                                                             FAC PG 189 8
                                                                                                                        8
      Case
      l
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          Appellant concludes: "It appears,
          AppeUant                 appears, then,
                                            then, that
                                                  that the
                                                       the reference  to cases
                                                           reference to  casesunder
                                                                               underSection
                                                                                     Section53069.4
                                                                                             53069.4
 1
          being 'limited' was simply to clarify that
                                                that [one]
                                                      [one] could
                                                            could be
                                                                  be heard
                                                                     heard as
                                                                           as aalimited
                                                                                 Limitedcase
                                                                                         casewhere
                                                                                              whereitit
 2
          otherwise qualified
          othewvise qualified for
                              for such
                                  such treatment, and
                                                  and indeed
                                                      indeed likely
                                                             Ukely reflects
                                                                    reflects an
                                                                              anexpectation
                                                                                 expectation that
                                                                                              thatlocal
                                                                                                   local
 3
 ^        ordinance administrative
          ordinance administrative penalties
                                   penalties of the
                                                the magnitude
                                                    magnitude at issue
                                                                 issue here
                                                                       here were
                                                                            were never
                                                                                 never contelnplated."
                                                                                        contemplated."
 4
          Citing Martin v.
          Citing        V.Riverside
                           RiversideCounty
                                     CountyDepartment
                                            Departmentofof Code
                                                        Code    Enforcement
                                                              Enforcement   (2008)
                                                                          (2008) 166166 Cal.App.4*
                                                                                     Ca1.App.4th    1406,1412,
                                                                                                 1406, 1412,
 5
          Appellant
          AppeUant also argues
                        argues that
                               that he had
                                       had "the
                                           "the choice
                                                choice of
                                                       of proceeding under
                                                                     under Section 53069.4 or
                                                                           Section 53,69.4 or the
                                                                                              the
 6
          administrative writ procedures set
                                         set forth
                                             forth in Section
                                                      Section 1094.5
                                                              1094.5 or
                                                                     or 10946."
                                                                        1094.6." The
                                                                                 The Martin decision
                                                                                            decision will
                                                                                                     will
 7        be discussed
             discussed further
                       further below.
                               below.                                                .



 8                                                             \



          AppeUant's Arguments
          Appe]lant's Arguments Regarding     Scope of
                                Regarding the Scope of Review:
                                                       Review:
 9
10        Assuming the present
                       present case
                               case were togo
                                    wereto gofonlvard
                                              forwardunder
                                                      undersection
                                                            section53069.4
                                                                    53069.4as
                                                                            asan
                                                                               anunlimited
                                                                                  unlimitedcase,
                                                                                            case,
11
11        AppeUant asserts
          Appellant asserts that
                             that"the
                                  "the reclassification
                                        reclassification[to
                                                         [toan
                                                             anunlimited
                                                               unlimitedcivil
                                                                         civUcase]
                                                                              case]would
                                                                                    wouldallow
                                                                                          aUowexpanded
                                                                                               expanded
^2        rights to
          rights to discovery,
                    discovery,and
                               and should
                                   should the
                                          the Court
                                              Court desire
                                                    desireit,
                                                           it, Appellant
                                                               AppeUant would
                                                                         would not
                                                                               not oppose
                                                                                   opposeaacourt
                                                                                            courtorder
                                                                                                  order
12
          of further
             further discovery
                     discovery against
                               against die
                                       the City
                                           City of
                                                of Sacramento
                                                   Sacramento consistent
                                                               consistent with
                                                                          with the
                                                                                theprocedures
                                                                                   proceduresapplicable
                                                                                              appUcable
13
          to an unlimited
          to              civLl case."
                unlimited civil case."
14
^g        He
          Healso
             alsoreferences
                  referencesthe
                             thelanguage
                                 languageininsection
                                              section53069.'4
                                                      53069.4that
                                                              thatthe
                                                                   theappeal
                                                                       appeal"shall
                                                                              "shaUbebeheard
                                                                                        hearddedenovo,"
                                                                                                  novo,"
15
          arguing that this
                       this court should
                                  should hear
                                         hear the case
                                                  case"without
                                                       "withoutdeference
                                                               deferenceororreference
                                                                             referencetoto[the]
                                                                                           [the]
16
          Sacramento administrative
                     administrative hearing examiner's
                                            examiner's decision
                                                       decision or
                                                                or any
                                                                   any findings
                                                                       findings.... . as
                                                                                      as aabench
                                                                                           bench trial,
                                                                                                  trial,
17
          with each party
          with,     party presenting
                          presenting any
                                     any evidence
                                         evidence supportive
                                                  supportive of
                                                             of their
                                                                their respective
                                                                      respective positions
                                                                                 positions that
                                                                                           that can
                                                                                                can he
                                                                                                    be
18
^8        admitted
          admitted under
                   under the
                          the California
                              Califomia Evidence
                                         Evidence Code."
                                                  Code."
19
          Appellant's counsel commented at oral
          AppeUant's                       oral argument on
                                                         on 7»24»19
                                                            7-24-19 about
                                                                    about the
                                                                          the administrative
                                                                              administrative hearing
                                                                                             hearing
20
                    ".




                     . . I1did
          process: "...     didmake
                               makeobjections
                                    objectionsatatthe
                                                   theadministrative
                                                       administrativehearing.
                                                                     hearing. Those
                                                                              Thoseobjections
                                                                                    objectionswere
                                                                                              weremore
                                                                                                   more
21
2*^       or less met
                  met with,
                      v^th, 'but,
                             'but.Counsel,
                                  Counsel, we
                                           we allow
                                              aUow hearsay
                                                    hearsayhere'
                                                            here.' I1don't
                                                                      don'tnecessarily
                                                                            necessarUyagree
                                                                                       agreewith
                                                                                             withthose
                                                                                                   those
22        rulings, but
          ruUngs,  but I1don't
                          don'trecess arily know
                                necessarily  knowthat
                                                  thatthose
                                                       thoseare
                                                             arebefore
                                                                 beforethe
                                                                        theCourt.
                                                                            Court.I 1think
                                                                                       thinkthat     rectify
                                                                                              thattoto rectify
23
23        that, that the Court should be able to
                                              to hear new
                                                      new evidence."
                                                          evidence." TR
                                                                     TR 31:10-16.
                                                                         31:10-16.
OA.
24        Further describing the presentation of evidence at the administrative hearing, Appellants
          Further describing the presentation of evidence at the administrative hearing, AppeUant's
25        counsel stated at o r ] argument:
25        counsel stated at oral argument:
26
26
27
27
28
28
                                                                                                    FAC PG 190 9
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            . . . [in] aa lot
          ""...            lot of
                               of these
                                  thesecases,
                                        cases,you
                                               youhave
                                                   haveinformal
                                                        informaltranslation,
                                                                 translation;you
                                                                              youhave
                                                                                  havepolice
                                                                                       poUceolllE:icers
                                                                                              officersreading offoff
                                                                                                        reading
1
          reports;     have reports
          reports, you have reports that
                                    that are
                                         are taken
                                             taken into
                                                    into consideration
                                                         consideration without
                                                                       without foundation
                                                                               foundationbeing
                                                                                          beinglaid.,
                                                                                                laid,on
                                                                                                      on
 2
          both sides." TR 32:11-15.
          both sides."    32:11-15.
3
          " . . .. II do recall
          u.             recaU that  at the
                                that at the administrative hearing,.... there
                                            administrative hearing,
                                                                 r   v  there was
                                                                              was an
                                                                                  anexample
                                                                                     example of
                                                                                             of aapolice
                                                                                                  poUceofficer
                                                                                                         officer
4
          reading directly
                  directly off her report.
                                   report. And I1was notpermitted
                                                 wasnot                cross-examine, even
                                                         permittedtotoCIOSS"€X21IIIl11€, eventotogo
                                                                                                  gototothe
                                                                                                         the
5
          weight, whether
          weight, whether she had     ovm - whether
                              had her own               had her own
                                            whether she had     own opinions
                                                                    opinions or whether
                                                                                whether she was
6         merely reading
          merely reading off her
                             her report or
                                        or what part
                                                part of dose
                                                        those reports
                                                              reports she
                                                                      she wrote
                                                                          wrote herself
                                                                                herself versus
                                                                                        versuswhat
                                                                                               whatpart
                                                                                                    part
7            those reports
          of those reports were
                           were just
                                just land
                                      kind of
                                           of canned
                                              canned language
                                                      languagethat
                                                               thatgoes
                                                                    goesinto
                                                                         intoevery
                                                                              everyone
                                                                                    oneofofthese
                                                                                            these
8         administrative hearings."
          administrative hearings." TR 54:5»15.
                                       54:5-15.

 9
 9 II
          "I do think that where something came in . . . under the rules of administrative hearing rather
10 "      "1 do think that where something came in . . . under the rules of administrative hearing rather
          than the courtroom Rules of Evidence, that it makes sense that the Court can weigh that, but
 ^        than the courtroom Rules of Evidence, that it makes sense that the Court can weigh that, but
11        also that it can - either side, frankly, can be given the opportunity to present die foundation
11        also that it can - either side, frankly, can be given the opportunity to present the foundation
12        on that evidence. *vs TR 3211"7.
12        on that evidence      " TR 32:1-7.
13
13        Appellant acknowledges that section 53069.4 requires that "[a] copy of the document or
          AppeUant acknowledges that section 53069.4 requires that "[a] copy of the document or
14        instrument of the local agency providing notice of the violation and imposition of the
14        instrument of the local agency providing notice of the violation and imposition of the
15        administrative fine or penalty shall be admitted into evidence as prima facie evidence of the
15        administrative fine or penalty shaU be admitted into evidence as prima facie evidence of the
16        facts stated therein." This, he argues, creates a "rebuttable presumption" [under Evidence
^g         facts stated therein." This, he argues, creates a "rebuttable presumption" [under Evidence
                 section 602],
          Code section   602], that
                               that can be rebutted
                                           rebutted "based
                                                     "based on
                                                             on any
                                                                any evidence
                                                                    evidence properly
                                                                             properly admitted."
                                                                                      admitted."
17
18        AppeUant  also recognizes
          Appellant also recognizes that
                                    that section
                                         section 530694
                                                 53069.4 states
                                                         states that
                                                                 that dthe "contents of
                                                                        e "contents  of the
                                                                                         thelocal
                                                                                             localagency's
                                                                                                   agency's
19
19      filefile in the case
                        case shall
                             shaUbebereceived
                                      receivedin
                                               inevidence.
                                                  evidence . "" Appellant
                                                                AppeUantnotes
                                                                          notesthat
                                                                                thatd'lere
                                                                                     thereisisno
                                                                                              nospecific
                                                                                                 specific
2Q        definition
          defuiition of
                     of the
                        the "agency's
                            "agency'scase
                                      casefile"
                                           fUe"ininthe    statute,and
                                                     thestatute,   andthat
                                                                        thatthe    stamtedirects
                                                                              thestatute  directsthat
                                                                                                  thatthe
                                                                                                        thecase
                                                                                                            case
20
          file
          fUe be
               be"received"
                  "received"by
                             bythe  court;whereas
                                thecourt, whereasthe
                                                  thesame
                                                      samestatute  statesthat
                                                           statutestates  thatthe
                                                                               thenotice
                                                                                   noticeofofviolation
                                                                                              violationand
                                                                                                        and
21
21        imposition of fine be admitted into evidence.
          imposition offinebe admitted into evidence.
22
22
23        He argues for an interpretation of "case file" to mean only "the penalty and any pleadings filed"
23        He argues for an interpretation of "casefile"to mean only "the penalty and any pleadings fUed"
          and that it "not include exhibits or testimony presented or proffered at the administrative
24        and that it "not include exhibits or testimony presented or proffered at the administrative
          hearing." Further, he argues that even if the court adopts a "more expansive view" of the
25        hearing." Further, he argues that even if the court adopts a "more expansive view" of the
          Cit:y's case file, "the court should not necessary consider die contents thereof." Appellant
          City's case fUe, "the court should not necessarily consider the contents thereof." AppeUant
26        suggests that "the court should determine whether any part of due case file is admissible
          suggests that "the court should determine whether any part of the case fUe is admissible
27        under the ordinary rules of evidence, and as the finder of fact[,] weigh the value of any
27        under the ordinary rules of evidence, and as the finder of fact[,] weigh the value of any
28        evidence drat is admitted."
28        evidence that is admitted."

                                                                                                        FAC PG 19110
       Case
       n
              8:24-cv-02793-CAS-E
        FAC PG 192
                                               Document 6-1 Filed 01/29/25                      Page 131 of 261 Page
                                                      ID #:453


           As to the burden
                     burden of proof, Appellant
                                      AppeUant argues
                                                arguesthat,
                                                       that,because
                                                            becauseititisistotobe
                                                                                beaadedenovo
                                                                                         novohearing,
                                                                                              hearing,the
                                                                                                        the
 11
           "accusing party,
                     party, in
                            m this
                               this case
                                    case che
                                         the Ciry
                                             City of
                                                  of Sacramento,
                                                     Sacramento, has
                                                                 has the
                                                                     the burden
                                                                         burden of
                                                                                of proof, excepton
                                                                                   proof,except  onissues
                                                                                                    issues
 2
           stated
           stated on the face
                         face of
                              of the
                                  the penalty,
                                      penalty, which
                                               which are
                                                     are rebuttable
                                                          rebuttable by
                                                                     by Appellant,"
                                                                        AppeUant."
 3
           The City's
           The City's Arguments Regarding the Review Process
                      Arguments Regarding            Process to
                                                             to be
                                                                be Used:
                                                                   Used:
 4

 5         The
           The City
               City argues
                    argues that
                            that the
                                  the court
                                      court"lacks
                                            "lacksjurisdiction
                                                   jurisdictiontotohear
                                                                    hearthe
                                                                         thepresent matterpursuant
                                                                            presentmatter pursuant toto
 6         section 53069.4,"
           section 53069.4," because,
                             because,"based
                                      "basedupon
                                             upond'le
                                                  theplain
                                                      plainlanguage"
                                                            language"ofofdrat
                                                                          thatsection,
                                                                               section,ititisis"necessary"
                                                                                                "necessarily"
 y         limited  to matters where
           liinited to         where the
                                     the amount in controversy
                                                   controversy does not exceed
                                                               does not exceed $25,000.
                                                                               $25,000.
 7
 8
 8         Regarding Code
           Regarding Code of
                          of Civil
                             CivU Procedure
                                   Proceduresection
                                             section 85
                                                     85governing
                                                        govemingconditions
                                                                 conditionsfor
                                                                            forclassification
                                                                                classificationofofaa
 9         limited civil
           limited civU case,
                         case, the
                                theCity
                                   City points
                                        points to
                                                tosubdivision
                                                   subdivision(c)(l4),
                                                               (c)(14),which,
                                                                       which, die
                                                                              theCity
                                                                                  City argues,
                                                                                       argues,"specifically
                                                                                               "specificaUy
1Q
10         designates aaproceeding
           designates   proceedingpursuant
                                   pursuant to
                                             tosection
                                                section53069.4
                                                        53069.4as
                                                                asaalimited
                                                                     liinitedcivil
                                                                              civUaction.
                                                                                   action.                 .




11            oral argument,
           In oral argument, the
                             the City
                                 City urged
                                      urged an interpretation of the
                                                                 the language in section
                                                                     language in section 53069.4
                                                                                         53069.4 diet
                                                                                                 that an
                                                                                                      an
12         appeal may be
                      be heard
                         heard under
                               under that
                                     that section
                                          section "[n]otwithstanding
                                                  "[njotwithstanding Section
                                                                     Section1094.5
                                                                             1094.5 or
                                                                                    or1094.6
                                                                                       1094.6 .. . . " as
                                                                                                       as
                                                                                            »




13
13         follows:
           foUows:

14
14 '                               ^.^^gis an
           "The way we see that is this    ^altcmatc
                                              alternate procedure to aa writ.
                                                        procedure to    writ. So
                                                                              Soit's
                                                                                 it'ssaying,
                                                                                      saying,ininthese
                                                                                                  thesecases
                                                                                                        cases -      .r




15         - and I1know
           .r       knowyou
                        youprobably
                            probablyread
                                     readall
                                          aUabout
                                             aboutthe
                                                   thelegislative
                                                       legislativehistory
                                                                   historybehind
                                                                           behindthe
                                                                                  thestatute,
                                                                                      statute,meant
                                                                                               meanttoto
16         take traffic
                traffic fines
                         finesand
                               andthings
                                   thingsthat
                                          thatwere
                                              were$500,  $1,000and
                                                   $500,$1,000      notmake
                                                                andnot makepeople
                                                                            peoplego
                                                                                   gothrough
                                                                                      throughthe
                                                                                              the
^J
17         process
           processof
                   of aa writ
                         writ proceeding
                              proceedingthat
                                         thatcould
                                              couldtake
                                                    takeaacouple
                                                           coupleofofyears,
                                                                      years,you
                                                                             youneed
                                                                                 needananattorney.
                                                                                          attorney.This
                                                                                                    Thiswas
                                                                                                         was
           a quick,
             quick, efficient
                    efficient method,
                              method,based
                                      basedon
                                            onthe
                                               thelegislative
                                                   legislativehistory, toresolve
                                                              history,to  resolvethese
                                                                                  theseminor issues,which
                                                                                       minorissues,  which
18
           is why the City beUeves  that itit was
                           believes diet      was designated
                                                  designated as
                                                             as aalimited
                                                                   limitedcivil
                                                                           civUcase,
                                                                                case,because
                                                                                      becauseit's
                                                                                               it'ssaying,
                                                                                                    saying,you
                                                                                                            you
19
           can bring aa writ,
                        writ, but
                              but on
                                  on those
                                      thosecases
                                            casesthat
                                                  thatare
                                                       arevalued
                                                           valuedunder
                                                                  under$25,000,
                                                                        $25,000,we're
                                                                                 we'regoing
                                                                                       goingtotogive
                                                                                                 giveyou
                                                                                                      youanan
20
20         alternate
           altemate procedure. And then
                                   then that's
                                        that's how
                                               how you rectify CCP
                                                               CCP 85.
                                                                   85. CCP
                                                                       CCP 85
                                                                           85doesn't meetthese
                                                                              doesn'tmeet these
21         conditions, itit [is]
           conditions,      [is] not
                                 not aalimited
                                        liinitedcivil
                                                 civUcase.
                                                      case.[11]
                                                            [Tl] So
                                                                 Soit's
                                                                    it'sour
                                                                         ourposition
                                                                             positionthat,
                                                                                      that,okay,
                                                                                            okay,it's
                                                                                                   it'snot
                                                                                                        nota alimited
                                                                                                                limited
22         case, itit cannot
                      cannot be
                             be heard
                                heard under
                                      under [section
                                             [section53069.4],
                                                     53069.4],then
                                                               then you
                                                                    you do
                                                                        do have togo
                                                                           haveto gothe
                                                                                     the writ
                                                                                         writ procedure."
                                                                                              procedure."
23         TR13:24,14314.
           TR 13:24-14:14.
23                                                                               "..




24         Additionally, in oral argument,
                                 argument, the
                                           the City referenced
                                                    referenced the language
                                                                                       'm




24         AdditionaUy,                                            language in section
                                                                               section 53069.4
                                                                                       53069.4 that
                                                                                               that
25         appeals under
                   under that section can
                         that section can be
                                          be heard
                                             heard by
                                                   by aasubordinate
                                                        subordinate judicial officer,
                                                                             officer,arguing
                                                                                      arguingthat
                                                                                              thatitit.
2g
26         would not    proper for subordinate
                 not be proper     subordinate judicial officers  tohear
                                                        officers to hearappeals
                                                                         appealsof
                                                                                 oflarge
                                                                                    largefines.
                                                                                          fines. TR
                                                                                                 TR14:20-
                                                                                                    14:20-
           1512.
27
28

                                                                                                           FAC PG 19211
                                                                                                                     11
           Case   8:24-cv-02793-CAS-E
            FAC PG 193
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                                                     ID #:454


            The City, in its
                         its Memorandum
                             Memorandum in
                                        ui Support
                                           Support of Reclassification,
                                                      Reclassification, points out that
                                                                        points out  that the  amount in
                                                                                          the amount  in
      11
            controversy in Martin v. Riverside
            controversy              RiversideCo.
                                               Co.Dept.
                                                   Dept.of of Code
                                                           Code    Enforcement,
                                                                 Enforcement,    supra,
                                                                              supra, 166166 Cal.App.4'^
                                                                                         Cal.App.4tI' 14061406
                                                                                                            waswas
      2
            only $500. There is thus no pubUshed  appeUate authority
                                        published appellate authority recognizing
                                                                      recognizing application
                                                                                  appUcation of
                                                                                              of section
                                                                                                 section
      3
            53069,4 to an unlimited
            53069.4 to    unlimited civil
                                    civU case.
                                          case.
      4
            The City also refers to aapublished
                          refers to    pubUshedopinion
                                                opinionofof the
                                                             theCalifornia
                                                                CaliforniaAttorney
                                                                           AttomeyGeneral
                                                                                   General(07-503),
                                                                                           (07-503),which
                                                                                                    which
      5
                   that:
            states that:
      6
      J
      7     "The
            "The Legislature's purpose
                               purpose in
                                        in enacting
                                           enacting Government
                                                    Govemment Code   section 53069.4
                                                                Code section 53069.4 was  to provide aa
                                                                                     was to
            faster
            faster and more cost
                   and more      effective enforcement
                            cost-effective  enforcement mechanism
                                                        mechanism than
                                                                   thanaacriminal
                                                                          criminalprosecution
                                                                                   prosecutionfor
                                                                                                forthe
                                                                                                    the
      8
            violation of
            violation of aa local
                             localordinance.
                                  ordinance. The
                                             Thesection
                                                  section was
                                                          was expressly
                                                              expressly modeled
                                                                        modeledon    statelegislation
                                                                                  onstate  legislation that
                                                                                                        that
      9
      9     removed
            removed the
                      the enforcement
                           enforcement of   most parking
                                         of most         violations from
                                                 parking violations from the
                                                                         the criminal
                                                                             criminal justice
                                                                                      justice system
                                                                                              system and
                                                                                                       and
     10     mandated enforcement
            mandated enforcement of parldng violations
                                 of parking violations through
                                                       through civil
                                                               civU administrative
                                                                     administrative procedures
                                                                                    procedures and
                                                                                               and civil
                                                                                                   civU
     11
     "11    penalties."
            penalties."
     12
     12
            The City argued in oral argument that section 53069.4 was "created . . . for the quick, efficient
Nu

     13     The City argued in oral argument that section 53069.4 was "created... for the quick, efficient
            economical resolution of a smaller matter," whereas "dire is still, for unlimited cases, the
     14     economical resolution of a smaUer matter," whereas "there is stUl, for unUmited cases, the
            ability to bring it via a writ." TR 17:12»~16.
     "^^    abiUty to bring it via a writ." TR 17:12-16.
     15
     15     Taking the above into consideration, the City concludes: "Thus, given the express limited civil
     16
            designation of all matters
            Taking the above           brought pursuant
                               into consideration, the City  section 53069.4(b)(1),
                                                          to concludes: "Thus, giventhe
                                                                                     thecourt has limited
                                                                                         express   no     civU
     17     authority    uphold
                      to of
            designation         the penalty
                            aU matters      of $201,000
                                       brought pursuant issued  by Appellant.
                                                         to section           Accordingly,
                                                                    53069.4(b)(1), the courtthe  no has
                                                                                             hascourt
     18     no jurisdiction
            authority       to proceed
                       to uphold       with this
                                 the penalty     matter as
                                             of $201,000   presendy
                                                         issued     classified."Accordingly, the court has
                                                                by AppeUant.
     18
     19     no jurisdiction to proceed with this matter as presentiy classified.'
            The City asserts that the court "may reclassify this matter to an unlimited civil case, and may
     19
     20     proceed as it if was filed as a Writ of Mandate pursuant to Code of Civld' Procedure section
            The City asserts that the court "may reclassify this matter to an unlimited civU case, and may
     21     1094.5 (ardor 1094.6)." The City argues: "[G]iven section 53069.4(b)(1) is clearly intended
            proceed as it if was fUed as a Writ of Mandate pursuant to Code of CivU Procedure section
     22     and restricted to only apply to the review of administrative decisions whose amount in
     21     1094.5 (and/or 1094.6)." The City argues: "[Gjiven section 53069.4(b)(1) is clearly intended
     23     controversy does not exceed $25,000.00, it logically follows that section 1094.5 (and/or
     22     and restricted to only apply to the review of administrative decisions whose amount in
            1094.6) is the only remedy for judicial review of the penalty at issue." Emphasis in original.
     24
     23     controversy does not exceed $25,000.00, it logicaUy foUows that section 1094.5 (and/or
            "Given these jurisdictional restrictions," the City argues, "Appellants misclas sification is
     25     1094.6) is the only remedy for judicial review of the penalty at issue." Emphasis in original.
            analogous to a mistake between [Code of Civil Procedure] section 1085 and 1094.5 Writs,
            "Given these jurisdictional restrictions," the City argues, "AppeUant's misclassification is
     26     thus it is necessary and proper for the court to reclassify this matter as an unlimited civil' case,
            analogous to a mistake between [Code of CivU Procedure] section 1085 and 1094.5 Writs;
     27     and to then proceed pursuant to the procedures set forth in section 1094,5 (and/or 1094.6)."
            thus it is necessary and proper for the court to reclassify this matter as an unlimited civU case,
     28
     27      and to then proceed pursuant to the procedures set forth in section 1094.5 (and/or 1094.6)."
     28                                                                                                FAC PG 193
                                                                                                                12
                                                                                                                12
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      FAC PG 194
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                                                 ID #:455


^      The following
           foUovmigcolloquy
                     coUoquytook
                             tookplace
                                 placebetween
                                       between the  courtand
                                                thecourt  andcounsel
                                                              counselfor
                                                                      fordue
                                                                          theCity
                                                                             Cityduring
                                                                                  duringthe
                                                                                         the
1
       hearing on
               on 7»24»-19:
                  7-24-19:                        .                                          .
2
2
33     "THE COURT: Well. So my point is that an administrative agency, [and] a citizen are
       "THE COURT: WeU. So my point is that an administrative agency, [and] a citizen are
       operating under the government code process. There's a notice of violation, there's a
4      operating under the govemment code process. There's a notice of violation, there's a
       determination, there's a hearing, there's evidence, and then there's an appeal and we're still
5      determination, there's a hearing, there's evidence, and then there's an appeal and we're stiU
       under the government code and then somebody realizes, wait a minute. It's over 25,000.
       under the government code and then somebody reaUzes, wait a minute. It's over 25,000.
6      Automatically, were over into writ land, is your position, correct?
       Automatically, were over into writ land, is your position; correct?
7
       "MR. CAMACHO: Correct.
                     Correct.
8
9      "'MS.
       "MS. BICKEL:
             BICKEL: Correct. . . TR
                     Correct...." TR24:.2»12.
                                     24:2-12.

10
10     Further, in oral argument, the City took the position that "any judgment that is in' excess of
11     Further, in oral argument, the City took the position that "any judgment that is in excess of
       the court's jurisdiction is void. It's . . . automatically void, . . . whereas if we go to a writ, we
       the court's jurisdiction is void. It's ... automaticaUy void,... whereas if we go to a writ, we
12     know for certain, the court has jurisdiction." TR 55:5t10.
12     know for certain, the court has jurisdiction." TR 55:5-10.
13
13         City's Arguments Regarding the Scope of
       The City's                               of Review:
                                                   Review:
14
^g     Regarding
       Regarding the
                  the scope
                      scopeof
                            ofreview,
                               review,the
                                       theCity's
                                          City'sposition
                                                 positionisisthat
                                                              thatbecause
                                                                   becauseCode
                                                                           CodeofofCivil
                                                                                    CivUProcedure
                                                                                         Procedure
15
       sections
       sections 1094.5
                1094.5 and
                       and 1094.6
                           1094.6 provide
                                  provide for
                                           for aa"limited
                                                  "liinitedde
                                                            denovo
                                                               novoreview,"
                                                                    review,"the  courtshould
                                                                             thecourt  shouldeither
                                                                                              either
16
       reclassify
       reclassify this
                   thisproceeding
                       proceeding as
                                  as aawrit:
                                       writunder
                                             underthose
                                                   thoseprovisions
                                                         provisionsor,
                                                                    or,ififcontinuing
                                                                            continuingtotoproceed
                                                                                           proceedunder
                                                                                                   under
17     section 53069.4, use
                        use those
                            those writ
                                  writ procedures
                                       procedures"as
                                                  "asguidance."
                                                     guidance." The
                                                                TheCity
                                                                    City argues
                                                                         arguesthat
                                                                                thatdie
                                                                                     thepresent
                                                                                         present
18
 ^     matter "concerns land
       matter            land use
                              use regulations"
                                   regulations"and
                                               and therefore
                                                   therefore"there
                                                             "thereisisnot
                                                                        notany
                                                                            anyfundamental
                                                                                fundamentalvested
                                                                                            vested
19      right at
     right    at issue." Accordingly,
                         Accordingly, the City
                                          City argues, "the
                                                        "the court's
                                                             court'sreview mustbe
                                                                     reviewmust be based
                                                                                   basedupon
                                                                                         upon aa
20
20                                     (Citing Benetatos
       substantial evidence standard." (Citing               CityofofI_os
                                               Benetatosv.v.City       LosAngeles
                                                                           Angeles(2015)235
                                                                                    (2015) 235 Cal.App.4*
                                                                                             Cal.App.4d'
21
21     1270,1280;
       1270,       quotmg_IKH
             1280, quoting JKHEnterprises,
                              Enterprises,Inc.
                                           Inc.v.v. Department
                                                 Department    of Industrial
                                                            oflndustrial     Relations
                                                                          Relations    (2006) 142
                                                                                    (2006)142     Cal.App.4''''
                                                                                               Cal.App.4 h

22     1046, 1057.)
       1046,1057.)
22
23         substantial evidence
       The substantial evidence standard
                                standard for
                                         for review
                                             review of
                                                    of administrative
                                                       administrative action, the City argues,
                                                                      action, the
24
24     requires the court "to
       requires           "to begin with
                                    with a presumption
                                           presumption that
                                                        that the
                                                              the administrative
                                                                  administrativerecord
                                                                                 recordholds
                                                                                       holds evidence
                                                                                             evidence

25
       'that sustains
             sustains every
                      every finding of fact',"nth
                                    of fact'," with"the
                                                    "theburden
                                                         burdenon
                                                               onthe
                                                                  thechallenger
                                                                      chaUenger totoshow
                                                                                     showthat
                                                                                          thatthe
                                                                                               the
       findings
       findings are not supported
                are not supported by
                                  by any
                                     any substantial
                                         substantial evidence
                                                     evidence whatsoever." Pcscosolido
                                                                           Pescosolidov.v.Smith
                                                                                           Smith(1983 )
                                                                                                  (1983)
26
       142 CaLApp.3d
           Cal.App.3d964, 970, citing
                     964,970,  citingForemanfa'
                                      Foreman drClark
                                                 ClarkCorp
                                                       Corpv.v.
                                                             Fallon  (1971)3
                                                                Fallon (1971) Ca1.3d 875,
                                                                              3 Cal.3d    881 andand
                                                                                       875,881
27
       Division of
                of Labor
                   Labor Law
                         LawEnforcement
                             Enforcementv.v.Transpacific
                                              Transpacific Transportation
                                                         Transportation Co.Co. (1979) 88
                                                                            (1979)88     Cal.App.3d
                                                                                      Cal.App.3d 823.823.
28

                                                                                                    FAC PG 19413
                                                                                                              13
     Case   8:24-cv-02793-CAS-E
      FAC PG 195
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      Under this substantial
      Under this substantial evidence
                             evidence standard
                                      standard of review,
                                                  review, "the
                                                          "the trial court must
                                                               trial court must review the
                                                                                review the
1
      administrative record to
                            to determine whether
                                         whether the findings are
                                                              are supported
                                                                  supported by
                                                                            by substantial
                                                                                substantial
2
      evidence -
               - in light
                    Ught of the whole record." (citing
                            the whole                  Holmes v.v.California
                                               (citing Holmes      CaliforniaVictim
                                                                              VictimCompensation
                                                                                     CompensationCo'&
3
      Government ClaimsBe
      GovernmentClaims Bd.(2015)
                           (2015)293
                                  293ca1.App.4"'
                                      Cal.App.4*1400, 1406.) "The
                                                 1400,1406.)  "Thetrial
                                                                    trialcourt  mustrefrain
                                                                          courtmust  refrainfrom
                                                                                              from
4     exercising its
      exercising its independent
                     independent judgment on the
                                 judgment on the weight    the evidence." (Citing Lorimore v.
                                                 weight of the                             v.State
                                                                                              State
5               Be (1965)
      Personnel Bd. (1965)232
                          232Cal.App.2d
                              Cal.App.2d183,
                                         183,186.)  "Moreover,"die
                                             186.) "Moreover,"  theCity
                                                                   Cityargues,
                                                                        argues,"Linder
                                                                                "underthe
                                                                                       the
6     substantial evidence
      substantial evidence standard
                           standard of review,
                                       review, the
                                               the trial court cannot receive
                                                                      receive new evidence
                                                                                  evidence since
                                                                                           since the
                                                                                                 the
7     court's
      court's power
              power of review is confined
                       review is          to determining
                                 confined to detenniningwhether
                                                         whether there
                                                                  therewas
                                                                       was substantial
                                                                            substantial evidence
                                                                                         evidence to
                                                                                                   to
g
8     support the
      support the administrative
                  administrative decision." (Citing
                                            (Citing Gong
                                                    Gongv.v.City
                                                             Cityofo/Freemont
                                                                    Frcemont (1967)
                                                                              (1967)250
                                                                                     250Cal.App.2d
                                                                                         Cal.App.2d
      568,573.)
      568,             reviewing evidence
           573.) "When reviewing evidence under the
                                                the substantial
                                                    substantial evidence
                                                                evidence standard,
                                                                         standard, the
                                                                                   the trial court
9
      shall
      shaU resolve
            resolve all
                    aUconflicts
                        conflictsininthe
                                      theevidence
                                          evidenceand
                                                   anddraw
                                                       drawall
                                                            aUinferences
                                                                inferencesininsupport
                                                                               supportofofthe
                                                                                           thefindings."
                                                                                                findings."
10
      (Citing
      (Citing Holmes,
              Holmes, supra,
                      supra, 293
                             293Cal.App.4th
                                 Cal.App.4*1400, 1406.)
                                            1400,1406.)
11
12
12    The
      The City contends   [i]t is clear there
               contends ""[i]t                is no
                                        there is no authority
                                                    authority for
                                                              for aa complete
                                                                      completetrial
                                                                               trial de
                                                                                     denovo
                                                                                        novobecause
                                                                                             becausesuch
                                                                                                     such
      aa practice
         practice would
                  would constitute
                        constitute 'an
                                    'an invalid
                                         invaUd usurpation
                                                usurpationof
                                                           of the
                                                               theadministrative
                                                                  administrativeadjudicatory
                                                                                 adjudicatorypower'
                                                                                              power'
13
      vested in the administrative
                    administrative agency."
                                   agency."(Citing
                                            (Citing Hackcthal
                                                    Hacfeethalv.v.Loma
                                                                   LomaLinda
                                                                        Linda Community
                                                                             Community  Hospital
                                                                                       Hospital   Corp.
                                                                                                Corp.
14
                Cal.App.3d59,
      (1979) 91 CaLApp.3d 59,65.)
                              65.)
15
16    Regarding the evidence relied upon in administrative hearings, the City recognizes that it
1g    Regarding the evidence rehed upon in administrative hearings, the City recognizes that it
      occurs through
             through aa relaxed
                        relaxed process.
                                process.
17
17
18    Section 11513 provides, for example, that "[t]he hearing need not be conducted according to
18    Section 11513 provides, for example, that "[t]he hearing need not be conducted according to
19    technical rules relating to evidence and witnesses except as hereinafter provided." 11513,
1g     technical rules relating to evidence and witnesses except as hereinafter provided." 11513,
      subd. (c). "Any relevant evidence shall be admitted if it is the sort of evidence on which
20
2Q    subd. (c). "Any relevant evidence shaU be admitted if it is the sort of evidence on which
      responsible persons are accustomed to rely in the conduct of serious affairs, regardless of the
21    responsible persons are accustomed to rely in the conduct of serious affairs, regardless of the
      existence of any common law or statutory rule which might make improper the admission of
      existence of any common law or statutory rule which might make improper the admission of
22    the evidence over objection in civil actions." Id.
      the evidence over objection in civU actions." Id.
23
      Hearsay evidence is specifically
                          specificaUy allowed,
                                       aUowed,with
                                               withsome
                                                    somelimitation:
                                                         limitation:"I-Iearsay
                                                                     "Hearsayevidence
                                                                               evidencemay
                                                                                       maybe
                                                                                           beused
                                                                                              used
24
      for the purpose
              purpose of
                      of supplementing
                         supplementing or
                                       or explaining
                                          explaining other
                                                     other evidence
                                                           evidence but
                                                                    but overtimely
                                                                        over timely objection
                                                                                    objection shall
                                                                                              shaU
25
       not be sufficient
              sufficient in
                          in itself
                              itseUto  support aafinding
                                    tosupport     findingunless
                                                          unlessititwould
                                                                     wouldbe
                                                                           beadmissible
                                                                              admissibleover
                                                                                         overobjection
                                                                                              objectioninin
26
26     acivU
         wl' actions." 11513,
                       11513,subd.
                              subd.(d).
                                    (d).                                                                      'n




27
      Testimony in the form of
      Testimony             of affidavit
                               affidavit isis also
                                              alsoallowed,
                                                   aUowed,with
                                                           with written
                                                                written notice
                                                                        noticeto
                                                                               tothe
                                                                                  theopposing
                                                                                      opposingside.
                                                                                               side.
28
      11514, subd.
      11514,  subd.(a).
                    (a). The
                         Theright
                             right to
                                    tocross
                                       crossexamine
                                             examine the
                                                      the affiant
                                                           affiantisisdeemed
                                                                       deemedwaived
                                                                              waivedunless
                                                                                     unlessaawritten'
                                                                                              written"
                                                                                                 FAC PG 19514
                                                                                                           14
     |
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          FAC PG 196
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          request is made
          request    made widiin
                          within certain time limits,
                                 certain time limits; and,
                                                      and, even
                                                           even iftf aatimely
                                                                        timelyrequest
                                                                               requestto
                                                                                       toEros s»~ examine isis
                                                                                         cross-examine
1
          made, itit may
                     may be
                         be denied,
                            denied, and
                                    and the
                                         the affidavit
                                             affidavitmay
                                                       maybe
                                                          beconsidered,
                                                             considered, without cross-examination,"but
                                                                         withoutcross-examination,  "but
2
          shaU be given only the same
          shall                  same weight
                                      weight as
                                             as other
                                                other hearsay
                                                      hearsayevidence,"
                                                              evidence." Id.
                                                                          Id.
3
          The City acknowledged
                   acknowledged at oral argument
                                        argument that " . . . we do try to have witnesses
                                                 that"...                       witnesses there
                                                                                          there to
                                                                                                to
4
                    evidence, but we use declaration. It's an informal process.
          introduce evidence,                                          process. It's
                                                                                It's supposed
                                                                                     supposed to
                                                                                              to be aa half
                                                                                                       half
5
                  to an hour proceeding. [t'S
          an hour to                     It's not
                                              not a trial.
                                                    trial. Mr. Camacho
                                                               Camacho does,
                                                                       does,sometimes,
                                                                             sometimes,10
                                                                                        10toto1212ofofdies
                                                                                                        these
6                    know, back to
          a day. You know,      to back.
                                   back . . " TR
                                              TR 39:3~»9.
                                                 39:3-9.
7
          The City described this
                             this administrative
                                  administrative hearing process               nature . . . " The
                                                         process as "looser in nature         The hearing
                                                                                                  hearing
                                                                                                 11



8
          officer "doesn't
          officer  "doesn't rule
                            mleononevidentiary
                                   evidentiary objections
                                               objections [,]
                                                           [,] she
                                                                she takes
                                                                    takes everything
                                                                          everythingin
                                                                                     in and
                                                                                        and makes
                                                                                            makesher
                                                                                                  her
9
          decision and
          decision and weighs
                       weighs what comes in . . . ."" TR
                                   comes in           TR 26:.27~27:1.
                                                          26:27-27:1.
10
          In light
             Ught of this
                     this less
                          less formal
                                formaladministrative
                                       administrativeprocedure,
                                                     procedure, the
                                                                 theCity
                                                                    Cityargued
                                                                         argued that
                                                                                 thatititcould
                                                                                          couldbe
                                                                                                be
11
          detrimental to
                      to an appellant
                            appeUant to apply more formal rules of
                                                                of evidence in aa de
                                                                   evidence in    de novo
                                                                                     novoappellate
                                                                                          appeUate
12
          hearing:
13
            . . . I1would
          ""...     wouldargue
                          argueititactually
                                    actuaUyhurt[s]
                                            hurt[s]the
                                                    thepeople
                                                        peopletrying
                                                               tryingtotodo
                                                                          doan
                                                                             anadministrative
                                                                                administrativeappeal,
                                                                                               appeal,because
                                                                                                      because
14
          all
          aU of     sudden-- administrative
              of aasudden     administrativeappeals
                                             appealsareareadministrative
                                                           administrativeininnature,
                                                                               nature, totoget
                                                                                            getaaprompt
                                                                                                  prompt
15
          resolution without
          resolution   without the
                                the excess cost of
                                    excess cost of litigation.
                                                    Utigation. Now,
                                                               Now, ifif all
                                                                         aUof     sudden-- and
                                                                             of asudden      andthey're
                                                                                                  they'reinformal
                                                                                                          informal
16
          in         just by
             nature, just
          in nature,      by the
                             the code section, Government
                                 code section, Govemment Code
                                                          Code section 11513. .. ...--all
                                                               section 11513           aUofofa asudden
                                                                                                  suddenthe
                                                                                                          the
17        formal
^7        formalRules
                 RulesofofEvidence
                          Evidence apply,
                                    apply,really
                                           reaUypeople
                                                 peopleneed
                                                        needan
                                                             anattorney.
                                                                attomey. And
                                                                         AndI1think,
                                                                               thuik,onondie
                                                                                          theother
                                                                                              other
18
18        hand, II would
          hand,    would argue
                         argue that
                                that itit actually
                                          actuaUy deprives
                                                   deprives people
                                                            people of
                                                                   of the
                                                                      the quick
                                                                          quick and
                                                                                 and prompt
                                                                                     prompt and
                                                                                              and
19
1g        economically
           economicallyefficient
                         efficientresolution
                                   resolutionofoftheir   matters,because
                                                   theirmatters,  becausenow
                                                                           nowthey're
                                                                                they'regoing
                                                                                        goingtotobe
                                                                                                  besubject
                                                                                                     subjecttoto
2Q        facing
          facing aa highly trained attorney
                    highly-trained   attomey that's
                                               that'sgoing
                                                     goingtotoobject   toeverything
                                                               object to  everythingthey
                                                                                     they may
                                                                                          maysay,
                                                                                              say, everything
                                                                                                   everything
20
          they
          they may   bring and
               may bring   and all
                                aU that
                                    that and
                                         and they're
                                              they're just
                                                      just going  toget
                                                           going to      overwhelmed . . " TR
                                                                    get overwhelmed.        TR 22:3»-18.
                                                                                                22:3-18.
21
21
22        The City also argued that "allowing new evidence [at the appeal level] is . . . going to
22        The City also argued that "aUowing new evidence [at the appeal level] i s . . . going to
          completely change d e face of these administrative proceedings. . . . [P] eople are necessarily
23
          completely change the face of these administrative proceedings.... [Pjeople are necessarUy
          going to have to hire attorneys to bring them with them to these hearings, to ensure that
24        going to have to hire attomeys to bring them with them to these hearings, to ensure that
          they're properly admitting evidence or could be, you know, we potentially could throw it out
25        they're properly admitting evidence or could be, you know, we potentiaUy could throw it out
          when it gets to this level, if the same standard is going to be held against us." TR38:22-39;2.
26        when it gets to this level, if the same standard is going to be held against us." TR 38:22-39:2.
          AdditionaUy, the City asserted
          Additionally,         asserted in its post-hearing brief that AppeUant
                                                                        Appellant has the burden of
27
          proof:                                  .

28

                                                                                                       FAC PG 19615
                                                                                                                 15
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          FAC PG 197
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          "Section 53069.4(b)(1)
                   53069.4(b)(1) provides that
                                          that the document or instrument
                                                               instrument providing notice of the
    1
          violation and
          violation and imposition
                        imposition of the administrative
                                          administrative penalty shaU be
                                                         penalty shall be admitted
                                                                          admitted into
                                                                                   into evidence
                                                                                        evidence as
                                                                                                 as        .

    2
          prima facie evidence
                      evidence of
                               of the
                                   the facts
                                       factsstated
                                             stated therein.
                                                    therein. Accordingly,
                                                             Accordingly, Appellant
                                                                          AppeUant has
                                                                                    has the
                                                                                        the burden
                                                                                            burden of
                                                                                                   of
    3     producing
          producing evidence that not only contradicts,
                             that not      contradicts, but overcomes
                                                            overcomes the facts stated    Respondents
                                                                                stated in Respondent's
    4     administrative penalty."

    5
          The City also asserts,with
                   also asserts, with respect
                                       respectto
                                               tothe
                                                  thepresent
                                                     presentcase,
                                                             case, that
                                                                    that"[tlhe
                                                                         "[t]headministrative
                                                                                administrativepenalty
                                                                                               penaltyatat
    6
          issue
          issue indicates
                 indicates on
                           on its
                               its face
                                   face .... . the
                                               the existence
                                                   existence and
                                                             and presence
                                                                 presenceof
                                                                          of 402
                                                                             402illegal
                                                                                 iUegalcannabis
                                                                                        cannabisplants
                                                                                                plantsinside
                                                                                                       inside
    7     Appellants property located
          AppeUant's property located at 7812
                                         7812 SIS"
                                               5 f Avenue,
                                                   Avenue;therefore
                                                           thereforethe
                                                                     thepresumption
                                                                         presumptiondiet
                                                                                     thatappellant
                                                                                          appeUant
    8     must
          must contradict
               contradict and
                          and overcome
                              overcome is
                                       is that
                                          that die
                                               the penalty
                                                   penalty was
                                                           was appropriately
                                                               appropriately issued
                                                                             issued pursuant to
                                                                                             to City
                                                                                                City
    g
    9     Code sections
               sections 8.132.030, 8.132.040(B) and                 forr the
                                                and 8.132.050(E)(1) fo   the 402 illegal
                                                                                 Ulegal cannabis
                                                                                         cannabis plants."
                                                                                                  plants."

    10
    11
    12
    13
    14                                                 Discussion
                                                       Discussion::
    15
                     Process to
          The Review Process to be
                                be Used:
                                   Used:
    16
    17    Appellant, as
          AppeUant,  as noted
                        noted above,
                              above, urged
                                     urged the
                                           the court to consider
                                               court to consider this
                                                                 this matter to be
                                                                      matter to be an
                                                                                   an unlimited
                                                                                      unlimited civil
                                                                                                civU
    ^g    ease.
          case. In ooral
                     r ] argument
                         argument on 7-24-19, the City agreed:
                                  on 7»*24-19,
    18
    19
    19    "THE COURT: I1think
                         thinkboth
                              bothsides
                                   sidesthink
                                         thinkit's  notlimited
                                               it'snot  Umitedand
                                                               andititcan
                                                                       canbe
                                                                           bedeemed
                                                                              deemedunlimited.
                                                                                     unlimited.
    20
          "MS.
          "MS. BICKEI.:
               BICKEL Correct."
                        Correct." TR
                                  TR 44:18»20.
                                     44:18-20.
    21
    22
    22    As the court then noted if the case
                       then noted,       case were
                                              were to
                                                   to be
                                                      be deemed
                                                         deemedunlimited:
                                                                unlunited: "The
                                                                            "Thequestion is,what
                                                                                questionis, whatdo
                                                                                                 do
    22    you do with
                 with that?
                      that? And you [the
                                    [the City]
                                         City] say
                                               say go
                                                   go over to writ land
                                                      over to      land and
                                                                        and he [Appellant]
                                                                               [AppeUant] says,
                                                                                           says,no,
                                                                                                no,
    23
          stay in dthis
          stay      i s government
                        govemment code
                                   code process."
                                        process."TR
                                                  TR44:21»23.
                                                     44:21-23.
    24
    24
    25
    25            53069.4 and Code of Civil
          Section 58'»069.4           CivU Procedure Sections
                                                     Sections 1094.5
                                                              1094.5 and 1094.6 as Altematives
                                                                                   Alternatives:

    26
          Under the Court of Appeal's analysis in
          Under                                 in Martin
                                                   Martinv.v.Riverside
                                                              Riverside  County
                                                                       County            of CodeofEnforcemerii,
                                                                                 Department
                                                                              Department          Code Enforcement,
    27
    ^     supra,166
          supra, 166ca1.App.4'*'
                     Cal. App.4'^1406,
                                  1406,judicial
                                         judicialreview
                                                   reviewofofananadministrative
                                                                  administrative penaltycan
                                                                                penalty   canbebesought
                                                                                                  soughtbyby
    28

                                                                                                     FAC PG 19716
         n   Case   8:24-cv-02793-CAS-E
              FAC PG 198
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    ^         electingbetween
              electing between die
                               the alternatives
                                   alternatives of
                                                of an
                                                   an appeal
                                                      appealunder
                                                             underSection
                                                                  Section53069.4
                                                                          53069.4 or
                                                                                  oraawrit
                                                                                      writunder
                                                                                           underCode
                                                                                                 Codeofof
    1
              CivU Procedure sections 1094.5
              Civil                   1094.5 and
                                             and1094.6.
                                                 1094.6.
    2
    2
    3         Th
              Thee Martin case
                          case had
                               had aaconvoluted
                                      convolutedprocedural
                                                 proceduralhistory,
                                                            history,illus
                                                                     iUustrating    theconfusion
                                                                          tratilig the  confusionthat
                                                                                                  thatcan
                                                                                                       canarise
                                                                                                           arise
    4
    4         regarding whether
                        whether review of an administrative
                                             administrative penalty can be pursued under
                                                                                   under section 53069.4
              or Code of
                      of Civil
                         CivU Procedure
                               Proceduresections
                                        sections1094.5
                                                 1094.5or
                                                        or1094.6.
                                                           1094.6.
    5
    6
    6          In Martin,
              In  Martin, a $500
                            $500 citation for
                                          for grading
                                              grading without aapermit
                                                                permit was
                                                                       was atat issue.
                                                                                 issue.166
                                                                                        166Cal.App.4"h
                                                                                            Cal.App.4*atat1408.
                                                                                                           1408.
    7         Seeking judicial review,
              Seeking          review, Martin
                                       Martin filed a writ
                                                      writ petition
                                                           petition under
                                                                    under Code
                                                                          Codeof
                                                                               ofCivil
                                                                                 CivUProcedure
                                                                                       Proceduresections
                                                                                                 sections
    g
    8         1094.5 and
              1094.5 and1094.6
                         1094.6ininthe
                                    the superior
                                        superior court.
                                                 court.Id.
                                                        Id. The
                                                            Thesuperior
                                                                superior court
                                                                         courtdenied
                                                                               denied the
                                                                                       the writ,
                                                                                           writ,but"offered
                                                                                                 but "offered
              its opinion that dthe
              its                           procedure was to
                                  e correct procedure     to seek review
                                                                  review by
                                                                         by filing an
                                                                                   an appeal
                                                                                      appeal to
                                                                                             to be
                                                                                                be heard
                                                                                                   heard de
                                                                                                         de
    9
                   by the superior court as provided
              novo by                       provided in
                                                     in Government
                                                        Govemment Code
                                                                   Code section
                                                                        section 53069.4,
                                                                                53069.4, subdivision
                                                                                         subdivision
    10
              (b)(1)~"
              (b)(1)." Id.
                       Id.
    11
    ^2        Martin
              Martin appealed to Court
                     appealed to Court of
                                        of Appeal,
                                           Appeal, which
                                                   which "agreed
                                                         "agreedwith
                                                                  with the
                                                                        the superior   court that
                                                                             superior court   that the
                                                                                                    the correct
                                                                                                         correct
    12
              procedure for
              procedure for Martin to have
                            Martin to have followed
                                            foUowedwas   toseek
                                                    was to  seekaade
                                                                   denovo
                                                                      novoappeal
                                                                             appealinindie
                                                                                        thesuperior     court."Id.
                                                                                            superiorcourt."      Id.
    13
    13
              However, the
              However,     the Court
                               Court of   Appeal also
                                       of Appeal  also "concluded
                                                       "concluded [it]
                                                                   [it] did not have
                                                                        did not have jurisdiction    tohear
                                                                                       jurisdiction to  heardthe
                                                                                                               e appeal
                                                                                                                  appeal
    14
    14
              of aa limited
              of     limited civil case." Id.
                             civUcase."   Id. The
                                              The Court
                                                   Court of
                                                          of the
                                                             the Appeal
                                                                 Appeal therefore
                                                                         therefore transferred
                                                                                    transferred the
                                                                                                 the case
                                                                                                      casetotothe
                                                                                                               the
    15
    15        appellate
              appeUate division
                        division of
                                 ofthe
                                    the superior
                                        superior court.
                                                 court. Id.
                                                         Id.
    16
    16
                  appeUate division
              The appellate division "then
                                     "then issued
                                            issued an
                                                   an opinion,
                                                      opinion, concluding
                                                               concluding itit did
                                                                               did not
                                                                                   not have
                                                                                       have jurisdiction
                                                                                             jurisdiction tto hear
                                                                                                           o hear
    17
    17
                 appeal of
              an appeal of the
                           the superior
                               superior court
                                        court decision
                                              decision because
                                                       because no
                                                               nofurther
                                                                  furtherreview
                                                                          reviewofofaacode
                                                                                       codeenforcement
                                                                                            enforcement
    18
    18        proceeding is permitted
              proceeding    permitted beyond the de novo appeal in
                                                                 in the superior
                                                                        superior court."
                                                                                 court." Id.
                                                                                          Id.
    19
    19
              On its
              On its own motion,
                         motion, the
                                 the Court
                                     Court of
                                           of Appeal
                                              Appeal in
                                                      in Martin
                                                         Martin directed
                                                                directed the
                                                                         the case
                                                                             casetotobe
                                                                                      betransferred
                                                                                         transferredback
                                                                                                     back toto
    20
    20
              it. Id. at 1409. The Court
              it.                  Court of Appeal "issue[d] a second
                                                               second decision
                                                                      decision in
                                                                                in which
                                                                                   which [it]
                                                                                          [it] determine
                                                                                               determine[d]
                                                                                                         [d]
    21
              that Government
                   Govemment Code
                              Codesection
                                   section530694,
                                           53069.4,subdivision
                                                    subdivision(b)(1)
                                                                 ()})(1)offers
                                                                          offers  alternative
                                                                               alternative    procedures
                                                                                           procedures forfor challenging
                                                                                                          challenging      a final
                                                                                                                      a final
    22
    22                       decision,either
              administrative decision, eitherby
                                              bypetition
                                                 petitionfor
                                                          forwritof
                                                              writ ofmandate
                                                                      mandateoror
                                                                                byby  a novo
                                                                                   a de de novo appeal
                                                                                             appeal      tosuperior
                                                                                                    to the  the superior court."
                                                                                                                    court." Id. Id.
    23
    23        at 1409
                 1409.,., emphasis
                          emphasis added.
                                   added.                                                 .
    24
    24
               In the present
                      present case, Appellant arguesthat
                                    AppeUant argLles thatthe
                                                          thelanguage
                                                              languageofofsection
                                                                           section53069.-4
                                                                                   53069.4H-.makes
                                                                                           "makesclear
                                                                                                   clearthat
                                                                                                         that
    25
    25
               the proceedings
                   proceedings under . . Section
                               under...          53069.4 are
                                         Section 53,069.4 are an
                                                              an alternative to writ
                                                                 altemative to  writ relief."
                                                                                     rehef." He
                                                                                              Hereferences
                                                                                                 referencesthe
                                                                                                            the
    26
    26        language in
                        in section
                           section 53069.4
                                   53069.4 that
                                           that its
                                                its provisions
                                                    provisions apply
                                                               apply "notwithstanding
                                                                     "notwithstanding Section
                                                                                      Section 1094.5
                                                                                              1094.5or
                                                                                                     or
    27
    27        1094.6 of the Code
              1094.6        Code of Civil
                                    CivU Procedure." The Court
                                                         Court of Appeal in Martin reached
                                                                                   reached the same
    28        conclusion by a review
                              review of
                                     of legislative
                                        legislative history, not
                                                             not by interpreting
                                                                    interpreting the meaning of

                                                                                                                  FAC PG 19817
                                                                                                                            17
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      FAC PG 199
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         "notwdthstandmg" in section
         "notwithstanding"   section 53069.41
                                     53069.4: "The
                                              "The meaning
                                                   meaning of
                                                           of 'notwithstanding
                                                               'notwithstanding' and
                                                                                 and the
                                                                                     the [reference
                                                                                         [reference
11
         to sections 1094.5
                     1094.5 or 1094.6]
                               1094.6] is not wholly clear . . " Id. at 1411,
                                          not whoUy                     1411, fn. 7.
                                                                                  7. The        court relied
                                                                                     The Martin court reUed
2
2
         upon "the pertinent
                   pertinent legislative history to aid
                                                    aid our independent
                                                            independent statutory
                                                                        statutory interpretation"
                                                                                  interpretation" (id.),
3
3
         concluding,
         concluding, "[a] fter undertaking
                     "[ajfter  undertakingaareview
                                             reviewofof the
                                                         thelegislative
                                                             legislativehistory
                                                                        historyof
                                                                                of Government
                                                                                   GovernmentCode
                                                                                              Code
4
4        section 530694,
                 53069.4, we have determined there are
                                                   are alternative
                                                       altemativeprocedures
                                                                   proceduresfor
                                                                              forseeking review, either
                                                                                  seekingreview,   eitherbybywri t
                                                                                                              writ
5
5        petition or by aa de
                           de novo
                              novoappeal."
                                   appeal." Id.      1410, emphasis
                                             Id.atat1410,   emphasisadded.4
                                                                     added."*
6
6
             summary," the
         "In summary," the Court
                           Court of Appeal
                                    Appeal in Martin stated, "Government
                                                             "Government Code
                                                                         Code section
                                                                              section 53069.4
7
7
         provides for alternative
                      altemative procedures      chaUenging an administrative
                                  procedures for challenging   administrative decision
                                                                              decision like a ruling
                                                                                              ruling on
                                                                                                     on
8
8          code violation,
         a code violation,either
                           either by
                                  by aa de
                                        de novo
                                           novoappeal
                                                appeal to
                                                        tothe
                                                           thesuperior
                                                               superiorcourt
                                                                        courttotobe
                                                                                 beheard
                                                                                    heardby
                                                                                         by aajudge
                                                                                               judgeororaa
9
g        subordinate judicial officer
         subordinate          officer or
                                      or by
                                         by aa petition
                                               petition for
                                                        for writ
                                                            writ of
                                                                 of mandate
                                                                    mandateunder
                                                                            under Code
                                                                                  Codeofof Civil
                                                                                           CivUProcedure
                                                                                                 Procedure
10       sections 1094.5
         sections 1094.5 and
                         and 1094.6." Id.
                                      Id. at
                                          at1412.
                                             1412.

11
         Consistent with
                    widl this view is language in
                         this view              in the
                                                   the recent
                                                        recent appellate
                                                               appeUatedecision      CountyofofSonoma
                                                                         decisionininCounty     Sonomav.v.
12
         Gustely (2019)
         Gustely  (2019) 36
                         36 Ca1.App.5th
                            Cal.App.5'^704.
                                        704. There,
                                             There, Gustely
                                                    Gustely was
                                                            was found
                                                                found to
                                                                       to have
                                                                          havecommitted
                                                                               committedvarious
                                                                                        various
13
13       co unty co
         county     de violations
                 code  violations on
                                  onhis
                                     hisproperty,
                                        property,and
                                                  andwas
                                                     was fined
                                                          finedcivil'
                                                                civUpenalties
                                                                      penalties totaling
                                                                                 totaling$2,880.
                                                                                          $2,880. Id.
                                                                                                   Id.at
                                                                                                      at
14
14       707.
         707. He
              He did not seek judicial
                              judicial review
                                       review prior to appealing
                                              prior to           to the
                                                       appealing to the Conn
                                                                        Court of
                                                                              of Appeal.
                                                                                 Appeal. The Court
                                                                                             Court of
                                                                                                   of
15
15       Appeal noted:
         Appeal noted: "He
                       "He had two
                               two potential means of
                                                   of doing
                                                      doing so:
                                                            so: AA petition
                                                                   petitionfor writofofmandate
                                                                            forwrit    mandatepursuant
                                                                                               pursuantFoto
16       Codeof
         Code ofCivil
                CivilProcedure
                      Proceduresection
                                section1094.5
                                        1094.5ororananappeal
                                                        appeal  thethe
                                                             to to  superior
                                                                       superior    pursuant
                                                                                court
                                                                             court          to Government
                                                                                      pursuant            Code
                                                                                               to Govemment Code   section
                                                                                                               section

17
17       53069.4." Id
         53069.-4." Id at
                       at 711, emphasis added.

18       Whedter
         WTiether Section 53069.4 Can Apply to This Case,
                                                    Case. When
                                                          When More
                                                               More than
                                                                     than $25000      atIssue:
                                                                          $25,000 isisat Issue:
19
         The language of
                      of Code
                         Code of
                              of Civil'
                                 CivU Procedure  sections 85
                                        Proceduresections 85 and
                                                             and 88
                                                                 88 provides
                                                                    provides aa persuasive
                                                                                persuasive basis
                                                                                           basisfor
                                                                                                 for
20
         concluding that,
         concluding that, notwithstanding the reference in Section
                          notwithstanding die              Section 53069.4 to
                                                                           to "limited
                                                                              "limited civil
                                                                                       civU case,"
                                                                                             case," the
                                                                                                     the
21
21
         present
         present matter "shall
                        "shaU not
                               not be treated
                                      treated as
                                              as such,"
                                                 such," and
                                                        and may
                                                            may instead
                                                                instead "be
                                                                        "be referred
                                                                            referred to
                                                                                      toas
                                                                                        as an
                                                                                           anunlimited
                                                                                              unlimited
22
22       civil case." The language
                          language in
                                   in Code
                                      Code of
                                           of Civil
                                              CivU Procedure
                                                    Proceduresection
                                                              section89
                                                                     89 provides
                                                                        providesfurther
                                                                                 furthersupport
                                                                                         supportfor
                                                                                                 for
23
23       this       to exercise authority
         this court to          authority over the present case as
                                                   present case as an
                                                                   an unlimited
                                                                      unlimited civil
                                                                                CivUcase.
                                                                                      case.
24
24
         While,
         WhUe, as
                as the
                   the City
                       City argues,
                            argues,subdivision
                                    subdivision(c)(l4)
                                                (c)(14)of
                                                        of Code
                                                           Codeofof Civil
                                                                    CivUProcedure
                                                                          Proceduresection
                                                                                    section85
                                                                                            85 references
                                                                                               references
25
25       section 530694,  it does so
                 53069.4, it      so as
                                     as one
                                        one of
                                            of three criteria for
                                               three criteria for designation
                                                                  designation as
                                                                              asaa limited
                                                                                    limited civil action,"all"
                                                                                            civU action,  "all"
26
26
27
27   4 in
       In Martin, since the administrative penalty
                                            penalty at
                                                     at issue
                                                         issue was
                                                               was only
                                                                    only $500,
                                                                          $500, the
                                                                                the Court
                                                                                    Court of
                                                                                           of Appeal
                                                                                              Appeal did
                                                                                                       did not
28   have to confront
             confront the
                       the question
                           question whether
                                    whether appeal
                                             appeal of
                                                     of aa penalty
                                                            penalty greater
                                                                    greater than
                                                                            than $25,000
                                                                                  $25,000 falls
                                                                                          falls outside
                                                                                                 outside the
                                                                                                         the
28   scope of
            of Section 53069.4 because of its
                                           its reference to an appeal thereunder
                                                                         thereunder being "a"a limited civil
     case."
                                                                                                   FAC PG 19918
     Case   8:24-cv-02793-CAS-E
      FAC PG 200
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      of which must
               must be "satisfied"
                       "satisfied" in
                                    in order
                                       orderfor
                                             foran
                                                anaction
                                                   actionor
                                                         orspecial
                                                            specialproceeding  tobe
                                                                   proceeding to    limited. One
                                                                                 belimited,  One of
                                                                                                 of
1
      these criteria is
      these criteria is clearly
                        clearly not
                                not satisfied
                                    satisfiedhere,
                                              here,i.e.,
                                                    i.e.,the
                                                          therequirement
                                                              requfrementthat
                                                                          thatthe
                                                                               theamount
                                                                                   amountinincontroversy
                                                                                              controversy
2
      not exceed twentyffive
      not        twenty-five thousand
                             thousand doUars.
                                      dollars,
3
      Regarding the
                the fact
                    fact that
                         that 53069.4 appeals
                                      appeals may
                                              may be
                                                  be heard
                                                     heard by
                                                           by subordinate
                                                              subordinate judicial
                                                                          judicial officers,
                                                                                   officers,the
                                                                                             the
4
      undersigned
      undersigned does not find
                  does not find that
                                that to
                                     to be
                                        be aanecessary
                                              necessaryindication
                                                        indicationthat
                                                                   thatonly
                                                                        onlylimited
                                                                             limitedcivil
                                                                                     civUcases
                                                                                          casesmay
                                                                                                may
5
      be reviewed under Section
         reviewed under Section 53069.4. Whether aa subordinate
                                                    subordinate judicial
                                                                judicial officer
                                                                         officerhears
                                                                                 hearssuch
                                                                                       suchan
                                                                                            an
6
      appeal is
      appeal is within the
                       the discretion
                           discretion of
                                      of the
                                         the Presiding
                                             Presiding _]udge
                                                       Judgeofofthe
                                                                 theSuperior
                                                                    SuperiorCourt,
                                                                             Court,who
                                                                                   whomight
                                                                                       mightdecide
                                                                                             decide
7     that
      that appeals
           appeals involving
                    involving smaller amounts should
                              smaUer amounts  should be
                                                     be heard
                                                        heard by
                                                              by such
                                                                 such judicial
                                                                      judicial officers
                                                                               officersbut
                                                                                        butthat
                                                                                            that
8     appeals
      appeals involving
               involvinglarger  amounts, as
                         largeramounts,  asin
                                            in the  presentcase,
                                                the present case,should
                                                                  shouldbe
                                                                         beheard
                                                                            heardby
                                                                                  bysuperior
                                                                                     superiorcourt
                                                                                              court
9
9     judges.                     .




10
^®    Both parties
      Body         assert that,
           parties assert that, because
                                becauseofofthe  amountin
                                            theamount  incontroversy,
                                                          controversy,this
                                                                       thismatter
                                                                           mattercan
                                                                                  canbe
                                                                                     beclassified
                                                                                        classifiedasas
11       unlimited civil
      an unlimited civU action. The court
                                    court agrees. Under the language of Code of Civil
                                                                                CivU Procedure
                                                                                      Procedure
12
12    sections 85, 88
      sections     88and
                      and89,
                          89,read
                              readininconjunction
                                       conjunctionwith
                                                   withSection
                                                        Section53069.4,
                                                                53069.4,this
                                                                         thisisistotobebeclassified
                                                                                          classifiedasasanan
^2
13
      unlimited civil
      unlimited civUaction
                      action because
                             becausedie
                                     theamount
                                         amountinincontroversy
                                                    controversyexceeds
                                                                exceeds$25,000 .
                                                                        $25,000.

14    Further, and more
      Further,     more central to the present
                                to U12 present analysis, the court concludes that classifying
                                                                                  classifying this
                                                                                               this
15
15         as an
      case as anunlimited
                 unlimited civil
                           civU action
                                 actiondoes
                                       doesnot
                                            notrequire
                                                requirethat
                                                        thatititfall
                                                                 faUoutside
                                                                     outsidethe
                                                                             theprovisions
                                                                                 provisionsofofSection
                                                                                                Section
^g    53069.4. The
      53069.4. The court
                   court recognizes
                         recognizes that
                                     that there
                                          there is
                                                 is no
                                                    no direct
                                                       dfrectauthority
                                                              authorityfor
                                                                        forthis
                                                                            thisconclusion,
                                                                                 conclusion,but
                                                                                             but
16
      reaches itit fOl'
                    for several
                        several reasons.
                                 reasons.
17
17
18     Ffrst, this
       First,  thisresult
                   result gives
                          givesrecognition   to the
                                recognition to   the language
                                                      languagein
                                                               inMartin
                                                                 Martinand
                                                                        andGustley
                                                                            Gustleythat
                                                                                    thatelecting
                                                                                         electingthe
                                                                                                  the
19    administrative
      administrative appeal
                     appeal process
                            processunder
                                    underSection
                                          Section53069.4
                                                  53069.4isisaachoice
                                                                choicetotobe
                                                                          bemade
                                                                             madeby
                                                                                  byan
                                                                                     anappellant.
                                                                                        appeUant.
2Q     Under the City's
                 City's view, as soon as an amount
                                            amount in controversy
                                                      controversy exceeds
                                                                  exceeds $25,000 (a determination
                                                                                     determination
20
       wholly
       whoUy within
              vnthin the administrative
                         administrative agency's
                                        agency'scontrol),
                                                 control),an
                                                           anappellant
                                                              appeUant would
                                                                       wouldbe
                                                                             bedenied
                                                                                deniedthat
                                                                                       thatchoice.
                                                                                            choice.
21
22     Second, for reasons
                   reasons discussed
                           discussed more
                                     more thoroughly
                                          thoroughly below,
                                                     below, this court concludes,
                                                            this court concludes, under
                                                                                  under principles
                                                                                        principles
23
23     of due process,
              process, that
                       that judicial review of
                            judicial review of aaloose,
                                                  loose,informal
                                                         informalprocess
                                                                  processresultiNg
                                                                          resultingininananadministrative
                                                                                            administrative
       penalty exceeding $25,000 merits
                                 merits aa more
                                           morein  depth appellate
                                                in-depth appeUateprocedure
                                                                   procedure than
                                                                              thanthe
                                                                                   thelimited
                                                                                       limited
24
       review available
              avaUable under writs
                             writs authorized
                                   authorized by Code of Civil
                                                         CivU Procedure sections
                                                                        sections 1094.5 and
25
      1094.6.
      1094.6.                                                                r




26
       The Scope
           Scope of
                 of Review:
                    Review:
27
28

                                                                                                 FAC PG 20019
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      FAC PG 201
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       In Martin, the
                  the superior court judge had
                      superior court       had "consider[ed]
                                               "considerfed]all
                                                             allevidence
                                                                 evidencesubmitted
                                                                          submitted,even
                                                                                     eveninit
                                                                                           if ithad notnot
                                                                                                  had   been
                                                                                                           been
11
       presented at.the
       presented at theadministrative
                        administrativehearing."
                                       hearing."Id.
                                                 Id.atat1410,
                                                         1410,emphasis
                                                               emphasisadded.
                                                                        added.The
                                                                               TheCourt
                                                                                   CourtofofAppeal
                                                                                             Appeal
2
       described the Superior Court's process as ."conduct[ing]
                              Court's process    "conduct[ing] the hearing
                                                                   hearing both
                                                                           both on the writ petition
                                                                                            petition
3
       and as
           asaadedenovo
                    novoappeal." Id.,
                          appeal."    emphasis
                                   Id.,        added.
                                        emphasis added.
4
5      This suggests
            suggests that
                     that aa"de
                            "de novo
                                novo appeal"
                                     appeal" under
                                             under Section
                                                   Section 53069.4
                                                           53069.4 can
                                                                   can properly
                                                                       properly include
                                                                                include evidence
                                                                                         evidence
       diet "had not
       that          been admitted at the
                 not been             the administrative
                                          administrative level." At least
                                                                    least the Court
                                                                              Court of Appeal
                                                                                       Appeal in
                                                                                              m
6
       Martin expressed
              expressed no criticism
                           criticism of the trial
                                            trial court for having
                                                            having done
                                                                   done so.
                                                                        so.
7
8
8      The
       The term
           term "de
                "de novo"
                    novo" has
                          has more
                              more than
                                    than one
                                         one meaning.
                                             meaning. The
                                                      TheCity
                                                          City urges
                                                               urgesthat
                                                                     that review
                                                                           reviewin
                                                                                  in this
                                                                                      this case
                                                                                            case
g      should
       should be aa "limited
                    "limited de novo" examination
                                      examination of
                                                  of the
                                                      the existing
                                                          existingrecord,
                                                                   record,with
                                                                          with no
                                                                               nonew
                                                                                  newevidence.
                                                                                      evidence.
g
10
10     This court is troubled        notion that aa quick,
                     troubled by the notion         quick, informal
                                                            informalhearing, in which
                                                                    hearing,in  which the
                                                                                       themiles
                                                                                          mlesofof
11     evidence are not
       evidence         foUowed, resulting
                    not followed, resultingin
                                            in an
                                               an enormous
                                                  enormouspenalty/5
                                                           penalty^can
                                                                    canonly
                                                                        onlybe
                                                                            bereviewed
                                                                               reviewedin
                                                                                        inaanarrow
                                                                                             narrow
^2
12     fashionon
       fashion onaalimited
                    Umited(indeed,
                           (indeed,undefined)
                                    undefined)"case
                                               "casefile"
                                                      fUe"record
                                                            recordfor
                                                                    for substantialevidence.
                                                                      substantial   evidence.This
                                                                                              Thisdoes
                                                                                                    does
       not strike the undersigned
       not            undersigned as meeting
                                     meeting the minimal requirements
                                                         requfrements of due process.
                                                                             process.
13
tw


14        another context, the Court
       In another              Court of Appeal in
                                               m County ofSacramcnto
                                                        of Sacramentov.v.Llanos
                                                                          Llanes(2008)168
                                                                                 (2008) 168Cal.App.4th
                                                                                            Cal.App.4*
15     1165discussed
       1165 discussedthe meaningofof"a"ade
                      themeaning         denovo"
                                            novo"hearing
                                                  hearingininterms
                                                              termsthat,
                                                                    that,ininthe
                                                                              theundersigned's
                                                                                  undersigned'sview,
                                                                                                view,
^g
16     more
       more fully
             fuUyalign
                  aUgnwith
                       withprinciples
                            principlesofofdue
                                           dueprocess:
                                               process:

17
^^     "'A
       "'A hearing
           hearing de
                   denovo
                      novoLiterally
                           UteraUymeans
                                    meansa new hearing,
                                           a new        oror
                                                 hearing, a hearing  thethe
                                                             a hearing    second time.
                                                                            second     [Citation]
                                                                                   time. [Citation]
                                                                                                 /
18            hearing contemplates
       Such a hearing contemplates an
                                   an entire
                                      entfre trial
                                              trialofof the
                                                         thecontroversial
                                                             controversialmatter
                                                                          matter in
                                                                                  in the
                                                                                      thesame
                                                                                          samemanner
                                                                                              mannerinin
19     which
       which the same
                 same was
                      was originally
                          originaUy heard.
                                     heard. ItIt isis in
                                                       in no
                                                          nosense
                                                             senseaareview
                                                                     reviewofofthe
                                                                                thehearing
                                                                                    hearingpreviously
                                                                                            previouslyheld,
                                                                                                       held,
2Q
20     but is a complete
                complete trial
                         trial of
                               of the controversy,.the
                                      controversy, the same
                                                       same as
                                                             asifif no
                                                                    noprevious
                                                                       previoushearing
                                                                                hearinghad
                                                                                        hadever
                                                                                            everbeen
                                                                                                 been
       held. It djlffers,
                differs, therefore,
                          therefore,from
                                     froman
                                         anordinary
                                            ordinaryappeal
                                                     appealfrom
                                                            froman
                                                                aninferior
                                                                   inferiorto
                                                                            toan
                                                                               anappellate
                                                                                  appeUatebody
                                                                                           bodywhere
                                                                                               where
21
       the proceedings
           proceedings of
                       of the hearing in the inferior court are reviewed
                                             inferior court     reviewed and their
                                                                             their vaUdity
                                                                                   validity determined
                                                                                            determined
22
       by the reviewing court. A hearing de
                                         denovo
                                            novo therefore
                                                  thereforeisisnothing
                                                               nothingmore
                                                                       morenor
                                                                           norless
                                                                               lessthan
                                                                                    thanaatrial
                                                                                           trialofofthe
                                                                                                     the
23     controverted matter
                    matter by the court in which it
                                                 it is held. The decision thereui
       controverted                                                       therein is binding upon the
24
24     parties
       parties thereto and takes
                           takes the place of and completely nullifies the
                                                                       the former
                                                                           formerdetermination
                                                                                  determination of
                                                                                                of the
                                                                                                    the
25     matter'." 168
                 168 Cal.App.4th at1173,
                     Cal.App.4"' at 1173,citing
                                          cituigColliery  Wallis, Ltd.
                                                 CollierdrW/allis, Ltd.V.V.
                                                                         Astor (1937)
                                                                            Astor     9 Cal.2d
                                                                                  (1937)        202,
                                                                                         9 Cal.2d    205.
                                                                                                  202,205.
26
27
27
28
28   5^ At oral argument
                argument on 7-24- l9, the City represented that there are pending cases similar to the
                            7-24-19,
     present case with
                  with administrative
                       administrative penalties
                                      penalties in
                                                 insome instancesexceeding
                                                   some instances exceeding $1
                                                                            $1 million.
                                                                               million. TR
                                                                                        TR 14:25-28.
                                                                                            14:25-28.
                          I                                                                FAC PG 20120
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       FAC PG 202
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                 REA Enterprises
        See also REA Enterprises v.
                                 v.California
                                    CalifomiaCoastal
                                              CoastalZone
                                                      Zone Conservation
                                                          Conservation  Com.
                                                                       Com.   (1975)
                                                                            (1975) 5252 Cal.
                                                                                      Cal.   App.
                                                                                           App. 3d3d 596,
                                                                                                   596,
 11
        612.
 2
 2                                                                                                                   ">




 3
 3      Peoplev.v.Kennedy
        People     Kennedy(2008)168
                           (2008) 168Cal.App.4th
                                      Cal.App.4*1233
                                                 1233isisalso
                                                           alsoinstructive.
                                                                 instmctive.There,
                                                                             There,a defendant
                                                                                     a defendantwas
                                                                                                 was

 4
 4      convicted of a speeding violation foUowing aa trial
                                violation following   trial by declaration
                                                               declaration as
                                                                           as au
                                                                              authorized     the Vehicle
                                                                                 thorized by the
        Code. Vehicle Code
                      Code section
                           section 40902,
                                   40902, subdivision
                                          subdivision (d), and CaliforrNa
                                                               Califomia Rule of Court,
                                                                                 Court, Rule 4.210
                                                                                             4.210
 5
 5
        authorize a "trial de novo" for
        authorize                   for aa defendant
                                           defendant dissatisfied
                                                     dissatisfiedwith
                                                                  with the
                                                                        theresults
                                                                            results of
                                                                                     ofaa trial
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 6
 6
        declaration. Such
        declaration. Such a trial de novo involves new
                                     novo involves newevidence.6
                                                       evidence.^
 7
 7
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 8          Court of Appeal in People
        The Court              People v.v.Kennedy
                                          Kennedyreferred
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        requirement for    trial de
                                 de novo
                                    novounder
                                         under[Vehicle
                                               [VehicleCode]
                                                       Code]section
                                                             section40902
                                                                     40902isissimilar
                                                                               similartotothe
                                                                                           thestatutory
                                                                                               statutory
10
10
        requfrement of aa trial
        requirement-of    trial de
                                de novo
                                   novoapplicable
                                        appUcablein
                                                  incases
                                                     casesarising
                                                           arisingfrom
                                                                   fromdecision
                                                                        decisionby
                                                                                 bylocal
                                                                                    localagencies
                                                                                          agencies
11
        pursuant
        pursuant to    ordinance. (Gov.
                 to an ordinance. (Gov. Code §53069.4, subd.(b)(1)."'
                                                       subd.(b)(l)." 168
                                                                      168 CaLApp.4th
                                                                          Cal.App.4* at 1240.
                                                                                        1240. Thus,
                                                                                              Thus,
12
12      Peoplev.v.Kennedy
                   Kennedyexpressly
                           expresslydrew
                                     drewanananalogy
                                              analogybetween
                                                      betweendedenovo
                                                                  novoreview
                                                                       reviewininthe
                                                                                   thepresent
                                                                                       present
        People
13
13      administrative context,
        administrative context, and
                                and in the context of a traffic trial appeal in which
                                                                                which new
                                                                                      new evidence is
14
14      pennitted.
        permitted.

15
15
             somewhat analogously,
        Also somewhat analogously, new evidence is permitted
                                                   permitted in de novo appeals
                                                                        appeals of
                                                                                ofsmall
                                                                                   smaUclaims
                                                                                        claims
16
16      cases. See Code of Civil
        cases,             CivU Procedure
                                 Procedure section
                                           section 116.770,
                                                   116.770; California
                                                            CaliforniaRules
                                                                       Rules of
                                                                             of Court,
                                                                                Court, Rule
                                                                                       Rule8.966.
                                                                                            8.966.
17
17.
        The court
        The court recognizes that the amount at issue
                                                issue in
                                                      in traffic
                                                         traffic and
                                                                 and small
                                                                     smaUclaims
                                                                           claimscases
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                                                                                            smaU.InInthis
                                                                                                      this
18
18
        court's view, however, that is all
        court's                        aU the more reason to
                                                          to allow
                                                             aUow de
                                                                   de novo
                                                                      novo review
                                                                            review with
                                                                                   with new
                                                                                        newevidence
                                                                                            evidence
19
19      in cases
           cases involving
                  involving aa far greateradministrative
                               far greater administrative penalty.
                                                          penalty.
20
20
        As to
           to the City's
                  City's concern
                         concern that
                                 that allowing
                                      aUowing de
                                               de novo
                                                  novo appeals
                                                       appeals with
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                                                                    newevidence
                                                                        evidence under
                                                                                 under Section
                                                                                       Section
21
        53069.4 wUl
                will change
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                             the face
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                                               administrativeprocess
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22
22
        untenable legal expenses,
                        expenses, the
                                   the undersigned
                                       undersigned concludes
                                                   concludes that
                                                             that (1)
                                                                  (1) such
                                                                      such aa concern
                                                                              concem is
                                                                                      isoutweighed
                                                                                        outweighed by
                                                                                                   by
23
23      the serious
            serious risk of due process
                                process denial
                                        denial in
                                               in cases
                                                  casessuch
                                                        suchas
                                                             asthe presentone;
                                                                thepresent one;and
                                                                                and(2)
                                                                                    (2) aaparty
                                                                                           party
24
24
25
25
26
26
   6^ See People v. Winters
                      Winters (2012)
                               (2012)208
                                      208 Ca1.App.4th\
                                          Cal.App.4*Supp.8,
                                                       Supp.8, which
                                                               which describes
                                                                     describesevidence
                                                                               evidence taken
                                                                                          taken in
                                                                                                 in the
                                                                                                     the
27 form of witness testimony and exhibits in a de novo traffic trial following a trial by declaration.
27                                                                                         declaration.
           10-12. The court recognizes that Winters
                                             Winters is an unpublished opinion of the Appellate
                                                                                       Appellate
28 Id.
28
       at 10-12.
    Division
    Division of the San Bemardino                                          case not
                         Bernardino County Superior Court, and cites this ease  not as
                                                                                     as authority,
                                                                                        authority, but
                                                                                                    but to
                                                                                                         to
    take judicial
         judicial notice of the de novo process involved.
                                                                                             FAC PG 20221
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                                                   ID #:464


 ^      receiving an
        receiving an adverse
                     adverse administrative
                             administrative ruling
                                            mling on
                                                   on aasmall
                                                         smaUpenalty
                                                              penaltyisisunlikely
                                                                          unlikelytotoincur
                                                                                       incursignificant
                                                                                             significant
 1
        legal fees
              feesto  contestsuch
                   tocontest  suchaapenalty.
                                     penalty.
 2
 2
 3      Finally, as to the City's argument that: the exercise of jurisdiction contemplated herein will be
 3      FinaUy, as to the City's argument that the exercise of jurisdiction contemplated herein v ^ be
        void, the court notes the following. In Avery v.County of Santa Clara (2012) the United Stated
 4      void, the court notes the foUowing. In Avery v. County of Santa Clara (2012) the United Stated
        District Court for the Northern District of California was confronted with a similar argument.
 5      District Court for the Northem District of California was confronted with a simUar argument.
        There, plaintiffs, owners of property in Morgan Hill, were ordered by the County of Santa
        There, plaintiffs, owners of property in Morgan HiU, were ordered by the County of Santa
 6
        Clara to remove materials from their property. Plaintiffs failed to do so, and fines were
        Clara to remove materials from thefr property. Plaintiffs faUed to do so, and fines were
 7      imposed pursuant to an administrative hearing. Plaintiffs appealed to the superior court,
        imposed pursuant to an administrative hearing. Plaintiffs appealed to the superior court,
 8      which affirmed the hearing officer's decision. Thereafter, plaintiffs filed an action in federal          ,

 8      which affirmed the hearing officer's decision. Thereafter, plaintiffs filed an action in federal
 9      court alleging due process deprivation and other claims. The defendant County moved for
 9      court aUeging due process deprivation and other clauns. The defendant County moved for
        summary judgment, asserting claim preclusion because of the superior court proceedings.
10
^Q       summary judgment, asserting claim preclusion because of the superior court proceedings.
        The plaintiffs argued, among other things, that the superior court judgment was "void"
11
11      The plaintiffs argued, among other things, that the superior court judgment was "void"
        because their appeal in that court had been under Section 5306-9.4 and the fines at that time
12      because thefr appeal in that court had been under Section 53069.4 and the fines at that tune
        were $55,000, i.e., in excess of the $25,000 jurisdictional limit of a limited civil action. The
        were $55,000, i.e., in excess of the $25,000 jurisdictional Umit of a liinited civU action. The
13      federal court rejected this argument;               .
^3       federal court rejected this argument:
14
         "PlaintiffS
         "Plaintiffs' argument
                      argument fails.
                                faUs. A judgment isis'void`
                                      Ajudgment       'void' ifif the
                                                                   the rendering  court lacks
                                                                        rendering court  lacks jurisdiction
                                                                                               jurisdiction in
                                                                                                             in the
                                                                                                                the
15
         'fundamental
         'fundamental sense'
                      sense' (i.e., the
                                    the court lacks 'authority
                                                    'authority over the subject matter or the
                                                                                          the parties')
                                                                                              parties')
1 fi
16      [Citation] However, '[w]l'1en a court has fundamental jurisdiction, but acts in excess of its
11      [Citation.] However, '[w]hen a court has fundamental jurisdiction, but acts in excess of its
        jurisdiction, its act or judgment' is not void but 'merely voidable.' [Citation] The distinction
17      jurisdiction, its act or judgment' is not void but 'merely voidable.' [Citation.] The distinction
18      between void and voidable judgments is significant because a voidable 'judgment is valid until
18      between void and voidable judgments is significant because a voidable 'judgment is vaUd untU
19      it is set aside, and a party may be precluded from setting it aside by 'principles of estoppel,
^g       it is set aside, and a party may be precluded from setting it aside by 'principles of estoppel,
        disfavor or collateral attack[,] or res judicata.' [Citations.]" 2012 U.S. Dist LEXIS 162911, 24,
20      disfavor or coUateral attack[,] or res judicata.' [Citations.]" 2012 U.S. Dist LEXIS 162911,24,
         27,.28.
21
21       27-28.

22       This court beUeves
                    believes itit has
                                  has fundamental
                                      fundamental jurisdiction
                                                  jurisdictionover
                                                               overthis
                                                                    this dispute.
                                                                         dispute. While not wishing
                                                                                  While not wishing to
                                                                                                     to
         act beyond its
                    its jurisdiction, it appears
                        jurisdiction, it appears that
                                                 that aa de
                                                         de novo
                                                            novo appeal
                                                                 appeal decision
                                                                        decision under
                                                                                 underthe
                                                                                       theabove
                                                                                          aboveanalysis
                                                                                                analysis
23
         would at                   not void.
               at most be voidable, not                                                           »




24
25
25                                                     Disposition
                                                       Disposition

26       This matter is reclassified as an unUmited  civU case.
                                           unlimited civil case.
27
28

                                                                                                        FAC PG 20322
     Case   8:24-cv-02793-CAS-E
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^     The City's request
      The        request to
                         to reclassify
                            reclassify this
                                        thisproceeding
                                            proceeding as
                                                       as aawrit
                                                            writunder
                                                                 underCode
                                                                       CodeofofCivil
                                                                               CivUProcedure
                                                                                     Procedure
1
               1094.5 and 1094.6 is
      sections 1094.5            is denied.        .
2
2
3     In die interests of due process, the court concludes that a full new ("de novo") evidentiary
3     In the interests of due process, the court concludes that a fuU new ("de novo") evidentiary
      hearing must be held under Section 53069.4, in which new evidence is permitted, Also, as
4     hearing must be held under Section 53069.4, in which new evidence is pennitted. Also, as
      Section 53069.4 subdivision (b)(1) states, the contents of the local agency"s file in the case
5     Section 53069.4 subdivision (b)(1) states, the contents of the local agency's file in the case
      shall be received in evidence and a copy of the document or instrument of the local agency
      shaU be received in evidence and a copy of the document or instrument of the local agency
6     providing notice of the violation and imposition of die administrative [in or penalty shall be
      providing notice of the violation and imposition of the administrativefineor penalty shaU be
1     admitted into evidence as prima facie evidence of the facts stated therein.
      admitted into evidence as prima facie evidence of the facts stated therein.
8
       The parties are directed to communicate
       The parties                             with the
                                   communicate with the clerk
                                                        clerk of this
                                                                 this department
                                                                      department to set aa date
                                                                                 to set    datefor
                                                                                                for
 9
       further
       further proceedings consistent with this
               proceedings consistent      this ruling.
                                                mling. Also,
                                                        Also, as
                                                              as noted
                                                                 noted at
                                                                       at oral
                                                                          oral argument
                                                                               argument on
                                                                                        on 7»~24-19,
                                                                                           7-24-19,
10
^®     the court will
       the court wUl consider
                      consider aastay
                                  staypending reviewby
                                      pendingreview bythe
                                                       theCourt
                                                          CourtofofAppeal,
                                                                   Appeal,ififrequested.
                                                                               requested.
11
                                                                                         \
12              ORDERED
       IT IS SO ORDERED
13    Dated: 08/29/2019
             08/29/2019
                                                                          /5
14                                                               Hon. Thadd
                                                                      Thadd A. Blizzard
                                                                                BUzzard
                                                               judge of
                                                               Judge of the
                                                                        the Superior
                                                                            Superior Court
                                                                                     Court
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                                                                                             FAC PG 20423
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    1                                 CLERK CERTIFICATE
                                            CERTIFICATE OE
                                                        OF MAILING
    2
    3
    4
    4     MELISSA D. BICKEL
          EMILIO CAMACHO
    5
    ^     ATTORNEYS FOR CITY 01=
          ATTORNEYS             OF SACRAmENTO
                                     SACRAMENTO
     g    915 I
          9151  STREET, Room 4010
                        ROOM    4010
    6
          SACRAMENTTO, CA
          SACRAMEnTO,    C A 95814
                             95814
    7
          SAMUEL
          SAMUEL BERNS
                  BERNS
    8
    8     ATTORNEY
          ATTORNEY FOR
                    FOR TIEN
                        TIEN LAM
                             L\M
          5701
          5701 LONETREE BLVD.
               LONETREE BLVD. ,, STE
                                 STE 123
                                      123
    g
    9     Ro(31<LIn,
          ROCKLIN, CA    95765
                     C A 95765
    10
    11
          I, S. Marin, hereby certify that I am not a party to the within action and diet I deposited a
          I, S. Martin, hereby certify that I am not a party to the within action and that I deposited a
    12
    12
          copy Of: RULING ON REQUEST TO RECLASSIFY PROCEEDING AS A WRIT OF
          copy of: RULING ON REQUEST TO RECLASSIFY PROCEEDING AS A WRIT OF
          MANDATE wide first class postage prepaid addressed to each party above in the U.S. Mail at
    13    MANDATE with first class postage prepaid addressed to each party above in the U.S. MaU at
          720 9ch Street, Sacramento CA 95814
    13          9'^ Street, Sacramento CA 95814
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          Dated:08/29/2019
          Dated: 08/29/2019                                        f       \-
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                                                                        Courtroom
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    22    Cc: court
              court file(s)
                    fUe(s)
    23
    23    34-2018-247201
          34,2018,247201

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                                                                                             FAC PG 20524
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                                                         13
                                                Exhibit ___

                                                                     FAC PG 206
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                                                                   FAC PG 207
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                                                        14
                                                Exhibit ___

                                                                     FAC PG 209
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      APRI2200098; APRI2200109

                        STATE OF CALIFORNIA
                 SUPERIOR COURT ~ APPELLATE DIVISION
                        COUNTY OF RIVERSIDE


                  JOSEPH MINER                  ) Docket No. APRI2200098
              Defendant and Appellant,          )             APRI2200109
                                                )
                         vs.                    ) Superior Ct.CVPS2106001
                                                )
         CITY OF DESERT HOT SPRINGS             ) CONSOLIDATED
             Plaintiff and Respondent.          ) OPENING BRIEF
                                                )


                On Appeal from the Riverside County Superior Court
             The Honorable Arthur C. Hester III, Commissioner Presiding
             Riverside County Superior Court - Palm Springs - Dept. PS4

                 FOLLOWING AN ORDER GRANTING A MOTION FOR
               VEXATIOUS LITIGANT AND SECURITY ~ CCP §391(b)(3)
                    DISMISSAL OF CASE WITHOUT PREJUDICE


                        APPELLANT’S OPENING BRIEF



                RELATED PROCEEDINGS IN SUPERIOR COURT
                      Riverside Case No.: CVPS21060016

                RELATED PROCEEDINGS IN FEDERAL COURT
                 Central District No.: 8:22-cv-01043-CAS-MAA

                              Joseph Miner (pro per)
                      Phone 949-903-5051; Fax 949-646-2794
                       PO Box 11650, Costa Mesa, CA 92627
                             josephminer@gmail.com



                                         A
                                                                            FAC PG 210
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      All hearings were assembled as one document. Pages labeled and numbered as
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                         STATE OF CALIFORNIA
                  SUPERIOR COURT ~ APPELLATE DIVISION
                         COUNTY OF RIVERSIDE


                  JOSEPH MINER                      ) Docket No. APRI2200098
              Defendant and Appellant,              )             APRI2200109
                                                    )
                           vs.                      ) Superior Ct.CVPS2106001
                                                    )
         CITY OF DESERT HOT SPRINGS                 ) CONSOLIDATED
             Plaintiff and Respondent.              ) OPENING BRIEF
                                                    )


                On Appeal from the Riverside County Superior Court
             The Honorable Arthur C. Hester III, Commissioner Presiding
             Riverside County Superior Court - Palm Springs - Dept. PS4


                          APPELLANT’S OPENING BRIEF


                                    INTRODUCTION

                 “Self-defense is not only our right; it is our duty.”
                                      ~ Ronald Reagan

             Defendant Joseph Miner - aka citee, contestant, and appellant;

      appeals from a trial court Order rendered by Hon. Commissioner Arthur C.

      Hester III on 9/22/22 following a motion by plaintiff City of Desert Hot

      Springs to declare Joseph Miner a vexatious litigant under CCP. §391(b)(3).

             The City’s motion was filed in the last minutes of a CCP. §85(c), de

      novo, ‘reclassified’1 limited civil Superior Court case, statutorily labeled an

      “appeal.” Appellant Miner respectfully requests a review of facts and law.

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             Miner challenges three prejudicial trial court decisions; (1) the

      vexatious litigant declaration and pre-filing Order, (2) the Order to post

      security, (3) dismissal of the limited civil case - leaving the administrative

      findings intact. A meaningful review and limited civil case were absent.

             Root of these issues is extraordinary delegation of State legislative

      power. Local agencies (540) create unconforming, wild-west municipal law

      and fines. Each authors different documents, code, and procedure with no

      oversight. The courts have developed different interpretations of procedure

      and law. Few defendants have wherewithal to bring these issues for review.

             This Appeal is not about a vexatious litigant. There is no history of

      disputes or litigations or any previous interaction with the City. The City’s

      vexatious litigant motion has to do with the single defense of one ticket.

             The cruxes: (1) Miner is the defendant, not plaintiff; (2) the court did

      not bring the motion; the City as the plaintiff, had no standing to bring the

      vexatious litigant motion; (3) Appellant’s filings were legal, justified and

      meritorious; (4) there is no evidence Appellant’s intent was to delay the

      proceedings, file frivolous papers, motions, or commit any bad act; (5) no

      security posting was warranted by the court’s own statements; (6) the court

      failed to interpret and abide by the law; it’s acts were arbitrary and

      capricious - not reasoned decisions; (7) Appellant was not provided a

      statutory limited civil case with discovery, depositions, as a matter of right,

      to develop his full and complete defense; (8) there was no fair civil trial.

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                            STATEMENT OF THE CASE

             When it became clear to Miner the trial court was not going to

      follow the statutory mandates of a limited civil case Miner hired a court

      reporter. He attempted to avoid waiver and forfeiture of all material issues.

             Miner was cited after denying a code officer entry to his ranch. He

      was denied the administrative hearing he paid for in advance. He was

      denied a judge in trial court. He was denied all discovery: interrogatories,

      admissions, documents, a deposition. He was denied subpoenaed witnesses

      and documents. He was denied a statutory limited civil case. After being

      crippled by the court and vigorously defending himself he was declared a

      vexatious litigant. This highly unusual situation required unusual actions.

      Relevant History and Material Factual Context

             Factually; this case began on 4/28/21 when code officers entered

      Miner’s fenced gated ranch without a warrant (CT 147¶65, 484, 490, 1143).

             Officers opened two poisoned, incomplete internal code cases - then

      radio silence. A different officer was then handed the secret open code case.

             The instant chain of events began with the City violating Miner’s

      Constitutional rights (CT 484), not Miner violating the City’s law. Events

      catalogued below are the causation of defendant’s acts and filings in court.

             The code case did not begin on the date of the ‘instant’ citation

      8/18/21 as the trial court repeatedly insisted. The court changed the facts,

      prevented evidence, prevented witnesses - and prevented a fair trial.

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             On 6/10/21 (CT 424, 488-495) code officer (Messer) newly assigned

      to the open case called Miner’s business cell phone about ‘re-inspection’ of

      Miner’s ranch. Miner was alarmed, mostly clueless. The officer stated he

      would drop an “open” code case if he could just enter the ranch and take a

      photo for his boss (CT 492, 497). The call was automatically preserved.

             After the officer danced around questions regarding the warrant and

      unlawful search - Miner, on 6/30/21 decided to deny this ‘re-inspection’

      request by this ‘new’ officer (CT 566-570). He had no warrant to inspect.

             Uncertain unintelligible vague codes of gobbledegook were served

      (CT 201), the officer instituted prejudicial, clear and gross violations of the

      City’s law and procedure (CT 1596-1611) (CT 389:2-23;517, 518, 520).

             Unsavory, dubious actions of clear retaliation began by an angry

      young officer (CT 517) who falsely advised his “team” of an inspection.

             All facts and interactions with officer Messer were material and

      relevant. The root historical facts and issues were not permitted in trial.

             Mysteriously, on 7/26/21 11:28 am officer Messer copied case 21-

      566 to new case number 21-985 (CT 3587-3608; 3605). This eliminated all

      root history - the violations of the constitution. The new case 21-985 (RT

      3587-3608) used the same codes as the poisoned evidence as input on

      poisoned cases 21-566 (RT 497-510) and 21-578 (RT 2538-2546). Minutes

      later on 7/26/21 11:29 am officer Messer closed cases 21-566 and 578 (CT

      510). This is grossly troubling - secret, and a clear deceitful shell game.

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             On 8/18/21 this officer, using identical text, alleging “public

      nuisance” violations, cited Miner without issuing notice, time to cure, and

      without a coherent textual factual description of the precise issues. No fair

      notice with “reasonable specificity” (In re Sheena K., p. 729 34).

             The officer never defined, described, or offered any specificity of the

      alleged “public nuisance” issues. Alleged “trash” / “junk” wasn’t described

      in his declaration, photographed, annotated, or marked-up on his exhibits.

             When Miner, during examination, requested the officer mark the

      location in the photographs the Court intervened saving the officer and told

      the officer to just testify to it - because it did not exist in the photographs.

             To comply or defend - specificity and a location must be identified

      on ranch land 330' x 660' - the size of FOUR NFL FOOTBALL FIELDS.

             Miner testified that no trash or junk exists (CT 574 (CDHS0257)),

      (RT 205-206). Usable ranch items or possessions are not trash or junk.

      The Ranch - Subject of the Citation

             The 66 year old ranch is a complex property. The original 5 acre

      property was subdivided by deed, then reassembled. Comprehensively

      zoned in the County as W2 (CT 451, 454-460) it was constructed under

      code and law while under county control. It is fenced and gated. It consists

      of four legally unique, physically un-defined with no interior physical

      boundaries2 land parcels (CT 514, 515). The parcel line boundaries are not

      distinguishable in officer’s photographs - what parcel was he citing?

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             Beginning in 1957 three parcels were separately constructed while

      under county control. The ranch was annexed by the City through LAFCO

      assistance (CT 1157-1158) in 2010, it was then re-zoned in 2020 to MU-C

      §17.14.030 (CT 154, 328). Even this was beyond the officer’s knowledge.

             The ranch is used as a single property (RT 305). Grandfathered use,

      Zoning, and LAFCO define property uses. No notice was ever issued by the

      City as to changes in law that affect any uses of the ranch. The City stated

      in its own writings the annexed land uses would not change (CT 1157).

             Miner’s ranch neighbors are also 200,000 sf properties including: a

      mini storage, pet cemetery, auto wrecking yard, outdoor cactus nursery (CT

      144 ¶49). There are no close / abutting homes (CT 446, 447, 512, 520, 523).

      Appellant’s Knowledge of Real Property, Code and Law

             Appellant Miner is a 40 year real estate professional with 1000's of

      hours in specific education and the two highest real estate licenses available

      in California: broker, and certified appraiser (CT 438, 440, 3419:22-28). He

      has significant education and experience in these exact issues (CT 189¶32).

             Miner also holds fire prevention certificate and is ALSO a member

      of CACEO, a California “non profit” - code officer group (CT 3537¶3-8).

      CACEO offers only generalized education - “basic” 120 hour “certificates.”

      Pre Court Materially Related Administrative Issues

             Miner was denied the administrative hearing he had paid in advance

      and mandated by law (CT 877-879). With Miner absent, the City lied to the

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      hearing officer (CT 901). Miner was denied the right to be heard, the right

      to confront his accuser, and cross examine witnesses, the right to present

      evidence, and establish evidence eventually lodged in trial court (CT 1114).

             Miner’s only defense and remedy at this juncture was to ‘re-classify’

      the case to a de novo civil case as provided by statute GC. §53069.4(b)(1).

      On 12/6/21 he filed a ‘caption’ for re-classification - as trial de novo.

      Legal Mandate of City Code Enforcement

             The purpose of all Desert Hot Springs code enforcement policy is

      based on Health and Safety - DHSMC §4.04.010. This ordinance is clear

      and unambiguous. It is crystal clear to a person of ordinary intelligence (CT

      330, 375, 376, 377, 3625) (Diaz v. Grill Concepts 17; Boelts v. City of Lake

      Forest 05). The City has failed to follow its own laws. (Vollstedt v. City of

      Stockton 67; City of Bakersfield v. Miller 10)

             “The purpose of this title is to provide a just, equitable and
             practicable method for preventing, discouraging and/or abating
             certain conditions which endanger the life, limb, health, property,
             safety or welfare of the general public and to provide City staff with
             precise enforcement regulations that can be effectively applied and
             administered in a fair, expedient, and cost efficient manner. (Prior
             code § 80.01)”

             Allegations against Miner endanger nothing and no one. There has

      been nothing fair or precise about the City’s attempted shenanigans and

      unlawful acts should be challenged (Weiss v. City of Los Angeles 70).

      City and Officer Material Errors

             Legislature passed the “Administrative Citation” bill - SB814 in

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      1995. The intent of the legislature was to give local agencies the authority

      to issue fines for simple transitory ordinance violations - “parking-ticket-

      style” and “parking-ticket-level” of offenses occur; Garbage cans, dogs, etc.

             The legislature knew the objective was to permit cities to author and

      prosecute citations for transitory violations. The bill was not passed to

      permit a City to fine ‘severe’ “public nuisances” eliminating due process.

             Nuisances, or public nuisances are not mentioned in the chaptered

      bill. “Instant citation law” is not applicable to “public nuisance law.” State

      law preempting and controlling the procedure and government code have

      not changed in CC. Sections §3479, §3480, §3491.

             A code officer may not point his Hogwart’s wand and legally declare

      a “public nuisance” or make up code text from whole cloth. Nothing exists

      on the ranch that affects the public - CCP. §3480, per (Gallo v. Acuna 51).

             The term ‘administrative citation’ is now purely a generic term like

      ‘pleading’ that offers no factual level for comparison. The law is muddy;

      there is no certain uniformity to compare appellate case facts.

             The review court’s elephant problem. Five hundred forty agencies

      each now issue vastly different documents with different styles, designs,

      elements, and levels of information, all designed for different purposes.

             No case law makes clear the facts and elements mandated by law on

      the ‘administrative citation’ form at the center of each case.

             The City is the master of its choice of it’s documents and procedure.

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      Here, the City issued a document “instant ticket” as an “administrative

      citation” for what should have been a notice and abatement for a “public

      nuisance” as mandated by State law. Different procedures may both be mis-

      named an “administrative citation.” Case law is beyond murky.

             The City’s grossly undertrained officer made up code text, inserted

      false words, failed to detail or describe anything and improperly used

      “fines” (CT 1534-1538) - Administrative Citations (DHSMC §4.24) (CT

      317-323; 1563-1585) for alleged “public nuisance” abatement actions

      (DHSMC§4.16). The City fine and citation is clearly not an abatement

      action pursuant to City’s own documents (CT 319 ¶5).

             The officer then, without any notice at all, recorded an unlawful “lis

      pendens” on Miner’s ranch (CT 3431:7-27, 3349) as if he had opened an

      abatement action. This has damaged Miner for more than two years (Finch

      Aerospace Corp. v. City of San Diego 20). This shows his confusion.

             The officer ticketed Miner with an ‘instant citation’ for issues that

      are not transient violations (CT 1565). He used the wrong legal procedure.

      He exceeded authority statutorily delegated by plain text of City ordinance,

      which identified the specific purpose of code enforcement under DHSMC

      §4.04.010. He clearly stated he cited Miner under DHSMC §4.16 (RT

      289:22-28, 290:1-24). Nothing was rationally related to, or amounted to any

      level of health or safety, either or both. Naming your cat, “dog” does not

      make it a “dog.” The same is applicable to all ‘subjective’ labels.

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      City of Desert Hot Springs Public Nuisance Ordinance 4.16.010

             The City has been subverting state law. It collects 100% of the fines

      for what should be “public nuisance” abatement cases. Abatement is

      mandated by State law and Government code. (See Gallo CT 3724-3731).

             DHSMC municipal code mandates abatement of “public nuisances”

      §4.16.020 Notice of public nuisance and order to abate. DHSMC §4.16.030

      states administrative fines are due, not an “administrative citation.”

             The only proper City procedure is Notice and Order to Abate

      included in DHSMC §4.16.050 Contents of Notice and Order. Not a single

      mention of phrase “public nuisance” appears in the entire “administrative

      citation” ordinance §4.24.10-4.24.430. Fines are monetary, not abatement.

             Innocuous common issues are not nuisances. A true “public

      nuisance” requires abatement. If a nuisance is abatable at a reasonable cost,

      it is a continuing nuisance not a fine (Mangini v. Aerojet-General Corp 44).

             State remedies for a public nuisance (established since 1880) in Civil

      Code section §3491 provides three remedies for a public nuisance (all end

      with abatement): (1) a criminal proceeding; (2) a civil action; or (3)

      abatement (Flahive v. City of Dana Point 23). State law remedy preempts

      and conflicts with this City’s income generating sidestep of law - labeling

      everything under the sun a “public nuisance,” repetitive fines, not abating.

             A local agency cannot label or point at objects that are not rational or

      material nuisances at all, fine its citizens, and laugh at 900 years of public

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      nuisance law.3 4 Historical Supreme Court nuisance law makes clear a

      nuisance is a VERY SERIOUS issue - not a flyspeck or a whimsical

      allegation on private property. The nuisance treatise by H. G. Wood is the

      baseline of all recent nuisance history.

             “The Restatement Second formulates the requirement of
             substantiality as proof of "significant harm," defined as a "real and
             appreciable invasion of the plaintiff's interests," one that is
             "definitely offensive, seriously annoying or intolerable."
             (Rest.2d Torts, § 821F, coms. c & d, pp. 105-106.)

             The measure is an objective one: "If normal persons in that locality
             would not be substantially annoyed or disturbed by the situation,
             then the invasion is not a significant one...." (Gallo v. Acuna 51 p.
             1105)

      Administrative Hearing Facts Become Trial Court Evidence

             Administrative procedure requires an administrative hearing. Miner

      was denied the administrative hearing he had paid for in advance. He could

      have developed evidence, examined the code officer and established on the

      record why all additional city employees were required court witnesses and

      why documents were required for production.

             At the hands of the City attorney (CT 901) Miner was wilfully

      denied this vital hearing prior to trial court. Miner notified the city he would

      not attend without service (CT 885-887) and the City attorney was aware of

      and receive received Miner’s letter then wilfully misled the hearing officer

      at the start of the hearing. Miner was wilfully denied crucial documents,

      confronting witness, being heard; even limited due process.


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      Trial Court

             The trial court was a mess. Trial was set for 30 days from Miner’s

      first filing eliminating all discovery. Under §53069.4 discovery is not

      prohibited. The legislature made the de novo a limited civil case for a

      reason CCP. §§90-100. One hearing, no discovery would be small claims.

             The trial court set a de novo ‘trial’ just 30 days after filing - nowhere

      in the statute does it state this is correct or mandated procedure.

             This scheduling and the Court’s inferences eliminated adequate (all)

      discovery CCP. §§2016.010 - 2036.050, CCP. §§90-100).

             There was no judicial trial assessment, case management, or trial

      setting conference pursuant to Rules of Court 3.714, 3.715, 3.720-3.735,

      3.714(b)(2),(b)(3), 3.715, 3.722(a), 3.727, 3.729.

             In the first three hearings Miner had three different judicial officers.

      Miner declined to stipulate and requested a judge, this request was ignored.

             It was clear Miner desired discovery. It as mentioned several times in

      open court. The subordinate judicial officer ignored or failed to comprehend

      or absorb the complexity of the case then failed to properly manage it as a

      limited civil case. The Commissioner did not appear to have read the 600

      pages of previously lodged evidence or he would have known exactly what

      the case was about.

             The complete (not a cherry picked version by the City attorney [CT

      1484]) of the “administrative record,” the local agency’s file is, by law, to

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      be lodged and entered into evidence. GC. §53069.4(b)(1), (County of

      Humboldt v. Appellate Division of Superior Court 13 p.304-305), Case file

      means ‘entire’ case file and is the “administrative record.” It is by statute,

      logically, rationally everyone’s evidence. The court disagreed (RT 60:1-3).

             This limited civil case involved a several month long code case, not

      a transitory “instant ticket.” The court was stubbornly in error as to the date

      of the start of the code case, and the fact that a limited civil case is not a

      lawsuit. (RT 25:4-23; 42:18-28; 108:11-18; 112:18-28; 113:1-10).

             The fact that the trial court mandated the case be cabined to the date

      the 8/18/21 citation was issued - prejudiced Miner’s entire legal defense

      including examining knowledgeable witnesses and historical documents.

             When Miner testified the Commissioner would stop him and

      interject his own version of the facts - not allowing Miner to finish. The air

      was thick, Miner was standing a foot high in potato chips and egg shells.

             There are 37 “stop” commands by the trial court in the reporter’s

      transcript directed at Miner. Appellant was not treated fairly or as

      recommended or as law states in the 2019 Self Represented Benchguide for

      Judicial Officers. The Judge acted as an aggressive prosecutor.

             The court cabined the case testimony as if the officer was just

      driving by and was alerted to the property. That order was prejudicial.

             The evidence lodged months earlier told a full factual story with

      documented evidence of when and how the case began (CT 368-638).

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             It was clear the Commissioner did not want and was not permitting

      the case or trial to be any more than an instant ticket (RT CSR109:16-27)

      even with an unlawful entry, search and conflicting procedural issues!

             The court failed to permit defendant to have witnesses, failed to

      permit defendant documents only the City had in its possession. He then

      ruled against every single document the defendant presented.

             The court’s continuous acts of bias were grossly prejudicial. The

      self-represented bench guide is clear on these issues. Miner’s evidence was

      either lodged by the City or was self-admitting during testimony (BG 4-4).

             “This principle requires the judge not to allow procedural
             irregularities to serve as the basis for precluding a self- represented
             litigant from presenting appropriate evidence or presenting a
             potentially valid defense.” Simon v. City & County of San Francisco
             (1947) 79 Cal.App.2d 590, 600, cited by [Adams 02] Adams v.
             Murakami (1991) 54 Cal.3d 105, p. 120 (2019 Judicial Officer
             Bench Guide Involving Self-Represented Litigants. (BG 3-7)

             Citizens in California (Cal. Const., art. I, §1, §3, §13, §19) and the

      United States are permitted to defend themselves against legal and property

      attacks just as any defense attorney would do. The trial court ignored the

      Constitution. The trial court consistently prevented Miner to use evidence

      and officer testimony in his defense (RT 110, 111, 112).

             It was clear to Appellant the trial court did not grasp these materially

      related issues. The court improperly prevented Appellant from examining

      the officer as to his education and knowledge, City training on its specific

      codes, who mentored him, his knowledge of real estate, land entitlement,

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      land annexation - or his superiors who might have had the answers. Of

      course these issues are materially relevant. Cities and their officers do

      things wrong every day. Courts and especially juries rule against them.

             Pursuant to statute Miner was planning for all procedure and

      defensive measures including discovery he was entitled to by statute

      GC.§53069.4 and as a limited civil case per Code Civ. Proc., §§ 86, 91-94.

      (Dedication & Everlasting Love to Animals, Inc. v. City of El Monte, 15)

             This is a civil case in civil court under limited civil rules. Discovery

      is a matter of right in a limited civil case and in a trial de novo (Chavez v.

      City of Los Angeles 08; Fairmont Ins. Co. v. Superior Court 19; Guzman V.

      Superior Court of Los Angeles Cty. 28; Beverly Hospital V. Superior Court

      of Los Angeles Cty. 04; Stratton v. Beck 64; Ytuarte v. Superior Court, 72)

              No discovery led to many prejudicial surprises by the City’s witness

      at trial during colloquies as to what the officer was pointing his camera at in

      his photographs (RT 125-129 [31 entries]). Under examination he made

      surprising statements about items and issues that were never described in

      text: - abandonment, patio furniture, outside storage, fence slats etc., items

      that were not in any brief or previously ever mentioned. (RT 130:15-26)

             Beginning with the date the case began, it was eternally futile

      attempting to reason with the trial court on every issue; - then all issues

      beyond that. The court’s treatment of Miner’s knowledge was offensive.



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      Consequences Of A Court Err Insufficient Defense

             Miner may be subject to res judicata effect or collateral estoppel

      without being fully able to develop his defense with no adequate discovery,

      depositions and procedure (Schifando v. City of Los Angeles, 59 p.464). As

      already pondered by the federal court judge in Appellant’s related federal

      case and reason for stay. (City of Santa Paula V. Narula 11 )

             The “code” officer was un-equipped and educationally un-trained to

      deal with this unique property, code, zoning, annexation, and land use

      issues. These directly affected his ability to cite the ranch. Discovery and

      depositions would have unearthed these material facts before trial.

      Vexatious Litigant Issues

             Defendant Appellant never filed a complaint (action), was not the

      plaintiff, had no prior disputes with the City, did not begin this issue; he did

      not want it, and he attempted to stop the dispute several times.

             Then in court, he attempted to end it – initially using a demurrer. The

      trial court did not rationalize the larger issues, nor did it follow the law.

             If any of Appellant’s motions were not supported by existing law,

      they are non-vexatious because they were reasonable extensions of existing

      law and or the time line. What is permissible for a licensed attorney should

      be equally permissible for a party in pro per. State Bar rule 3.1(a)(2).

      (Amtower v. Photon Dynamics, Inc. p. 368 03); Smiley v. Citibank, 62)

      Attorneys routinely use this practice to dispose of cases. Zero case

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      management; when issues were heard were issues that caused case conflict.

      Totality Of The Issues Support Appellant’s Acts At Trial

             The facts above support why Miner was forced to act and file the

      documents he did. He made a complete record for review.

             ALL OF THE ABOVE affects the City / officer’s ability to cite the

      ranch under the law. The officer cited “parking-style-violations.” The law

      does not require futile acts by Miner (Ohio v. Roberts 73).

                        STATEMENT OF APPEALABILITY

             APRI2200098. A pre-filing Order against a vexatious litigant under

      Code of Civil Procedure section §391.7 is directly appealable under Code of

      Civil Procedure section §904.1(a)(6). In limited jurisdiction the

      corresponding statute is §904.2, subdivision (g), as an order granting an

      injunction (Luckett v. Panos 42).

             APRI2200109. The Judgment of dismissal is appealable both on a

      statutory review basis of §§85-100, §53069.4, §391(b)(3), §391.1(a)(b),

      §391.3(b) and abuse of discretion.

                              STANDARD OF REVIEW

             De Novo Review

             Questions of statutory interpretation are subject to de novo review

      (Holcomb v. U.S. Bank Nat. Assn. 30; Woodman Partners v. Sofa U Love

      71)

             Section §§85-100 needs to be reviewed; how section §85, §§90-100

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      and section §53069.4 interact. How “reclassification” works. All limited

      procedure available to a defendant (contestant) who reclassifies to limited

      civil. Section §53069.4 - what the role of the parties are following

      reclassification? Section §§391-391.8 - how Miner fits into the statutory

      scheme. Whether vexations litigant law applies to §53069.4 reclassification.

      Statutes are read as a whole (Weatherford v. City of San Rafael 69).

             The Judgment of Dismissal should be reviewed de novo ~ it was

      based on improper statutory interpretation. It is moot if the vexatious

      litigant order is vacated. The trial is not complete.

         This may be a case of first impression as to the interplay between

      sections CCP. §85(c), §§86-100, GC. §53069.4, and CCP. §§391(b)(3).

             Abuse of Discretion

             A trial court abuses its discretion when the factual findings critical to

      its decision find no support in the evidence.” (People v. Cluff 50). “The

      discretion of a trial judge is not a whimsical, uncontrolled power, but a legal

      discretion ... ” (People v. Jacobs 54)

             Determination a person is a vexatious litigant is reviewed for abuse

      of discretion (Holcomb, 30).;Fink v. Shemtov, 21).

             An appellate court may overturn a judge’s ruling on a recusal motion

      for abuse of discretion. (People v Alvarez, 49; Hemingway v. Superior

      Court, 29) Miner’s clear non-stipulation was timely on 2/4/22 (CT 1159).



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                              QUESTIONS PRESENTED

      Vexatious Litigant

             1. In trial court appeal, is Miner’s label: Citee, Defendant, Appellant,

      Contestant, or Plaintiff? Or a combination?

             2. In trial court appeal is Miner’s role: Defendant, Appellant,

      Contestant, or Plaintiff? Or a combination?

             3. What is the City’s role and label?

             4. If City is technically the “plaintiff” did the City have standing to

      bring the motion accusing defendant Miner of vexatious litigation under

      textual mandates of CCP. §391.1(1)(a)?:

             5. Has Miner filed “new litigation,” “maintained litigation,”

      “commenced litigation?” Or has Miner simply “reclassified an

      administrative case” to “civil litigation” pursuant to law?

             6. Has Miner met the statutory requirements pursuant to the plain

      text of §391(b)(3) to be declared a vexatious litigant?

             7. Pursuant to a review of Miner’s label, role, acts and filings, would

      they permit the trial court re-label him the plaintiff and pursuant to

      §§391(b)(3) to deem Miner a vexatious litigant, in a first instance, pursuant

      to a clearly defense role no matter what label he was given?

             8. Based on the Court’s open court statements during the hearing of a

      50/50 chance - was security warranted? (RT 260:21-28)

             9. Should the case/citation be dismissed in the Interests of Justice?

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      Fair Trial

             1. Did the Legislature intend for the trial court to eliminate all

      defensive procedure and discovery that would have been available under

      criminal or civil actions that were eliminated under GC. §53069.4?

             2. Miner’s ranch was searched unlawfully. Miner was not permitted

      to address or raise this in his defense. The case should have been dismissed.

             Article 1, Section 13 of the California Constitution provide people
             the right to be secure in their persons, houses, papers, and effects
             and not to be subject to unreasonable searches and seizures.

             Federal Constitutional issues were preserved by filed England

      Reservations. This court of review should address the trial court’s failure to

      permit Defendant to put on a full, fair and complete defense pursuant to

      §§85-100 and raise all legal defensive issues including city witnesses.

      Judicial Bias

             1. Based on his rulings, has there been an appearance of bias by the

      Commissioner? Are his rulings prejudicial per se? Should the case be

      remand to a different judicial officer as a complete new action with full

      discovery, deposition, witnesses and all procedure in CCP. §90-100? Or;

             A. Should the judgment vacated, and the case remand for a new trial

             in front of a new judge;

             B. Or, judgment of dismissal found in Miner’s favor pursuant to

      motions and or violation of the California Constitution? All issues should

      be decided based on the court’s own discretion.

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                                     ARGUMENT

             Appellant Miner contends he is Defendant/Appellant as in the cited

      procedurally identical case Mountains. A Man (a lawyer who knew how to

      properly caption his own case) was cited per GC. §53069.4 with an

      administrative citation. He attended the administrative hearing. He then

      appealed to a trial de novo. He subsequently appealed to appellate division

      of Superior Court. His role was citee / defendant, he is labeled Defendant /

      Appellant. (Mountains Recreation Conservation Auth. v. Kaufman 46)

             I. THE TRIAL COURT ERRED WHEN IT DECLARED
             DEFENDANT MINER A VEXATIOUS LITIGANT UNDER
             THE FACTS AND ELEMENTS OF THE DE NOVO CASE

             A. Miner Hasn’t Re-litigated or Filed Unmeritorious Lawsuits

             Defendant and Appellant Joseph Miner has no vexatious litigant

      history. He has never previously been declared a vexatious litigant. He has

      never previously had a vexatious litigant motion filed against him. This is a

      first instance allegation with Miner as the defendant in ‘now’ a civil dispute

      brought by the City. Miner has not filed repetitive, unmeritorious lawsuits.

             “The primary goal of the vexatious litigant statutes is to curb misuse
             of the court system by individuals acting in propria persona who
             repeatedly re-litigate the same issues or file numerous unmeritorious
             lawsuits.” (In re Bittaker 32; Bravo v. Ismaj 06)

             B. Miner’s First Label Is Citee; His Role Is Defendant

             Miner was cited (ticketed) by the city making him the citee. Miner

      “appealed” to a hearing officer. Miner then “reclassified” as a limited civil


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      case pursuant to GC. §53069.4(b)(1) and CCP §85(c) #14.

             “one or more statutes that classify an action or special proceeding as
             a limited civil case" (id., subd. (c)). Code of Civil Procedure section
             85 provides a nonexhaustive list of statutes that classify an action
             or special proceeding as a limited civil case, a list which includes
             section 53069.4.” (Code Civ. Proc., § 85, subd. (c)(14).)

             Section 53069.4 expressly states that where a party contests a final
             administrative decision or order in a code enforcement action
             through a de novo appeal in the superior court, such "proceeding ...
             is a limited civil case." (§ 53069.4, subd. (b) County of Humboldt v.
             Appellate Division of Superior Court 13)

             Relevant role, label, and party elements make clear Miner is the

      defendant / appellant as well as in the additional materially relevant cases

      where the defendant is also the appellant: Kizer v. Waterman 39; People v.

      Kruschen 55; Wasatch Property Management v. Degrate 68). Miner was

      merely continuing his defense (John v. Superior Court (2014) p. 361 37).

             In Mahdavi and John, leading cases on these issues the Court

      explained the following:

             “As the Court of Appeal explained in Mahdavi, the term "plaintiff" is
             not commonly understood to include a defendant who has filed an
             appeal from an adverse decision by the trial court; and the definition
             of plaintiff in section §391, subdivision (d), as someone who
             "commences, institutes or maintains a litigation" does not compel
             any such strained construction here. (See Mahdavi 43; John v.
             Superior Court (2016) 38)

             1. The City Took First Chair At Trial To Reprove Its Citation

             When the trial de novo began the City took first chair and began to

      put on its case against Miner - that is not the role of a “defendant.”

             The court knew Miner was clearly a defendant - defending himself

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                                                                                     FAC PG 243
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      (RT 44:7-13; 20-23; 59:5-9) - at least 75 references in the reporter’s

      transcript. There are 3300 plus references with Miner as defendant in the

      clerk’s transcript. “Re-prove” is word used by trial court (RT 59:5-9)

             See also CCP. §308 - In a civil action the party complaining is

      known as the plaintiff, and the adverse party as the defendant.

             Whether Miner is labeled Appellant, Contestant, Defendant or Citee,

      in the instant trial - his base role was always defendant.

             Miner was defending himself in the citation and then in the

      courtroom. It is not the label, it’s the party’s role (substance) similar to

      (Kreutzer v. County of San Diego 40; Simpson v. Ernst & Young 63).

             C. The City Issued the Citation; it Brought the Claims

             Even though Miner was denied an administrative hearing, the

      hearing officer ruled in the City’s favor. The hearing was unfairly held. His

      only remedy pursuant to statute was to “re-classify” the administrative case

      to a civil case pursuant to statute CCP. 85(c):

             “The relief sought, whether in the complaint, a cross-complaint, or
             otherwise, is exclusively of a type described in one or more
             statutes that classify an action or special proceeding as a limited
             civil case or that provide that an action or special proceeding is
             within the original jurisdiction of the municipal court, including, but
             not limited to, the following provisions: #(14) Section §53069.4 of
             the Government Code.

             Miner paid a de minimus $25 fee (GC. §70615) to contest the

      decision in a de novo case. He “reclassified” administrative litigation (GC.

      §54956.9(c)), to civil litigation, with full due process (CT 30). A writ is

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      new litigation (Tracy Press, Inc. v. Superior Court 66; Ogunsalu V.

      Superior Court 48). A trial de novo (a re-do) is not new litigation.

             Pursuant to §54956.9(c), it is the City, through government code,

      who considers a hearing officer’s involvement “litigation.” Miner

      reclassified administrative litigation to civil litigation where he was wearing

      the same shoes in defense.

             The words chosen for the text in GC. 53069.4 are specific “a person

      contesting that final administrative order or decision may seek review by

      filing an appeal to be heard by the superior court, where the same shall be

      heard de novo” and for a reason - it conforms to the holding in Collier v.

      Wallis 12. It is reclassification and a new trial for a reason - it would

      otherwise be unconstitutional.

             E. City Had No Standing to Bring Motion Against Defendant

             Pursuant to his role and case law Miner is clearly the defendant.

      “Section §391.1 provides that in any litigation pending in a California court,

      the defendant may move for an order requiring the plaintiff to furnish

      security on the ground the plaintiff is a vexatious litigant and has no

      reasonable probability of prevailing against the moving defendant” (Shalant

      v. Girardi, 60). City did not have standing or role to bring the motion.

             The plain text of the relevant vexatious litigant statutes:

             CCP. §§391.1(a) “In any litigation pending in any court of this state,
             at any time until final judgment is entered, a defendant may move
             the court, upon notice and hearing, for an order requiring the

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             plaintiff to furnish security or for an order dismissing the
             litigation pursuant to subdivision (b) of Section 391.3. The motion
             for an order requiring the plaintiff to furnish security shall be based
             upon the ground, and supported by a showing, that the plaintiff is a
             vexatious litigant and that there is not a reasonable probability that
             they will prevail in the litigation against the moving defendant.”

             CCP. §§391.3 “... determines that the plaintiff is a vexatious
             litigant and that there is no reasonable probability that the
             plaintiff will prevail in the litigation against the moving
             defendant, the court shall order the plaintiff to furnish, for the
             benefit of the moving defendant, security in such amount and
             within such time as the court shall fix.”

             Miner is the Defendant in the instant action. Or perhaps he is the

      Citee, Contestant, or Appellant. One thing he is not, is the Plaintiff.5 A court

      of appeal may move the court in the first instance as well. Neither apply

      here. (§ 391.1; Shalant, supra, p. 1170 60)

             Court must follow the plain words of the statute (Delaney v. Superior

      Court, 789 P.2d 934, 50 Cal. 3d 785, 268 Cal. Rptr. 753 (1990) #B).

             The City cited Miner. The City cannot rationally be the defendant.

      Collier clarifies why a “hearing de novo” is constitutionally mandated by

      law. (Collier & Wallis, Ltd. (Plaintiff / Respondent), v. Astor (Appellant /

      Defendant), 12. Astor stood in the defendant shoes also as defendant in her

      appeal. Astor was not transformed into a plaintiff (Supreme Court In Bank).

             F. Miner Never Filed any Civil Action or Litigation

             Miner never filed “any litigation,” never “maintained litigation,”

      never “commenced litigation.”Nothing had been “re-litigated and nothing

      was “determined.” This was the first and only “re-classification” which

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      resulted in a limited civil case (CVPS2106001) for citation 21-985. Miner,

      as defendant had no choice but to defend himself.

             “As Mahdavi observed, "[i]n appealing from a ruling in a case
             that he did not initiate, [the defendant] cannot be said to be
             ‘maintaining’ the litigation any more than any defendant can be
             considered to be ‘maintaining’ litigation by seeking to defend
             himself through the filing of pleadings and motions in the trial
             court." ( Mahdavi, supra, 166 Cal.App.4th at p. 41, 82 Cal.Rptr.3d
             121.)” John v. Superior Court of L. A. Cnty., 63 Cal.4th 91, 369 P.3d
             238, 201 Cal.Rptr.3d 459 (Cal. 2016)

             G. Court’s Order Fails Miner Is a Vexatious Litigant by Statute

             1. The Trial Court Order is Void

             “Before there can be a prefiling order, however, there must be a "
             vexatious litigant" within the contemplation of the code... “... no
             "defendant" made an appropriate motion...” Accordingly, the order
             was procedurally defective. People v. Harrison, 112 Cal.Rptr.2d 91,
             92 Cal.App.4th 780 (Cal. App. 2001)

             Limited civil division is not a court of appeal. Commissioner Hester

      is not a judge. Appellant reclassified to a limited civil case per statute.

             "As already explained, the language of the vexatious litigant statute
             indicates that the pre-filing permission requirement applies to
             appeals by plaintiffs, not to parties who did not initiate the action in
             the trial court..."

             "Section 391 does not prohibit a Court of Appeal from declaring a
             defendant appellant or writ petitioner to be a vexatious litigant in the
             first instance during the course of an appeal from litigation the
             defendant or writ petitioner did not file. ( § 391, subd. (b)(3).)..."
             John v. Superior Court of L. A. Cnty., 63 Cal.4th 91, 369 P.3d 238,
             201 Cal.Rptr.3d 459 (Cal. 2016)

             The trial court order granting the City’s vexatious litigant motion is

      void abinitio. The order (CT 5022-5023; 5028-5029) fails to establish all



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      elements including that defendant Miner is the plaintiff, and that the City, as

      defendant, could bring the motion, as mandated by the statute under

      §391.3(a). Only a defendant may make the motion 391.3(a)(c). Under the

      “reclassification” the City remains in the “complaining role” of “plaintiff.”

             The Order establishes Miner’s role per the order is Appellant. The

      City’s role is respondent. The Order declares Appellant a vexatious litigant

      and fails to state a single finding as a requirement or element under the

      statute §§391-391.8 read as a whole, that would establish Miner

      Defendant/Appellant as a vexatious litigant under CCP. §391(b)(3). Miner

      never filed an action against the City as stated on page two of Order.

             The Commissioner establishes Miner is defendant/appellant

      previously on his own court orders (CT 4554:17-18) and (CT 4612:20-21).

             Miner is listed as Defendant/Appellant on Court’s own public

      portal https://epublic-access.riverside.courts.ca.gov/public-portal/? under

      case CVPS2106001, the trial court case number.

             Only a moving defendant, or a Court of Appeal on its own motion,

      can declare a vexatious litigant in the first instance on appeal. (John v.

      Superior Court (2016) 63 Cal.4th 91, 99-100.) The Order is Void.

             H. The Courts Findings During Oral Argument Failed to
             Determine Miner Is a Vexatious Litigant

             The complete hearing was argued on the record (RT 229-261). What

      the court found on the record, in all ways, was either incorrect, or did not



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      amount to what is mandated by Statute §391(b)(3), and did not comport

      with the Court’s Order (CT 5028-5029).

             §391 (b)(3) In any litigation while acting in propria persona,
             repeatedly files unmeritorious motions, pleadings, or other papers,
             conducts unnecessary discovery, or engages in other tactics that are
             frivolous or solely intended to cause unnecessary delay.

             The court never found, that Miner filed (1) unmeritorious motions,

      that Miner conducted (2) unnecessary discovery, (3) engaged in frivolous

      tactics, or that Miner (4) solely intended to cause unnecessary delay.

       Commissioner’s own statements on the record (RT 229-261)

      •      The motion was filed by the City (RT 229:7-9)
      •      “several of the motions were duplicative, repetitive or were
             misapplied or mis-categorized” (RT 240:1-3) [statement in error -
             see pages 37-40]
      •      “and I can tell from the quality of your motions that there is a lot
             of thought and effort put into them” (RT 240:13-15)
      •      as well as in their initial motion is that these -- several of the motions
             were duplicative, repetitive or were misapplied or miscategorized.
             (RT 240:1-3)
      •      “THE COURT: And so I hear what you are saying, that you did
             not essentially have a choice because you were cited by the state,
             and you appealed as you were permitted to under the Government
             Code. That said, under 391, defendant is the one that has
             brought or maintained, "maintained" being the key word that
             I'm focusing on. (RT 245:12-17)
      •      I'm making the decision of being a vexatious litigant under CCP
             391.1 and it states, "In the time until final judgment is entered,
             the very first instance in any litigation pending in any court of
             the state at any time until final judgment is entered, a defendant
             in this case," I would deem DHS, the City of Desert Hot Springs
             being the defendant, "may move the courts upon notice and hearing
             for order requiring the plaintiff to furnish security or for order
             dismissing the litigation," and that's not what the City is requesting
             in this instance. (RT 247:26-28; 248:1-7))



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             Neither the signed Order or the argument in open court comport to a

      rational finding Miner is a Vexatious Litigant. Miner was not found by the

      Court to: act in bad faith, have filed frivolous documents, have filed

      unmeritorious documents, or have intentionally delayed the proceedings.

             During the entire open court hearing, NEVER did the Commissioner

      himself state that any act by Miner was done in bad faith, that any motion

      was frivolous, that any document was unmeritorious. He effectively stated

      as a consequence of Miner’s filings the case was delayed, but not that Miner

      filed the documents with the intent to delay the case. No bad faith at all.

      The court complemented him on the thought and effort in his motions!

             I. Acts by Miner Proper and Done With Purpose

             Discovery was cut off the day Miner filed reclassification 12/6/21.

      Discovery Closes (with the exclusion of expert lists, and expert depositions)

      – 30 days before trial, or after non-binding arbitration. [CCP 2024.020;

      CCP § 1141.24]. Miner’s documents had merit; Miner was entitled to

      zealously argue the points (Guillemin v. Stein p.73 27).

             1. Miner’s Subpoenas Were Meritorious

             Miner made crystal clear why he needed witnesses, and documents

      in this limited civil case - (CT 3065-3230; 3072).

             2. Documents Subpoenaed

             The limited civil action was blurry at best. There was no case

      management, the commissioner was not going to permit a lawsuit[?],

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      thought it was like a traffic ticket. Appellant had attempted to procure

      critical documents from the City using CPRA public records requests.

      There was no response to provide the documents before trial. The

      documents were controlled by the City attorney Mr. Vu. The documents

      subpoenaed were relevant and critical evidence (Brady v. Maryland 74).

             3. Witnesses Subpoenaed

             There had been hundreds of emails. Conversations with employees.

      Only employees could testify to emails, telephone conversations, to issues

      far above the code officer’s education and pay grade such as zoning, land

      annexation etc. Appellant made crystal clear why witnesses were relevant

      and critical. All were denied by the trial court.

             4. Miner Contends the Recusals Were Legal and Proper

             In twenty years of litigation Miner had never even thought about

      recusing a judicial officer. It was clear to Miner the Commissioner was

      looking at the City for each one of his decisions. And, in every decision it

      was for the City and against Miner. By the Court’s own statements and lack

      of knowledge of the facts - it seemed clear the Court had not read Miner’s

      documents, but seemed to have read the City’s documents and was looking

      at the city for advice. The appearance of bias was clear and overwhelming.

      He did not appear to be impartial. (Housing Auth. of County of Monterey v.

      Jones 31)

             Had the Court come to reasoned conclusions of fact and law, rather

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      than making statements such as made in (RT 43:10-18) and the successive

      statements (RT 44:20-23) relating to (RT 43:24-28) and overruling every

      single defensive move defendant made Miner may have concluded the court

      made reasoned decisions. The “appearance” of gross bias was clear. The

      Commissioner should have recused himself. He was not legally able to act.

      (See cases Catchpole v. Brannon, 07; DCH Health Services Corp. v. Waite

      14; Gai v. City of Selma 24; Garcia v. Superior Court 25, Hemingway v.

      Superior Court 29; In re Wagner 36; Structural reverseable error (People

      v. Watson 56) Roitz v. Coldwell Banker Residential Brokerage Co., 58)

      cited from Disqualification of Judge California Benchguide #2, 2010.

             J. Miner’s Filings Were Meritorious

             Superior Court is a court of record. When it was clear to Miner he

      would get the short shrift in PS4 his goal was to make a record and avoid

      waiver at all costs. He filed a healthy defense and hired a court reporter.

             No document is frivolous. Every motion is researched, has merit, is

      different; not duplicative. Neither the Court under CCP §128.5, nor the City

      under CCP §128.7, initiated a proceeding or complained giving the movant

      the safe harbor period in which to withdraw alleged frivolous proceedings

      (if any) to circumvent the imposition of sanctions. There were no warnings.

             K. The Demurrer Was Meritorious

             The trial court stated the citation was not a pleading and Appellant

      could not demurrer to a citation. The Court must look at demurrer pursuant

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      to CCP. §92.(a). It is some kind of accusatory pleading or complaint. Prior

      to §53069.4 these same issues were in civil or criminal court. A demurrer is

      proper.(People v. Hibernia Savings & Loan Society 53; Pokegama

      Sugar-Pine Lumber Co 53; People v. Gompper 32; Sheldon v. Sheldon 75,

      Strickland v. State 76). There is no law stating a demurrer is not proper.

             The issue was now in civil court. The demurrer was clear as to the

      gross deficiencies of the City’s charging document. The situation was not

      ‘black and white.’ A ‘citation’ is supposed to be a document with facts and

      elements one can defend, not a vague “blank” uncertain document absent a

      true “description” or with specifics. These are not to be “threadbare

      notices.” Administratively, the city has eliminated all codified defenses!

             CCP. §92. (a) The pleadings allowed are complaints, answers, cross-
             complaints, answers to cross-complaints and general demurrers. (b)
             The answer need not be verified, even if the complaint or cross-
             complaint is verified. (c) Special demurrers are not allowed...”

             The demurrer (CT 156) filed 1/3/2022 was to be heard 1/27/22.

      Continuance by the Court delayed the hearing. Case should have been over.

             L. The Motions Were Meritorious Not Duplicative

             A clear and plain reading of each motion filed show that the motions

      were not duplicative. Each motion addressed a different legal issue.

             The motions were served on Plaintiff City in court 3/17/22 when trial

      was supposed to begin. They were then filed with the clerk 4/11/22

      pursuant to the court’s request. Some were effectively discovery motions.

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             The City opposed each motion by brief. Effectively they became

      properly noticed motions CCP. §1005. They were not heard 6/23/22. Trial

      began 6/23/22. The trial court had months to review the motions.

             Motions in Limine were mandated because of the court’s lack of

      case management and fact that the court scheduled a trial 30 days from the

      filing of the reclassification.

             The trial court had inherent power to control litigation and conserve

      judicial resources." (Amtower, at p. 1593; Lucas v. County of Los Angeles

      (1996) 47 Cal.App.4th 277, 284.). (Edwards v. Centex Real Estate Corp.

      (1997) 53 Cal.App.4th 15, 27.)

             “Frivolous” is defined as either “totally and completely without

      merit” or “for the sole purpose of harassing an opposing party.” (Code Civ.

      Proc., § 128.5, subd. (b)(2).) (Childs 09)

             Appellant’s motions are clear. They were filed to end the case before

      trial. Defendant’s only sin was being on the unsuccessful side of 120

      second rulings. Unsuccessful, or “without reasonable inquiry” does

      not mean “unmeritorious” or “frivolous.”

             Under section §391, subdivision (b)(3), a person is a vexatious

      litigant if he or she, while acting in propria persona, "repeatedly files

      unmeritorious motions, pleadings, or other papers, conducts unnecessary

      discovery, or engages in other tactics that are frivolous or solely intended to

      cause unnecessary delay.

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             “Not all failed motions can support a vexatious litigant designation.
             The repeated motions must be so devoid of merit and be so frivolous
             that they can be described as a `"flagrant abuse of the system, "have
             `no reasonable probability of success,' lack `reasonable or probable
             cause or excuse' and are clearly meant to `"abuse the processes of the
             courts and to harass the adverse party” (See Morton v. Wagner 47
             (2007) 156 Cal.App.4th 963, 972; also see Golin v. Allenby 26
             (2010) 190 Cal.App.4th 616, 639, fn. 29

             “[t]he vexatious litigant statutes do not define `frivolous' but we note

      that under section §128.5, subdivision (b)(2), this term is defined as `(A)

      totally and completely without merit or (B) for the sole purpose of harassing

      an opposing party'"].)” Not a single one of Miner’s documents or motions

      or filings fit within that box.

             01. Motion in Limine #1 Was Meritorious

             Miner had no administrative hearing. An administrative hearing is

      required by law. Miner addressed the lack of administrative hearing in the

      motion. Cases are sent back when no “fair” hearing is held (CT 1309).

             02. Motion in Limine #2 Was Meritorious

             Miner’s motion was that the City failed to state a claim on their

      charging complaint (citation) (CT 1388).

             03. Motion in Limine #3 Was Meritorious

             This motion attacked the incomplete and flawed “cherry picked”

      administrative record (CT 1624).

             04. Motion in Limine #4 Was Meritorious

             This motion was about the exculpatory fact the City failed to



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      produce exculpatory evidence (CT 1664).

             05. Motion in Limine #5 Was Meritorious

             This motion was about the city attorney filing a legal brief in

      replacement what was to be a code officer’s report. Mr. Vu effectively held

      the code officer by the nose and wrote his declaration (CT 1472).

             06. Motion in Limine #6 Was Meritorious

             This was a motion to strike the hearsay of the City’s unsigned

      uncertified hearing transcript recorded and transcribed by an unknown

      person (CT 1612).

             07. Motion in Limine #7 Was Meritorious

             This was a motion to force the proper argumentation of the

      administrative record (CT 1477).

             08. Motion in Limine #8 Was Meritorious

             This was a thorough Judgment on the pleadings at a point the case

      had a different posture (CT 1525).

             09. Motion in Limine #9 Was Meritorious

             This was a Motion for unclean hands detailed 29 bad acts by the City

      under the doctrine of unclean hands (CT 1596).

             10. Motion to Disqualify City Attorney Was Meritorious

             This was a motion to disqualify the City attorney based on the City

      attorney’s continuous bad acts and violation of the professional rules of

      conduct (CT 1261). The Commissioner failed to realize the City’s “bad

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      acts” were part of the lodged evidence and were directly materially related.

             M. City’s Caselaw Inapplicable and Distinguishable

             Plaintiff City’s vexatious litigant caselaw regarding defendant Miner

      is distinguishable, inapplicable, or bad law (1) In re Marriage of Deal 33;

      (2) In re R.H, 35 (3) McColm v. Westwood Park Assn., 45; (4) Ogunsalu v.

      Superior Court, 48; Thompson v. Ioane 65). Miner was not a previous

      vexatious litigant, he never filed a writ, Miner was/is defendant in the case.

             II. THE TRIAL COURT ERRED WHEN IT ORDERED
             MINER TO POST SECURITY AS A DEFENDANT

             A. The Trial Court in its Own Words Stated Miner Had a 50/50
             Chance of Prevailing

             No security was mandated. There are 5 allegations on the citation.

      Two or three is the same as 50/50 chance for either party. What the court

      actually said in the hearing matters.

      •      And so one other holding that I did not address in regards to 391, it
             must also be found that the Court find that there is a likelihood
             of the City essentially obtaining a holding of the citation --
             upholding a citation against you, Mr. Miner. . ... ... ... There are
             five bases given. I wouldn't say that I would necessarily find that
             every bases -- every basis would be a strong likelihood, but by my
             count I would see at least two or three of the grounds on the
             citation as being a strong likelihood of succeeding on behalf of the
             City. (RT 260:21-28)

             Miner is defendant, City is plaintiff. “vexatious litigant statutes were

      enacted to require a person found a vexatious litigant to put up security for

      the reasonable expenses of a defendant who becomes the target of one of

      these obsessive and persistent litigants.” (First Western Development Corp.

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      v. Superior Court 22). Miner contends each individual violation is separate

      on the citation. Winning one is “prevailing” on that one issue.

             III. CUMULATIVE TRIAL COURT ERROR

             Bias - from day one this Commissioner (a recent former County

      district attorney) was in favor of the City. A demurrer was filed. CCP.

      Section 92 enumerates permissible pleadings and motions in limited civil

      cases (Laurel 01). The court was not concerned about the demurrer, it was

      concerned on whether Miner filed “his” appeal documents on time. Miner

      had (RT 44:20-23).

             Eventually, the Court overruled the demurrer simply stating “you

      cannot demurrer to a citation” (RT 43:10-18). It seemed he never read it.

             It was clear he never read the nine motions in limine as he was not

      aware of them on the day of trial (RT 51:18-21). The motions in limine

      were brought up 3/17/22 (RT 8:2-11). Again Court had to be notified there

      were nine motions in limine on calendar (RT 51:18-21).

             The Court went through the motions in limine in minutes and

      summarily denied the nine motions mostly because they were “labeled”

      “motions in limine.” In reality, because of timing and City oppositions, they

      had become noticed motions (RT 54:13-26). (See Kreutzer V. County of San

      Diego,153 Cal. App. 3d 62, 200 Cal. Rptr. 322 (Ct. App. 1984))

             Miner, as a witness, was going to testify to an email he received

      from a DHS fireman. The Court would not permit it. (RT 213-214) He was

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      the witness and received the email. (Evid. Code, § 1400.) Also see the

      recusal request (RT 214:6-26) Issues were constant throughout the hearings

      (RT 216:24-28; 221:1-14) there is no benefit here to list them all.

             It would be relevant to know if someone who placed $4000 in

      citations on property (1) graduated high school (2) could read and interpret

      statutes, (3) had a code enforcement manual (4) had any training in the

      City’s statutes. There was NO discovery to expose issues (RT 98:10-13).

             The Court did what it could to prop up the untrained officer. Doing

      something wrong, with no training, for three years, is still doing it wrong.

             The officer has no survey, real estate or City training that even gives

      him the knowledge to be aware where the public right of way is, where

      Miner’s property begins and ends, which is not the fence. (CT 102-104)

             The Court was completely aware he had eliminated all Miner’s

      witnesses and documents (RT 44:20-23). The Court constantly mis-stated

      the facts (CT 44:7-23. For example Miner had requested witnesses from the

      City (CT 637), and at the court (CT 5083). The foundation for all issues had

      been laid in the evidentiary documents lodged with the Court, (“shall be

      received in evidence”) §53069.4(b)(1) (CT 313-989).

             The Commissioner’s tone and comments were condescending,

      offensive. He appeared bias on many occasions. The Judge never argued in

      Miner’s favor, but did argue with Miner in favor of the City and the officer

      many times. (RT 152:16-28;153:1-28;154,155:1-4) When things were

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      pointed out, he forced retrospective excuses for the record (RT 250-251).

      The reporter’s transcript is tells of the abuse and bias (RT 1-332).

             He always steered the trial and testimony in favor of the City. Such

      as NOT simply placing an X on the spot of the officer’s photographs where

      the officer stated there were violations (RT 130:15-28) so they could be

      argued on appeal - rather than guessed at. Everyone sees photos differently.

             In the end Miner had no civil trial procedure at all, no discovery at

      all, no witnesses at all, no documents from the City at all. The Court

      quashed, and overruled every document Miner had filed - except for the

      trial “appeal.” In passing he only allowed because the City acquiesced.

             In all - there was bias, Constitutional error, legal error, evidentiary

      error, discovery error, and procedural error. The Commissioner failed to

      “follow the evidence.” He contributed to the conviction. This entire

      experience could not have been more prejudicial and more sour.

             It appeared, because Miner was issued a citation, the Commissioner

      believed he was guilty - a scheduling inconvenience and waste of time.

             Not a single ruling was in Miner’s favor. Not one except for being

      permitted to appeal and that was a battle in itself. And after all that, the

      Commissioner declared Miner the vexatious litigant.

      //

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                                     CONCLUSION

      For the Vexatious Litigant Order Appeal

             #1. Miner does not fall within the vexatious litigant statute because:

      (1) only a defendant or a court of appeal may make a motion or declare a

      vexatious litigant, (2) here, Miner is the defendant, not the plaintiff, (3)

      there is no proof Miner has re-litigated any case, (4) Miner has never been

      previously declared a vexatious litigant, (5) Miner’s filings were defensive

      in an attempt to end litigation, not harass any party, (6) Miner’s demurrer

      and motions were quality documents, not frivolous, duplicative, or without

      merit, (7) Miner’s documents were not re-litigation or duplicative (8) Miner

      “reclassified” a case pursuant to statute GC. §53069.4, (9) Miner never filed

      “new litigation,” never “maintained” litigation, (10) Miner never conducted

      “unnecessary discovery” or any discovery, (11) Miner performed no acts

      that were frivolous, or were solely intended to cause unnecessary delay.

             Therefore under §391(b)(3) Miner cannot be declared a vexatious

      litigant as he does not meet the statutory elements necessary as motioned by

      the Plaintiff City (Holcomb v. US Bank Nat. Ass'n 30).

             Miner was not provided with a limited civil case pursuant to §§90-

      100 of the civil code of procedure. The court’s timing, and statutory failures

      contributed to Miner’s effort and acts to obtain a fair trial and a fair review.

             The case should have terminated before Miner was forced to file a

      single motion (Chicken and the egg);

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             #2, IF NOT #1, then the vexatious litigant Order is void because the

      necessary findings, express language, mandated by statute for the vexatious

      litigant order are absent from the Order (CT 5016-5017);

             #3, If NOT #1 AND NOT #2, then vexatious litigant order is not

      supported by substantial evidence to support the finding. Secondly, there is

      no bad faith, cause delay, intent to harm or “mens rea”;

             #4, If NOT #1 NOT #2 OR #3, then the dismissal for security is not

      supported by substantial evidence. A. The Court in its own words stated

      parties had a 2 out of 3 chance. B. What does prevailing mean when there

      are 5 separate finable violations? Each prevailing issue is a separate

      decision. There is no typical “prevailing party” in a citation appeal because

      there are separate distinguishable monetary awards for each violation.

             This is the appeal of the vexatious litigant Order, Order for security,

      and judgment of dismissal. The case should have been dismissed before

      Miner was forced to file documents preserving his defenses for appeal.

                                        PRAYER

             #1. Vacate the Vexatious Litigant ruling;

             #2. Vacate the Vexatious Litigant pre-filing order;

             #3. Vacate the security Order;

             #4. Vacate the Judgment of Dismissal;

             #5. Dismiss the case and citation based upon the;

                    A. Demurrer;

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                    B. Interests of Justice;

             OR enter a judgment in Miner’s Favor for C-F below

                    C. Based on the motion to dismiss;

                    D. Based on motion for judgment on the pleadings;

                    E. Based on the motion for unclean hands;

                    F. Based on any or all motions and pleadings;

             #6. Alternatively or In the INTEREST OF JUSTICE

             Vacate the Orders and Dismissal and remand the entire case

      beginning with discovery, to be heard by a new Judge with a new trial with

      all discovery - based on prejudicial errors;

                    A. Miner has not received an administrative hearing;

                    B. The Commissioner failed to recuse himself;

                    C. Miner has had no discovery;

                    D. Miner has not received a fair trial per statute;

             #7. Reinstate the §128.5/§128.7 motions;

             #8. Correct Miner’s role on register of actions in trial court and

             appellate court to Defendant/Appellant for a proper record;

             #9. For any relief the Court considers just and proper.



                           Respectfully, ____________________
                                         Joseph Miner 5/18/2023
                                         pro per




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                     Establishing Law of Continuing Importance

             The Court should rule on issues in this matter that may be

      subsequent events of continuing public importance affecting 540 local

      agencies procedure and is a question capable of repetition. Appeals of GC.

      §53069.4 issues are escalating.

             #1. A party who reclassifies pursuant to 85(c) to limited civil

      division is a “defendant.

             #2. A demurrer is appropriate as a defense against an uncertain

      “administrative citation” (charging pleading) reclassified to civil court.

             #3. Discovery, pursuant to statute, is permitted in a reclassified

      limited civil case pursuant to CCP. §§90-100.


                           Respectfully, ____________________
                                         Joseph Miner 5/18/2023
                                         pro per




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      Endnotes

      EN1:     A “new action” in civil court would cost $225. This is re-classification.
      EN2:     No obvious physical boundaries - you would not know what parcel you were
               looking at unless you had real estate survey or appraisal experience.
      EN3:     A Practical Treatise on the Law of Nuisances, H. G. Wood 3rd, 1893, V1 37-
               38, V2 764, 765.
      EN4:     The Law of Public Nuisance: Maintaining Rational Boundaries on a Rational
               Tort Victor E. Schwartz.
      EN5:     The court should note that “role labels” seem to be arbitrarily assigned by the
               court clerks. In the online case register Miner’s label is defendant/appellant in the
               download version he is plaintiff/appellant. Miner protested to the appellate clerk
               that he assigned Miner as plaintiff. TC stated “it does not matter.”

                      CERTIFICATE OF INTERESTED PARTIES

                           None. Except for parties / persons served.

                           CERTIFICATION OF COMPLIANCE

               Appeals must conform to the provisions of California Rules of

      Court.

               I, Joseph Miner, certify that Appellant’s Brief, was produced on a

      computer, that the total number of words contained in the AOB, and

      exclusive of tables and this certificate, does not exceed 10,000 words.

               I relied on the word count of the computer program used to prepare

      the Brief. The number of words exclusive of tables and this certificate, is

      9,841 including pages 1 through end notes pursuant to Word Perfect 7 by

      Corel.

      Dated this 18th day of May, 2023 at Orange County, California.

                                                 ____________________

                                                 Joseph Miner 5/18/2023

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                            PROOF OF SERVICE
                 STATE OF CALIFORNIA, COUNTY OF ORANGE

                                  JOSEPH MINER
                                       vs.
                           CITY OF DESERT HOT SPRINGS.

                   Appellate Case No. APRI2200098; APRI2200109
                Riverside County Superior Court Case No. CVPS2106001

             I am employed in the County of Orange, State of California. I am over
      the age of 18 years and not a party to the within action. My business address is
      2576 Newport Blvd #A, Costa Mesa, CA 92627.

              On May 18, 2023, I served the foregoing document described as:
      Application to file consolidated appeals APRI2200098; APRI2200109.
      Proposed Order, and Appellant’s Consolidated Opening Brief, on the
      interested parties in this action.

      ¨      by placing the original and/or a true copy thereof enclosed in (a) sealed
             envelope(s), addressed as follows:

             SEE SPECIFIC ATTACHED SERVICE LIST

      ¨      BY REGULAR MAIL: I deposited such envelope in the mail at U.S.
             Postal Service, Costa Mesa California 92627. The envelope was mailed
             with postage thereon fully prepaid.

             I am aware that on motion of the party served, service is presumed
             invalid if postal cancellation date or postage meter date is more than
             one (1) day after date of deposit for mailing in affidavit.

      ý      BY ELECTRONIC SERVICE: I caused the documents to be sent to the
             persons at the electronic notification address listed in the Service List.

      ý      (State) I declare under penalty of perjury under the laws of the State of
             California that the foregoing is true and correct.

      ¨      (Federal) I declare that I am employed in the office of a member of the
             Bar of this Court, at whose direction the service was made.

      Executed on May 18, 2023, at Orange County, California.

                                          ______________________________
                                                Lily Dunlop

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       SERVICE LIST

       City of Desert Hot Springs               Via email:
       11999 Palm Drive                         Jerryl Soriano, Clerk
       City of Desert Hot Springs, CA 92240     jsoriano@cityofdhs.org

       Theodore K. Stream ( SBN 138160)         Via email:
       Jennifer A. Mizrahi ( SBN 224043)        Tuan- Anh Vu
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       Riverside County Superior Court          Via email:
       Honorable Arthur C. Hester III           Hon. Arthur C. Hester
       Dept. PS4                                Stacy Antonacci
       Palm Springs Courthouse                  DeptPS4@riverside.courts.ca.gov
       3255 E. Tahquitz Canyon Way
       Palm Springs, California 92262

       Court of Appeal                          NA


       California Supreme Court                 NA




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                                                Exhibit ___

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                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                                                          TA NJ

                                    COUNTY OF RIVERSIDE
                                                                                        F U L 1
                                                                                 SUPERIORCOURT

                                     APPELLATE        DIVISION                                     IVOF RSIDECALIFORNIA
                                                                                        COUNTY OF RIVERSIDE


                                                                                          NOV 0 9 2023                     0
                                                                                          T. Chavir

   JOSEPH       MINER,

                  Plaintiff and Appellant,            Case No: APRI2200098,        APRI2200109

                                                       Trial Court: CVPS2106001)

                         v.

                                                               PER CURIAM OPINION


   CITY OF DESERT HOT SPRINGS,

                Defendant and Respondent.



          Appeal from an order of the Superior Court of Riverside County, Arthur C. Hester

    III, Commissioner. Affirmed.


    Joseph Miner, in pro. per., for Plaintiff and Appellant.

    Stream Kim Hicks Wrage & Alfaro, PC, Theodore K. Stream, Jennifer A. Mizrahi, Tuan-


    Anh Vu, for Defendant     and Respondent.


          THE COURT


           Joseph Miner ( Miner or appellant) appeals from an order declaring him to be a

    vexatious litigant and a related prefiling order prohibiting him from filing any new

    litigation in the California courts in propria persona without first obtaining leave of the

    presiding   justice or presiding judge of that court. We find no error and affirm    the orders.




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                              FACTS       AND PROCEDURAL            HISTORY


               Appellant is the owner of real property located at 66781 Dillon Road, Desert Hot

    Springs.     On August 18, 2021, City of Desert Hot Springs ( City or respondent) issued an

    administrative      citation #
                                        27948D based upon five alleged public nuisance conditions

    existing     on   the   property.     The   nuisance   conditions   cited   consisted   of fire   hazards,


    excessive trash and junk, abandoned household items, an illegal wood fence, and the lack

    of a business license for commercial rental property. After an administrative hearing in

    which appellant did not appear, the hearing officer issued an order upholding the citation.

    Appellant filed a timely appeal from the administrative decision on December 6, 2021,

    pursuant to Government Code section 53069. 4.

               Thereafter, appellant began a series of actions which lead to the City filing a

    motion to declare appellant a vexatious litigant. The City listed 11 separate actions in

    support of its motion:


    1.         On December 27, 2021, appellant filed a demurrer to the citation. On January 3,

         2022,    appellant     filed    an   amended   demurrer,   challenging    the sufficiency     of the

         allegations. The demurrer was overruled.


    2.         On April 4, 2022, appellant filed a motion to disqualify the city attorney alleging

         various violations of law and rules of professional conduct. The motion was denied.

    3.         On April 4, 2022, appellant served a notice on the city attorney to attend trial and

         produce documents.             The City filed a motion to quash. The trial court granted the

         motion and quashed the notice.




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    4.      On April 11, 2022, appellant served nine notices to attend trial for various City

         employees. The City filed a motion to quash. The trial court granted the motion and

         quashed the notices.

    5.      On April 11, 2022, appellant served seven civil subpoenas on third parties and/ or

         city employees. The City filed a motion to quash and the subpoenas were quashed.

    6.      On April   11,   2022, appellant filed nine motions in limine challenging various

         actions of the City. All motions were denied on June 23, 2022, either as repetitive of

         the court' s prior rulings or improper motions in limine. The motions included:

            a. Seeking a dismissal for failure to receive proper notice of the administrative

         hearing;

            b. Seeking a dismissal for failure of the citation to state a charge or offense;

            c. Challenging the administrative record as incomplete and uncertified;

            d. Seeking discovery from the City relative to the property;

            e. Seeking to strike the City' s administrative brief filed in support of the citation;

            f. Seeking to strike the transcript in the administrative hearing;

            g. Seeking to compel the City to provide a certified administrative record;

            h. Seeking judgment on the pleadings or in the alternative summary judgment

    based upon the insufficiency of the allegations in the citation;

            i. Seeking summary judgment based upon unclean hands.

    7.      On June 7, 2022, appellant filed a notice of non- stipulation to the Commissioner,


         which was rejected as untimely.

    8.      On June 8, 2022, appellant filed a motion to vacate/ withdraw the stipulation to the


         Commissioner. The motion was denied.




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    9.           On   July     11,
                                       2022, appellant filed a common law motion for judgment on the

           pleadings challenging the sufficiency of the citation. The motion was denied.

     10.         On    August          8,   2022,    appellant   filed    a   challenge       for     cause     against   the

           Commissioner              pursuant   to Code of Civil Procedure         section    170. 1.    The application


           was stricken as untimely.

    11.          On August 23, 2022, appellant filed another disqualification                         motion against the

           Commissioner              pursuant   to Code of Civil     Procedure     section    170. 1.    The application


           was    stricken.




                 Trial began on June 23, 2022. After a day of testimony from the code enforcement

    officer Tiyler Messer, the trial was continued to August 4, and then once more to August


    11. Because of the August 8, 2022 challenge to the Commissioner, the August 11 trial

    date    was    continued          to August     25.   Further, because of the August 23 challenge to the


    Commissioner, the August 25 trial date was continued to September 22. On August 30,


    2022, the City filed a motion to declare petitioner a vexatious litigant pursuant to Code of

    Civil Procedure           section 391( b)( 3).


                 Following a hearing on September 22, 2022,                   the trial court found: "        The City has

    presented satisfactory evidence to establish that Miner is a vexatious litigant within the

    meaning        of Code of Civil Procedure                section     391( b)( 3),   and   there     is no    reasonable


    probability that Miner will                 prevail in this action    against the     City."      The order required


    Miner to furnish security in the amount of$ 1, 750 by October 20, 2022, and included a

    prefiling order prohibiting him from filing any new lawsuits, including appeals and writ

    petitions, in propria persona in courts of this state without first obtaining leave of the




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    presiding     judge or justice of the court where the litigation is proposed to be filed.               Miner



    failed to furnish the security and the action was dismissed.

                                                       DISCUSSION


    A. Standard of Review


                A court exercises its discretion in determining whether a person is a vexatious

    litigant. [ Citation.]      We uphold the court' s ruling if it is supported by substantial

    evidence. [ Citations.]        On appeal, we presume the order declaring a litigant vexatious is

    correct     and   imply findings     necessary to support the judgment.' [ Citation.]           Questions of

    statutory interpretation,       however,      we   review   de novo. [ Citation.]" ( Holcomb v. U.S. Bank


    Nat. Assn. (      2005) 129 Cal. App. 4th 1494, 1498- 1499.)

    B. Statutory Background

                 The   vexatious    litigant   statutes (   Code of Civ. Proc. §§ 391- [ 391. 8]) are designed


    to curb misuse of the court system by those persistent and obsessive litigants who,

    repeatedly litigating the same issues through groundless actions, waste the time and

    resources     of the court     system      and other litigants." ( Shalant   v.   Girardi ( 2011)   51 Ca1. 4th


    1164, 1169.)


                Section 391, subdivision ( b) provides four alternative definitions of a vexatious

    litigant,    including    someone       who "[
                                                       i] n any litigation while acting in propria persona,

    repeatedly files unmeritorious motions, pleadings, or other papers, conducts unnecessary

    discovery, or engages in other tactics that are frivolous or solely intended to cause

    unnecessary        delay." (§ 391, subd. ( b)( 3).)

                The statutory scheme provides two sets of remedies. First, in pending litigation,

     the defendant may move for an order requiring the plaintiff to furnish security on the




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    ground the plaintiff is a vexatious litigant and has no reasonable probability of prevailing

    against     the moving defendant." (            Shalant,       supra,      51   Cal. 4th         at p.    1170; §       391. 1.)    If the


    court finds in the defendant' s favor on these points, it orders the plaintiff to furnish

    security in      an     amount     fixed    by the court. (§             391. 3,   subd. (       a).)
                                                                                                             Failure to provide the

    security     is grounds for dismissal. (§            391. 4.)        The second remedy provided for in section

    391. 7, "   operates      beyond the pending             case"     and     authorizes        a    court    to   enter     a "
                                                                                                                                    prefiling


    order"' that prohibits a vexatious litigant from filing any new litigation in propria persona

    without first obtaining           permission      from the presiding               judge. [ Citation.]' ( Shalant, supra,

    51 Ca1. 4th at p. 1170).

    C. Miner is a Plaintiff

                Preliminarily, Miner argues that he is a defendant in the action, not a plaintiff;

    therefore, the City had no standing to bring the vexatious litigation motion. We disagree.

                First,    section    391,      subdivision   (     b)( 3),     applies    to     any        litigant --       plaintiff or

    defendant--          who repeatedly files unmeritorious                    motions or engages in other improper

    tactics. ( Thompson         v.   Thane ( 2017) 11 Cal. App. 5th 1180,                 1200). Likewise,              a request for a


    prefiling     order    under     section    391. 7 may be made by " any party",                          regardless      of their role


    as a plaintiff or defendant.

                However, whether Miner was a plaintiff or defendant is relevant for the order to

    furnish security pursuant to section 391. 1, as that section provides that only a plaintiff can

    be ordered to furnish security. In that regard, the vexatious litigant statutes provide the

    definitions for each. Section 391, subdivision ( d) defines a" Plaintiff' as " the person who

    commences, institutes or maintains a litigation or causes it to be commenced, instituted or


    maintained."          Section 391,      subdivision (    e),   however, defines            a -'     Defendant'           as " a person




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           against     whom       a litigation      is brought        or maintained       or sought to be brought             or

    maintained."         Finally, Section 391,             subdivision (     a)   defines `'` Litigation       to   mean "
                                                                                                                             any


    civil action or proceeding, commenced, maintained or pending in any state or federal

    court."



               Here, although the            City issued        the   citation,   it is Miner      who "   commenced'"       and


     maintained"        the     superior   court    action,    not the    City. " Although designated as an ' appeal'

    by section 53069. 4, the de novo review process authorized by that statute is, in essence,

    an original proceeding in the superior court reviewing the propriety of a local agency' s

    final     administrative        decision       after
                                                           hearing to impose          fines   or    penalties." (   County of

    Humboldt v. Appellate Division of Superior Court( 2020) 46 Cal. App. 5th 298, 311).

               Still further, in other published opinions involving de novo review by the property

    owner to the superior court under section 53069.4, the property owner who challenged

    the administrative citation in the trial court is expressly designated as the plaintiff in the

    case    title   and body of the opinion. (             See Wang v. City of Sacramento Police Department.

     2021) 683 Cal.App.5th 372.

    D. Analysis of Vexatious Litigant Order

               The trial court declared Miner a vexatious litigant under section 391, subdivision


     b)( 3)    based upon its finding that he had repeatedly filed unmeritorious motions,

    pleadings, and other papers, and such tactics caused unnecessary delay. Specifically, the

    court     relied   on     Miner' s unsuccessful              demurrer2, two motions for judgment on the



      As a published opinion, it is the Reporter of Decisions responsibility to review every opinion and ensure
    the editorial integrity and accuracy of all published opinions.( Supreme Court of California Appoints New
    Reporter    of Decisions(    September    30, 2014)<      https// www. courts. ca. gov> News Releases—     2014.) We have
    no reason to doubt that such editorial accuracy was not performed in Wang.
    2 The City argues that a demurrer to a citation is procedurally improper. We are not persuaded.( See People
    v. Gompper( 1984) 160 Cal. App. 3d. Supp. 1, 8- 9 [ citation issued in a criminal action that fails to comply
    with the statutory requirements must be challenged prior to trial by demurrer or otherwise.]


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    pleadings, and the nine motions in limine that sought to relitigate similar if not the same

    issues as set forth above; the subpoenas for witnesses and the production of documents

    from       those    who       were    not   percipient      witnesses;     and    the   multiple    requests      for


    disqualification of Commissioner Hester. There was ample evidence to support the trial

    court' s order.



                The trial court stated in part:

                Addressing the City' s motion, it was essentially stated in short, Mr. Miner,
           that the history--
                            and I don' t have the numbers in front of me, but I have a fairly
           good memory of them -- there being the original demurrer, there being two
           separate judgments on the pleadings, there being nine motions in limine, several
           which the Court even categorized at the time that you argued them that they
           were    not, in fact, in my other        motions    in limine, but essentially    a   rehearsal --   not
           a   rehearsal --   a
                                  rehashing of a demurrer.
                                                  And it said the same thing in terms of
           when you argued the judgment on the pleadings that that, in fact, was the same
           argument that we' re making that were made in the demurrer argument.
                The subpoenas for the witnesses, and the motions to produce documents for
           witnesses that were not even percipient witnesses, and the Court even told you
         that the Court deemed this to not be about all the prior history leading up, not
         about the drug raids, not about the prior contacts, not about    the zoning, but
           about whether or not your property violated                  the Desert Hot Springs Municipal
        Code as cited in the two separate citations authored by Officer Messer, and I
        clearly recall stating that to that effect to you. And, yet, what the Court saw in
        what was brought up by the City was that the same argument was rehashed or
        dressed in new clothing in the demurrer, in the judgment on the pleadings, in the
        MIL' s. And so when you take that and then you do take into consideration the
        delays in the trial. And, as I stated, I will not even try to deny the fact that there
        have been things that the Court has had to delay, but some of those have been
        because of the non- stip arguments that you have made, and obviously you have
        an opportunity to do so, but there was the initial attempt to withdraw the
         stipulation.     There     was   the   first   170. 1 disqualification.     There was a supplement

        to that disqualification, and that was filed just shortly before we were set to
        resume the hearing. And then once we had a new date, then there was a second
         170. 1 disqualification, but the only real change the Court could really see was in
        reference to both my employment and that of my wife. And that was the only
        real change that I saw from the first motion to the second. And, again, you can
        make your argument, but what I'm finding is that the motions, the demurrer, the
        judgment on the pleadings, the MIL's, along with the multiple disqualifications
        do rise to the level of being a vexatious litigant under 391.




                                                                8

                                                                                                                FAC PG 276
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              Miner spends little effort defending the multiple and repetitive filings discussed

    by the trial court, and attempting to demonstrate that there is no substantial evidence to

    conclude that any filings were frivolous or otherwise filed for an improper purpose.

    Rather,     Miner   states   in a conclusory     manner     that the    motions    are "   clear" "   meritorious',


     no   document      is frivolous", "   every motion is researched, has merit, is different; not

    duplicative"    and filed " to end the     case    before trial".   We are not persuaded. Indeed, upon

    review of the record, we conclude there is more than enough evidence for the trial court


    to determine Miner engaged in improper tactics by repeatedly litigating the same issues

    through groundless motions and actions. Nor was the trial court required to specifically

    prove Miner' s intent as to each filing. The statutory scheme permits a global finding of
    vexatious    litigation tactics that does not turn on " individual             unmeritorious      filings." ( Golin


    v. Allenby( 2010) 190 Cal.App.4th 616, 639.)

              Miner also makes no effort to justify the duplicative requests to disqualify

    Commissioner Hester, or why it was proper for him to relitigate the same disqualification

    issues multiple times. If Miner believed the disqualification ruling was in error, his

    exclusive remedy for reviewing the determination was a writ of mandate ( Code of Civ.

    Proc. 170. 3( d)), not a repeat     motion      to disqualify. " Under       our statutory scheme, a petition

    for writ of mandate is the exclusive method of obtaining review of a denial of a judicial

    disqualification     motion." (   People   v.   Mayfield ( 1997) 14 Ca1. 4th 668, 811.)                The error is


    not   ground for appeal        from the judgment. ( People             v.   Hull ( 1991)    1 Ca1. 4th 266, 276

     section 170. 6 challenge).


              Moreover, Miner argues bias and prejudice because in every decision the trial

    court ruled in favor of the City and against him. The fact the Commissioner ruled in a




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    particular way, or in a way that Miner believes is erroneous, is insufficient to constitute

    legal   evidence      of prejudice    or   bias. ( Brown     v. American Bicycle Group, LLC ( 2014) 224

    Cal. App. 4th      665,      674 [" the    mere    fact   that   the   trial   court   issued     rulings    adverse      to


     appellant] on several matters in this case, even assuming one or more of those rulings

    were erroneous,         does not indicate         an appearance        of bias, must less demonstrate                 actual


    bias"].)   Besides, having carefully reviewed the entire record, we find nothing in any part

    of the record that supports the charge of prejudice or bias.

    E. Substantial Evidence Supports the Finding of No Reasonable Probability of Success

               The   appeal       under   Government          Code     section     53069. 4    is    a de     novo       action,


    classified as a limited civil case, and where the contents of the local agency' s file is

    received in evidence. A copy of the document or instrument of the local agency providing

    notice of the violation and imposition               of the administrative        fine is admitted into evidence


    as
         prima facie      evidence     of the facts stated therein. ( Govt. Code §                  53069. 4( b)( 1).)      The


    City also offered the declaration of the citing officer Tiyler Messer relative to his on- site

    observations, along with photographs for each of the alleged municipal code violations.

    The     violations     include:    Fire hazard ( DHSMC §                4. 16. 010( A)( 5));      trash and junk on

    property ( DHSMC §              4. 04. 020( A);     abandoned household items and junk ( DHSMC §

    4. 16. 010( A)( 1)(   a));   unlawful wooden         fence ( DHSMC § 4. 16. 010( A)( 17);              and conducting

    business    on the    property without       a    business license( DHSMC § 5. 04. 040( A) et seq.).                    The



    trial court concluded that the City had a strong likelihood of succeeding on at least two or

    three of the five grounds set forth on the citation. On the record we have, we cannot

    conclude that the trial court erred in so finding.




                                                                10

                                                                                                                         FAC PG 278
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    F. Stipulation        to Commissioner/ Judge Pro Tem


               Miner for the first time in his reply brief argues that he did not stipulate to a judge

    pro tern; therefore, Commissioner Hester lacked jurisdiction pursuant to California Rules

    of Court, rule 2. 816. That argument is waived, misplaced, and contradicted by the record.

               First, an appellant' s failure to raise an argument in its opening brief waives the

    issue    on   appeal. (   Dieckmeyer v. Redevelopment Agency of Huntington Beach ( 2005) 127

    Cal. App. 4th 248, 260; see also Campos v. Anderson ( 1997) 57 Ca1. App. 4th 784, 794, fn.

    3 ["[   T] he issue was waived as to this court because it was noted only in appellants' reply

    brief, and      not   in their opening brief."].)       There is absolutely no sound reason why this

    issue could not have been raised in the appellant' s opening brief.

               Second, Commissioner Hester did not perform the judicial duties here as a judge

    pro tem, but      rather   as   a commissioner. "
                                                           The Legislature may provide for the appointment

    by trial courts of record of officers such as commissioners to perform subordinate judicial

    duties." ( Cal. Const.          art.   VI, § 22.)   Accordingly, the Legislature has enacted numerous

    statutes
                  establishing      subordinate
                                                    judicial duties. This action is a proceeding under

    Government Code            section      53069. 4. Pursuant to section 53069. 4( b)( 3), " The conduct        of


    the appeal under this section is a subordinate judicial duty that may be performed by

    traffic trial commissioners and other subordinate judicial officials at the direction of the

    presiding      judge of the court." These subordinate judicial duties require no stipulation.

     Foosadas v. Superior Court( 2005) 130 Cal. App. 4th 649, 654.)

               As Commissioner Hester did not perform his duties in the underlying action as a

    temporary judge but as a subordinate judicial officer, Miner' s reliance on Rule 2. 8163 is


    3 Rule 2. 816 provides for the form of notice, and methods of stipulation and withdrawing the stipulation,
    for matters to be heard by a court-appointed temporary judge.


                                                              11

                                                                                                        FAC PG 279
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    misplaced. As expressly provided in subsection ( a) of that Rule, it applies only when the

    court has appointed or assigned an attorney to serve as a temporary judge of that court.

    Commissioner Hester is a Commissioner of the Superior Court, not an attorney assigned

    to serve    as   a
                         temporary judge. ( See also Cal. Rules of Court, rule 2. 810.) Moreover, even


    if this Rule were to apply, the record contains no objection to Commissioner Hester

    hearing the vexatious litigation motion. Miner was represented by attorney Joseph C.

    Rosenblit.       The transcript from the hearing on September 22, 2022, reflects no objection

    made to the matter being heard by the Commissioner at the beginning of the hearing, and

    the minute order from that date otherwise reflects that Miner stipulated at the hearing to

    the Commissioner.          A stipulation    can   be expressed     or    implied. `'   An attorney may not sit

    back, fully participate in a trial and then claim that the court was without jurisdiction on

    receiving    a   result   unfavorable    to him." ( In   re   Horton (   1991)   54 Ca1. 3d 82, 91.) We find


    no error.




                                                   DISPOSITION



               The order declaring Miner to be a vexatious litigant and the prefiling order are

    affirmed. Respondent City of Desert Hot Springs shall recover its costs on appeal.




                                                              Jacqueline C. Jackson
                                                              Acting Presiding Judge of the Appellate
                                                              Division /


                                                              A     b'on
                                                                      ^ C•
                                                              Matthew Perantoni

                                                              Judge oft          Appellate Div'    ion




                                                              Marie Wood

                                                              Judge of the Appellate Division



                                                             12

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                                                        16
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                                                                                  Page
                                                                                     ID
                                       ID#:949
                                          #:543


 1                                     DECLARATION          OF GREGG ROBERTS

 2    I, Gregg Roberts, declare:
 3        1.       I state the following of my own personal knowledge and if called, I can and would testify
 4    competently thereto.

 5        2.       I am a paralegal, judgment enforcer, and registered process server. I am involved in legal
 6    issues daily.
 7        3.       I attended the hearing with Mr. Miner on 11/ 4/ 2021 at 1 lam at the City of Desert Hot
 8    Springs Police Department. I accompanied Mr. Miner to the Administrative hearing as a witness
 9    and to see how they are administered.
10        4.       When the hearing began Mr. Elio Palacios, Administrative Hearing Officer( sbn 216405)
11    was sitting at the end of the conference table. He was just a few feet from me and to my right.
12    Mr. Miner, who was also to my right, requested to audio record the current meeting. Mr. Palacios
13    refused to allow a recording by Mr. Miner. A conversation between Miner and Palacios began
14    about    a
                   previous   citation-#   27948D. Mr. Miner asked if Mr. Palacios was the hearing officer.
15    Mr. Palacios stated he was the hearing officer on that citation. Mr. Miner asked Mr. Palacios if
16    the City prosecutor had informed him that Mr. Miner would not be at that hearing. Elio Palacios,
17    the Administrative Hearing Officer( sbn 216405) stated clearly while in front of me, Tiyler
18    Messer, Joseph Miner and the City attorney Mr. Tuan- Anh Vu, that the City attorney Mr. Vu
19    never informed him that Mr. Miner would not be at the hearing. Mr. Palacios also stated clearly
20    that if the City attorney had informed him that if Mr. Miner was not going to be at the hearing
21    that he would not have held the hearing for citation# 27948D. Mr. Miner then asked Mr. Palacios
22    to vacate the default. Mr. Palacios rejected the request.

23

24        I declare under penalty of perjury under the laws of California that the foregoing is true and
25    correct. Executed this /        V l'A day of November 2021 at Riverside County, California.

26

27                                                                       ie-6-64-C
28                                                      Gregg Roberts


      FILE 2GOV6BA585M6QG462CP02                               1
                                                                                                         FAC PGPG282
                                                                                                   JRJM- WRIT-    11
                                                                                         FILE EXB4TO5T3S828R1J1TOX0
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                                   ID #:544




                                                         17
                                                Exhibit ___

                                                                     FAC PG 283
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               FAC PG 284
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                                                              ID #:545                                       005REC PG 005


. ,
      CITY OF.
      .COD‘ECOM PLIANCE DIVISION
       Code Compliance  Division
                                                 k DESERT HOT aPRINGS
                                                      65950 Pierson Blvd. • Desert Hot Springs • CA • 92240
                                                      (760) 329-6411• www.citvofdhs.org




                                            Administrative Citation #279480

                                                      Date Issued: August 18,
                                                                          18, 2021
                                                           APN:  657-220-005
                                                           APN: 657-220-005
                                                 Case
                                                 Cose Number:
                                                      Number: CODE-21-985
                                                               CODE-21-985
                                               66781 DILLON RD.,
                                     Properly: 66781
                             Subject Property:                              SPRINGS, CA 92240
                                                            RD., DESERT HOT SPRINGS,

         Parcel Owner:     MINER JOSEPH
                Owner: MINER     JOSEPH
                 Address: 2576 NEWPORT BLVD
         Mailing Address:
                          COSTA MESA,
                                 MESA, CA 92627
                                       CA 92627

         An inspection
         An            of your property
            inspection of                              the following vialaﬁon(s)
                                         tias revealed ttie
                               property has                          violation(s) of     Desert Hot
                                                                                     the Desert
                                                                                  of the        Hot
                 Municipai Code
         Springs Municipal Code section   (§_):
                                  section (§):

         Violations: '
         Violations:         Description:
                             Description:              Corrective Action:
                                                       Corrective Action:                                Fine-s:
                                                                                                         Fines:


         4.:16.‘010.A.5
         4.16.010.A.5         Public Nuisance- Fire
                                     Nuisance-Fire     Remove and
                                                       Remove                      of all dry or .
                                                                  properly dispose ot
                                                              and properly                                $100.00
          '                   Hazard                   dead plom‘     matter, combustible refuse and
                                                                plant mc’r’rer,
                                                       waste or or any
                                                                   any other moﬁer
                                                                                matter which by
                                                                                             by reason
                                                       of its size, manner of
                                                       of                     of growth and location,
                                                       constitutes a
                                                       constitutes     fire hazard
                                                                     a tire
         4.1-6.’O]0.A.19.e
         4.16.010.A.19.e      Public Nuisance-         Remove and properly dispose of        The large
                                                                                          ot the          $100.00
                      '       Visual Blight-
                                      Bliglnt- .       accumulation of    ofjunk,       and
                                                                            junk, trash and                         _
                              Junk/refuse/garbqge
                              Junk/refuse/garbage      miscellaneous household
                                                       miscellaneous           items from
                                                                     household items      The
                                                                                     from the
              .               visible
                              visible                  premises.
         4.16.010.A.  ,0
         4.16.010A,}1 .a      Public Nuisance
                              Public Nuisance          Remove all construction
                                                       Remove                  materials, auto
                                                                  construction materials,                 $]00.00
                                                                                                          $100.00
                              Abandoned
                              Abandoned                parts, equipment and household items
                                                       ports,
                              equipment
                              equipment,                                          do not
                                                                              and do
                                                       from exterior premises and    not store
                              machinery. or house
                              machinery, or            ou’rside.
                                                       outside.
                              items
                              items

         4.16.010.A.17
         4.16.010.A.17        Public Nuisance-
                              Public Nuisance-         Obtain a fencing permit for all wood               $100.30
                                                                                                          $100.00
                              Illegal,
                              Illegal,                 fencing        property. Or remove all
                                                                  The proper-1y.
                                                       fencing on the
                              Nonconforming            wOOd          on the
                                                       wood fencing on   The property.
                                                                             property.
                                          S’rrqure
                                       or Structure
                              Building or

         5.04.040.A
         5.04.040.A           General Business
                              General Business         Obtain a business license for your rental
                                                       Obtainla                                           $10000
                                                                                                          $100.00
                  ‘   ‘      License — License
                             License -                 property               Contact Ko’rtn
                                                                 immediately. Contact
                                                       property immediately.             Kathlyn
                             Required                  Palmer In
                                                       Palmer     the Finance
                                                               in the Finance Division.
                              '                        (Kpolmer@ci’ryofdhs.org or (760)329-6411
                                                      (Kpalmer@cityofdhs.org        (760)329-641 1
                                                      Ext   24])
                                                       Ext. 241)




                                                                                   TOTAL FINES:
                                                                                         FINES;$500...
                                                                                                $500.00

      ' Tiyl_erMesser,:-C@d'e
        Tiyler Messer, Code Compliance Ofﬁcer
                                       Officer           tmesse’ciWofdMg
                                                         tmesser@cityofdhs.orc                                     cpl-[30002
                                                                                                                   CDHS0002
                                                                                                                        FAC PG 284
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 1                    SUPERIOR COURT - STATE OF CALIFORNIA
 2                                COUNTY OF RIVERSIDE
 3                                         -o0o-
 4
 5 CITY OF DESERT HOT SPRINGS,         )
                                       )
 6               Plaintiff/Respondent, )
                                       )
 7          vs.                        ) Case No. CVPS2106001
                                       )          CVPS2106016
 8 JOSEPH MINER,                       )
                                       )
 9               Defendant/Appellant.  )
   ____________________________________)
10
11
12                    REPORTER'S TRANSCRIPT OF PROCEEDINGS
13                   BEFORE THE HONORABLE MANUEL BUSTAMANTE
14                                  FEBRUARY 9, 2024
15 APPEARANCES:
16 For Plaintiff/Respondent:           STREAM KIM, HICKS, WRAGE, ALFARO
                                       BY: TUAN-ANH VU
17                                     ASHLEY PAYNE
                                       3403 Tenth Street, Suite 700
18                                     Riverside, California 92501
19
20
21 For Defendant/Appellant:            JOSEPH MINER
                                       IN PROPRIA PERSONA
22                                     P.O. BOX 11650
                                       Costa Mesa, California 92627
23
24
25
26
27
28 Reported by:                        DOROTHY JAEGER, CSR 8259



                                   DOROTHY JAEGER, CSR                             1
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 1                      FEBRUARY 9, 2024 - MORNING SESSION
 2                    BEFORE THE HONORABLE MANUEL BUSTAMANTE
 3            THE COURT:      First is Miner versus City of Desert Hot
 4 Springs, and then we also have Miner versus City of Desert
 5 Hot Springs.       Let's first call the matter ending in 6001.
 6            Can we please have the parties announce their
 7 appearances beginning first with plaintiff's counsel or it
 8 should be the respondent.
 9            MS. PAYNE:      This is Ashley Payne representing the
10 City of Desert Hot Springs.
11            MR. VU:     Tuan-Anh Vu for the City of Desert Hot
12 Springs.
13            THE COURT:      Okay.    Good morning, counsel.
14            MR. MINER:      Joseph Miner, in pro per.
15            THE COURT:      Okay.    Good morning.       Counsel, Mr. Miner,
16 you're welcome to have a seat, however you are most
17 comfortable.
18            MR. MINER:      Thank you, Judge Bustamante.
19            THE COURT:      One moment.
20            Okay.     We do have a signed order on this matter for
21 Madame Court Reporter.          I believe we don't have one on the
22 next matter, but seeing that Madame Court Reporter is already
23 here, I'll go ahead and sign the order on that one as well.
24 We can just add the case number.             Thank you.
25            Okay.     The Court did post its tentatives on both
26 these matters.       Really, the Court's reasoning or more the
27 Court's lack of authority is the same on both but, Mr. Miner,
28 if would you like to be heard.



                                   DOROTHY JAEGER, CSR                             2
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 1           MR. MINER:       Okay.    May I argue both in the same
 2 colloquy, Your Honor, because the things that I'm going to
 3 argue are the same.
 4           THE COURT:       Of course, please.
 5           MR. MINER:       Okay.    Very good.
 6           My name is Joseph Miner.           I'm the defendant.         I'm
 7 self-represented.         Recently an order signed by presiding
 8 Justice Raphael, I was declared the defendant and appellant
 9 in the Court of Appeal.
10           I'd like to make certain this is live streamed for my
11 attorney, but apparently that has been turned off, correct?
12           THE COURT:       Correct.    The Livestream is for the --
13 for litigants to appear, and it's really optional at that
14 point.
15           MR. MINER:       Okay.    Very good.
16           THE COURT:       Those departments don't Livestream
17 anymore but we still do.
18           MR. MINER:       Okay.    Very good.     Thank you, Your Honor.
19           The argument is the trial court had no jurisdiction.
20           THE COURT:       And, Mr. Miner, you mentioned something
21 about your attorney.         Are you self-represented?
22           MR. MINER:       Yes, I'm self-represented, but they were
23 going to watch, that's all.
24           THE COURT:       Okay.
25           MR. MINER:       Okay.    Very good.
26           The argument is that the trial court had no
27 jurisdiction.       The Appellate Division improperly upheld the
28 jurisdiction that does not exist.             I continue to contend the



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 1 two judgments are void for lack of jurisdiction.                 The first,
 2 the jurisdiction of the commissioner.
 3           Jurisdiction to act as a judge comes from the
 4 Constitution or statute.          I would like to read a small
 5 portion of Government Code 53069.4(b),(3) into the record, if
 6 that's okay with the Court.
 7           THE COURT:       Please.
 8           MR. MINER:       Government Code 53069.4, section(b),(3):
 9           "The conduct of the appeal under this section is a
10 subordinate judicial duty that may be performed by traffic
11 trial commissioners and other subordinate judicial officials
12 at the direction of the presiding judge of the court."
13           Now, what that doesn't say is that the subordinate
14 judicial official can hear and determine the matter or render
15 judgment.     It's very common for subordinate judicial officers
16 to conduct the appeal and submit their findings to the judge
17 of the court, and that never happened in cases CVPS2106001,
18 and CVPS2106016.
19           Both cases were heard together by Arthur Hester, and
20 there was no notice that he would be acting as a temporary
21 judge.    And the Appellate Division has not indicated, nor did
22 the Court indicate what gave Arthur Hester, as a subordinate
23 judicial officer, the jurisdiction to render judgment on
24 either of the two cases.
25           So, Your Honor, I am stumped.            If I can ask this
26 Court to clarify what statute gives Arthur Hester
27 jurisdiction, as a subordinate judicial officer, to do
28 anything other than conduct the hearing.                I'd ask for



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 1 clarification.
 2           THE COURT:       Okay.     Is that complete?
 3           MR. MINER:       No, just a few more minutes.
 4           THE COURT:       Okay.     Please keep in mind that your
 5 record is already; one, this has already been to the
 6 Appellate Division so I'm going to make this short.
 7           MR. MINER:       Okay.
 8           THE COURT:       You're asking this Court to substitute
 9 its judgment for that of the Appellate Division, it doesn't.
10 It doesn't work that way and nor should it, it's a system of
11 checks and balances.         So this -- the trial court receives
12 direction from an appellate court or, in this case the
13 Appellate Division, the same methods whether it's a small
14 claims matter -- small claims matters originating in PS4
15 where they actually are the reviewing authority.                 So these
16 issues that you brought up have already been previously
17 reviewed.
18           When it first came on the docket I reviewed it and,
19 frankly, the Court was stumped until I looked into it further
20 as to what this Court could do, if anything.                And once I
21 looked into it further, and also, you know, did some
22 additional legal research with some assistance, there isn't
23 much this Court can do.            So you're asking the Court to
24 reconsider and also substitute its judgment for that of
25 appellate reviewing authority.            I'm not sure what you're
26 asking the Court to do here, this has already been decided.
27           MR. MINER:       Okay.     I understand.
28           THE COURT:       And your moving papers, you cited 5306.9



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 1 of the Government Code, all of that, it's already in your
 2 moving papers for the instant motion today.                It's already in
 3 the motions on your -- on your appeal so all of that is
 4 already part of the record.            If you're simply just going to
 5 read your motion back, I assure you those will be part of the
 6 record, but reading them to me essentially is not the best
 7 use of your time, it's already part of the record, sir.
 8           MR. MINER:       I understand, Your Honor.
 9           THE COURT:       Okay.
10           MR. MINER:       Point well taken.
11           THE COURT:       Thank you.
12           MR. MINER:       I do want to clarify just a couple of
13 other things and then I'll be completed.
14           THE COURT:       Go ahead.
15           MR. MINER:       Okay.    This case is an administrative
16 citation appeal de novo by statute.             This is not a small
17 claims matter, nor is it a traffic citation infraction
18 matter.     There is a difference, a significant difference
19 between a administrative citation de novo appeal and a small
20 claims de novo appeal.          The small claims de novo appeal does
21 not allow discovery, and there are other various issues that
22 I was not permitted in trial court.
23           Jurisdiction was never waived or forfeited, and I do
24 agree with the Court that this is a limited civil case.                         And
25 I would just close by the statute very specific, it gives no
26 authority to render judgment to subordinate judicial officer.
27 And I would like you just to reconsider the rulings, if
28 possible.     Thank you, Your Honor.



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 1           THE COURT:       Okay.    Thank you, Mr. Miner.
 2           Counsel for Respondent.
 3           MS. PAYNE:       We'd just like to emphasize that the
 4 Court does not have authority to rule on this motion in
 5 Mr. Miner's favor.
 6           Unless the Court has any further questions, the City
 7 submits on the tentative.
 8           THE COURT:       Okay.    One moment.
 9           Okay.     Mr. Miner, to be clear, your argument pertains
10 to both matters on calendar?
11           MR. MINER:       That's correct, Your Honor.
12           THE COURT:       Okay.    Your motion that was brought under
13 CCP 473 to set aside or to vacate the judgment on record is
14 denied.
15           The Court cannot -- the Court doesn't have authority,
16 at least that's the Court's interpretation.                You mentioned
17 that 5306.94, and pursuant to that authority it does appear
18 that the conduct of the appeal is a function as a subordinate
19 judicial officer on the form including traffic trial
20 commissioners and other subordinate judicial officers at the
21 direction of the presiding judge of the Riverside Superior
22 Court.    In this case at the time it looks like it was
23 Commissioner Hester.
24           And, again, this matter has already been affirmed on
25 appeal.     You mentioned it is a limited matter so rather than
26 go to the District Court of Appeal it goes to the Appellate
27 Division comprised of magistrates from the Riverside Superior
28 Court.



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 1           An opinion has been issued, there is not for this
 2 court to substitute this judgment.             So although the Court
 3 does concur after review, we concur with the Appellate
 4 Division, that really is not of any consequence.                 So the
 5 motions are denied under both matters, and I think that's it.
 6           Regarding notice, since you're here, Mr. Miner, do
 7 you waive notice?
 8           MR. MINER:       No, I don't waive notice, Your Honor.
 9           THE COURT:       Okay.    Counsel, if you could please
10 provide notice.
11           All right.       Thank you.     You each have a nice day.
12           MR. MINER:       Thank you very much, Judge Bustamante.
13 Thank you.
14                             (Proceedings concluded.)
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 1                              REPORTER'S CERTIFICATE
 2
 3
 4 CITY OF DESERT HOT SPRINGS,         )
                                       )
 5          Plaintiff/Respondent       )
                                       )
 6          vs.                        ) Case No. CVPS2106001
                                       )
 7 JOSEPH MINER,                       )          CVPS2106016
                                       )
 8          Defendant/Appellant.       )
   ____________________________________)
 9
10
11           I, Dorothy Jaeger, Certified Shorthand Reporter
12 No. 8259, hereby certify:
13            On February 9, 2024, in the county of Riverside,
14 State of California, I took in stenotype a true and correct
15 report of the testimony given and proceedings had in the
16 above-entitled case, pages 2-8, and that the foregoing is a
17 true and accurate transcription of my stenotype notes and is
18 the whole thereof.
19
20 DATED:    Indian Wells, California; April 25, 2024.
21
22
23                                          ___________________________
24                                          DOROTHY JAEGER, CSR 8259
25
26
27
28



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                                                        19
                                                Exhibit ___

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                                                 444 South Flower  Street - Suite 2400
                                                               ID #:557
                                                 Los Angeles, California 90071-2953
                                                 voice 213.236.0600 - fax 213.236.2700
                                                 www.bwslaw.com




                                                                                                              Direct No.: 213.236.2862
                                                                                                              Our File No.: 07024.0336
                                                                                                                 eollivier@bwslaw.com
                                                              June 10, 2024



           VIA U.S. MAIL and BY HAND

           Honorable Chad W. Firetag
           Presiding Judge of the Appellate Division
           Honorable Matthew Perantoni
           Judge of the Appellate Division
           Honorable Marie E. Wood
           Judge of the Appellate Division
           Superior Court, County of Riverside
           Appellate Division
           4100 Main Street
           Riverside, CA 92501

                    Re:       Supplemental Briefing
                              Alessandra Montanaro v. City of Cathedral City
                              Case Number: APRI2300078
                              [Appeal from Superior Court, Riverside County Case No. CVPS2302625]

           Dear Honorable Firetag, Perantoni, and Wood:

                  Respondent City of Cathedral City (the “City”), hereby submits this Supplemental
           Briefing in response to the Court’s order dated May 20, 2024, whereby the court invited
           the parties to provide further briefing on the following issues:

                    1.        Whether the administrative fine of $5,000 for a first violation of the City's
                              short term rental ordinance violates Government Code section 36900(d).

                    2.        Whether the administrative fine of $5,000 is proportionate to the violation
                              under the Excessive Fines clause of the United States and California
                              Constitutions. (See People ex rel. Lockyer v. R. J. Reynolds Tobacco Co.
                              (2005) 37 Ca1.4th 707, 727-729; Pacific Gas & Elec. Co. v. Public Utilities
                              Com. (2015) 237 Cal.App.4th 812, 863-864.)

           I.       California Government Code Section 36900(d) Does Not Apply to
                    Administrative Penalties.

                 California Government Code Section 53069.4 authorizes local governments to
           enact an administrative process to enforce violations of any ordinance through the
           imposition and collection of administrative fines or penalties. The law was intended “to


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Los Angeles – Inland Empire – Marin County – Oakland – Orange County – Palm Desert – San Diego – San Francisco – Silicon Valley – Ventura County
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provide a faster and more cost-effective enforcement mechanism than a criminal
prosecution for the violation of a local ordinance.” (County of Humboldt v. Appellate
Division of Superior Court (2020) 46 Cal.App.5th 298, 305.) California Government Code
Section 53069.4 provides that “[t]he legislative body of a local agency . . . may by
ordinance make any violation of any ordinance enacted by the local agency subject to an
administrative fine or penalty. The local agency shall set forth by ordinance the
administrative procedures that shall govern the imposition, enforcement, collection, and
administrative review by the local agency of those administrative fines or penalties.” (Cal.
Gov. Code § 53069.4(a)(1).)

        “Unless a code violation is designated an infraction, section 53069.4 places no
limit on the amount the local agency can assess for the violation. (See Gov. § 53069.4,
subd. (a)(1) [capping fines for local infractions under Gov. Code, §§ 25132, 36900, subd.
(b) to maximum of $100 to $2,500].)” (County of Humboldt, 46 Cal. App. 5th at 312.)

       In contrast, Government Code section 36900(d) imposes fine limits for the violation
of a short-term rental ordinance that is an infraction. (Cal. Gov. Code. § 36900(d)(1).)
Such fine limits “apply only to infractions that pose a threat to public health or safety.”
(Cal. Gov. Code. § 36900(d)(4).)

         Under the authority granted by section 53069.4, Cathedral City imposed a
procedure for the imposition of administrative penalties for violations of the City’s short-
term vacation rental ordinance. Pursuant to the Cathedral City Municipal Code (“CCMC”)
“[f]ailure to obtain an initial new permit or renewal permit before renting and/or advertising
the short-term vacation rental shall result in fines, penalties and other remedies as
provided in this chapter, including, but not limited to, future denial.” (CCMC §
5.96.040(C).) “Owners and/or managing agents and/or agents and/or operators of an
unlicensed short-term vacation rentals are expressly prohibited from operating in the city
and are illegal and are prohibited from being marketed as short-term vacation rentals
available for lodging within the city.” (CCMC § 5.96.080(D).) The operation of a short-
term vacation rental includes the advertisement of the property on any web based
advertising and/or hosting platform. (CCMC § 5.96.050(M)(1).)




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        An owner of the property who violates Chapter 5.96 of the Municipal Code is
subject to an administrative citation pursuant to Chapter 13 of the Municipal Code.
(CCMC § 5.96.070(B)(2).) “In addition or in the alternative, any violation of this chapter
may constitute a misdemeanor which may be subject to the maximum punishment
therefor as allowed by law.” (CCMC § 5.96.070(B)(4).) However, a code compliance
officer or other authorized agent may issue an administrative citation in lieu of requesting
the city attorney to file a criminal complaint for an infraction or misdemeanor violation of
the municipal code. (CCMC § 13.58.010.)

         Cathedral City Resolution No. 2022-14, provides in pertinent part that “[a]ny person
who operates and/or advertises a STVR without a permit, in violation of Section 5. 96.
040(C) of the Cathedral City Municipal Code shall be subject to the following penalties:
. . . . First violation: $ 5, 000.00 and future denial of permit authorizing STVR operation
within the City, for a period of one ( 1) year.”

        Appellant Alessandra Montanaro (“Appellant”) was issued Administrative Citation
No. 13777 for violating CCMC section 5.96.040(C), i.e., operating an STVR without a
permit, and ordered to “cease and desist short term rental activity and advertising.” The
citation ordered Appellant to pay the administrative fine and informed her of the
procedures to appeal the administrative citation.

      The Municipal Code, and administrative citation no. 13777, clearly and equivocally
provide that the fine imposed by the City for violating Chapter 5.96 of the Municipal Code
is administrative. Because the fine imposed pursuant to Cathedral City Resolution No.
2022-14 is administrative, rather than criminal, the fine limits for criminal infractions under
Government Code section 36900(d) do not apply.

II.      The Administrative Fine Is Not Constitutionally Excessive.


       “The touchstone of the constitutional inquiry under the Excessive Fines Clause is
the principle of proportionality.” (People ex rel. Lockyer v. R.J. Reynolds Tobacco Co.,
(2005) 37 Cal. 4th 707, 728, citing United States v. Bajakajian (1998) 524 U.S. 321, 334,
337-338.) The four considerations to evaluate proportionality include “(1) the defendant's


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culpability; (2) the relationship between the harm and the penalty; (3) the penalties
imposed in similar statutes; and (4) the defendant's ability to pay. [Citation]” (Id.)
      Here, the four-part Bajakajian test shows that the imposition of the City’s short-
term vacation rental fine did not violate the Excessive Fines Clause.

         First, “courts routinely consider a person's unwillingness to comply with the law
when considering whether a fine is excessive under the Eighth Amendment.” (Lent v.
California Coastal Commission, 62 Cal. App. 5th 812, 857–58, citing People v. Braum
(2020) 49 Cal.App.5th 342, 361 [landlord's flagrant disobedience of city ordinances and
court orders demonstrated his culpability]; City and County of San Francisco v. Sainez
(2000) 77 Cal.App.4th 1302, 1322 [landlord's “numerous instances of ignoring or
disobeying orders to abate or rectify substandard housing conditions affecting the public
health and safety” demonstrated his culpability]; Ojavan Investors, Inc. v. California
Coastal Commission (1997) 54 Cal.App.4th 373, 398 [$9.5 million penalty imposed by the
Commission was not excessive, in part because of the investor's “flagrant disregard of
the . . . restrictions” on development].)

       Here, Appellant was provided notice via email on October 27, 2022 and December
5, 2022, that effective January 1, 2023, the City would enforce the City Council approved
Short-Term Vacation Rental phase out program, and that citations and fines would be
issued for non-compliance. Despite notice of the City’s intent to enforce the Municipal
Code and impose fines for non-compliance, the administrative hearing officer and trial
court found sufficient evidence to support a finding that Appellant advertised her property
on Airbnb for a minimum of three nights, in violation of the Municipal Code.

        Second, the City has a valid and strong interest in regulating the use of privately
owned residential dwellings as short-term vacation rentals, to ensure the collection and
payment of applicable transient occupancy taxes, and to minimize the negative secondary
effects of short-term vacation rentals on surrounding residential neighborhoods. (Sainez,
77 Cal.App.4th at p. 1315 [securing obedience to code requirements through penalties is
a legitimate exercise of the police power]; Hale v. Morgan (1978) 22 Cal. 3d 388, 398.)

       Third, the fines imposed by the City for operating an unpermitted short-term
vacation rental unit are comparable to those across similar municipalities. (City of Palm


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Desert Municipal Code § 15.10.120(E) [$5,000 fine for first citation for operating a short-
term rental unit without a valid short-term rental permit]; City of Palm Springs Municipal
Code § 5.25.090(C) [$5,000 fine for operating a vacation rental without a vacation
registration certificate]; City of Rancho Mirage Municipal Code § 17.30.270(D) [ $5,000
fine for operating a short-term rental].)

        Further, “courts have rejected excessive fine challenges to civil penalties of several
million dollars imposed under statutes authorizing daily penalties.” (Lent, 62 Cal. App.
5th at 860, citing Pacific Gas & Electric co. v. Public Utilities Commission (2015) 237
Cal.App.4th 812, 866-867 [$14.35 million penalty against a gas pipeline operator for
failing to report information]; People v. Braum, 49 Cal.App.5th at 359 [$5,967,500 penalty
against a landlord who leased property to a marijuana dispensary operator in violation of
local ordinance]; Ojavan, 54 Cal.App.4th at 398 [$9.5 million penalty against an investor
for violations of Coastal Act].)

       Fourth, Appellant has failed to demonstrate her inability to pay the administrative
fine, nor has she submitted any evidence concerning her financial status. (People v.
Braum, 49 Cal. App. 5th at 362.)

       As such, the City respectfully requests this Court to find that the administrative fine
is proportionate to Appellants violation.
                                               Respectfully submitted,

                                                BURKE, WILLIAMS & SORENSEN, LLP



                                                Eric S. Vail, City Attorney
                                                Algeria R. Ford
                                                Eileen L. Ollivier
                                                Attorneys for City of Cathedral City


ELO/tg


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                                      PROOF OF SERVICE

        I Teresa Gonzalez declare that I am over the age of eighteen (18) and not a party
to this action. My business address is 1770 Iowa Avenue, Suite 240, Riverside, California
92507.

      On June 10, 2024, I served the following document(s): SUPPLEMENTAL
BRIEFING on the interested parties in this action by placing a true and correct copy of
such document, enclosed in a sealed envelope, addressed as follows:

(X)               BY EMAIL. I caused the document described above, to be sent via email
                  (tgonzalez@bwslaw.com) in PDF format to the above-referenced person(s)
                  at the email addresses listed. [Per the Judicial Council Temporary Rule 12
                  re: COVID-19 our firm will be serving all parties via email. I will be serving
                  the email address listed above. Please advise if your office would like me
                  to add anyone to the recipient list.]

 Appellant Pro Se:                                Alessandra Montanaro
                                                  631 Amherst Drive
                                                  Burbank, CA 91504
                                                  Alessandra Montanaro
                                                  Telephone: (818) 482-4009
                                                  E-mail: desertcharm77@yahoo.com

         Executed June 10, 2024, Riverside, California.

(X)               (State)       I declare under penalty of perjury under the laws of the State
                                of California that the above is true and correct.



                                                            Teresa Gonzalez




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                                                                                      FAC PG 301
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                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       DEC 30 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

CORRINE MORGAN THOMAS; et al.,                  No.    23-15847

                Plaintiffs-Appellants,          D.C. No. 1:22-cv-05725-RMI

  v.
                                                MEMORANDUM*
COUNTY OF HUMBOLDT, California; et
al.,

                Defendants-Appellees,

 and

VIRGINA BASS, Chair, Board of
Supervisors,

                Defendant.

                   Appeal from the United States District Court
                      for the Northern District of California
                   Robert M. Illman, Magistrate Judge, Presiding

                       Argued and Submitted April 9, 2024
                           San Francisco, California

Before: PAEZ and SUNG, Circuit Judges, and FITZWATER,** District Judge.


       *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
       **
            The Honorable Sidney A. Fitzwater, United States District Judge for
the Northern District of Texas, sitting by designation.


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       This putative class action arises out of Humboldt County’s system of

penalties and fees involving cannabis abatement. Plaintiffs—residents of

Humboldt County—filed this action under 42 U.S.C. § 1983, alleging a number of

constitutional claims against the County.1 The district court dismissed all claims in

their entirety on various grounds. We have jurisdiction under 28 U.S.C. § 1291.

We reverse in part, affirm in part, and remand for further proceedings consistent

with this disposition.

       1.    We first conclude that Plaintiffs have standing to bring both their

procedural and substantive due process claims. Accepting Plaintiffs’ well-pleaded

factual allegations as true and drawing all reasonable inferences in their favor, see

Pennell v. City of San Jose, 485 U.S. 1, 7 (1988), Plaintiffs have plausibly alleged

that they received Notices of Violations (NOVs) for failure to comply with the

County’s cannabis abatement program and that the County imposed penalties

against them under the County’s administrative penalty scheme. As a consequence

of these NOVs and penalties, Plaintiffs allege they have suffered emotional and

psychological distress as well as significant financial uncertainty. Plaintiffs have

thus alleged concrete injuries caused by the County’s actions. See Chaudhry v.

City of Los Angeles, 751 F.3d 1096, 1109 (9th Cir. 2014) (finding emotional


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      In a separately filed opinion, we address Plaintiffs’ claim that the County’s
system of penalties and fees violates the Eighth Amendment’s Excessive Fines
Clause.

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distress cognizable); Robins v. Spokeo, Inc., 867 F.3d 1108, 1117 (9th Cir. 2017)

(observing that “anxiety, stress, concern, and/or worry about [the plaintiff’s]

diminished employment prospects” are cognizable injuries). In addition, Plaintiffs

have plausibly alleged that they applied for land-use permits but were denied as a

result of the County’s blanket policy of refusing to issue permits to people facing

cannabis-abatement orders. This is also sufficient to establish a concrete injury for

standing purposes. See Carpinteria Valley Farms, Ltd. v. Cnty. of Santa Barbara,

344 F.3d 822, 830 (9th Cir. 2003).

       2.    Plaintiffs also have standing to maintain their claims under the

unconstitutional-conditions doctrine. Plaintiffs allege that the County has

conditioned land-use permits unrelated to cannabis or cannabis abatement on the

settlement of separate (and contested) cannabis-related violations. Plaintiffs

further allege that such leveraged settlements, whether accepted or not, would

require them to pay penalties unrelated to the land-use permits, pay administrative

fees unrelated to the land-use permits, and waive their rights to an administrative

hearing to contest an NOV. Under Koontz v. St. Johns River Water Mgmt. Dist.,

570 U.S. 595 (2013), this form of conditioning gives rise to a “constitutionally

cognizable injury.” Id. at 607.

       3.    Turning to the merits, Plaintiffs allege that the County’s system of

imposing administrative penalties and fees for purported cannabis-related


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violations deprived them of procedural due process. “To evaluate a procedural due

process claim, we weigh the [factors set out in Mathews v. Eldridge, 424 U.S. 319,

335 (1976)]: ‘(1) the private interest affected; (2) the risk of erroneous deprivation

through the procedures used, and the value of additional procedural safeguards;

and (3) the government’s interest, including the burdens of additional procedural

requirements.’” Diamond S.J. Enter., Inc. v. City of San Jose, 100 F.4th 1059,

1069 (9th Cir. 2024) (quoting Yagman v. Garcetti, 852 F.3d 859, 864 (9th Cir.

2017)).

       As to the first factor, Plaintiffs have plausibly alleged that cognizable private

interests are at stake, including both their finances and the full use and enjoyment

of their property. See Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 571-72

(1972); Harris v. Cnty. of Riverside, 904 F.2d 497, 503 (9th Cir. 1990). In

addition, Plaintiffs allege that these interests are significant. For example,

Plaintiffs allege that the penalties imposed against them can reach millions of

dollars. The minimum penalties accrued by Plaintiffs and other responsible parties

are also significant, especially when compared to the average income of the

residents subject to the County’s cannabis regulatory scheme. Cf. Nozzi v. Hous.

Auth. of Los Angeles, 806 F.3d 1178, 1193 (9th Cir. 2015). In combination with

the alleged deprivation of access to land-use permits for those with outstanding

cannabis-related NOVs, this impact suggests the existence of substantial private


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interests.

       As to the second factor, taking Plaintiffs’ allegations in the amended

complaint as true, the risk of erroneous deprivation through the County’s

administrative procedures weighs strongly in Plaintiffs’ favor. Plaintiffs allege a

slew of procedural irregularities that heighten the probability of an erroneous

deprivation. These include, for example, (1) vague notices, cf. Nozzi, 806 F.3d at

1194, that fail to describe the specific location of a violation, or the date on which

the ten-day clock to appeal the violation begins to run; (2) the imposition of

penalties and fees without a “reasonably reliable basis,” Yagman, 852 F.3d at 864

(quotation omitted); cf. Stypmann v. City & Cnty. of San Francisco, 557 F.2d 1338,

1343 (9th Cir. 1977), both by charging property owners with violations based on

unconfirmed, imprecise, or outdated satellite images and by holding property

owners accountable for previous owners’ cannabis-related violations, even when

the violations were not properly recorded;2 (3) undue delays in scheduling appeal

hearings, cf. United States v. Crozier, 777 F.2d 1376, 1383-84 (9th Cir. 1985); and

(4) potentially biased hearing officers, cf. Yagman, 852 F.3d at 865. These alleged

deficiencies are likely to result in erroneous deprivations, and they are much more

likely to do so than the procedures that were in place before the County enacted the


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       Relatedly, Plaintiffs allege that the County does not record existing
violations against the subject properties, thereby depriving subsequent purchasers
of constructive knowledge of previous violations.

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cannabis-abatement regulatory scheme challenged here.

       Finally, Plaintiffs have plausibly alleged that there is no clear governmental

interest in maintaining this administrative penalty system. Plaintiffs allege that the

County’s previous system was significantly different. The previous system gave

property owners at least seventy-five days to abate violations. It also required a

hearing before the Board of Supervisors, and the Board could not assess a penalty

before such a hearing. And though the interests identified by the County—

“environmental quality, residential quality of life, and fair competition with those

who bear the burdens to operate in nascent legal market for cannabis”—are

undoubtedly important, it is far from obvious how these interests are served by the

County’s imposing significant heavy penalties for vague alleged violations with

minimal procedural safeguards. Cf. Stypmann, 557 F.2d at 1344.

       In sum, we conclude that Plaintiffs have plausibly alleged that the County’s

system of administrative penalties violated their procedural due process rights. We

therefore reverse the district court’s dismissal of this claim.

       4.    Plaintiffs further allege that the County’s system of penalties and fees

violates their substantive due process rights. “A substantive due process claim

involves the balancing of a person’s liberty interest against the relevant

government interests.” Freedom to Travel Campaign v. Newcomb, 82 F.3d 1431,

1438 (9th Cir. 1996). Importantly, “the protection from governmental action


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provided by substantive due process has most often been reserved for the

vindication of fundamental rights.” Halverson v. Skagit Cnty., 42 F.3d 1257, 1261

(9th Cir. 1994). “Accordingly, where . . . the plaintiffs rely on substantive due

process to challenge governmental action that does not impinge on fundamental

rights, we do not require that the government’s action actually advance its stated

purposes, but merely look to see whether the government could have had a

legitimate reason for acting as it did.” Id. (internal quotation marks and citation

omitted). In other words, to establish a substantive due process violation based on

the County’s procedures in the absence of an infringed fundamental right,

Plaintiffs “must show the procedures are ‘clearly arbitrary and unreasonable,

having no substantial relation to the public health, safety, morals or general

welfare.’” Yagman, 852 F.3d at 867 (quoting Samson v. City of Bainbridge Island,

683 F.3d 1051, 1058 (9th Cir. 2012)). “This is an ‘exceedingly high burden.’” Id.

(quoting Samson, 683 F.3d at 1058).

       We conclude that Plaintiffs have plausibly alleged both a violation of a

fundamental right and that the County lacks “any reasonable justification in the

service of a legitimate governmental objective” in its enforcement of the cannabis

abatement scheme. Id. (quoting Samson, 683 F.3d at 1058).

       First, Plaintiffs have sufficiently alleged that the County has violated their

fundamental due process right to a showing of personal guilt. See Scales v. United


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States, 367 U.S. 203, 225 (1961). Plaintiffs rely on the doctrine that “[p]enalizing

conduct that involves no intentional wrongdoing by an individual can run afoul of

the Due Process Clause.” Rucker v. Davis, 237 F.3d 1113, 1124 (9th Cir. 2001),

rev’d sub nom. on other grounds Dep’t of Hous. & Urb. Dev. v. Rucker, 535 U.S.

125 (2002); see also Sw. Tel. & Tel. Co. v. Danaher, 238 U.S. 482, 490-91 (1915)

(similar). Plaintiffs’ most compelling illustration of this violation is their

allegation, which we must accept as true, that the County institutes administrative

proceedings—resulting in the imposition of heavy fines—for facilitating the

cultivation of cannabis, even when it knows or should know that the party is not

responsible. For example, Plaintiffs allege that the County has repeatedly charged

new property owners with the cannabis-related offenses of previous owners,

thereby severing the administrative proceedings from individual culpability.

       Second, Plaintiffs have adequately alleged that the County’s administrative

penalty procedures are “clearly arbitrary and unreasonable, having no substantial

relation to the public health, safety, morals or general welfare.” Yagman, 852 F.3d

at 867 (quoting Samson, 683 F.3d at 1058)).

       The district court dismissed Plaintiffs’ allegations as “implausible,”

underscoring that Plaintiffs “purchased properties with existing code violations.”

This reasoning, however, ignores Plaintiffs’ well-pleaded allegations that the

County does not record existing violations against the property, thereby depriving


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subsequent purchasers of the most common method of learning about claims

against the property.

       Moreover, the district court disregarded Plaintiffs’ allegations that the

County imposed fees on the basis of violations related to the cultivation of

cannabis, even in cases where it knew or should have known that the current

landowners were not responsible for the underlying violation. It is irrelevant that

Plaintiffs were aware of other property violations because the substantive due

process claims are based on the missing connection between the NOVs—which are

predicated on cannabis-related conduct—and Plaintiffs’ lack of culpability. Under

these circumstances, a practice of charging subsequent owners of a property with

the cannabis-based offenses of the previous owners cannot be said to have “any

reasonable justification in the service of a legitimate governmental objective.” Id.;

see also Sinaloa Lake Owners Ass’n v. City of Simi Valley, 882 F.2d 1398, 1410

(9th Cir. 1989), overruled on other grounds by Armendariz v. Penman, 75 F.3d

1311 (9th Cir. 1996).

       5.    Plaintiffs have also plausibly alleged that the County’s procedure for

evaluating land-use permit applications violates the unconstitutional conditions

doctrine. “[T]he unconstitutional conditions doctrine . . . vindicates the

Constitution’s enumerated rights by preventing the government from coercing

people into giving them up.” Koontz, 570 U.S. at 604. The Supreme Court has


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specifically recognized a “special application” of this doctrine that “protects the

Fifth Amendment right to just compensation for property the government takes

when owners apply for a land-use permit.” Id. This doctrine “prohibits the

government from ‘deny[ing] a benefit to a person because he exercises a

constitutional right’ or ‘coercing people into giving [those rights] up’ by imposing

unconstitutional conditions on the use of private land.” Ballinger v. City of

Oakland, 24 F.4th 1287, 1298 (9th Cir. 2022) (citing Koontz, 570 U.S. at 604,

612). The Supreme Court has extended this prohibition to conditioning land-use

permits on monetary exactions and mandatory grants of easements. See Koontz,

570 U.S. at 612. Such conditions are only permissible if there is a “‘nexus’ and

‘rough proportionality’ between the property that the government demands and the

social costs of the applicant’s proposal.” Id. at 605-06 (citations omitted).

       Here, Plaintiffs allege that the County violates the unconstitutional

conditions doctrine by conditioning land-use permits on the settlement of cannabis-

related violations unrelated to the desired permits. Indeed, Plaintiffs allege that the

County has withheld land-use permits unrelated to cannabis abatement until

Plaintiffs agree to settle their cannabis abatement cases. In so doing, Plaintiffs

have alleged that the County aims to coerce property owners into accepting

responsibility for violations they contend they did not commit, paying a significant

fine related to such violations, and forgoing their right to an administrative hearing.


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Such conditions, even those based on settlements, are not permitted under the

unconstitutional conditions doctrine where there is no “close nexus” between the

conditions imposed and the permits requested. Davies v. Grossmont Union High

Sch. Dist., 930 F.2d 1390, 1399 (9th Cir. 1991).

       In discussing this claim, the district court ignored Plaintiffs’ well-pleaded

allegations and misapplied the law. For example, the court determined that no

plaintiff had applied for a non-remedial land-use permit during the pendency of

their cannabis-abatement case, even though Plaintiffs specifically allege otherwise.

In addition, the district court’s observations about the County’s eventual

acceptance of one such application—specifically, that it was ultimately “accepted

and granted on the spot”—ignored Plaintiffs’ allegations that (1) the County had

previously expressed it would not do so until that plaintiff settled, and (2) the

County eventually did so only after that plaintiff paid administrative fees related to

the “baseless cannabis charges” the County had pursued against him and ultimately

dropped. In failing to recognize that the conditioning of permits on the settling of

unrelated violations is a viable constitutional claim, the district court disregarded

the Supreme Court’s admonition that “regardless of whether the government

ultimately succeeds in pressuring someone into forfeiting a constitutional right, the

unconstitutional conditions doctrine forbids burdening the Constitution’s

enumerated rights by coercively withholding benefits from those who exercise


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them.” Koontz, 570 U.S. at 606.

       6.    Plaintiffs’ last substantive claim alleges that the County’s enforcement

of its system of administrative penalties and fees violates the Seventh Amendment.

As Plaintiffs acknowledge, however, this claim is not viable under our court’s

selective-incorporation precedent. See Jackson Water Works, Inc. v. Pub. Utils.

Com., 793 F.2d 1090, 1096 (9th Cir. 1986). Thus, we do not address the merits of

the claim, and we affirm the district court’s dismissal.

       7.    The district court erred in dismissing Plaintiffs’ facial and as-applied

claims because they were not brought within two years of the law’s enactment.

The statute of limitations begins to run when a plaintiff “knows or has reason to

know of the actual injury,” not necessarily when a local ordinance was enacted.

Scheer v. Kelly, 817 F.3d 1183, 1188 (9th Cir. 2016) (quoting Lukovsky v. City &

Cnty. of San Francisco, 535 F.3d 1044, 1051 (9th Cir. 2008)).

       At the earliest, Plaintiffs’ facial claims accrued when they received their

initial NOVs, the earliest point at which they had notice they were subject to the

County’s cannabis abatement scheme. Because at least some plaintiffs, for

example the Thomases, allege that they received their initial NOVs within two

years of filing suit, Plaintiffs have a timely facial challenge.3



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      Because at least the Thomases have a timely facial challenge, we do not
need to address whether the other named plaintiffs have timely facial challenges.

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       The district court also erred in categorically dismissing Plaintiffs’ individual

as-applied claims as untimely. First, at least four named Plaintiffs have alleged

timely as-applied procedural due process claims. Plaintiffs allege that the County

violated their rights to procedural due process when it deprived them of property

interests—by imposing penalties and/or denying permits—with inadequate notice,

lack of probable cause, and lack of a timely opportunity to be heard. The earliest

these claims could have accrued is when a deprivation occurred. The Thomases

and Olson have plausibly alleged that they experienced unconstitutional

deprivations during the limitations period because they allege that the County

imposed baseless penalties on them during this period. Although Graham’s NOV

was issued (and daily penalties were imposed) well before the limitations period,

he alleges that during the limitations period, he was denied a permit due to his

abatement case. Because he alleges that the abatement case had no reasonable

basis and that he was denied a timely hearing, he too has plausibly alleged a

procedural due process violation during the limitations period.

       The remaining named Plaintiff, Glad, alleges a claim of undue delay in

scheduling a hearing about his alleged Code violation. Glad would have known or

had reason to know of this injury, at the earliest, when the delay became

unreasonable. Because we do not engage in fact-finding, determining whether the

delay became unreasonable during the limitations period is a task for the district


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court on remand. See Supermail Cargo, Inc. v. United States, 68 F.3d 1204,

1206-07 (9th Cir. 1995); United States v. $8,850 in U.S. Currency, 461 U.S. 555,

564-65 (1983) (describing four factors to measure constitutionality of delay under

the analogous, Sixth Amendment context). We therefore reverse the district

court’s dismissal of Plaintiffs’ individual as-applied procedural due process

challenges as untimely.

       Second, the Thomases, Olson, and Graham have alleged timely as-applied

substantive due process challenges for similar reasons as above. Plaintiffs knew or

should have known of their substantive due process injuries at each point the

County imposed a penalty on them unrelated to any personal guilt, with each such

penalty being a new, distinctly actionable claim. See Flynt v. Shimazu, 940 F.3d

457, 462 (9th Cir. 2019) (“When the continued enforcement of a statute inflicts a

continuing or repeated harm, a new claim arises (and a new limitations period

commences) with each new injury.”). During the limitations period, the Thomases

and Olson allege that the County imposed monetary penalties, and Graham alleges

that the County denied him a permit, because of alleged violations involving no

wrongdoing by them. We agree with the district court, however, that Glad’s

substantive due process claim is untimely. He does not allege that the County

imposed any penalties—such as monetary penalties, the denial of a permit, or the

deprivation of the use of his land—during the limitations period. We thus affirm


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the dismissal of Glad’s as-applied substantive due process claim but reverse as to

the other plaintiffs.

       Third, Plaintiffs’ as-applied unconstitutional conditions claims begin to

accrue when the County conditioned a permit on entering into such a settlement

agreement. The Thomases, Olson, and Graham allege that this happened to them

during the limitations period. Glad, however, does not allege ever seeking a land-

use permit, so he has not stated an individual claim to begin with. Thus, we affirm

the district court’s dismissal of Glad’s as-applied unconstitutional conditions claim

but reverse as to the other plaintiffs.

       8.     Finally, we conclude that reassignment of this case on remand is not

warranted. “In determining whether reassignment is proper, we consider:

(1) whether the original judge would reasonably be expected upon remand to have

substantial difficulty in putting out of his or her mind previously-expressed views

or findings determined to be erroneous or based on evidence that must be rejected,

(2) whether reassignment is advisable to preserve the appearance of justice, and

(3) whether reassignment would entail waste and duplication out of proportion to

any gain in preserving the appearance of justice.” Evon v. L. Offs. of Sidney

Mickell, 688 F.3d 1015, 1034 (9th Cir. 2012) (quoting United States v. Arnett, 628

F.2d 1162, 1165 (9th Cir. 1979)). “The first two of these factors are of equal

importance, and a finding of one of them would support a remand to a different


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judge.” Id. (quoting United States v. Sears, Roebuck & Co., 785 F.2d 777, 780

(9th Cir. 1986)).

       Here, although the district court’s dismissiveness of Plaintiffs’ well-pleaded

allegations is cause for concern, we trust that the “original judge would

[not] . . . have substantial difficulty in putting out of his . . . mind

previously-expressed views or findings determined to be erroneous.” Id. (quoting

Arnett, 628 F.2d at 1165). Reassignment upon remand is thus not warranted.

       REVERSED in part, AFFIRMED in part, and REMANDED.

       Appellants shall recover their costs on appeal.




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7HOHSKRQH 1XPEHU 949-903-5051                                              SOHDVH JR GLUHFWO\ WR WKH FRXUW
                                                                           ZZZ FRXUWV FD JRY           KWP
( PDLO $GGUHVV josephminer@gmail.com                                       :H &$1127 SURYLGH OHJDO DGYLFH
                                                                           RU SHUIRUP OHJDO UHVHDUFK IRU \RX

3OHDVH GHVFULEH EHORZ WKH UHFRUGV \RX DUH UHTXHVWLQJ $WWDFK DGGLWLRQDO SDJHV LI QHFHVVDU\

Pursuant to GC. 53069.4 (b)(3) the de novo procedure                        +HOSIXO 7LSV
adjudicating an administrative citation is an "appeal" and a                9 %H DV VSHFLILF DV SRVVLEOH
subordinate judicial duty. It appears these duties are being                9 *LYH WKH GRFXPHQW QDPH DQG GDWH
assigned to court commissioners.                                              LI \RX FDQ
                                                                            9 ,I \RX FDQQRW EH VSHFLILF WR KHOS
Please provide the following records:                                         XV VHDUFK SOHDVH WHOO XV
                                                                                 x ZK\ WKH UHFRUG ZDV FUHDWHG
1. Any internal or public documents by judicial council on the                      RU ZK\ \RX ZDQW LW
proper procedure on adjudicating an administrative appeal in                     x WKH W\SH RI UHFRUG \RX ZDQW
superior court. (Benchguide or similar?)                                             H[DPSOHV D FRQWUDFW
                                                                                    -XGLFLDO &RXQFLO UHSRUW UHSRUW
                                                                                    WR WKH /HJLVODWXUH TXDUWHUO\
2. Any manual, reference, advisement guide that directs, instructs,                 ILQDQFLDO VWDWHPHQW DXGLW
advises, educates a court commissioner, a subordinate judicial                      UHSRUW SUHVV UHOHDVH DQG
officer, on how to adjudicate an administrative appeal to superior               x D GDWH UDQJH H[DPSOH
court under GC. 53069.4 and CCP. 85(c). CCP. 85-100                                 ³      WR      ´


:LOO WKH UHFRUGV EH XVHG IRU D FRPPHUFLDO WUDGH RU SURILW SXUSRVH"         21/,1( 5(6285&(6

 F 12      F <(6Æ $GYDQFH SD\PHQW RI IHHV PD\ EH UHTXLUHG WR FRYHU FRVWV   &DOLIRUQLD &RXUWV 2QOLQH 6HOI +HOS &HQWHU
                                                                           KWWSV VHOIKHOS FRXUWV FD JRY
                      IRU H[DPSOH FRS\LQJ SRVWDJH RU UHFRUGV UHWULHYDO
                                                                           /LVWV RI ODZ OLEUDULHV DQG IUHH UHVRXUFHV
                                                                           OLNH VHOI KHOS OHJDO ERRNV LQ SODLQ (QJOLVK
      3OHDVH VHQG \RXU FRPSOHWHG IRUP WR                                   ZZZ FRXUWV FD JRY           KWP
      %\ H PDLO                         %\ PDLO                            ,QIRUPDWLRQ DERXW WKH &RPPLVVLRQ RQ
      3$-$5#MXG FD JRY         25       -XGLFLDO &RXQFLO RI &DOLIRUQLD     -XGLFLDO 3HUIRUPDQFH &-3 ZKLFK
                                        $WWHQWLRQ 3$-$5 /HJDO 6HUYLFHV     LQYHVWLJDWHV FRPSODLQWV DERXW MXGJHV
                                                                           ZZZ FRXUWV FD JRY        KWP
                                            *ROGHQ *DWH $YHQXH
                                        6DQ )UDQFLVFR &DOLIRUQLD           ,QIRUPDWLRQ DERXW MXU\ VHUYLFH
                                                                           ZZZ FRXUWV FD JRY MXU\VHUYLFH KWP

                                                                                                 FAC PG 320
3XEOLF $FFHVV WR -XGLFLDO $GPLQLVWUDWLYH 5HFRUGV 3$-$5                                             5HYLVHG -XO\
       Case  8:24-cv-02793-CAS-E
        FAC PG 321
                                         Document 6-1 Filed 01/29/25 Page 260 of 261 Page
                                                ID #:582
                                    5(48(67 )25 -8',&,$/ $'0,1,675$7,9( 5(&25'6
                                       8QGHU &DOLIRUQLD 5XOHV RI &RXUW 5XOH

                          3OHDVH XVH WKLV IRUP WR UHTXHVW MXGLFLDO DGPLQLVWUDWLYH UHFRUGV IURP WKH
                          -XGLFLDO &RXQFLO RI &DOLIRUQLD WKH 6XSUHPH &RXUW RI &DOLIRUQLD RU D
                          &DOLIRUQLD &RXUW RI $SSHDO

3OHDVH FRPSOHWH DOO ILHOGV RI WKLV IRUP &RPSOHWH LQIRUPDWLRQ DOORZV XV WR DVN \RX TXHVWLRQV LI QHHGHG DQG WR
VHQG WKH FRUUHFW UHFRUGV PRUH TXLFNO\ )RU KHOSIXO LQIRUPDWLRQ DERXW UHTXHVWLQJ UHFRUGV SOHDVH YLVLW WKH
³$FFHVV WR 5HFRUGV´ SDJH RI WKH &DOLIRUQLD &RXUWV ZHEVLWH DW ZZZ FRXUWV FD JRY SXEOLFUHFRUGV KWP

                                                                             3OHDVH '2 127 XVH WKLV IRUP IRU
'DWH 1/12/2024             1DPH Joseph Miner                                  x %LUWK RU GHDWK FHUWLILFDWHV
                                                                              x 1DPH FKDQJH UHFRUGV
2UJDQL]DWLRQ Realty Miracles                                                  x $GRSWLRQ UHFRUGV
                                                                              x :LOOV RU WUXVW UHFRUGV
6WUHHW $GGUHVV PO Box 11650                                                   x 0DUULDJH RU GLYRUFH UHFRUGV RU
                                                                              x &RQVHUYDWRUVKLS RU SUREDWH UHFRUGV
&LW\ Costa Mesa                  6WDWH CA                =LS &RGH 92627      ,I \RX ZDQW FRXUW FDVH UHFRUGV
7HOHSKRQH 1XPEHU 949-903-5051                                                SOHDVH JR GLUHFWO\ WR WKH FRXUW
                                                                             ZZZ FRXUWV FD JRY           KWP
( PDLO $GGUHVV josephminer@gmail.com                                         :H &$1127 SURYLGH OHJDO DGYLFH
                                                                             RU SHUIRUP OHJDO UHVHDUFK IRU \RX

3OHDVH GHVFULEH EHORZ WKH UHFRUGV \RX DUH UHTXHVWLQJ $WWDFK DGGLWLRQDO SDJHV LI QHFHVVDU\

I am requesting (1) public records regarding ZOOM and or WEBEX               +HOSIXO 7LSV
remote appearance in Superior Court. (2) cameras in the courtroom.           9 %H DV VSHFLILF DV SRVVLEOH
                                                                             9 *LYH WKH GRFXPHQW QDPH DQG GDWH
Please provide the following records:                                          LI \RX FDQ
                                                                             9 ,I \RX FDQQRW EH VSHFLILF WR KHOS
1. The archival procedure for zoom and or webex remote appearances.            XV VHDUFK SOHDVH WHOO XV
                                                                                  x ZK\ WKH UHFRUG ZDV FUHDWHG
2. Manual or policy documents regarding the recording of courtroom
                                                                                     RU ZK\ \RX ZDQW LW
audio or video recording of small claims, traffic, unlawful detainer, and
administrative appeals in the Superior Court courtrooms in the 58                 x WKH W\SH RI UHFRUG \RX ZDQW
counties.                                                                             H[DPSOHV D FRQWUDFW
                                                                                     -XGLFLDO &RXQFLO UHSRUW UHSRUW
                                                                                     WR WKH /HJLVODWXUH TXDUWHUO\
3. Documents, [A] a list of who maintains these audio and video files. [B]
                                                                                     ILQDQFLDO VWDWHPHQW DXGLW
How long they are kept, [C] where they are kept, [D] and who has control             UHSRUW SUHVV UHOHDVH DQG
of the files.
                                                                                  x D GDWH UDQJH H[DPSOH
                                                                                     ³      WR      ´


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 F 12      F <(6Æ $GYDQFH SD\PHQW RI IHHV PD\ EH UHTXLUHG WR FRYHU FRVWV     &DOLIRUQLD &RXUWV 2QOLQH 6HOI +HOS &HQWHU
                                                                             KWWSV VHOIKHOS FRXUWV FD JRY
                      IRU H[DPSOH FRS\LQJ SRVWDJH RU UHFRUGV UHWULHYDO
                                                                             /LVWV RI ODZ OLEUDULHV DQG IUHH UHVRXUFHV
                                                                             OLNH VHOI KHOS OHJDO ERRNV LQ SODLQ (QJOLVK
      3OHDVH VHQG \RXU FRPSOHWHG IRUP WR                                     ZZZ FRXUWV FD JRY           KWP
      %\ H PDLO                         %\ PDLO                              ,QIRUPDWLRQ DERXW WKH &RPPLVVLRQ RQ
      3$-$5#MXG FD JRY         25       -XGLFLDO &RXQFLO RI &DOLIRUQLD       -XGLFLDO 3HUIRUPDQFH &-3 ZKLFK
                                        $WWHQWLRQ 3$-$5 /HJDO 6HUYLFHV       LQYHVWLJDWHV FRPSODLQWV DERXW MXGJHV
                                                                             ZZZ FRXUWV FD JRY        KWP
                                            *ROGHQ *DWH $YHQXH
                                        6DQ )UDQFLVFR &DOLIRUQLD             ,QIRUPDWLRQ DERXW MXU\ VHUYLFH
                                                                             ZZZ FRXUWV FD JRY MXU\VHUYLFH KWP

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3XEOLF $FFHVV WR -XGLFLDO $GPLQLVWUDWLYH 5HFRUGV 3$-$5                                               5HYLVHG -XO\
        Case  8:24-cv-02793-CAS-E
         FAC PG 322
                                                 Document 6-1 Filed 01/29/25 Page 261 of 261 Page
                                                        ID #:583
                                            5(48(67 )25 -8',&,$/ $'0,1,675$7,9( 5(&25'6
                                               8QGHU &DOLIRUQLD 5XOHV RI &RXUW 5XOH

                                 3OHDVH XVH WKLV IRUP WR UHTXHVW MXGLFLDO DGPLQLVWUDWLYH UHFRUGV IURP WKH
                                 -XGLFLDO &RXQFLO RI &DOLIRUQLD WKH 6XSUHPH &RXUW RI &DOLIRUQLD RU D
                                 &DOLIRUQLD &RXUW RI $SSHDO

3OHDVH FRPSOHWH DOO ILHOGV RI WKLV IRUP &RPSOHWH LQIRUPDWLRQ DOORZV XV WR DVN \RX TXHVWLRQV LI QHHGHG DQG WR
VHQG WKH FRUUHFW UHFRUGV PRUH TXLFNO\ )RU KHOSIXO LQIRUPDWLRQ DERXW UHTXHVWLQJ UHFRUGV SOHDVH YLVLW WKH
³$FFHVV WR 5HFRUGV´ SDJH RI WKH &DOLIRUQLD &RXUWV ZHEVLWH DW ZZZ FRXUWV FD JRY SXEOLFUHFRUGV KWP

                                                                                                           3OHDVH '2 127 XVH WKLV IRUP IRU
'DWH 1/22/2024                    1DPH Joseph Miner                                                         x %LUWK RU GHDWK FHUWLILFDWHV
                                                                                                            x 1DPH FKDQJH UHFRUGV
2UJDQL]DWLRQ Realty Miracles                                                                                x $GRSWLRQ UHFRUGV
                                                                                                            x :LOOV RU WUXVW UHFRUGV
6WUHHW $GGUHVV PO Box 11650                                                                                 x 0DUULDJH RU GLYRUFH UHFRUGV RU
                                                                                                            x &RQVHUYDWRUVKLS RU SUREDWH UHFRUGV
&LW\ Costa Mesa                          6WDWH CA                         =LS &RGH 92627                   ,I \RX ZDQW FRXUW FDVH UHFRUGV
7HOHSKRQH 1XPEHU 949-903-5051                                                                              SOHDVH JR GLUHFWO\ WR WKH FRXUW
                                                                                                           ZZZ FRXUWV FD JRY           KWP
( PDLO $GGUHVV josephminer@gmail.com                                                                       :H &$1127 SURYLGH OHJDO DGYLFH
                                                                                                           RU SHUIRUP OHJDO UHVHDUFK IRU \RX

3OHDVH GHVFULEH EHORZ WKH UHFRUGV \RX DUH UHTXHVWLQJ $WWDFK DGGLWLRQDO SDJHV LI QHFHVVDU\
GC. 53069.4 cases are being grossly adjudicated. 540 local agencies each make different law. 58            +HOSIXO 7LSV
courts each treat them differently. Some courts treat them as small claims appeals. Others permit full
discovery and a full trial. The system could not be more dysfunctional and less conforming. Citizens       9 %H DV VSHFLILF DV SRVVLEOH
are being harmed. Worse yet these issues go to appellate divisions who simply support their own
judge's gross errors. Rarely do these cases go to Court of Appeal and rarely does Court of Appeal
                                                                                                           9 *LYH WKH GRFXPHQW QDPH DQG GDWH
permit transfer. Administrative citations (1,000,000 issued per year) are being abused. Injustice is         LI \RX FDQ
being hidden through the limited civil judicial process.
                                                                                                           9 ,I \RX FDQQRW EH VSHFLILF WR KHOS
I am requesting public records regarding:                                                                    XV VHDUFK SOHDVH WHOO XV
1. Standardized manuals or instruction on how these cases are to be adjudicated.
                                                                                                                x ZK\ WKH UHFRUG ZDV FUHDWHG
                                                                                                                   RU ZK\ \RX ZDQW LW
2. Historical discussions or input advising or requesting input on changing or clarifying the law.
                                                                                                                x WKH W\SH RI UHFRUG \RX ZDQW
3. Any documents or information as to the limits of a subordinate judicial officer pursuant to                      H[DPSOHV D FRQWUDFW
(53069.4(b)(3) in these hearings. And, if a court is to consider its jurisdiction before assigning these           -XGLFLDO &RXQFLO UHSRUW UHSRUW
cases to subordinate officers who lack jurisdiction because of a city's abuse of process or any other
reason a court would not have jurisdiction.
                                                                                                                   WR WKH /HJLVODWXUH TXDUWHUO\
                                                                                                                   ILQDQFLDO VWDWHPHQW DXGLW
4. Any information or documents at all that you have that would touch any one of these issues.                     UHSRUW SUHVV UHOHDVH DQG
Thank you!                                                                                                      x D GDWH UDQJH H[DPSOH
                                                                                                                   ³      WR      ´


:LOO WKH UHFRUGV EH XVHG IRU D FRPPHUFLDO WUDGH RU SURILW SXUSRVH"                                         21/,1( 5(6285&(6

 F 12         F <(6Æ $GYDQFH SD\PHQW RI IHHV PD\ EH UHTXLUHG WR FRYHU FRVWV                                &DOLIRUQLD &RXUWV 2QOLQH 6HOI +HOS &HQWHU
                                                                                                           KWWSV VHOIKHOS FRXUWV FD JRY
                           IRU H[DPSOH FRS\LQJ SRVWDJH RU UHFRUGV UHWULHYDO
                                                                                                           /LVWV RI ODZ OLEUDULHV DQG IUHH UHVRXUFHV
                                                                                                           OLNH VHOI KHOS OHJDO ERRNV LQ SODLQ (QJOLVK
       3OHDVH VHQG \RXU FRPSOHWHG IRUP WR                                                                  ZZZ FRXUWV FD JRY           KWP
       %\ H PDLO                                  %\ PDLO                                                  ,QIRUPDWLRQ DERXW WKH &RPPLVVLRQ RQ
       3$-$5#MXG FD JRY                25         -XGLFLDO &RXQFLO RI &DOLIRUQLD                           -XGLFLDO 3HUIRUPDQFH &-3 ZKLFK
                                                  $WWHQWLRQ 3$-$5 /HJDO 6HUYLFHV                           LQYHVWLJDWHV FRPSODLQWV DERXW MXGJHV
                                                                                                           ZZZ FRXUWV FD JRY        KWP
                                                      *ROGHQ *DWH $YHQXH
                                                  6DQ )UDQFLVFR &DOLIRUQLD                                 ,QIRUPDWLRQ DERXW MXU\ VHUYLFH
                                                                                                           ZZZ FRXUWV FD JRY MXU\VHUYLFH KWP

                                                                                                                                 FAC PG 322
3XEOLF $FFHVV WR -XGLFLDO $GPLQLVWUDWLYH 5HFRUGV 3$-$5                                                                             5HYLVHG -XO\
